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     22-0007-cv                 IN THE
                United States Court of Appeals
                       FOR THE SECOND CIRCUIT

            ELISA W., ET AL., PLAINTIFFS-APPELLANTS,
                               v.
          THE CITY OF NEW YORK, ET AL., DEFENDANTS-
                          APPELLEES.

                  (For Full Caption See Inside Cover)

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
     FOR THE SOUTHERN DISTRICT OF NEW YORK (CIV. NO. 15-5273)
                 (THE HONORABLE KIMBA M. WOOD)

                     JOINT APPENDIX
                VOLUME I of XIII, PAGES A1-A285

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       Case 22-7, Document 124, 08/10/2022, 3363319, Page2 of 294




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                           SIMILARLY SITUATED.

                                                 PLAINTIFFS-APPELLANTS,

                                 – V. –

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                            CAPACITY,

                                                 DEFENDANTS-APPELLEES,

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                                                            DEFENDANTS.
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                                                                                                STAYED,APPEAL,CASREF,ECF

                                            U.S. District Court
                                Southern District of New York (Foley Square)
                           CIVIL DOCKET FOR CASE #: 1:15-cv-05273-KMW-SLC


 Elisa W. et al v. The City Of New York , et al                                       Date Filed: 07/08/2015
 Assigned to: Judge Kimba M. Wood                                                     Jury Demand: None
 Referred to: Magistrate Judge Sarah L Cave                                           Nature of Suit: 440 Civil Rights: Other
 Cause: 42:1983 Civil Rights Act                                                      Jurisdiction: Federal Question
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                                                                                  1.6   of 294
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Valentina T.C.                                                          represented by Brittany Lynn Sukiennik
 by their next friend, Rachel Friedman                                                  (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Daniel Slifkin
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                                                                                     Justin Conrad Clarke
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                                                                                     Molly Montgomery Jamison
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                                                                                     Rachel Jennifer Lamorte
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                                                                                     Sarah W Jaffe
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                                                                                     Scott Bartron Reents
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                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Julie A North
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Matthew V.                                                              represented by Brittany Lynn Sukiennik
 by their next friend, Samuel D. Perry,                                                 (See above for address)
 Individually and on behalf of a class of all                                           ATTORNEY TO BE NOTICED
 others similarly situated
                                                                                     Claire Botnick
                                                                                     (See above for address)
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                                                                                     Daniel Slifkin
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                                                                                     Justin Conrad Clarke
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                                                                                     Molly Montgomery Jamison
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                                                                                     Rachel Jennifer Lamorte
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                                                                                     Scott Bartron Reents
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                                                                                     Julie A North
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                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Mikayla G.                                                              represented by Brittany Lynn Sukiennik
 by her next friend, Michael B. Mushlin                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                       ATTORNEY TO BE NOTICED

                                                                                     Julie A North
                                                                                     (See above for address)
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 Plaintiff
 Myls J.                                                                 represented by Brittany Lynn Sukiennik
 by their next friend, Elizabeth Hendrix                                                (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                                     Scott Bartron Reents
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                                                                                     Julie A North
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 Plaintiff
 Jose T.C.                                                               represented by Brittany Lynn Sukiennik
 by their next friend, Rachel Friedman                                                  (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                       ATTORNEY TO BE NOTICED

                                                                                     Justin Conrad Clarke
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                                                                                     Molly Montgomery Jamison
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                                                                                     Julie A North
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 Plaintiff
 Lucas T.                                                                represented by Brittany Lynn Sukiennik
 by their next friend, Rachel Friedman                                                  (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                                     Scott Bartron Reents
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Julie A North
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 Plaintiff
 Emmanuel S.                                                             represented by Brittany Lynn Sukiennik
 by their next friend, Samuel D. Perry,                                                 (See above for address)
 Individually and on behalf of a class and all                                          ATTORNEY TO BE NOTICED
 others similarly situated
                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                                     Julie A North
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 Plaintiff
 Ximena T.                                                               represented by Brittany Lynn Sukiennik
 by their next friend, Rachel Friedman                                                  (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                                     Justin Conrad Clarke
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                                                                                     Julie A North
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 Plaintiff
 Malik M.                                                                represented by Brittany Lynn Sukiennik
 by their next friend, Elizabeth Hendrix                                                (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                       Sarah W Jaffe
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                                                                                     Scott Bartron Reents
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                                                                                     Julie A North
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 Plaintiff
 Elisa W.                                                                represented by Brittany Lynn Sukiennik
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 Alexandria R.                                                           represented by Brittany Lynn Sukiennik
 by her next friend, Alison Max Rothschild                                              (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                                     Molly Montgomery Jamison
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                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Julie A North
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Thierry E.                                                              represented by Brittany Lynn Sukiennik
 by his next friend Michael B. Mushlin                                                  (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                                     Scott Bartron Reents
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                                                                                     Julie A North
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Ana-Maria R.                                                            represented by Brittany Lynn Sukiennik
 by their next friend, Dawn Cardi                                                       (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                       ATTORNEY TO BE NOTICED

                                                                                     Marcia Robinson Lowry
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                                                                                     Molly Montgomery Jamison
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                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Julie A North
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                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Xavion M.                                                               represented by Brittany Lynn Sukiennik
 by his next friend, Michael B. Mushlin                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                                     Justin Conrad Clarke
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                                                                                     Molly Montgomery Jamison
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                                                                                     Nicole Marie Peles
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                                                                                     Rachel Jennifer Lamorte
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                                                                                     Scott Bartron Reents
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                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Julie A North
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Tyrone M.                                                               represented by Brittany Lynn Sukiennik
 by his next friend, Bishop Lillian Robinson-                                           (See above for address)
 Wiltshire                                                                              ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
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                                                                                     Daniel Slifkin
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                                                                       Sarah W Jaffe
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                                                                                     Scott Bartron Reents
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                                                                                     Julie A North
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Brittney W.                                                             represented by Brittany Lynn Sukiennik
 by her next friend, Shamara Mills                                                      (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Claire Botnick
                                                                                     (See above for address)
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                                                                                     Daniel Slifkin
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                                                                                     Julie A North
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                                                                                  1.6   of 294
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED


 V.
 Defendant
 The City of New York                                                    represented by Agnetha Elizabeth Jacob
                                                                                        New York City Law Department
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                                                                                        New York, NY 10007
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                                                                                        Fax: 212-788-0940
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                                                                                      New York, NY 10007
                                                                                      (212) 356-2624
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                                                                                      TERMINATED: 04/12/2022

                                                                                      Jonathan L. Pines
                                                                                      NYC Law Department, Office of the
                                                                                      Corporation Counsel
                                                                                      100 Church Street
                                                                                      New York, NY 10007
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sharon Vicky Sprayregen
                                                                                      New York City Law Department

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                                                                       100 Church St.
                                                                       New York, NY 10007
                                                                       212-356-0873
                                                                       Email: ssprayre@law.nyc.gov
                                                                       ATTORNEY TO BE NOTICED
 Defendant
 New York City Administration for                                        represented by Ian William Forster
 Childrens Services                                                                     (See above for address)
                                                                                        TERMINATED: 04/12/2022

                                                                                       Jonathan L. Pines
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Lauren Almquist Lively
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Neil Anthony Giovanatti
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sharon Vicky Sprayregen
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 State Of New York                                                       represented by Jennifer C. Simon
                                                                                        New York State Office of The Attorney
                                                                                        General
                                                                                        28 Liberty Street, 19th Floor
                                                                                        New York, NY 10005
                                                                                        212-416-8086
                                                                                        Email: jennifer.simon@ag.ny.gov
                                                                                        LEAD ATTORNEY

                                                                                       Antoinette W Blanchette
                                                                                       NYS Office of the Attorney General
                                                                                       28 Liberty Street
                                                                                       New York, NY 10005
                                                                                       212-416-8595
                                                                                       Fax: 212-416-6009
                                                                                       Email: Antoinette.Blanchette@ag.ny.gov
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Samantha Leigh Buchalter
                                                                                       New York State Office of the Attorney
                                                                                       General (28 Liberty)
                                                                                       28 Liberty Street, 15th Floor
                                                                                       New York, NY 10005
                                                                                       212-416-6582
                                                                                       Fax: 212-416-6009

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                                                                                  1.6   of 294
                                                                       Email: samantha.buchalter@ag.ny.gov
                                                                       ATTORNEY TO BE NOTICED
 Defendant
 New York State Office of Children and                                   represented by Jennifer C. Simon
 Family Services                                                                        (See above for address)
 TERMINATED: 01/27/2017                                                                 LEAD ATTORNEY

                                                                                        Antoinette W Blanchette
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Samantha Leigh Buchalter
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 Gladys Carrion                                                          represented by Ian William Forster
 Commissioner of the New York City                                                      (See above for address)
 Administration for Childrens Services, in                                              TERMINATED: 04/12/2022
 her official capacity
 TERMINATED: 12/04/2019                                                                 Jonathan L. Pines
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Lauren Almquist Lively
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Neil Anthony Giovanatti
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Sharon Vicky Sprayregen
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 David Hansel
 Commissioner of the New York City
 Administration for Children's Services, in
 his official capacity

 Defendant
 The New York State Office of Children
 and Family Services
 Defendant
 Sheila J. Poole                                                         represented by Jennifer C. Simon
 Acting Commissioner of the New York State                                              (See above for address)
 Office of Children and Family Services, in                                             TERMINATED: 02/02/2017
 her official capacity                                                                  LEAD ATTORNEY

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                                                                                  1.6   of 294
                                                                       Antoinette W Blanchette
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

                                                                                       Cara Brown Chomski
                                                                                       U.S. Equal Employment Opportunity
                                                                                       Commission
                                                                                       33 Whitehall Street 5th Floor
                                                                                       New York, NY 10004
                                                                                       929-506-5275
                                                                                       Email: cara.chomski@eeoc.gov
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Roderick Leopold Arz
                                                                                       New York State Office of the Attorney
                                                                                       General (28 Liberty)
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                                                                                       212-416-8633
                                                                                       Fax: 212-416-6009
                                                                                       Email: Roderick.Arz@ag.ny.gov
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Samantha Leigh Buchalter
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Nominal Defendant
 Non-party agency
 ADR Provider
 Non-party agency

 Intervenor
 The Legal Aid Society                                                   represented by Celia Goldwag Barenholtz
                                                                                        Cooley LLP
                                                                                        1114 Avenue of the Americas
                                                                                        New York, NY 10036
                                                                                        (212) 479-6330
                                                                                        Fax: (212) 202-4711
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                                                                                       Kara C Wilson
                                                                                       Cooley LLP (NY)
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                                                                                       Email: kwilson@cooley.com
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Lisa Freeman

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                                                                       The Legal Aid Society
                                                                       199 Water Street
                                                                       New York, NY 10038
                                                                       212 577 7982
                                                                       Fax: 646 616 4982
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                                                                       ATTORNEY TO BE NOTICED

                                                                                       Stephanie B Turner
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                                                                                       973-978-9253
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                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Tamara A. Steckler
                                                                                       The Legal Aid Society
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                                                                                       New York, NY 10038
                                                                                       (212)-577-3502
                                                                                       Fax: (212)-577-3521
                                                                                       Email: tasteckler@legal-aid.org
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Theresa Beth Moser
                                                                                       The Legal Aid Society (Juvenile Rights
                                                                                       Division )
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                                                                                       New York, NY 10038
                                                                                       (212)-577-3284
                                                                                       Fax: (212)-577-3520
                                                                                       Email: tbmoser@legal-aid.org
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Victoria Anna Foltz Cordova
                                                                                       Faegre Drinker Biddle & Reath LLP
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                                                                                       Suite 2000
                                                                                       Philadelphia, PA 19103
                                                                                       215-988-1191
                                                                                       Email: vfoltz@cooley.com
                                                                                       ATTORNEY TO BE NOTICED

 Intervenor
 Lawyers for Children, Inc.                                              represented by Betsy Kramer
                                                                                        Lawyers For Children
                                                                                        110 Lafayette Street
                                                                                        New York, NY 10013
                                                                                        (212)-966-6420
                                                                                        Email: bkramer@lawyersforchildren.org
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Celia Goldwag Barenholtz
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                                          21/90
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                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kara C Wilson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Karen J. Freedman
                                                                                       Lawyers for Children, Inc.,
                                                                                       110 Lafayette St
                                                                                       8th Flr.
                                                                                       New York, NY 10013
                                                                                       (212)-966-6420
                                                                                       Fax: (212)-966-0531
                                                                                       Email: kfreedman@lawyersforchildren.org
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Stephanie B Turner
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Victoria Anna Foltz Cordova
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Intervenor
 The Children's Law Center of New York                                   represented by Celia Goldwag Barenholtz
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Kara C Wilson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Stephanie B Turner
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Victoria Anna Foltz Cordova
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Intervenor
 Center for Family Representation                                        represented by Audra Jan Soloway
                                                                                        Paul, Weiss, Rifkind, Wharton & Garrison
                                                                                        LLP (NY)
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                                                                                        212-373-3289
                                                                                        Fax: 212-492-0289
                                                                                        Email: asoloway@paulweiss.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

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                                                                       Charles Jordan Hamilton
                                                                       Paul, Weiss, Rifkind, Wharton & Garrison
                                                                       LLP (NY)
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                                                                       New York, NY 10019
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                                                                       Fax: (212)-492-0936
                                                                       Email: chamilton@paulweiss.com
                                                                       ATTORNEY TO BE NOTICED

                                                                                     Daniel H. Levi
                                                                                     Paul, Weiss, Rifkind, Wharton & Garrison
                                                                                     LLP (NY)
                                                                                     1285 Avenue of the Americas
                                                                                     New York, NY 10019
                                                                                     212-373-3497
                                                                                     Fax: 212-492-0497
                                                                                     Email: dlevi@paulweiss.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Luke Xavier Flynn-Fitzsimmons
                                                                                     Paul, Weiss, Rifkind, Wharton & Garrison
                                                                                     LLP
                                                                                     1285 Avenue of The Americas
                                                                                     New York, NY 10019
                                                                                     (212)-373-3338
                                                                                     Fax: (212)-492-0338
                                                                                     Email: lflynn-fitzsimmons@paulweiss.com
                                                                                     TERMINATED: 03/05/2020
 Intervenor
 Bronx Defenders                                                         represented by Audra Jan Soloway
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Charles Jordan Hamilton
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Daniel H. Levi
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Luke Xavier Flynn-Fitzsimmons
                                                                                     (See above for address)
                                                                                     TERMINATED: 03/05/2020
 Intervenor
 Brooklyn Defender Service                                               represented by Audra Jan Soloway
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

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                                                                        Charles Jordan Hamilton
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                                     Daniel H. Levi
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Luke Xavier Flynn-Fitzsimmons
                                                                                     (See above for address)
                                                                                     TERMINATED: 03/05/2020
 Intervenor
 Neighborhood Defender Service of                                        represented by Audra Jan Soloway
 Harlem                                                                                 (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Charles Jordan Hamilton
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Daniel H. Levi
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Luke Xavier Flynn-Fitzsimmons
                                                                                     (See above for address)
                                                                                     TERMINATED: 03/05/2020


  Date Filed             #     Docket Text
  07/08/2015               1 COMPLAINT against Gladys Carrion, New York City Administration for Childrens
                             Services, New York State Office of Children and Family Services, SHEILA J. POOLE,
                             State Of New York, The City Of New York,. Document filed by XAVION M., THIERRY
                             E., DAMEON C., BRITTNEY W., ALEXANDRIA R, TYRONE M., AYANNA J.,
                             ELISA W, Letitia James, OLIVIA and ANA-MARIA R.. (Attachments: # 1 Appendix A,
                             # 2 Exhibit 1)(North, Julie) (Entered: 07/08/2015)
  07/08/2015               2 REQUEST FOR ISSUANCE OF SUMMONS as to The City of New York, re: 1
                             Complaint,. Document filed by DAMEON C., THIERRY E., AYANNA J., Letitia James,
                             TYRONE M., XAVION M., ALEXANDRIA R, OLIVIA and ANA-MARIA R., ELISA
                             W, BRITTNEY W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015               3 REQUEST FOR ISSUANCE OF SUMMONS as to New York City Administration for
                             Children's Services, re: 1 Complaint,. Document filed by DAMEON C., THIERRY E.,
                             AYANNA J., Letitia James, TYRONE M., XAVION M., ALEXANDRIA R, OLIVIA
                             and ANA-MARIA R., ELISA W, BRITTNEY W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015               4 REQUEST FOR ISSUANCE OF SUMMONS as to Gladys Carrion, re: 1 Complaint,.
                             Document filed by DAMEON C., THIERRY E., AYANNA J., Letitia James, TYRONE
                             M., XAVION M., ALEXANDRIA R, OLIVIA and ANA-MARIA R., ELISA W,
                             BRITTNEY W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015               5 REQUEST FOR ISSUANCE OF SUMMONS as to The State of New York, re: 1
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                             Complaint,. Document filed by DAMEON C., THIERRY E., AYANNA J., Letitia James,
                             TYRONE M., XAVION M., ALEXANDRIA R, OLIVIA and ANA-MARIA R., ELISA
                             W, BRITTNEY W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015               6 REQUEST FOR ISSUANCE OF SUMMONS as to The New York State Office of
                             Children and Family Services, re: 1 Complaint,. Document filed by DAMEON C.,
                             THIERRY E., AYANNA J., Letitia James, TYRONE M., XAVION M., ALEXANDRIA
                             R, OLIVIA and ANA-MARIA R., ELISA W, BRITTNEY W.. (North, Julie) (Entered:
                             07/08/2015)
  07/08/2015               7 REQUEST FOR ISSUANCE OF SUMMONS as to Sheila J. Poole, re: 1 Complaint,.
                             Document filed by DAMEON C., THIERRY E., AYANNA J., Letitia James, TYRONE
                             M., XAVION M., ALEXANDRIA R, OLIVIA and ANA-MARIA R., ELISA W,
                             BRITTNEY W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015               8 CIVIL COVER SHEET filed. (North, Julie) (Entered: 07/08/2015)
  07/08/2015               9 MOTION to Certify Class . Document filed by DAMEON C., THIERRY E., AYANNA
                             J., Letitia James, TYRONE M., XAVION M., ALEXANDRIA R, OLIVIA and ANA-
                             MARIA R., ELISA W, BRITTNEY W..(North, Julie) (Entered: 07/08/2015)
  07/08/2015             10 DECLARATION of Marcia Robinson Lowry in Support re: 9 MOTION to Certify Class
                            .. Document filed by DAMEON C., THIERRY E., AYANNA J., Letitia James, TYRONE
                            M., XAVION M., ALEXANDRIA R, OLIVIA and ANA-MARIA R., ELISA W,
                            BRITTNEY W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015             11 DECLARATION of Julie A. North in Support re: 9 MOTION to Certify Class ..
                            Document filed by DAMEON C., THIERRY E., AYANNA J., Letitia James, TYRONE
                            M., XAVION M., ALEXANDRIA R, OLIVIA and ANA-MARIA R., ELISA W,
                            BRITTNEY W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015             12 MEMORANDUM OF LAW in Support re: 9 MOTION to Certify Class . . Document
                            filed by DAMEON C., THIERRY E., AYANNA J., Letitia James, TYRONE M.,
                            XAVION M., ALEXANDRIA R, OLIVIA and ANA-MARIA R., ELISA W, BRITTNEY
                            W.. (North, Julie) (Entered: 07/08/2015)
  07/08/2015                   Case Opening Fee Paid electronically via Pay.gov: for 1 Complaint,. Filing fee $ 400.00.
                               Pay.gov receipt number 0208-11125169, paid on 7/8/2015. (laq) (Entered: 07/08/2015)
  07/09/2015                   ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to
                               attorney Julie A. North. The party information for the following party/parties has
                               been modified: Dameon C., Thierry E., Ayanna J., Tyrone M., Xavion M., Shiela J.
                               Poole, Alexanddria R., Ana-Maria R., The City of New York, Brittney W. The
                               information for the party/parties has been modified for the following
                               reason/reasons: party name was entered in all caps. (laq) (Entered: 07/09/2015)
  07/09/2015                   ***NOTICE TO ATTORNEY REGARDING CASE OPENING STATISTICAL
                               ERROR CORRECTION: Notice to attorney Julie North. The following case
                               opening statistical information was erroneously selected/entered: Cause of Action
                               code 42cv1983dr. The following correction(s) have been made to your case entry: the
                               Cause of Action code has been modified to 42cv1983. (laq) (Entered: 07/09/2015)
  07/09/2015                   CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                               assigned to Judge Laura Taylor Swain. Please download and review the Individual
                               Practices of the assigned District Judge, located at
                               http://nysd.uscourts.gov/judges/District. Attorneys are responsible for providing courtesy
                               copies to judges where their Individual Practices require such. Please download and


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                             review the ECF Rules and Instructions, located at http://nysd.uscourts.gov/ecf_filing.php.
                             (laq) (Entered: 07/09/2015)
  07/09/2015                   Magistrate Judge Henry B. Pitman is so designated. (laq) (Entered: 07/09/2015)
  07/09/2015                   Case Designated ECF. (laq) (Entered: 07/09/2015)
  07/09/2015             13 ELECTRONIC SUMMONS ISSUED as to Gladys Carrion. (laq) (Entered: 07/09/2015)
  07/09/2015             14 ELECTRONIC SUMMONS ISSUED as to City of New York. (laq) (Entered:
                            07/09/2015)
  07/09/2015             15 ELECTRONIC SUMMONS ISSUED as to New York State Office of Children and
                            Family Services. (laq) (Main Document 15 replaced on 7/9/2015) (laq). (Entered:
                            07/09/2015)
  07/09/2015             16 ELECTRONIC SUMMONS ISSUED as to Sheila J. Poole. (laq) (Entered: 07/09/2015)
  07/09/2015             17 ELECTRONIC SUMMONS ISSUED as to New York City Administration for Childrens
                            Services. (laq) (Entered: 07/09/2015)
  07/09/2015             18 ELECTRONIC SUMMONS ISSUED as to State Of New York. (laq) (Entered:
                            07/09/2015)
  07/09/2015             19 SUMMONS RETURNED EXECUTED Summons and Complaint, served. Gladys
                            Carrion served on 7/9/2015, answer due 7/30/2015. Service was accepted by B. Mazyck,
                            New York City Law Department. Document filed by Dameon C.; Alexandria R.; ELISA
                            W; Xavion M.; Thierry E.; Brittney W.; Tyrone M.; Ayanna J.; Letitia James; Ana-Maria
                            R.. (North, Julie) (Entered: 07/09/2015)
  07/09/2015             20 SUMMONS RETURNED EXECUTED Summons and Complaint, served. City of New
                            York served on 7/9/2015, answer due 7/30/2015. Service was accepted by B. Mazyck,
                            New York City Law Department. Document filed by Dameon C.; Alexandria R.; ELISA
                            W; Xavion M.; Thierry E.; Brittney W.; Tyrone M.; Ayanna J.; Letitia James; Ana-Maria
                            R.. (North, Julie) (Entered: 07/09/2015)
  07/09/2015             21 SUMMONS RETURNED EXECUTED Summons and Complaint, served. New York
                            City Administration for Childrens Services served on 7/9/2015, answer due 7/30/2015.
                            Service was accepted by B. Mazyck, New York City Law Department. Document filed by
                            Dameon C.; Alexandria R.; ELISA W; Xavion M.; Thierry E.; Brittney W.; Tyrone M.;
                            Ayanna J.; Letitia James; Ana-Maria R.. (North, Julie) (Entered: 07/09/2015)
  07/09/2015             22 SUMMONS RETURNED EXECUTED Summons and Complaint, served. State Of New
                            York served on 7/9/2015, answer due 7/30/2015. Service was accepted by Bryant
                            Gordon, Office of the Attorney General of the State of New York. Document filed by
                            Dameon C.; Alexandria R.; ELISA W; Xavion M.; Thierry E.; Brittney W.; Tyrone M.;
                            Ayanna J.; Letitia James; Ana-Maria R.. (North, Julie) (Entered: 07/09/2015)
  07/09/2015             23 SUMMONS RETURNED EXECUTED Summons and Complaint, served. New York
                            State Office of Children and Family Services served on 7/9/2015, answer due 7/30/2015.
                            Service was accepted by Kerri Barber, Child Welfare Services. Document filed by
                            Dameon C.; Alexandria R.; ELISA W; Xavion M.; Thierry E.; Brittney W.; Tyrone M.;
                            Ayanna J.; Letitia James; Ana-Maria R.. (North, Julie) (Entered: 07/09/2015)
  07/09/2015             24 SUMMONS RETURNED EXECUTED Summons and Complaint, served. Sheila J.
                            Poole served on 7/9/2015, answer due 7/30/2015. Service was accepted by Kerri Barber,
                            Child Welfare Services. Document filed by Dameon C.; Alexandria R.; ELISA W;
                            Xavion M.; Thierry E.; Brittney W.; Tyrone M.; Ayanna J.; Letitia James; Ana-Maria R..
                            (North, Julie) (Entered: 07/09/2015)

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  07/09/2015             25 CERTIFICATE OF SERVICE of NOTICE OF MOTION FOR CLASS
                            CERTIFICATION, DECLARATION OF MARCIA ROBINSON LOWRY IN SUPPORT
                            OF PLAINTIFF CHILDRENS MOTION FOR CLASS CERTIFICATION,
                            DECLARATION OF JULIE A. NORTH IN SUPPORT OF PLAINTIFF CHILDRENS
                            MOTION FOR CLASS CERTIFICATION and MEMORANDUM OF LAW IN
                            SUPPORT OF PLAINTIFF CHILDRENS MOTION FOR CLASS CERTIFICATION
                            served on Gladys Carrion, Commissioner of the New York City Administration for
                            Children's Services, in her official capacity; The City of New York; The New York City
                            Administration for Children's Services on 7/9/15. Service was accepted by B. Mazyck at
                            the New York City Law Department and Bryant Gordon at The Office of the Attorney
                            General for the State of New York. Document filed by Dameon C., Thierry E., Ayanna J.,
                            Letitia James, Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., ELISA W,
                            Brittney W.. (North, Julie) (Entered: 07/09/2015)
  07/09/2015             26 CERTIFICATE OF SERVICE of NOTICE OF MOTION FOR CLASS
                            CERTIFICATION, DECLARATION OF MARCIA ROBINSON LOWRY IN SUPPORT
                            OF PLAINTIFF CHILDREN'S MOTION FOR CLASS CERTIFICATION,
                            DECLARATION OF JULIE A. NORTH IN SUPPORT OF PLAINTIFF CHILDREN'S
                            MOTION FOR CLASS CERTIFICATION and MEMORANDUM OF LAW IN
                            SUPPORT OF PLAINTIFF CHILDREN'S MOTION FOR CLASS CERTIFICATION
                            served on The New York State Office of Children and Family Services on 7/9/15. Service
                            was accepted by Kerri Barber, Child Welfare Services. Document filed by Dameon C.,
                            Thierry E., Ayanna J., Letitia James, Tyrone M., Xavion M., Alexandria R., Ana-Maria
                            R., Olivia R., ELISA W, Brittney W.. (North, Julie) (Entered: 07/09/2015)
  07/09/2015             27 CERTIFICATE OF SERVICE of NOTICE OF MOTION FOR CLASS
                            CERTIFICATION, DECLARATION OF MARCIA ROBINSON LOWRY IN SUPPORT
                            OF PLAINTIFF CHILDREN'S MOTION FOR CLASS CERTIFICATION,
                            DECLARATION OF JULIE A. NORTH IN SUPPORT OF PLAINTIFF CHILDREN'S
                            MOTION FOR CLASS CERTIFICATION and MEMORANDUM OF LAW IN
                            SUPPORT OF PLAINTIFF CHILDREN'S MOTION FOR CLASS CERTIFICATION
                            served on Sheila J. Poole, Acting Commissioner of the New York State Office of
                            Children and Family Services, in her official capacity on 7/9/15. Service was accepted by
                            Kerri Barber, Child Welfare Services. Document filed by Dameon C., Thierry E., Ayanna
                            J., Letitia James, Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., ELISA
                            W, Brittney W.. (North, Julie) (Entered: 07/09/2015)
  07/15/2015             28 NOTICE OF APPEARANCE by Jennifer L. Levy on behalf of Letitia James. (Levy,
                            Jennifer) (Entered: 07/15/2015)
  07/15/2015             29 NOTICE OF APPEARANCE by Neil Anthony Giovanatti on behalf of Gladys Carrion,
                            City of New York, New York City Administration for Childrens Services. (Giovanatti,
                            Neil) (Entered: 07/15/2015)
  07/15/2015             30 NOTICE OF APPEARANCE by Marcia Robinson Lowry on behalf of Dameon C.,
                            Thierry E., Ayanna J., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                            ELISA W, Brittney W.. (Lowry, Marcia) (Entered: 07/15/2015)
  07/16/2015             32 INITIAL CONFERENCE ORDER: Initial Conference set for 10/8/2015 at 11:30 AM in
                            Courtroom 12D, 500 Pearl Street, New York, NY 10007 before Judge Laura Taylor
                            Swain. (See Order.) (Signed by Judge Laura Taylor Swain on 7/16/2015) (ajs) (Entered:
                            07/17/2015)
  07/17/2015             31 NOTICE OF APPEARANCE by Lauren Almquist Lively on behalf of Gladys Carrion,
                            City of New York, New York City Administration for Childrens Services. (Lively,
                            Lauren) (Entered: 07/17/2015)

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  07/21/2015             33 ORDER terminating 9 Motion to Certify Class. It is hereby ORDERED, that the above-
                            referenced motion is hereby TERMINATED for purposes of the Court's docket, without
                            prejudice to reinstatement upon application, upon notice to adverse parties and
                            accompanied by the requisite certification; it is further ORDERED, that no response to
                            the motion is required unless a reinstatement application is granted, in which case the
                            time to respond of any adverse party will be calculated from the date of service of the
                            order of reinstatement and in accordance with Local Civil Rule 6.1 of the United States
                            District Court for the Southern District of New York. (As set forth within this Order.)
                            (Signed by Judge Laura Taylor Swain on 7/20/2015) (ajs) (Entered: 07/21/2015)
  07/23/2015             34 NOTICE OF APPEARANCE by Jonathan L. Pines on behalf of Gladys Carrion, City of
                            New York, New York City Administration for Childrens Services. (Pines, Jonathan)
                            (Entered: 07/23/2015)
  07/27/2015             35 CERTIFICATE OF SERVICE of Initial Conference Order filed July 16th, 2015 served on
                            City of New York; New York City Administration for Children's Services; State Of New
                            York; New York State Office of Children and Family Services; Gladys Carrion,
                            Commissioner of the New York City Administration for Children's Services, in her
                            official capacity; Sheila J. Poole, Acting Commissioner of the New York State Office of
                            Children and Family Services, in her official capacity on July 27, 2014. Service was
                            made by Mail. Document filed by Dameon C., Thierry E., Ayanna J., Letitia James,
                            Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., ELISA W, Brittney W..
                            (North, Julie) (Entered: 07/27/2015)
  07/28/2015             36 FIRST LETTER MOTION for Extension of Time to File Answer addressed to Judge
                            Laura Taylor Swain from Lauren Almquist Lively dated July 28, 2015. Document filed
                            by Gladys Carrion, City of New York, New York City Administration for Childrens
                            Services.(Lively, Lauren) (Entered: 07/28/2015)
  07/28/2015             37 CONSENT LETTER MOTION for Extension of Time to File Answer addressed to Judge
                            Laura Taylor Swain from William H. Bristow III dated July 28, 2015. Document filed by
                            New York State Office of Children and Family Services, Sheila J. Poole, State Of New
                            York.(Bristow, William) (Entered: 07/28/2015)
  07/29/2015             38 ORDER granting 36 Letter Motion for Extension of Time to Answer. The request is
                            granted. DE #36 resolved. (Signed by Judge Laura Taylor Swain on 7/29/2015) (kl)
                            (Entered: 07/29/2015)
  07/29/2015             39 ORDER granting 37 Letter Motion for Extension of Time to Answer. The request is
                            granted. DE #37 resolved. (Signed by Judge Laura Taylor Swain on 7/29/2015) (kl)
                            (Entered: 07/29/2015)
  08/24/2015             40 LETTER MOTION for Local Rule 37.2 Conference addressed to Judge Laura Taylor
                            Swain from Julie A. North dated August 24, 2015. Document filed by Dameon C.,
                            Thierry E., Ayanna J., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                            ELISA W, Brittney W..(North, Julie) (Entered: 08/24/2015)
  09/01/2015             41 MEMO ENDORSEMENT on re: 40 LETTER MOTION for Local Rule 37.2 Conference
                            addressed to Judge Laura Taylor Swain from Julie A. North dated August 24, 2015. filed
                            by Alexandria R., Brittney W., Olivia R., Tyrone M., Xavion M., Ana-Maria R., Thierry
                            E., Ayanna J., ELISA W, Dameon C. ENDORSEMENT: This discovery dispute is now
                            referred to Magistrate Judge Pitman. Counsel are requested to contact Judge Pitman's
                            Chambers promptly to request the conference. SO ORDERED. (Signed by Judge Laura
                            Taylor Swain on 8/31/2015) (ajs) (Entered: 09/01/2015)
  09/01/2015             42 ORDER OF REFERENCE TO A MAGISTRATE JUDGE. Order that case be referred to
                            the Clerk of Court for assignment to a Magistrate Judge for Specific Non-Dispositive

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                             Motion/Dispute: Discovery dispute specified in joint letter of August 24, 2015. (Docket
                             Entry No. 40.) Referred to Magistrate Judge Henry B. Pitman. Motions referred to Henry
                             B. Pitman. (Signed by Judge Laura Taylor Swain on 9/1/2015) (ajs) (Entered:
                             09/01/2015)
  09/02/2015             43 LETTER MOTION for Local Rule 37.2 Conference (Pursuant to Judge Swain's
                            September 1, 2015 Orders - Docket Nos. 41 and 42) addressed to Magistrate Judge Henry
                            B. Pitman from Julie A. North dated September 2, 2015. Document filed by Dameon C.,
                            Thierry E., Ayanna J., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                            ELISA W, Brittney W..(North, Julie) (Entered: 09/02/2015)
  09/08/2015                   A discovery conference is set for 9/14/2015 at 04:00 PM in Courtroom 18A, 500 Pearl
                               Street, New York, NY 10007 before Magistrate Judge Henry B. Pitman. (bh) (Entered:
                               09/08/2015)
  09/14/2015             44 NOTICE OF APPEARANCE by Nicole Marie Peles on behalf of Dameon C., Thierry E.,
                            Ayanna J., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., ELISA W,
                            Brittney W.. (Peles, Nicole) (Entered: 09/14/2015)
  09/14/2015                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 9/14/2015. (bh) (Entered: 09/14/2015)
  09/24/2015             45 LETTER MOTION to Adjourn Conference addressed to Judge Laura Taylor Swain from
                            Jennifer C. Simon dated September 24, 2015. Document filed by New York State Office
                            of Children and Family Services, Sheila J. Poole, State Of New York.(Simon, Jennifer)
                            (Entered: 09/24/2015)
  09/24/2015             46 LETTER MOTION for Extension of Time under Proposed Modification of Initial Conf.
                            Order addressed to Judge Laura Taylor Swain from Jonathan Pines dated September 24,
                            2015. Document filed by Gladys Carrion, City of New York, New York City
                            Administration for Childrens Services. (Attachments: # 1 Appendix Initial Conference
                            Order dated 7/16/15)(Pines, Jonathan) (Entered: 09/24/2015)
  09/26/2015             47 LETTER MOTION for Conference re: 32 Order for Initial Pretrial Conference, 46
                            LETTER MOTION for Extension of Time under Proposed Modification of Initial Conf.
                            Order addressed to Judge Laura Taylor Swain from Jonathan Pines dated September 24,
                            2015., 45 LETTER MOTION to Adjourn Conference addressed to Judge Laura Taylor
                            Swain from Jennifer C. Simon dated September 24, 2015. addressed to Judge Laura
                            Taylor Swain from Nicole M. Peles dated 9/26/15. Document filed by Dameon C.,
                            Thierry E., Ayanna J., Letitia James, Tyrone M., Xavion M., Alexandria R., Ana-Maria
                            R., Olivia R., ELISA W, Brittney W..(Peles, Nicole) (Entered: 09/26/2015)
  09/28/2015             48 ORDER granting 45 Letter Motion to Adjourn Conference. The foregoing scheduled
                            changes are approved. SO ORDERED. Pretrial Conference set for 1/8/2016 at 10:30 AM
                            before Judge Laura Taylor Swain. (Signed by Judge Laura Taylor Swain on 9/25/2015)
                            (ajs) (Entered: 09/28/2015)
  10/06/2015             49 ORDER: A conference having been held in this matter on September 14, 2015 during
                            which a dispute concerning the protective order was discussed, after hearing counsel for
                            all parties, for the reasons stated on the record in open court, it is hereby ORDERED that:
                            1. Plaintiffs' application to require the inclusion of an anti-retaliatory provision in the
                            protective order is denied without prejudice to renewal for good cause shown. If plaintiffs
                            have reason to believe that defendants are engaging in retaliatory conduct, they are
                            encouraged to bring such conduct to my attention promptly. (Signed by Magistrate Judge
                            Henry B. Pitman on 10/6/2015) Copies Sent By Chambers. (lmb) (Entered: 10/06/2015)
  10/20/2015             50 SETTLEMENT AGREEMENT . Document filed by Letitia James.(Levy, Jennifer)
                            (Entered: 10/20/2015)
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  10/22/2015             51 ORDER: A proposed Consent Decree resolving the above-captioned action as against the
                            State Defendants was filed on the electronic docket on October 20, 2105. (Docket Entry
                            No. 50.) This Consent Decree calls for certification of the proposed class in connection
                            with settlement. The parties are hereby reminded that the settlement of a certified class
                            action requires approval under Federal Rule of Civil Procedure 23(e), through procedures
                            including notice, a hearing and the submission of evidence establishing that the
                            settlement is fair, reasonable and adequate. The parties are hereby directed to consult with
                            each other and propose to the Court by October 26, 2015, a schedule for the necessary
                            motion practice. The proposal must be set forth in a letter filed on the ECF system, with a
                            courtesy copy provided to Chambers as required by the Individual Practice Rules of the
                            undersigned. (Signed by Judge Laura Taylor Swain on 10/22/2015) (mro) (Entered:
                            10/23/2015)
  10/23/2015             52 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER
                            MOTION for Conference regarding disclosure of Plaintiff Children's identities to their
                            Family Court attorneys, parents/guardians, and parents'/guardians' attorneys --
                            addressed to Judge Laura Taylor Swain from Jonathan Pines dated 10/23/15. Document
                            filed by Gladys Carrion, City of New York, New York City Administration for Childrens
                            Services.(Pines, Jonathan) Modified on 10/27/2015 (ldi). (Entered: 10/23/2015)
  10/23/2015             53 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            AMENDED LETTER MOTION for Conference (supplying previously omitted exhibit)
                            addressed to Judge Laura Taylor Swain from Jonathan Pines dated 10/23/15. Document
                            filed by Gladys Carrion, City of New York, New York City Administration for Childrens
                            Services. (Attachments: # 1 Appendix Advocates' Press Statement)(Pines, Jonathan)
                            Modified on 10/27/2015 (ldi). (Entered: 10/23/2015)
  10/25/2015             54 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - SECOND
                            LETTER MOTION for Conference (2d amended letter, with exhibit) addressed to Judge
                            Laura Taylor Swain from Jonathan Pines dated October 23, 2015. Document filed by
                            Gladys Carrion, City of New York, New York City Administration for Childrens
                            Services. (Attachments: # 1 Appendix Advocates Groups' Press Statement')(Pines,
                            Jonathan) Modified on 10/26/2015 (db). (Entered: 10/25/2015)
  10/26/2015             55 TRANSCRIPT of Proceedings re: Discovery Hearing held on 9/14/2015 before
                            Magistrate Judge Henry B. Pitman. Court Reporter/Transcriber: Shari Riemer, (518) 581-
                            8973. Transcript may be viewed at the court public terminal or purchased through the
                            Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                            After that date it may be obtained through PACER. Redaction Request due 11/19/2015.
                            Redacted Transcript Deadline set for 11/30/2015. Release of Transcript Restriction set for
                            1/27/2016.(ca) (Entered: 10/26/2015)
  10/26/2015             56 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                            official transcript of a Discovery Hearing proceeding held on 09/14/2015 has been filed
                            by the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                            calendar days to file with the court a Notice of Intent to Request Redaction of this
                            transcript. If no such Notice is filed, the transcript may be made remotely electronically
                            available to the public without redaction after 90 calendar days...(ca) (Entered:
                            10/26/2015)
  10/26/2015                   ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE
                               ERROR. Notice to Attorney Jonathan L. Pines to RE-FILE Document 54 SECOND
                               LETTER MOTION for Conference (2d amended letter, with exhibit) addressed to
                               Judge Laura Taylor Swain from Jonathan Pines dated October 23, 2015. Use the
                               event type Letter found under the event list Other Documents. (db) (Entered:
                               10/26/2015)
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  10/26/2015             57 FOURTH LETTER addressed to Judge Laura Taylor Swain from Jonathan Pines dated
                            October 23, 2015 re: Disclosure of Plaintiff Children's names to their Fam. Ct. lawyers,
                            parents/guardians & their Fam. Ct. lawyers. Document filed by Gladys Carrion, City of
                            New York, New York City Administration for Childrens Services. (Attachments: # 1
                            Appendix Advocate Groups' Press Statement)(Pines, Jonathan) (Entered: 10/26/2015)
  10/26/2015             58 JOINT LETTER addressed to Judge Laura Taylor Swain from Nicole M. Peles dated
                            October 26, 2015 re: October 22, 2015 Order regarding scheduling of events relating to
                            the proposed Consent Decree on behalf of Plaintiffs and State Defendants. Document
                            filed by Dameon C., Thierry E., Ayanna J., Letitia James, Tyrone M., Xavion M.,
                            Alexandria R., Ana-Maria R., Olivia R., ELISA W, Brittney W..(Peles, Nicole) (Entered:
                            10/26/2015)
  10/26/2015             59 LETTER addressed to Judge Laura Taylor Swain from Nicole M. Peles dated October 26,
                            2015 re: City Defendants' October 23, 2015 request to disclose the identities of Named
                            Plaintiff Children (Dkt. No. 57). Document filed by Dameon C., Thierry E., Ayanna J.,
                            Letitia James, Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., ELISA W,
                            Brittney W.. (Attachments: # 1 Exhibit A)(Peles, Nicole) (Entered: 10/26/2015)
  10/27/2015                   ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE
                               ERROR. Notice to Attorney Jonathan L. Pines to RE-FILE Document 52 LETTER
                               MOTION for Conference regarding disclosure of Plaintiff Children's identities to
                               their Family Court attorneys, parents/guardians, and parents'/guardians' attorneys --
                               addressed to Judge Laura Taylor Swain from Jonathan, 53 AMENDED LETTER
                               MOTION for Conference (supplying previously omitted exhibit) addressed to Judge
                               Laura Taylor Swain from Jonathan Pines dated 10/23/15. Use the event type Letter
                               found under the event list Other Documents. (ldi) (Entered: 10/27/2015)
  10/27/2015             60 LETTER addressed to Judge Laura Taylor Swain from Vaughn C. Williams dated
                            10/27/15 re: the October 23, 2015 Request by the City of New York. Document filed by
                            The Legal Aid Society, Lawyers for Children, Inc., The Children's Law Center of New
                            York.(Goldstein, Heidi) (Entered: 10/27/2015)
  10/27/2015             61 MEMO ENDORSEMENT on re: 58 Letter, filed by Alexandria R., Brittney W., Olivia
                            R., Tyrone M., Xavion M., Ana-Maria R., Thierry E., Letitia James, Ayanna J., ELISA
                            W, Dameon C. ENDORSEMENT: The proposed schedule for initiation of the motion
                            practice is approved. The parties' proposed preliminary approval order should make
                            provision for the setting of the additional dates identified above., ( Motions due by
                            11/13/2015.) (Signed by Judge Laura Taylor Swain on 10/27/2015) (lmb) (Entered:
                            10/27/2015)
  10/28/2015             62 FILING ERROR - DEFICIENT DOCKET ENTRY - FILER ERROR (See #63)
                            LETTER addressed to Judge Laura Taylor Swain from Nicole M. Peles dated October 28,
                            2015 re: responding to October 27, 2015 letter from Vaughn Williams (ECF docket 160).
                            Document filed by Dameon C., Thierry E., Ayanna J., Letitia James, Tyrone M., Xavion
                            M., Alexandria R., Ana-Maria R., Olivia R., ELISA W, Brittney W.. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Peles, Nicole) Modified on 10/28/2015 (kj).
                            (Entered: 10/28/2015)
  10/28/2015             63 LETTER addressed to Judge Laura Taylor Swain from Nicole M. Peles dated October 28,
                            2015 re: the October 27, 2015 letter from Vaughn Williams (Dkt. No. 60). Document
                            filed by Dameon C., Thierry E., Ayanna J., Tyrone M., Xavion M., Alexandria R., Ana-
                            Maria R., Olivia R., ELISA W, Brittney W.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                            3 Exhibit C)(Peles, Nicole) (Entered: 10/28/2015)
  10/29/2015             64 ORDER: This matter will be referred to Magistrate Judge Henry B. Pitman for a
                            conference regarding the notice procedure and structure for objections associated with the
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                             anticipated motion for class certification. Judge Pitman's Chambers will contact the
                             parties to schedule a conference at a time convenient to all parties. (As further set forth in
                             this Order.) (Signed by Judge Laura Taylor Swain on 10/29/2015) (spo) (Entered:
                             10/29/2015)
  10/29/2015             65 ORDER OF REFERENCE TO A MAGISTRATE JUDGE. Order that case be referred to
                            the Clerk of Court for assignment to a Magistrate Judge for Specific Non-Dispositive
                            Motion/Dispute Conference regarding notice procedure and structure for objections
                            associated with anticipated motion for class certification. (See Docket Entry Nos. 51 , 61
                            .) Referred to Magistrate Judge Henry B. Pitman. (Signed by Judge Laura Taylor Swain
                            on 10/29/2015) (spo) (Entered: 10/29/2015)
  10/30/2015             66 ORDER: It is my understanding that the parties have reached a tentative settlement in this
                            matter which includes certification of what is currently a putative class. Given the nature
                            of the plaintiffs and the nature of the allegations, this action appears to present unusual
                            issues concerning the method by which notice will be provided to class members and the
                            method by which objections and opt-out notices will be received. Among other things, it
                            is not clear to me to whom notice should be provided nor is it clear how objections
                            should be received. Presumably, objections and opt-out notices must be submitted in a
                            manner that preserves the anonymity of infant class members. Counsel are directed to
                            confer concerning these issues (and any other related issues) and to submit a joint letter to
                            me concerning these matters no later than November 16, 2015. If the parties are unable to
                            agree on a joint proposal, the joint letter should contain each side's proposal. (Signed by
                            Magistrate Judge Henry B. Pitman on 10/30/2015) (kgo) (Entered: 10/30/2015)
  11/05/2015             67 NOTICE OF APPEARANCE by Molly Anne Thomas-Jensen on behalf of Letitia James.
                            (Thomas-Jensen, Molly) (Entered: 11/05/2015)
  11/06/2015             68 LETTER MOTION for Extension of Time to File Joint Motion for Preliminary Approval
                            and Joint Letter addressed to Magistrate Judge Henry Pitman and addressed to Judge
                            Laura Taylor Swain from Nicole M. Peles dated November 6, 2015. Document filed by
                            Dameon C., Thierry E., Ayanna J., Letitia James, Tyrone M., Xavion M., Alexandria R.,
                            Ana-Maria R., Olivia R., ELISA W, Brittney W..(Peles, Nicole) (Entered: 11/06/2015)
  11/09/2015             69 ORDER granting 68 Letter Motion for Extension of Time to File. Application granted.
                            (Signed by Magistrate Judge Henry B. Pitman on 11/9/2015) (lmb) (Entered: 11/09/2015)
  11/09/2015                   Set/Reset Deadlines: Motions due by 12/11/2015. (lmb) (Entered: 11/09/2015)
  11/12/2015             70 LETTER MOTION for Extension of Time to File Answer re: 1 Complaint, addressed to
                            Judge Laura Taylor Swain from Jonathan Pines dated November 12, 2015. Document
                            filed by Gladys Carrion, City of New York, New York City Administration for Childrens
                            Services. Return Date set for 12/4/2015 at 11:59 PM.(Pines, Jonathan) (Entered:
                            11/12/2015)
  11/12/2015             71 LETTER addressed to Judge Laura Taylor Swain from Nicole M. Peles dated November
                            12, 2015 re: City Defendants' November 12, 2015 request for a two week adjournment of
                            the deadline to respond to the Complaint (ECF No. 70). Document filed by Dameon C.,
                            Thierry E., Ayanna J., Letitia James, Tyrone M., Xavion M., Alexandria R., Ana-Maria
                            R., Olivia R., ELISA W, Brittney W..(Peles, Nicole) (Entered: 11/12/2015)
  11/12/2015             72 ORDER granting 70 Letter Motion for Extension of Time to Answer. City Defendant
                            must respond to the Complaint by December 4, 2015. DE #70 resolved. (City of New
                            York answer due 12/4/2015.) (Signed by Judge Laura Taylor Swain on 11/12/2015) (spo)
                            (Entered: 11/12/2015)
  11/17/2015             73 LETTER MOTION for Extension of Time Regarding Dates Set by Initial Conference
                            Order addressed to Judge Laura Taylor Swain from Jonathan Pines dated 11/17/2015.
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                             Document filed by City of New York.(Pines, Jonathan) (Entered: 11/17/2015)
  11/18/2015             74 ORDER granting 73 Letter Motion for Extension of Time. The proposed schedule is
                            approved. The initial pretrial conference will be held on January 22, 2016, at 11:45 AM.
                            DE #73 resolved. (Signed by Judge Laura Taylor Swain on 11/18/2015) (spo) (Entered:
                            11/18/2015)
  11/18/2015                   Set/Reset Hearings: Initial Conference set for 1/22/2016 at 11:45 AM before Judge Laura
                               Taylor Swain. (spo) (Entered: 11/18/2015)
  11/20/2015             75 MOTION to Certify Class . Document filed by Dameon C., Thierry E., Ayanna J., Tyrone
                            M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., ELISA W, Brittney W..(North,
                            Julie) (Entered: 11/20/2015)
  11/20/2015             76 MEMORANDUM OF LAW in Support re: 75 MOTION to Certify Class . . Document
                            filed by Dameon C., Thierry E., Ayanna J., Tyrone M., Xavion M., Alexandria R., Ana-
                            Maria R., Olivia R., ELISA W, Brittney W.. (North, Julie) (Entered: 11/20/2015)
  11/20/2015             77 DECLARATION of Julie A. North in Support re: 75 MOTION to Certify Class ..
                            Document filed by Dameon C., Thierry E., Ayanna J., Tyrone M., Xavion M., Alexandria
                            R., Ana-Maria R., Olivia R., ELISA W, Brittney W.. (North, Julie) (Entered: 11/20/2015)
  11/20/2015             78 DECLARATION of Marcia Robinson Lowry in Support re: 75 MOTION to Certify Class
                            .. Document filed by Dameon C., Thierry E., Ayanna J., Tyrone M., Xavion M.,
                            Alexandria R., Ana-Maria R., Olivia R., ELISA W, Brittney W.. (North, Julie) (Entered:
                            11/20/2015)
  11/24/2015             79 PROTECTIVE ORDER...regarding procedures to be followed that shall govern the
                            handling of confidential material... (Signed by Judge Laura Taylor Swain on 11/24/2015)
                            (lmb) (Entered: 11/24/2015)
  12/04/2015             80 JOINT LETTER MOTION for Extension of Time for Various Deadlines due to
                            Anticipated Filing of Amended Complaint addressed to Judge Laura Taylor Swain from
                            Jonathan Pines dated December 4, 2015. Document filed by Gladys Carrion, City of New
                            York, New York City Administration for Childrens Services.(Pines, Jonathan) (Entered:
                            12/04/2015)
  12/07/2015             81 ORDER granting 80 Letter Motion for Extension of Time for Various Deadlines due to
                            Anticipated Filing of Amended Complaint. The foregoing requests are granted. DE #80
                            resolved. SO ORDERED. (Amended Pleadings due by 12/28/2015.) (Signed by Judge
                            Laura Taylor Swain on 12/7/2015) (kko) (Entered: 12/07/2015)
  12/11/2015             82 LETTER MOTION for Extension of Time to File preliminary approval papers and joint
                            letter addressed to Magistrate Judge Henry Pitman and addressed to Judge Laura Taylor
                            Swain from Nicole M. Peles dated December 11, 2015. Document filed by Dameon C.,
                            Thierry E., Ayanna J., Letitia James, Tyrone M., Xavion M., Alexandria R., Ana-Maria
                            R., Olivia R., ELISA W, Brittney W..(Peles, Nicole) (Entered: 12/11/2015)
  12/14/2015             83 ORDER granting 82 Letter Motion for Extension of Time to File. Application granted.
                            (Signed by Magistrate Judge Henry B. Pitman on 12/14/2015) (lmb) (Entered:
                            12/14/2015)
  12/14/2015             84 MEMO ENDORSEMENT on re: 82 LETTER MOTION for Extension of Time to File
                            preliminary approval papers and joint letter addressed to Magistrate Judge Henry
                            Pitman and addressed to Judge Laura Taylor Swain from Nicole M. Peles dated
                            December 11, 2015. filed by Alexandria R., Brittney W., Olivia R., Tyrone M., Xavion
                            M., Ana-Maria R., Thierry E., Letitia James, Ayanna J., ELISA W, Dameon C.
                            ENDORSEMENT: The foregoing schedule modifications are approved, DE #82

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                             resolved. (Signed by Judge Laura Taylor Swain on 12/14/2015) (mro) (Entered:
                             12/15/2015)
  12/28/2015             86 FILING ERROR - DEFICIENT PLEADING - FILED AGAINST PARTY ERROR
                            - AMENDED COMPLAINT amending 1 Complaint, against All Defendants.Document
                            filed by Olivia R., Dameon C., Alexandria R., ELISA W, Xavion M., Thierry E., Brittney
                            W., Tyrone M., Ayanna J., Letitia James, Ana-Maria R., Valentina T.C., Matthew V.,
                            Mikayla G., Myls J., Jose T.C., Lucas T., Emmanuel S., Ximena T., Malik M.. Related
                            document: 1 Complaint, filed by Alexandria R., Brittney W., Tyrone M., Xavion M.,
                            Ana-Maria R., Thierry E., Letitia James, Ayanna J., ELISA W, Dameon C..
                            (Attachments: # 1 Appendix A to Amended Complaint, # 2 Exhibit 1 to Amended
                            Complaint)(North, Julie) Modified on 12/29/2015 (moh). (Entered: 12/28/2015)
  12/28/2015             87 MOTION to Certify Class ("Notice of Amended Motion for Class Certification").
                            Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                            Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                            Ximena T., Jose T.C., Valentina T.C., Matthew V., ELISA W, Brittney W..(North, Julie)
                            (Entered: 12/28/2015)
  12/28/2015             88 MEMORANDUM OF LAW in Support re: 87 MOTION to Certify Class ("Notice of
                            Amended Motion for Class Certification"). . Document filed by Dameon C., Thierry E.,
                            Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                            Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                            Matthew V., ELISA W, Brittney W.. (North, Julie) (Entered: 12/28/2015)
  12/28/2015             89 DECLARATION of Marcia Robinson Lowry in Support re: 87 MOTION to Certify Class
                            ("Notice of Amended Motion for Class Certification").. Document filed by Dameon C.,
                            Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                            R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                            T.C., Matthew V., ELISA W, Brittney W.. (North, Julie) (Entered: 12/28/2015)
  12/28/2015             90 DECLARATION of Julie A. North in Support re: 87 MOTION to Certify Class ("Notice
                            of Amended Motion for Class Certification").. Document filed by Dameon C., Thierry E.,
                            Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                            Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                            Matthew V., ELISA W, Brittney W.. (North, Julie) (Entered: 12/28/2015)
  12/29/2015                   ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to
                               Attorney Julie North to RE-FILE Document No. 86 Amended Complaint. The filing
                               is deficient for the following reason(s): the All Defendant radio button was selected.
                               Re-file the pleading using the event type Amended Complaint found under the event
                               list Complaints and Other Initiating Documents - attach the correct signed PDF -
                               select the individually named filer/filers - select the individually named party/parties
                               the pleading is against. (moh) (Entered: 12/29/2015)
  12/29/2015             91 AMENDED COMPLAINT amending 1 Complaint, against Gladys Carrion, City of New
                            York, New York City Administration for Childrens Services, New York State Office of
                            Children and Family Services, Sheila J. Poole, State Of New York.Document filed by
                            Olivia R., Myls J., Dameon C., Mikayla G., Alexandria R., Emmanuel S., ELISA W,
                            Xavion M., Thierry E., Valentina T.C., Brittney W., Matthew V., Lucas T., Tyrone M.,
                            Malik M., Ayanna J., Ximena T., Letitia James, Jose T.C., Ana-Maria R.. Related
                            document: 1 Complaint, filed by Alexandria R., Brittney W., Tyrone M., Xavion M.,
                            Ana-Maria R., Thierry E., Letitia James, Ayanna J., ELISA W, Dameon C..
                            (Attachments: # 1 Appendix A to Amended Complaint, # 2 Exhibit 1 to Amended
                            Complaint)(North, Julie) (Entered: 12/29/2015)
  01/18/2016             93 JOINT LETTER MOTION for Extension of Time to File Response to Complaint, to
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                              34/90
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                             Adjourn City Defs' Opp. to Class Certification, and to Re-Schedule Meet & Confer re:
                             Initial Conference Order Obligations; addressed to Judge Laura Taylor Swain from
                             Jonathan Pines dated January 18, 2016. Document filed by Gladys Carrion, City of New
                             York, New York City Administration for Childrens Services.(Pines, Jonathan) (Entered:
                             01/18/2016)
  01/19/2016             94 ORDER granting 93 Letter Motion for Extension of Time to File Response to Complaint,
                            to Adjourn City Defs' Opp. to Class Certification, and to Re-Schedule Meet & Confer re:
                            Initial Conference Order Obligations. The proposed schedule is approved. (Signed by
                            Judge Laura Taylor Swain on 1/19/2016) (kko) (Entered: 01/19/2016)
  01/19/2016                   Set/Reset Deadlines: Gladys Carrion answer due 2/19/2016; City of New York answer
                               due 2/19/2016; New York City Administration for Childrens Services answer due
                               2/19/2016. (kko) (Entered: 01/19/2016)
  01/20/2016             95 MOTION to Approve Settlement ("Notice of Motion for Preliminary Approval of
                            Settlement"). Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J.,
                            Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S.,
                            Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North,
                            Julie) (Entered: 01/20/2016)
  01/20/2016             96 MEMORANDUM OF LAW in Support re: 95 MOTION to Approve Settlement ("Notice
                            of Motion for Preliminary Approval of Settlement"). . Document filed by Dameon C.,
                            Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                            R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                            T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                            Exhibit 3, # 4 Appendix A, # 5 Appendix B)(North, Julie) (Entered: 01/20/2016)
  01/21/2016             97 ORDER: In light of the pending motion practice in this case, the initial pretrial
                            conference currently scheduled for Friday, January 22, 2016, at 11:45 a.m. is hereby
                            adjourned to Thursday, March 31,2016 at 11:00 a.m. (Initial Conference set for 3/31/2016
                            at 11:00 AM before Judge Laura Taylor Swain.) (Signed by Judge Laura Taylor Swain on
                            1/21/2016) (spo) (Entered: 01/21/2016)
  01/25/2016             98 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - NOTICE
                            OF VOLUNTARY DISMISSAL Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of
                            Civil Procedure, the plaintiff(s) and or their counsel(s), hereby give notice that the above-
                            captioned action is voluntarily dismissed, against the defendant(s) All Defendants.
                            Document filed by Letitia James. (Levy, Jennifer) Modified on 1/26/2016 (jk). (Entered:
                            01/25/2016)
  01/25/2016             99 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                            January 25, 2016 re: Response pursuant to the Court's October 30, 2015 Order (ECF no.
                            66). Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Letitia
                            James, Malik M., Tyrone M., Xavion M., New York State Office of Children and Family
                            Services, Sheila J. Poole, Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., State Of
                            New York, Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa
                            W..(North, Julie) (Entered: 01/25/2016)
  01/26/2016                   ***NOTE TO ATTORNEY TO E-MAIL DOCUMENT - NON-ECF DOCUMENT
                               ERROR. Note to Attorney Jennifer Levy to E-MAIL Document No. 98 Notice of
                               voluntary dismissal to judgments@nysd.uscourts.gov. This document is not filed via
                               ECF. (jk) (Entered: 01/26/2016)
  01/26/2016           100 NOTICE OF APPEARANCE by Rachel Jennifer Lamorte on behalf of Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria


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                             R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                             T.C., Matthew V., Brittney W., Elisa W.. (Lamorte, Rachel) (Entered: 01/26/2016)
  01/27/2016           101 NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
                           PLEASE TAKE NOTICE THAT pursuant to F.R.C.P. 41(a)(1) (A)(i) of the Federal Rules
                           of Civil Procedure, counsel for the Plaintiff Public Advocate for the City of New York,
                           Letitia James, hereby gives notice that the abovecaptioned action is voluntarily
                           dismissed, without prejudice against the Defendants the CITY OF NEW YORK, the
                           NEW YORK CITY ADMINISTRATION FOR CHILDREN'S SERVICES; and
                           GLADYS CARRION, Commissioner of the New York City Administration for
                           Children's Services, in her official capacity. (Signed by Judge Laura Taylor Swain on
                           1/27/2016) (spo) (Entered: 01/27/2016)
  01/29/2016           102 LETTER MOTION for Extension of Time and for Scheduling of Parties' Motions, or,
                           Alternatively, for Conference to Discuss Same addressed to Judge Laura Taylor Swain
                           from Jonathan Pines dated January 29, 2016., LETTER MOTION for Conference re: 91
                           Amended Complaint,,, 96 Memorandum of Law in Support of Motion,, 95 MOTION to
                           Approve Settlement ("Notice of Motion for Preliminary Approval of Settlement")., 88
                           Memorandum of Law in Support of Motion, 90 Declaration in Support of Motion, 87
                           MOTION to Certify Class ("Notice of Amended Motion for Class Certification")., 89
                           Declaration in Support of Motion, addressed to Judge Laura Taylor Swain from Jonathan
                           Pines dated January 29, 2016. Document filed by Gladys Carrion, City of New York,
                           New York City Administration for Childrens Services.(Pines, Jonathan) (Entered:
                           01/29/2016)
  02/01/2016           103 LETTER RESPONSE in Opposition to Motion addressed to Judge Laura Taylor Swain
                           from Julie A. North dated February 1, 2016 re: 102 LETTER MOTION for Extension of
                           Time and for Scheduling of Parties' Motions, or, Alternatively, for Conference to Discuss
                           Same addressed to Judge Laura Taylor Swain from Jonathan Pines dated January 29,
                           2016. LETTER MOTION for Conference re: 91 Amended Complaint,,, 96 Memorandum
                           of Law in Support of Motion,, 95 MOTION to Approve Settlement ("Notice of Motion
                           for Preliminary Approval of Settlement")., 88 Memorandum of Law i . Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Letitia James, Malik M., Tyrone
                           M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena
                           T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered:
                           02/01/2016)
  02/03/2016           104 SUPPLEMENTAL LETTER MOTION for Conference re: 87 MOTION to Certify Class
                           ("Notice of Amended Motion for Class Certification")., 89 Declaration in Support of
                           Motion, 96 Memorandum of Law in Support of Motion,, 95 MOTION to Approve
                           Settlement ("Notice of Motion for Preliminary Approval of Settlement")., 88
                           Memorandum of Law in Support of Motion, 90 Declaration in Support of Motion, 103
                           Response in Opposition to Motion,,, 102 LETTER MOTION for Extension of Time and
                           for Scheduling of Parties' Motions, or, Alternatively, for Conference to Discuss Same
                           addressed to Judge Laura Taylor Swain from Jonathan Pines dated January 29, 2016.
                           LETTER MOTION for Conference re: 91 Amended Complaint,,, 96 Memorandum of
                           Law in Support of Motion,, 95 MOTION to Approve Settlement ("Notice of Motion for
                           Preliminary Approval of Settlement")., 88 Memorandum of Law i addressed to Judge
                           Laura Taylor Swain from Jonathan Pines dated February 3, 2016., LETTER MOTION
                           for Extension of Time addressed to Judge Laura Taylor Swain from Jonathan Pines dated
                           February 3, 2016. Document filed by Gladys Carrion, City of New York, New York City
                           Administration for Childrens Services.(Pines, Jonathan) (Entered: 02/03/2016)
  02/04/2016           105 ORDER terminating 102 Letter Motion for Extension of Time; terminating 102 Letter
                           Motion for Conference; terminating 104 Letter Motion for Conference; terminating 104
                           Letter Motion for Extension of Time. The Court's determinations as to the issues raised
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                             are as follows: Any submissions in opposition to the pending motion for preliminary
                             approval of Plaintiffs' proposed settlement with the State Defendants (Docket Entry No.
                             95) must be filed by February 8, 2016. Any reply papers must be filed by February 16,
                             2016. Such submissions, if any, should address the issues that the submitter believes are
                             pertinent to preliminary approval, bearing in mind that there will be an opportunity for
                             opposition submissions in connection with final approval. City Defendants' request for
                             postponement of their time to respond to the Complaint is denied, as is their request for a
                             blanket stay of discovery concerning the claims against them and of the motion practice
                             concerning the proposed settlement with the State Defendants. The scheduled approved
                             by the Court's January 19, 2016, letter endorsement (Docket Entry No. 94) remains in
                             effect. This Order resolves Docket Entry Numbers 102 and 104. SO ORDERED. (Signed
                             by Judge Laura Taylor Swain on 2/3/2016) (kl) (Entered: 02/04/2016)
  02/04/2016                   Set/Reset Deadlines: Responses due by 2/8/2016 Replies due by 2/16/2016. (kl) (Entered:
                               02/04/2016)
  02/08/2016           106 MEMORANDUM OF LAW in Opposition re: 95 MOTION to Approve Settlement
                           ("Notice of Motion for Preliminary Approval of Settlement"). . Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.
                           (Pines, Jonathan) (Entered: 02/08/2016)
  02/08/2016           107 FILING ERROR - DEFICIENT DOCKET ENTRY(SEE 108 Declaration) -
                           DECLARATION of Jonathan Pines in Opposition re: 95 MOTION to Approve
                           Settlement ("Notice of Motion for Preliminary Approval of Settlement").. Document filed
                           by Gladys Carrion, City of New York, New York City Administration for Childrens
                           Services. (Attachments: # 1 Exhibit A: Politico article dated October 29, 2015, # 2
                           Exhibit B: Legal Aid Society Press Statement on Behalf of Children and Parent Advocate
                           Orgs., # 3 Exhibit C: G.K. Order of Preliminary Approval (N.D. OK), # 4 Exhibit D:
                           "Exhibit A" to G.K. Order)(Pines, Jonathan) Modified on 2/9/2016 (db). (Entered:
                           02/08/2016)
  02/09/2016           108 DECLARATION of Jonathan Pines in Opposition re: 95 MOTION to Approve
                           Settlement ("Notice of Motion for Preliminary Approval of Settlement").. Document filed
                           by Gladys Carrion, City of New York, New York City Administration for Childrens
                           Services. (Attachments: # 1 Exhibit A: Politico article dated October 29, 2015, # 2
                           Exhibit B: Legal Aid Society Press Statement on Behalf of Children and Parent Advocate
                           Orgs., # 3 Exhibit C: G.K. Order of Preliminary Approval (N.D. OK), # 4 Exhibit D:
                           "Exhibit A" to G.K. Order)(Pines, Jonathan) (Entered: 02/09/2016)
  02/11/2016           109 LETTER addressed to Judge Laura Taylor Swain from Steckler, Tamara; Freedman,
                           Karen; Simmons, Karen dated February 11, 2016 re: Plaintiffs' Motion for Preliminary
                           Approval of Settlement. Document filed by Lawyers for Children, Inc., The Children's
                           Law Center of New York, The Legal Aid Society.(Freeman, Lisa) (Entered: 02/11/2016)
  02/12/2016           110 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated February 12,
                           2016 re: the February 11, 2016 letter from Tamara Steckler, Karen Freedman, and Karen
                           Simmons (Dkt. No. 109). Document filed by Dameon C., Thierry E., Mikayla G., Ayanna
                           J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W..(North, Julie) (Entered: 02/12/2016)
  02/16/2016            111 NOTICE OF APPEARANCE by Jennifer C. Simon on behalf of New York State Office
                            of Children and Family Services, Sheila J. Poole, State Of New York. (Simon, Jennifer)
                            (Entered: 02/16/2016)
  02/16/2016           112 REPLY MEMORANDUM OF LAW in Support re: 95 MOTION to Approve Settlement
                           ("Notice of Motion for Preliminary Approval of Settlement"). . Document filed by
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                             M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                             T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1
                             [Proposed] Order Preliminarily Approving Settlement)(North, Julie) (Entered:
                             02/16/2016)
  02/16/2016           113 DECLARATION of Julie A. North in Support re: 95 MOTION to Approve Settlement
                           ("Notice of Motion for Preliminary Approval of Settlement").. Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit A:
                           Declaration of Lee Dorrance Prochera, # 2 Exhibit B: Conference Call Invitation)(North,
                           Julie) (Entered: 02/16/2016)
  02/19/2016           114 MOTION to Dismiss Plaintiff Letitia James, Defendants ACS and Gladys Carrion, and
                           all claims brought under the AACWA. Document filed by Gladys Carrion, City of New
                           York, New York City Administration for Childrens Services.(Lively, Lauren) (Entered:
                           02/19/2016)
  02/19/2016           115 MEMORANDUM OF LAW in Support re: 114 MOTION to Dismiss Plaintiff Letitia
                           James, Defendants ACS and Gladys Carrion, and all claims brought under the AACWA. .
                           Document filed by Gladys Carrion, City of New York, New York City Administration for
                           Childrens Services. (Lively, Lauren) (Entered: 02/19/2016)
  02/19/2016           116 DECLARATION of Lauren Almquist Lively in Support re: 114 MOTION to Dismiss
                           Plaintiff Letitia James, Defendants ACS and Gladys Carrion, and all claims brought
                           under the AACWA.. Document filed by Gladys Carrion, City of New York, New York
                           City Administration for Childrens Services. (Lively, Lauren) (Entered: 02/19/2016)
  02/19/2016           117 ANSWER to 91 Amended Complaint,,,. Document filed by Gladys Carrion, City of New
                           York, New York City Administration for Childrens Services.(Giovanatti, Neil) (Entered:
                           02/19/2016)
  03/04/2016           118 ORDER: The Court has received and reviewed the Plaintiff and State Defendants' (the
                           "Moving Parties") January 20, 2016, motion for preliminary approval of the proposed
                           settlement agreement in this case, including approval of the class notice and definition of
                           certified class. (See Docket Entry Nos. 95-96.) The Court has also received and reviewed
                           the submissions in opposition to the Moving Parties' motion for preliminary approval by
                           the City Defendants, The Legal Aid Society, Lawyers For Children and the Childrens
                           Law Center. (See Docket Entry Nos. 106, 108, 109.) The parties are hereby directed to
                           appear for a conference concerning the motion on Monday, March 14, 2016 at 3:00 p.m.
                           (As further set forth in this Order.) (Status Conference set for 3/14/2016 at 03:00 PM
                           before Judge Laura Taylor Swain.) (Signed by Judge Laura Taylor Swain on 3/4/2016)
                           (cf) (Entered: 03/04/2016)
  03/07/2016           119 MEMORANDUM OF LAW in Opposition re: 114 MOTION to Dismiss Plaintiff Letitia
                           James, Defendants ACS and Gladys Carrion, and all claims brought under the AACWA. .
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (North, Julie)
                           (Entered: 03/07/2016)
  03/07/2016           120 MEMORANDUM OF LAW in Opposition re: 114 MOTION to Dismiss Plaintiff Letitia
                           James, Defendants ACS and Gladys Carrion, and all claims brought under the AACWA. .
                           Document filed by Letitia James. (Levy, Jennifer) (Entered: 03/07/2016)
  03/07/2016           121 DECLARATION of Jennifer Levy in Opposition re: 114 MOTION to Dismiss Plaintiff

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                             Letitia James, Defendants ACS and Gladys Carrion, and all claims brought under the
                             AACWA.. Document filed by Letitia James. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                             3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                             Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M)(Levy, Jennifer)
                             (Entered: 03/07/2016)
  03/09/2016           122 CONSENT LETTER MOTION to Adjourn Conference addressed to Judge Laura Taylor
                           Swain from Jennifer C. Simon dated March 9, 2016. Document filed by New York State
                           Office of Children and Family Services, Sheila J. Poole, State Of New York.(Simon,
                           Jennifer) (Entered: 03/09/2016)
  03/10/2016           123 ORDER granting 122 Letter Motion to Adjourn Conference. The hearing is adjourned to
                           Tuesday, April 5, 2016, at 4:00 p.m. The parties to the proposed amended consent decree
                           should endeavor to file proposed revisions to the notice by Friday, April 1, 2016. (Status
                           Conference set for 4/5/2016 at 04:00 PM before Judge Laura Taylor Swain.) (Signed by
                           Judge Laura Taylor Swain on 3/10/2016) (spo) (Entered: 03/10/2016)
  03/10/2016           124 LETTER addressed to Judge Laura Taylor Swain from Neil Giovanatti dated March 10,
                           2016 re: the production of nonparties' confidential information in the Named Plaintiff
                           Children's case files. Document filed by Gladys Carrion, City of New York, New York
                           City Administration for Childrens Services.(Giovanatti, Neil) (Entered: 03/10/2016)
  03/11/2016           125 MEMO ENDORSEMENT on re: 124 Letter, filed by Gladys Carrion, New York City
                           Administration for Childrens Services, City of New York. ENDORSEMENT: This and
                           all other discovery disputes are now referred to Magistrate Judge Pitman. The parties are
                           directed to contact Judge Pitman's chambers. (Signed by Judge Laura Taylor Swain on
                           3/11/2016) (cf) (Entered: 03/11/2016)
  03/11/2016           126 ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be referred to
                           the Clerk of Court for assignment to a Magistrate Judge for Specific Non-Dispositive
                           Motion/Dispute: ALL DISCOVERY DISPUTES (DOC # 124 and all other discovery
                           disputes). Referred to Magistrate Judge Henry B. Pitman. (Signed by Judge Laura Taylor
                           Swain on 3/11/2016) (tn) (Entered: 03/11/2016)
  03/14/2016           127 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           March 14, 2016 re: the production of nonparties' confidential information in the Named
                           Plaintiff Children's case files. Document filed by Gladys Carrion, City of New York, New
                           York City Administration for Childrens Services.(Giovanatti, Neil) (Entered: 03/14/2016)
  03/14/2016           128 LETTER MOTION for Extension of Time to File Response/Reply as to 116 Declaration
                           in Support of Motion, 114 MOTION to Dismiss Plaintiff Letitia James, Defendants ACS
                           and Gladys Carrion, and all claims brought under the AACWA., 115 Memorandum of
                           Law in Support of Motion, addressed to Judge Laura Taylor Swain from Jonathan Pines
                           dated March 14, 2016. Document filed by Gladys Carrion, City of New York, New York
                           City Administration for Childrens Services.(Pines, Jonathan) (Entered: 03/14/2016)
  03/15/2016           129 ORDER granting 128 LETTER MOTION for Extension of Time to File Response/Reply
                           as to 116 Declaration in Support of Motion, 114 MOTION to Dismiss Plaintiff Letitia
                           James, Defendants ACS and Gladys Carrion, and all claims brought under the AACWA.,
                           115 Memorandum of Law in Support of Motion, addressed to Judge Laura Taylor Swain
                           from Jonathan Pines dated March 14, 2016. Document filed by Gladys Carrion, City of
                           New York, New York City Administration for Childrens Services. The requested
                           adjournment is granted. DE #128 resolved. So ordered. (Replies due by 3/24/2016).
                           (Signed by Judge Laura Taylor Swain on 3/14/2016) (rjm) (Entered: 03/15/2016)
  03/15/2016           130 ORDER. The initial pretrial conference in this matter presently scheduled for Thursday,
                           March 31, 2016, at 11:00 a.m. is hereby adjourned to Thursday, May 6, 2016, at 10:00

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                             a.m. This adjournment does not affect the conference regarding Plaintiffs' and State
                             Defendants' settlement approval motion, which remains scheduled for Tuesday, April 5,
                             2016, at 4:00 p.m. (Initial Conference set for 5/6/2016 at 10:00 AM before Judge Laura
                             Taylor Swain.) (Signed by Judge Laura Taylor Swain on 3/14/2016) (rjm) (Entered:
                             03/15/2016)
  03/16/2016           131 NOTICE OF APPEARANCE by Antoinette W Blanchette on behalf of New York State
                           Office of Children and Family Services, Sheila J. Poole, State Of New York. (Blanchette,
                           Antoinette) (Entered: 03/16/2016)
  03/18/2016           132 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           March 18, 2016 re: response to Mr. Giovanatti's March 10, 2016 letter regarding the
                           production of nonparties' confidential information contained in the plaintiff foster
                           children's case files. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J.,
                           Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W.. (Attachments: # 1 Exhibit 1)(North, Julie) (Entered: 03/18/2016)
  03/23/2016           133 LETTER MOTION for Leave to File Excess Pages in City Defendants' Reply
                           Memorandum addressed to Judge Laura Taylor Swain from Lauren Almquist Lively
                           dated March 23, 2016. Document filed by Gladys Carrion, City of New York, New York
                           City Administration for Childrens Services.(Lively, Lauren) (Entered: 03/23/2016)
  03/24/2016           134 ORDER granting 133 Letter Motion for Leave to File Excess Pages. The request is
                           granted. Docket Entry number 133 is resolved. (Signed by Judge Laura Taylor Swain on
                           3/22/2016) (spo) (Entered: 03/24/2016)
  03/24/2016           135 REPLY MEMORANDUM OF LAW in Support re: 114 MOTION to Dismiss Plaintiff
                           Letitia James, Defendants ACS and Gladys Carrion, and all claims brought under the
                           AACWA. . Document filed by Gladys Carrion, City of New York, New York City
                           Administration for Childrens Services. (Lively, Lauren) (Entered: 03/24/2016)
  04/01/2016           136 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER
                           MOTION for Conference proposing additional agenda item addressed to Judge Laura
                           Taylor Swain from Jonathan Pines dated April 1, 2016. Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.(Pines,
                           Jonathan) Modified on 4/4/2016 (db). (Entered: 04/01/2016)
  04/01/2016           137 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated April 1, 2016
                           re: the Court's March 4, 2016 Order (ECF No. 118). Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Letitia James, Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit A)
                           (North, Julie) (Entered: 04/01/2016)
  04/04/2016           138 ORDER re: 124 Letter, filed by Gladys Carrion, New York City Administration for
                           Childrens Services, City of New York, 132 Letter,, filed by Lucas T., Brittney W.,
                           Emmanuel S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C.,
                           Olivia R., Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C.,
                           Elisa W., Matthew V., Ximena T.: that within ten days of the date of this Order, counsel
                           are directed to submit simultaneous letters addressing whether the foregoing categories of
                           information are relevant to the claims or defenses and the feasability of redacting these
                           categories of information. (Signed by Magistrate Judge Henry B. Pitman on 4/4/2016)
                           Copies Transmitted By Chambers. (tn) (Entered: 04/04/2016)
  04/04/2016           139 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated April 4, 2016
                           re: City Defendants' April 1, 2016 letter (ECF No. 136). Document filed by Dameon C.,

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                             Thierry E., Mikayla G., Ayanna J., Myls J., Letitia James, Malik M., Tyrone M., Xavion
                             M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                             T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered:
                             04/04/2016)
  04/04/2016           140 LETTER addressed to Judge Laura Taylor Swain from Audra J. Soloway dated April 4,
                           2016 re: preliminary approval conference. Document filed by Center for Family
                           Representation, Bronx Defenders, Brooklyn Defender Service, Neighborhood Defender
                           Service of Harlem.(Soloway, Audra) (Entered: 04/04/2016)
  04/04/2016                   ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE
                               ERROR. Notice to Attorney Jonathan L. Pines to RE-FILE Document 136
                               LETTER MOTION for Conference proposing additional agenda item addressed to
                               Judge Laura Taylor Swain from Jonathan Pines dated April 1, 2016. Use the event
                               type Letter found under the event list Other Documents. (db) (Entered: 04/04/2016)
  04/04/2016           141 LETTER addressed to Judge Laura Taylor Swain from Jonathan Pines dated April 1,
                           2016 re: Proposed Additional Agenda Item for April 5, 2016, Conference. Document
                           filed by Gladys Carrion, City of New York, New York City Administration for Childrens
                           Services.(Pines, Jonathan) (Entered: 04/04/2016)
  04/05/2016           142 ORDER terminating 75 Motion to Certify Class. In light of Plaintiffs' filing of an
                           Amended Motion for Class Certification on December 28, 2015 (Docket Entry No. 87),
                           the Court respectfully requests that the Clerk terminate Plaintiff's original Motion for
                           Class Certification (Docket Entry No. 75). (Signed by Judge Laura Taylor Swain on
                           4/1/2016) (spo) (Entered: 04/05/2016)
  04/05/2016           143 LETTER addressed to Judge Laura Taylor Swain from Tamara Steckler, Karen Freedman
                           and Karen Simmons dated April 5, 2016 re: Plaintiffs' April 1, 2016 Letter (ECF No.
                           137). Document filed by Lawyers for Children, Inc., The Children's Law Center of New
                           York, The Legal Aid Society.(White, Caroline) (Entered: 04/05/2016)
  04/05/2016                   Minute Entry for proceedings held before Judge Laura Taylor Swain: Motion Hearing
                               held on 4/5/2016 re: 136 LETTER MOTION for Conference proposing additional
                               agenda item addressed to Judge Laura Taylor Swain from Jonathan Pines dated April 1,
                               2016 filed by Gladys Carrion, New York City Administration for Childrens Services,
                               City of New York. Court reporter Eve Giniger present.MOTION HRG held. As stated on
                               the record today, the Court will grant the preliminary approval of the settlement between
                               named Plaintiff children and State Defendants. Approval will be granted upon receipt of
                               an acceptable revised Proposed Notice and a Proposed Order granting preliminary
                               approval. The Court also expects to receive either an amended Consent Decree or a
                               supplemental rider to the present Consent Decree. Once the discovery issue between
                               counsel for the Plaintiffs and for the City are resolved, the Court will set a schedule for
                               the remainder of the briefing with respect to the motion for class certification. (lan)
                               (Entered: 04/11/2016)
  04/13/2016           144 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated April 13,
                           2016 re: the Named Plaintiff Children's Amended Motion for Class Certification.
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: #
                           1 Exhibit 1)(North, Julie) (Entered: 04/13/2016)
  04/14/2016           145 ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be referred to
                           the Clerk of Court for assignment to a Magistrate Judge for Specific Non-Dispositive
                           Motion/Dispute: Discovery and scheduling issues raised in Doc # 144. Referred to

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                             Magistrate Judge Henry B. Pitman. (Signed by Judge Laura Taylor Swain on 4/14/2016)
                             (spo) (Entered: 04/14/2016)
  04/14/2016           146 MEMO ENDORSEMENT on re: 144 Letter re: The Named Plaintiff Children's Amended
                           Motion for Class Certification, filed by Lucas T., Brittney W., Emmanuel S., Tyrone M.,
                           Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R., Mikayla G., Xavion
                           M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W., Matthew V., Ximena T.
                           ENDORSEMENT: The protective order and scheduling issues raised in this letter are
                           now referred to Magistrate Judge Pitman. The parties are directed to contact his chambers
                           promptly to request a conference. (Signed by Judge Laura Taylor Swain on 4/14/2016)
                           (spo) (Entered: 04/14/2016)
  04/14/2016           147 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated April
                           14, 2016 re: the Court's April 4, 2016 Order (ECF No. 138). Document filed by Dameon
                           C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M.,
                           Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C.,
                           Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1)(North,
                           Julie) (Entered: 04/14/2016)
  04/15/2016           148 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge Henry
                           B. Pitman from Julie A. North dated April 15, 2016. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 04/15/2016)
  04/15/2016           149 LETTER addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                           April 15, 2016 re: Response to Plaintiffs' Letter dated 4/13/16 (Dkt. 144). Document filed
                           by Gladys Carrion, City of New York.(Pines, Jonathan) (Entered: 04/15/2016)
  04/15/2016           150 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated April 15,
                           2016 re: the Court's April 5, 2016 Minute Entry. Document filed by Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Letitia James, Malik M., Tyrone M., Xavion M.,
                           Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C.,
                           Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Proposed Consent
                           Decree)(North, Julie) (Entered: 04/15/2016)
  04/18/2016           151 TRANSCRIPT of Proceedings re: conference held on 4/5/2016 before Judge Laura
                           Taylor Swain. Court Reporter/Transcriber: Eve Giniger, (212) 805-0300. Transcript may
                           be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 5/12/2016. Redacted
                           Transcript Deadline set for 5/23/2016. Release of Transcript Restriction set for
                           7/21/2016.(McGuirk, Kelly) (Entered: 04/18/2016)
  04/18/2016           152 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a conference proceeding held on 4/5/16 has been filed by the court
                           reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                           days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                           such Notice is filed, the transcript may be made remotely electronically available to the
                           public without redaction after 90 calendar days...(McGuirk, Kelly) (Entered: 04/18/2016)
  04/19/2016           153 ORDER: The Court has received and reviewed Plaintiffs' Proposed Order Preliminarily
                           Approving the Settlement, which includes the Proposed Notice to class members.
                           (Submitted via email to Orders & Judgments Clerk; Proposed Notice also at Docket
                           Entry No. 150, Attachment # 1, Ex. A (ECF pps. 25-31 ).) The Court directs Plaintiffs to
                           edit the Proposed Notice in accordance with the revisions annexed hereto and submit an

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                             updated version to the Court promptly. (Signed by Judge Laura Taylor Swain on
                             4/19/2016) (mro) (Entered: 04/20/2016)
  04/22/2016           154 ORDER PRELIMINARILY APPROVING SETTLEMENT granting 95 Motion to
                           Approve Settlement. IT IS HEREBY ORDERED AS FOLLOWS: The Court
                           preliminarily approves the Consent Decree as being fair, reasonable and adequate, subject
                           to the rights of Class Members to challenge the fairness, reasonableness or adequacy of
                           the Settlement Agreement and to show cause, if any exists, why a final judgment
                           dismissing this case against State Defendants and all released claims should not be
                           entered following a fairness hearing. The Class is conditionally certified for purposes of
                           providing notice pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2). The
                           Court enters the below schedule for approval of the settlement as further set forth in this
                           Order. (Signed by Judge Laura Taylor Swain on 4/22/2016) (spo) (Entered: 04/22/2016)
  04/22/2016                   Set/Reset Deadlines: Motions due by 7/15/2016. Responses due by 7/22/2016. Replies
                               due by 7/29/2016. Fairness Hearing set for 8/5/2016 at 10:30 AM before Judge Laura
                               Taylor Swain. (spo) (Entered: 04/22/2016)
  04/25/2016           155 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated April 25,
                           2016 re: the Court's April 22, 2016 Order (ECF No. 154). Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Proposed Notice)(North,
                           Julie) (Entered: 04/25/2016)
  04/26/2016           156 MEMO ENDORSEMENT on re: 155 Letter re: The Court's April 22, 2016 Order (ECF
                           No. 154), filed by Lucas T., Brittney W., Emmanuel S., Tyrone M., Thierry E., Ayanna J.,
                           Malik M., Alexandria R., Jose T.C., Olivia R., Mikayla G., Xavion M., Ana-Maria R.,
                           Myls J., Valentina T.C., Dameon C., Elisa W., Matthew V., Ximena T. ENDORSEMENT:
                           The referenced Notice, a copy of which is attached to this endorsed order, is approved.
                           (Signed by Judge Laura Taylor Swain on 4/26/2016) (spo) (Entered: 04/26/2016)
  04/29/2016           157 PRELIMINARY PRETRIAL STATEMENT . Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 04/29/2016)
  05/05/2016           158 ORDER: The initial pretrial conference currently scheduled for Friday, May 6, 2016, at
                           10:00 a.m. is hereby rescheduled to Friday, May 13,2016, at 2:45 p.m. (Initial Conference
                           set for 5/13/2016 at 02:45 PM before Judge Laura Taylor Swain.) (Signed by Judge Laura
                           Taylor Swain on 5/5/2016) (spo) (Entered: 05/05/2016)
  05/10/2016                   A discovery conference is set for 5/23/2016 at 2:30 PM in Courtroom 18A, 500 Pearl
                               Street, New York, NY 10007 before Magistrate Judge Henry B. Pitman. (bh) (Entered:
                               05/10/2016)
  05/13/2016                   Minute Entry for proceedings held before Judge Laura Taylor Swain: Initial Pretrial
                               Conference held on 5/13/2016. Court Reporter Pamela Utter present. IPTC held. PTC
                               Scheduling Order to follow. Case is referred to MJ Pitman for GPT. (Order to follow.)
                               Status report due in 2 weeks. FPTC is scheduled for 2/9/2018 at 11:00am. ( Final Pretrial
                               Conference set for 2/9/2018 at 11:00 AM in Courtroom 12D, 500 Pearl Street, New York,
                               NY 10007 before Judge Laura Taylor Swain.) (lan) (Entered: 05/16/2016)
  05/16/2016           159 PRE-TRIAL SCHEDULING ORDER: Amended Pleadings due by 7/29/2016. Joinder of
                           Parties due by 7/29/2016. Motions due by 11/10/2017. Expert Discovery due by
                           9/29/2017. Discovery due by 6/30/2017. Final Pretrial Conference set for 2/9/2018 at
                           11:00 AM in Courtroom 12D, 500 Pearl Street, New York, NY 10007 before Judge Laura

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                             Taylor Swain. (Signed by Judge Laura Taylor Swain on 5/13/2016) (spo) (Entered:
                             05/16/2016)
  05/16/2016           160 AMENDED ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case
                           be referred to the Clerk of Court for assignment to a Magistrate Judge for General Pretrial
                           (includes scheduling, discovery, non-dispositive pretrial motions, and settlement).
                           Referred to Magistrate Judge Henry B. Pitman. Motions referred to Henry B. Pitman.
                           (Signed by Judge Laura Taylor Swain on 5/13/2016) (spo) Modified on 5/20/2016 (spo).
                           (Entered: 05/16/2016)
  05/16/2016           161 JOINT ELECTRONIC DISCOVERY SUBMISSION NO. 1 AND ORDER: Regarding
                           procedures to be followed that shall govern the handling of confidential material. (Signed
                           by Judge Laura Taylor Swain on 5/13/2016) (spo) (Entered: 05/16/2016)
  05/16/2016           162 RULE 502(d) STIPULATION & ORDER: Regarding procedures to be followed that
                           shall govern the handling of confidential material. (Signed by Judge Laura Taylor Swain
                           on 5/16/2016) (spo) (Entered: 05/16/2016)
  05/19/2016                   REMARK: NOTICE OF SETTLEMENT OF CLASS ACTION LAWSUIT, in English
                               and Spanish, sent to SDNY CJA panel members via email on 5/17/2016. (mt) (Entered:
                               05/19/2016)
  05/23/2016                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 5/23/2016. (bh) (Entered: 05/23/2016)
  05/24/2016           163 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           May 24, 2016 re: Proposed Amended Protective Order. Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.
                           (Attachments: # 1 Text of Proposed Order Amended Protective Order)(Giovanatti, Neil)
                           (Entered: 05/24/2016)
  05/26/2016           164 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated May
                           26, 2016 re: City Defendants' proposed Amended Protective Order (ECF No. 163-1).
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: #
                           1 Exhibit 1, # 2 Exhibit 2)(North, Julie) (Entered: 05/26/2016)
  05/27/2016           165 TRANSCRIPT of Proceedings re: Discovery Hearing held on 5/23/2016 before
                           Magistrate Judge Henry B. Pitman. Court Reporter/Transcriber: Shari Riemer, (518) 581-
                           8973. Transcript may be viewed at the court public terminal or purchased through the
                           Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                           After that date it may be obtained through PACER. Redaction Request due 6/20/2016.
                           Redacted Transcript Deadline set for 6/30/2016. Release of Transcript Restriction set for
                           8/29/2016.(ca) (Entered: 05/27/2016)
  05/27/2016           166 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Discovery Hearing proceeding held on 05/23/2016 has been filed
                           by the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days...(ca) (Entered:
                           05/27/2016)
  05/27/2016           167 STATUS REPORT. in response to Court's Pre-Trial Scheduling Order dated May 13,
                           2016, titled "Report Concerning Plans For A Public Event Notification Website"
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
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                             Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                             (Entered: 05/27/2016)
  05/31/2016           168 TRANSCRIPT of Proceedings re: conference held on 5/13/2016 before Judge Laura
                           Taylor Swain. Court Reporter/Transcriber: Pamela Utter, (212) 805-0300. Transcript may
                           be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 6/24/2016. Redacted
                           Transcript Deadline set for 7/5/2016. Release of Transcript Restriction set for 9/1/2016.
                           (McGuirk, Kelly) (Entered: 05/31/2016)
  05/31/2016           169 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a conference proceeding held on 5/13/16 has been filed by the court
                           reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                           days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                           such Notice is filed, the transcript may be made remotely electronically available to the
                           public without redaction after 90 calendar days...(McGuirk, Kelly) (Entered: 05/31/2016)
  06/01/2016           170 AMENDED PROTECTIVE ORDER...regarding procedures to be followed that shall
                           govern the handling of confidential material...(As further set forth in this Order.) (Signed
                           by Magistrate Judge Henry B. Pitman on 5/31/2016) (cf) (Entered: 06/01/2016)
  06/07/2016           171 FIRST LETTER MOTION for Extension of Time to respond to Plaintiffs' discovery
                           demands addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           June 7, 2016. Document filed by Gladys Carrion, City of New York, New York City
                           Administration for Childrens Services.(Giovanatti, Neil) (Entered: 06/07/2016)
  06/07/2016           172 NOTICE of Intent to Request Redaction by Julie A North re 168 Transcript,,.(North,
                           Julie) (Entered: 06/07/2016)
  06/08/2016           173 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Henry B.
                           Pitman from Julie A. North dated June 8, 2016 re: 171 FIRST LETTER MOTION for
                           Extension of Time to respond to Plaintiffs' discovery demands addressed to Magistrate
                           Judge Henry B. Pitman from Neil Giovanatti dated June 7, 2016. . Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered:
                           06/08/2016)
  06/08/2016           174 LETTER REPLY to Response to Motion addressed to Magistrate Judge Henry B. Pitman
                           from Jonathan Pines dated June 8, 2016 re: 171 FIRST LETTER MOTION for Extension
                           of Time to respond to Plaintiffs' discovery demands addressed to Magistrate Judge Henry
                           B. Pitman from Neil Giovanatti dated June 7, 2016. . Document filed by Gladys Carrion,
                           City of New York. (Pines, Jonathan) (Entered: 06/08/2016)
  06/09/2016           175 ORDER granting in part and denying in part 171 Letter Motion for Extension of Time.
                           The City defendants' application for an extension of time to respond to plaintiffs' first
                           request for the production of documents and first set of interrogatories is granted in part
                           and denied in part. I appreciate that there are multiple deadlines coming up in this matter,
                           but I also appreciate that the Law Department is fortunate to have a large number of
                           talented attorneys. According to its web site, the Law Department has approximately 730
                           attorneys and 690 "support professionals" -- far more professional and paraprofessional
                           personnel than most metropolitan law firms. The City defendants' current application
                           does not disclose how many attorneys it currently has assigned to this matter or nor does
                           it explain why it is unable to assign more attorneys to work on this matter. I conclude that
                           the proposed schedule set forth in plaintiffs' June 8 letter is generally reasonable and
                           adopt it with a slight, 7-day adjustment. The City defendants are to respond to the
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                                45/90
                                                                         A0045
8/9/22, 11:02 AM            Case 22-7, Document 124, 08/10/2022,         3363319,
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                             discovery requests to which they are asserting only general objections no later than July
                             1, 2016 (a 22-day extension). For those discovery request for which the City defendants
                             do not have general objections, the City defendants are to respond no later than July 21,
                             2016; to the extent that the City defendants are producing documents in response to
                             plaintiffs' discovery requests, the documents are also to be produced by July 21, 2016.
                             (Signed by Magistrate Judge Henry B. Pitman on 6/9/2016) (lmb) (Entered: 06/09/2016)
  06/13/2016           176 Federal Rules of Civil Procedures - Rule 5d Memo: The following document(s): Petition
                           to Reject Settlement / Motion to Opt Out of Class Action cannot be immediately filed
                           because: Non Party Filing. Document(s) forwarded to Judge Laura Taylor Swain for
                           approval on 06/13/2016. (ca) (Entered: 06/13/2016)
  06/16/2016           178 ORDER: The City Defendants' objections to the disclosure of the HIV/AIDS status are
                           sustained with respect to non-parties and overruled with respect to the named plaintiffs.
                           The City Defendants are to produce the named plaintiffs' case files on a rolling basis;
                           production of the case files shall be completed by June 30, 2016. The City Defendants'
                           are to file their opposition to the named plaintiffs' motion for class certification by June
                           30, 2016. The named plaintiffs' are to file their reply to the City Defendants' opposition to
                           class certification by July 14, 2016. Set Deadlines/Hearing as to 87 MOTION to Certify
                           Class ("Notice of Amended Motion for Class Certification"). :( Responses due by
                           6/30/2016, Replies due by 7/14/2016.) (Signed by Magistrate Judge Henry B. Pitman on
                           6/16/2016) Copies Transmitted by Chambers. (tro) (Entered: 06/17/2016)
  06/20/2016           179 ENDORSED LETTER addressed to Ms. Krajick from Julie A. North dated 6/13/2016 re:
                           I respectfully request that you inform the Clerk for the Criminal Justice Act Panel for the
                           Southern District of New York of this URL and pass along my request that the existence
                           of and URL for this website be shared with all attorneys who represent children or
                           parents in New York State Family Court proceedings in New York City.
                           ENDORSEMENT: The Clerk of Court is respectfully requested to share the URL and the
                           foregoing request with the member of the CJA Panel. SO ORDERED. (Signed by Judge
                           Laura Taylor Swain on 6/20/2016) (kl) Modified on 6/21/2016 (kl). (Entered:
                           06/20/2016)
  06/21/2016           180 MOTION to Intervene for the Limited Purpose of Objecting to The Proposed Settlement.
                           Document filed by Lawyers for Children, Inc., The Children's Law Center of New York,
                           The Legal Aid Society.(Barenholtz, Celia) (Entered: 06/21/2016)
  06/21/2016           181 MOTION to Intervene for the Limited Purpose of Objecting to the Consent Decree.
                           Document filed by Bronx Defenders, Brooklyn Defender Service, Center for Family
                           Representation, Neighborhood Defender Service of Harlem.(Soloway, Audra) (Entered:
                           06/21/2016)
  06/21/2016           182 MEMORANDUM OF LAW in Support re: 181 MOTION to Intervene for the Limited
                           Purpose of Objecting to the Consent Decree. . Document filed by Bronx Defenders,
                           Brooklyn Defender Service, Center for Family Representation, Neighborhood Defender
                           Service of Harlem. (Soloway, Audra) (Entered: 06/21/2016)
  06/21/2016           183 DECLARATION of Charles J. Hamilton in Support re: 181 MOTION to Intervene for the
                           Limited Purpose of Objecting to the Consent Decree.. Document filed by Bronx
                           Defenders, Brooklyn Defender Service, Center for Family Representation, Neighborhood
                           Defender Service of Harlem. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                           4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Certificate of Service)(Soloway, Audra)
                           (Entered: 06/21/2016)
  06/21/2016           184 AFFIRMATION of Karen J. Freedman in Support re: 180 MOTION to Intervene for the
                           Limited Purpose of Objecting to The Proposed Settlement.. Document filed by Lawyers

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                               46/90
                                                                         A0046
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                             for Children, Inc., The Children's Law Center of New York, The Legal Aid Society.
                             (Barenholtz, Celia) (Entered: 06/21/2016)
  06/21/2016           185 AFFIRMATION of Tamara A. Steckler in Support re: 180 MOTION to Intervene for the
                           Limited Purpose of Objecting to The Proposed Settlement.. Document filed by Lawyers
                           for Children, Inc., The Children's Law Center of New York, The Legal Aid Society.
                           (Barenholtz, Celia) (Entered: 06/21/2016)
  06/21/2016           187 Objection to the Proposed Settlement. Document filed by Lawyers for Children, Inc., The
                           Children's Law Center of New York, The Legal Aid Society. (Barenholtz, Celia)
                           (Entered: 06/21/2016)
  06/21/2016           188 MEMORANDUM OF LAW in Support re: 180 MOTION to Intervene for the Limited
                           Purpose of Objecting to The Proposed Settlement. . Document filed by Lawyers for
                           Children, Inc., The Children's Law Center of New York, The Legal Aid Society.
                           (Attachments: # 1 Exhibit)(Barenholtz, Celia) (Entered: 06/21/2016)
  06/21/2016           189 NOTICE OF APPEARANCE by Celia Goldwag Barenholtz on behalf of Lawyers for
                           Children, Inc., The Children's Law Center of New York, The Legal Aid Society.
                           (Barenholtz, Celia) (Entered: 06/21/2016)
  06/21/2016           190 NOTICE OF APPEARANCE OF PRO BONO COUNSEL by Victoria Anna Foltz on
                           behalf of Lawyers for Children, Inc., The Children's Law Center of New York, The Legal
                           Aid Society (Foltz, Victoria) (Entered: 06/21/2016)
  06/21/2016           191 NOTICE OF APPEARANCE OF PRO BONO COUNSEL by Stephanie B Turner on
                           behalf of Lawyers for Children, Inc., The Children's Law Center of New York, The Legal
                           Aid Society (Turner, Stephanie) (Entered: 06/21/2016)
  06/21/2016           192 NOTICE OF APPEARANCE OF PRO BONO COUNSEL by Kara Corinne Wilson on
                           behalf of Lawyers for Children, Inc., The Children's Law Center of New York, The Legal
                           Aid Society (Wilson, Kara) (Entered: 06/21/2016)
  06/21/2016                   ***STRICKEN DOCUMENT. Deleted document number 186 from the case record.
                               The document was stricken from this case pursuant to 201 Order on Motion for
                               Leave to File Document. (cf) Modified on 6/27/2016 (cf). (Entered: 06/27/2016)
  06/22/2016           193 NOTICE OF APPEARANCE by Lisa Freeman on behalf of The Legal Aid Society.
                           (Freeman, Lisa) (Entered: 06/22/2016)
  06/22/2016           194 NOTICE OF APPEARANCE by Tamara A. Steckler on behalf of The Legal Aid Society.
                           (Steckler, Tamara) (Entered: 06/22/2016)
  06/22/2016           195 NOTICE OF APPEARANCE by Theresa Beth Moser on behalf of The Legal Aid
                           Society. (Moser, Theresa) (Entered: 06/22/2016)
  06/22/2016           196 NOTICE OF APPEARANCE by Betsy Kramer on behalf of Lawyers for Children, Inc..
                           (Kramer, Betsy) (Entered: 06/22/2016)
  06/22/2016           197 NOTICE OF APPEARANCE by Karen J. Freedman on behalf of Lawyers for Children,
                           Inc.. (Freedman, Karen) (Entered: 06/22/2016)
  06/24/2016           198 LETTER MOTION for Leave to File Corrected Affirmation of Karen P. Simmons and to
                           strike the current Simmons Affirmation (ECF No. 186) from the docket addressed to
                           Judge Laura Taylor Swain from Celia Goldwag Barenholtz dated June 24, 2016.
                           Document filed by Lawyers for Children, Inc., The Children's Law Center of New York,
                           The Legal Aid Society.(Barenholtz, Celia) (Entered: 06/24/2016)
  06/24/2016           199 ORDER: The Court has received, from interested parties, two motions to intervene for
                           the purpose of objecting to the proposed settlement agreement in this case. (See Docket
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                               47/90
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                             Entry Nos. 180-81.) In view of the short time between the motion filing dates and the
                             fairness hearing scheduled for August 5, 2016, the parties are directed to file any
                             opposition to the intervention motions no later than Friday, July 1, 2016. Any reply briefs
                             must be filed no later than Thursday, July 7, 2016. Set Deadlines/Hearing as to 180
                             MOTION to Intervene for the Limited Purpose of Objecting to The Proposed Settlement,
                             181 MOTION to Intervene for the Limited Purpose of Objecting to the Consent Decree:
                             Responses due by 7/1/2016, Replies due by 7/7/2016. (Signed by Judge Laura Taylor
                             Swain on 6/24/2016) (tn) (Entered: 06/24/2016)
  06/27/2016           200 ENDORSED LETTER addressed to Judge Laura Taylor Swain from Julie North dated
                           6/21/2016 re: redactions proposed by Named Plaintiff Children. ENDORSEMENT: The
                           Court has reviewed the proposed redactions and the counter-proposed redactions. The
                           Court will direct the Court Reporter to make the city's proposed redactions and in
                           addition, to redact the parent's name and the initials of children that appear on lines 12,
                           16 and 17 of page 11 of the transcript. The unredacted version is directed to be filed
                           under seal. (Signed by Judge Laura Taylor Swain on 6/27/2016) (cf) (Entered:
                           06/27/2016)
  06/27/2016                   Transmission to Sealed Records Clerk. Transmitted re: 200 Endorsed Letter to the Sealed
                               Records Clerk for the sealing or unsealing of document or case. (cf) (Entered:
                               06/27/2016)
  06/27/2016           201 ORDER granting 198 Letter Motion for Leave to File Document. The requests are
                           granted. DE #198 resolved. (Signed by Judge Laura Taylor Swain on 6/27/2016) (cf)
                           (Entered: 06/27/2016)
  06/28/2016           202 AFFIRMATION of Karen P. Simmons in Support re: 180 MOTION to Intervene for the
                           Limited Purpose of Objecting to The Proposed Settlement.. Document filed by Lawyers
                           for Children, Inc., The Children's Law Center of New York, The Legal Aid Society.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Barenholtz, Celia) (Entered: 06/28/2016)
  06/28/2016           203 CONSENT LETTER MOTION for Leave to File Excess Pages addressed to Judge Laura
                           Taylor Swain from Lauren Almquist Lively dated June 28, 2016. Document filed by
                           Gladys Carrion, City of New York, New York City Administration for Childrens
                           Services.(Lively, Lauren) (Entered: 06/28/2016)
  06/29/2016           204 ORDER granting 203 Letter Motion for Leave to File Excess Pages. The request is
                           granted. DE # 203 resolved. (Signed by Judge Laura Taylor Swain on 6/28/2016) (cf)
                           (Entered: 06/29/2016)
  06/30/2016           205 MEMORANDUM OF LAW in Opposition re: 87 MOTION to Certify Class ("Notice of
                           Amended Motion for Class Certification"). . Document filed by Gladys Carrion, City of
                           New York, New York City Administration for Childrens Services. (Giovanatti, Neil)
                           (Entered: 06/30/2016)
  06/30/2016           206 DECLARATION of Jacqueline McKnight in Opposition re: 87 MOTION to Certify Class
                           ("Notice of Amended Motion for Class Certification").. Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.
                           (Giovanatti, Neil) (Entered: 06/30/2016)
  06/30/2016           207 DECLARATION of Kerri Smith in Opposition re: 87 MOTION to Certify Class ("Notice
                           of Amended Motion for Class Certification").. Document filed by Gladys Carrion, City of
                           New York, New York City Administration for Childrens Services. (Giovanatti, Neil)
                           (Entered: 06/30/2016)
  06/30/2016           208 DECLARATION of Jonathan Pines in Opposition re: 87 MOTION to Certify Class
                           ("Notice of Amended Motion for Class Certification").. Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                                48/90
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                             (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Giovanatti,
                             Neil) (Entered: 06/30/2016)
  06/30/2016           209 DECLARATION of Christopher J. Mucciaccio in Opposition re: 87 MOTION to Certify
                           Class ("Notice of Amended Motion for Class Certification").. Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.
                           (Giovanatti, Neil) (Entered: 06/30/2016)
  06/30/2016           210 DECLARATION of Suzanne Niedzwiecki-Lattime in Opposition re: 87 MOTION to
                           Certify Class ("Notice of Amended Motion for Class Certification").. Document filed by
                           Gladys Carrion, City of New York, New York City Administration for Childrens
                           Services. (Giovanatti, Neil) (Entered: 06/30/2016)
  06/30/2016           211 DECLARATION of Jenny Woo in Opposition re: 87 MOTION to Certify Class ("Notice
                           of Amended Motion for Class Certification").. Document filed by Gladys Carrion, City of
                           New York, New York City Administration for Childrens Services. (Giovanatti, Neil)
                           (Entered: 06/30/2016)
  06/30/2016           212 DECLARATION of Ron Cerreta in Opposition re: 87 MOTION to Certify Class ("Notice
                           of Amended Motion for Class Certification").. Document filed by Gladys Carrion, City of
                           New York, New York City Administration for Childrens Services. (Giovanatti, Neil)
                           (Entered: 06/30/2016)
  06/30/2016           213 DECLARATION of Diane Bahrenburg in Opposition re: 87 MOTION to Certify Class
                           ("Notice of Amended Motion for Class Certification").. Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.
                           (Giovanatti, Neil) (Entered: 06/30/2016)
  07/01/2016           214 RESPONSE to Motion re: 180 MOTION to Intervene for the Limited Purpose of
                           Objecting to The Proposed Settlement., 181 MOTION to Intervene for the Limited
                           Purpose of Objecting to the Consent Decree. . Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 07/01/2016)
  07/07/2016           215 REPLY to Response to Motion re: 181 MOTION to Intervene for the Limited Purpose of
                           Objecting to the Consent Decree. . Document filed by Bronx Defenders, Brooklyn
                           Defender Service, Center for Family Representation, Neighborhood Defender Service of
                           Harlem. (Soloway, Audra) (Entered: 07/07/2016)
  07/12/2016           216 MEMORANDUM ORDER granting 180 Motion to Intervene; granting 181 Motion to
                           Intervene. In light of the foregoing, the Court grants both the Parent Advocates' and the
                           Children's Advocates' unopposed motions for intervention for substantially the reasons
                           set forth in their respective memoranda of law. (See Docket Entry Nos. 182, 188.) The
                           Parent Advocates and Children's Advocates are permitted to intervene in this action for
                           the limited purpose of objecting to the proposed settlement agreement between the
                           Plaintiffs and the State Defendants. The Parent Advocates must file their objections to the
                           proposed settlement no later than Friday, July 22, 2016. This Memorandum Order
                           resolves Docket Entry Numbers 180 and 181. (Signed by Judge Laura Taylor Swain on
                           7/12/2016) (kko) (Entered: 07/12/2016)
  07/12/2016           217 FILING ERROR - DEFICIENT DOCKET ENTRY (SEE 218 Letter Motion) -
                           LETTER MOTION for Leave to File Excess Pages for memoranda of law and replies
                           addressed to Judge Laura Taylor Swain from Julie A. North dated July 12, 2016.
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Letitia James,
                           Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S.,


https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                               49/90
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                             Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North,
                             Julie) Modified on 7/13/2016 (db). (Entered: 07/12/2016)
  07/12/2016           218 LETTER MOTION for Leave to File Excess Pages for memoranda of law and replies
                           addressed to Judge Laura Taylor Swain from Julie A. North dated July 12, 2016.
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 07/12/2016)
  07/13/2016           219 ORDER terminating 217 Letter Motion for Leave to File Excess Pages; granting 218
                           Letter Motion for Leave to File Excess Pages. The requests are granted. DE #217
                           resolved. (Signed by Judge Laura Taylor Swain on 7/12/2016) (cf) (Entered: 07/13/2016)
  07/14/2016           220 REPLY MEMORANDUM OF LAW in Support re: 87 MOTION to Certify Class
                           ("Notice of Amended Motion for Class Certification"). . Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 07/14/2016)
  07/14/2016           221 Objection to the Proposed Settlement. Document filed by Bronx Defenders, Brooklyn
                           Defender Service, Center for Family Representation, Neighborhood Defender Service of
                           Harlem. (Soloway, Audra) (Entered: 07/14/2016)
  07/14/2016           222 DECLARATION of Charles J. Hamilton re: 221 Objection (non-motion) . Document
                           filed by Bronx Defenders, Brooklyn Defender Service, Center for Family Representation,
                           Neighborhood Defender Service of Harlem. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                           # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Soloway, Audra) (Entered: 07/14/2016)
  07/15/2016           223 MOTION to Approve Settlement ("Notice of Motion for Final Approval of Settlement").
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 07/15/2016)
  07/15/2016           224 MEMORANDUM OF LAW in Support re: 223 MOTION to Approve Settlement
                           ("Notice of Motion for Final Approval of Settlement"). . Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 07/15/2016)
  07/15/2016           225 DECLARATION of Julie A. North in Support re: 223 MOTION to Approve Settlement
                           ("Notice of Motion for Final Approval of Settlement").. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                           Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(North, Julie)
                           (Entered: 07/15/2016)
  07/15/2016           226 DECLARATION of Marcia Robinson Lowry in Support re: 223 MOTION to Approve
                           Settlement ("Notice of Motion for Final Approval of Settlement").. Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered:
                           07/15/2016)
  07/19/2016           227 LETTER MOTION for Extension of Time addressed to Judge Laura Taylor Swain from
                           Jonathan Pines dated July 19, 2016., LETTER MOTION for Leave to File Excess Pages
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                              50/90
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                             addressed to Judge Laura Taylor Swain from Jonathan Pines dated July 19, 2016.( Return
                             Date set for 8/5/2016 at 10:30 AM.) Document filed by Gladys Carrion, City of New
                             York, New York City Administration for Childrens Services.(Pines, Jonathan) (Entered:
                             07/19/2016)
  07/20/2016           228 LETTER RESPONSE in Opposition to Motion addressed to Judge Laura Taylor Swain
                           from Julie A. North dated July 20, 2016 re: 227 LETTER MOTION for Extension of
                           Time addressed to Judge Laura Taylor Swain from Jonathan Pines dated July 19, 2016.
                           LETTER MOTION for Leave to File Excess Pages addressed to Judge Laura Taylor
                           Swain from Jonathan Pines dated July 19, 2016. . Document filed by Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R.,
                           Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 07/20/2016)
  07/21/2016           229 NOTICE OF APPEARANCE by Sarah W Jaffe on behalf of Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Jaffe, Sarah) (Entered: 07/21/2016)
  07/21/2016           230 ORDER granting 227 Letter Motion for Leave to File Excess Pages. The page limit
                           extension is granted. The brief must be filed by July 22, 2016 (Friday). The declaration
                           must be filed no later than July 25, 2016 (Monday.) All other scheduling remains in
                           place. DE #227 resolved. (Signed by Judge Laura Taylor Swain on 7/20/2016) (cf)
                           (Entered: 07/21/2016)
  07/21/2016           238 LETTER from Angeline Montauban dated 7/20/2016 re: Speaking at August 5th Hearing.
                           (rdz) (Entered: 07/26/2016)
  07/22/2016           231 MEMORANDUM OF LAW in Opposition re: 223 MOTION to Approve Settlement
                           ("Notice of Motion for Final Approval of Settlement"). . Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.
                           (Giovanatti, Neil) (Entered: 07/22/2016)
  07/22/2016           232 DECLARATION of Jonathan Pines in Opposition re: 223 MOTION to Approve
                           Settlement ("Notice of Motion for Final Approval of Settlement").. Document filed by
                           Gladys Carrion, City of New York, New York City Administration for Childrens
                           Services. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Giovanatti, Neil) (Entered:
                           07/22/2016)
  07/22/2016           233 LETTER addressed to Judge Laura Taylor Swain from Jonathan Pines dated July 22,
                           2016 re: Apprising Court of No Further Opposition Submission from City Defendants.
                           Document filed by Gladys Carrion, City of New York, New York City Administration for
                           Childrens Services.(Pines, Jonathan) (Entered: 07/22/2016)
  07/22/2016           234 MEMORANDUM OF LAW in Opposition re: 223 MOTION to Approve Settlement
                           ("Notice of Motion for Final Approval of Settlement"). . Document filed by Bronx
                           Defenders, Brooklyn Defender Service, Center for Family Representation, Neighborhood
                           Defender Service of Harlem. (Soloway, Audra) (Entered: 07/22/2016)
  07/22/2016           235 DECLARATION of Charles J. Hamilton in Opposition re: 223 MOTION to Approve
                           Settlement ("Notice of Motion for Final Approval of Settlement").. Document filed by
                           Bronx Defenders, Brooklyn Defender Service, Center for Family Representation,
                           Neighborhood Defender Service of Harlem. (Attachments: # 1 Exhibit A)(Soloway,
                           Audra) (Entered: 07/22/2016)
  07/22/2016           236 DECLARATION of Dr. John Mattingly in Opposition re: 223 MOTION to Approve
                           Settlement ("Notice of Motion for Final Approval of Settlement").. Document filed by

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                             Bronx Defenders, Brooklyn Defender Service, Center for Family Representation,
                             Neighborhood Defender Service of Harlem. (Soloway, Audra) (Entered: 07/22/2016)
  07/22/2016           237 DECLARATION of Professor Christine Gottlieb in Opposition re: 223 MOTION to
                           Approve Settlement ("Notice of Motion for Final Approval of Settlement").. Document
                           filed by Bronx Defenders, Brooklyn Defender Service, Center for Family Representation,
                           Neighborhood Defender Service of Harlem. (Soloway, Audra) (Entered: 07/22/2016)
  07/26/2016           239 LETTER MOTION for Leave to File Excess Pages for reply briefs addressed to Judge
                           Laura Taylor Swain from Julie A. North dated July 26, 2016. Document filed by Dameon
                           C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M.,
                           Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C.,
                           Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 07/26/2016)
  07/27/2016           240 ORDER granting 239 Letter Motion for Leave to File Excess Pages. The requested page
                           limit extension is granted. (Signed by Judge Laura Taylor Swain on 7/26/2016) (cf)
                           (Entered: 07/27/2016)
  07/28/2016           242 LETTER from Angeline Montauban dated 7/28/2016 re: OCFS Settlement hearing
                           August 5, 2016. (kl) (Entered: 07/29/2016)
  07/29/2016           241 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER
                           MOTION to Compel City Defendants to produce addressed to Magistrate Judge Henry B.
                           Pitman from Julie A. North dated July 29, 2016. Document filed by Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R.,
                           Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W..(North, Julie) Modified on 8/10/2016 (db). (Entered:
                           07/29/2016)
  07/29/2016           243 NOTICE OF APPEARANCE by Audra Jan Soloway on behalf of Bronx Defenders,
                           Brooklyn Defender Service, Center for Family Representation, Neighborhood Defender
                           Service of Harlem. (Soloway, Audra) (Entered: 07/29/2016)
  07/29/2016           244 NOTICE OF APPEARANCE by Daniel H. Levi on behalf of Bronx Defenders, Brooklyn
                           Defender Service, Center for Family Representation, Neighborhood Defender Service of
                           Harlem. (Levi, Daniel) (Entered: 07/29/2016)
  07/29/2016           245 NOTICE OF APPEARANCE by Luke Xavier Flynn-Fitzsimmons on behalf of Bronx
                           Defenders, Brooklyn Defender Service, Center for Family Representation, Neighborhood
                           Defender Service of Harlem. (Flynn-Fitzsimmons, Luke) (Entered: 07/29/2016)
  07/29/2016           246 NOTICE OF APPEARANCE by Charles Jordan Hamilton on behalf of Bronx Defenders,
                           Brooklyn Defender Service, Center for Family Representation, Neighborhood Defender
                           Service of Harlem. (Hamilton, Charles) (Entered: 07/29/2016)
  07/29/2016           247 REPLY MEMORANDUM OF LAW in Support re: 223 MOTION to Approve Settlement
                           ("Notice of Motion for Final Approval of Settlement"). . Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 07/29/2016)
  07/29/2016           248 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER
                           RESPONSE in Opposition to Motion addressed to Magistrate Judge Henry B. Pitman
                           from Jonathan Pines dated July 29, 2016 re: 241 LETTER MOTION to Compel City
                           Defendants to produce addressed to Magistrate Judge Henry B. Pitman from Julie A.
                           North dated July 29, 2016. . Document filed by Gladys Carrion, City of New York, New
                           York City Administration for Childrens Services. (Attachments: # 1 Exhibit Plaintiffs'


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                             First Document Requests)(Pines, Jonathan) Modified on 8/10/2016 (db). (Entered:
                             07/29/2016)
  08/01/2016           249 LETTER RESPONSE in Support of Motion addressed to Magistrate Judge Henry B.
                           Pitman from Julie A. North dated August 1, 2016 re: 241 LETTER MOTION to Compel
                           City Defendants to produce addressed to Magistrate Judge Henry B. Pitman from Julie A.
                           North dated July 29, 2016. . Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(North, Julie) (Entered:
                           08/01/2016)
  08/01/2016           250 ORDER: The following time limits will apply to arguments and oral objections regarding
                           the proposed settlement (including any arguments regarding standing to object) at the
                           fairness hearing that will be held at 10:30 a.m. on Friday, August 5, 2016, in Courtroom
                           12D, 500 Pearl Street, New York, New York 10007. (As further set forth in this Order.)
                           (Signed by Judge Laura Taylor Swain on 8/1/2016) (cf) (Entered: 08/01/2016)
  08/03/2016           251 LETTER addressed to Judge Laura Taylor Swain from Molly Thomas-Jensen dated
                           August 3, 2016 re: Request that Plaintiff James be allowed to address the Court.
                           Document filed by Letitia James.(Thomas-Jensen, Molly) (Entered: 08/03/2016)
  08/04/2016           252 MEMO ENDORSEMENT on re: 251 Letter filed by Letitia James. ENDORSEMENT:
                           Ms James may participate in the Proponents' time allotment. (Signed by Judge Laura
                           Taylor Swain on 8/4/2016) (cf) (Entered: 08/04/2016)
  08/05/2016                   Minute Entry for proceedings held before Judge Laura Taylor Swain: Fairness Hearing
                               held on 8/5/2016. Court Reporter Tara Jones present. FAIRNESS HEARING held. As
                               stated on the record, the Court takes the proposed settlement under advisement and the
                               parties will be notified when a written decision has been rendered. (lan) (Entered:
                               08/08/2016)
  08/05/2016           255 LETTER addressed to Judge Laura Taylor Swain from Angeline Montauban re: My full
                           testimony a testimony from a mother. (rdz) (Entered: 08/10/2016)
  08/08/2016           253 ORDER: The City defendants are ordered (1) to complete their production of documents
                           in response to plaintiffs' May 6, 2016 document request no later than August 18, 2016
                           and (2) to commence immediately the production of documents that the City defendants
                           state they will produce in their July 29, 2016 letter (Docket Item 248). Because this the
                           second time I have had to order the City defendants to produce documents in response to
                           plaintiffs' May 6, 2016 document request, further disobedience by the City defendants
                           will result in the imposition of sanctions. See Fed.R.Civ.P. 37(b). (As further set forth in
                           this Order) (Signed by Magistrate Judge Henry B. Pitman on 8/8/2016) Copies Sent By
                           Chambers. (lmb) (Entered: 08/09/2016)
  08/11/2016           257 ORDER: For the reasons stated in a sealed order of the Court dated August 11, 2016, the
                           Clerk of Court is requested to remove docket entry no. 256 from the public docket, and
                           file that document under seal. (Signed by Judge Laura Taylor Swain on 8/11/2016) (cf)
                           (Entered: 08/11/2016)
  08/11/2016                   Transmission to Sealed Records Clerk. Transmitted re: 257 Order, to the Sealed Records
                               Clerk for the sealing or unsealing of document or case. (cf) (Entered: 08/11/2016)
  08/11/2016           258 SEALED DOCUMENT placed in vault.(mps) (Entered: 08/11/2016)
  08/12/2016           259 MEMORANDUM OPINION & ORDER re: 223 MOTION to Approve Settlement
                           ("Notice of Motion for Final Approval of Settlement"). filed by Lucas T., Brittney W.,
                           Emmanuel S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C.,
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                             Olivia R., Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C.,
                             Elisa W., Matthew V., Ximena T. Plaintiff's motion for approval of the proposed Consent
                             Decree is denied and the conditional certification of the Plaintiff class is vacated. This
                             Memorandum Opinion and Order resolves Docket Entry No. 223. A pretrial conference
                             in this matter will be held on October 13, 2016, at 2:00 p.m. The parties must submit an
                             updated joint preliminary pre-trial statement in accordance with the Initial Conference
                             Order (docket entry no. 32) in advance of that conference. This case remains referred to
                             Magistrate Judge Pitman for general pre-trial management. (As further set forth in this
                             Order.) (Pretrial Conference set for 10/13/2016 at 02:00 PM before Judge Laura Taylor
                             Swain.) (Signed by Judge Laura Taylor Swain on 8/12/2016) (cf) (Entered: 08/12/2016)
  08/15/2016           260 LETTER MOTION to Stay re: 253 Order,, 259 Memorandum & Opinion, Set
                           Hearings,,,,,,,, City Defs' Letter Motion for Stay of Discovery addressed to Judge Laura
                           Taylor Swain from Jonathan Pines dated August 15, 2016. Document filed by Gladys
                           Carrion, City of New York, New York City Administration for Childrens Services.(Pines,
                           Jonathan) (Entered: 08/15/2016)
  08/16/2016           261 LETTER MOTION for Extension of Time or, in the alternative, stay of discovery
                           addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated August 16,
                           2016. Document filed by Gladys Carrion, City of New York, New York City
                           Administration for Childrens Services.(Pines, Jonathan) (Entered: 08/16/2016)
  08/16/2016           262 LETTER RESPONSE in Opposition to Motion addressed to Judge Laura Taylor Swain
                           from Julie A. North dated August 16, 2016 re: 261 LETTER MOTION for Extension of
                           Time or, in the alternative, stay of discovery addressed to Magistrate Judge Henry B.
                           Pitman from Jonathan Pines dated August 16, 2016., 260 LETTER MOTION to Stay re:
                           253 Order,, 259 Memorandum & Opinion, Set Hearings,,,,,,,, City Defs' Letter Motion for
                           Stay of Discovery addressed to Judge Laura Taylor Swain from Jonathan Pines dated
                           August 15, 2016. . Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J.,
                           Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W.. (North, Julie) (Entered: 08/16/2016)
  08/16/2016           264 ORDER denying 260 Letter Motion to Stay. The City Defendants' application to stay
                           discovery is denied. Judge Swain's comments concerning the adequacy of plaintiffs'
                           counsel's investigation of the particular circumstances of the named plaintiff children and
                           counsel's assessment of the named plaintiff children's claims were all made in the context
                           of the motion to approve the settlement with the State Defendants and, in particular, were
                           addressing the issue of whether the settlement was reached after meaningful discovery.
                           Judge Swain was not asked to address whether "the claims, defenses, and other legal
                           contentions [in the amended complaint were] warranted by existing law or by a
                           nonfrivolous argument for extending, modifying, or reversing existing law" or whether
                           "the factual contentions [in the amended complaint] have evidentiary support or.. will
                           likely have evidentiary support after a reasonable opportunity for further investigation or
                           discovery...." Fed.R.Civ. P. 11 (b) (2), (3). In short, Judge Swain was not assessing
                           whether there was a violation of the Rule 11(b)'s implied certifications, and the City
                           Defendants' attempt to contort her words into a finding of a Rule 11 violation divorces the
                           words from the context in which they were made. Whether counsel's discovery and
                           investigation is sufficient to justify approval of a class action settlement is a different,
                           more demanding inquiry than whether counsel's pre-suit investigation satisfied Rule 11. It
                           is also noteworthy that the City Defendants, who have substantial knowledge of the
                           named plaintiff children's circumstances and the allegations made in the amended
                           complaint, have never even suggested that the amended complaint was so baseless that
                           Rule 11 sanctions were warranted. The fact that the City Defendants never commenced
                           the procedures set forth in Rule 11(c) that must precede a motion for Rule 11 sanctions

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                             casts doubt on the veracity of their newly asserted arguments. I appreciate that the City
                             Defendants deny plaintiffs' material allegations. Nevertheless, in the absence of a
                             showing that the allegations in the amended complaint were asserted in bad faith and
                             were utterly baseless in law and fact, there is no basis for the stay of discovery sought by
                             the City Defendants. The annexed application is, therefore, denied. (Signed by Magistrate
                             Judge Henry B. Pitman on 8/16/2016) Copies Sent By Chambers. (lmb) (Entered:
                             08/17/2016)
  08/17/2016           263 LETTER REPLY to Response to Motion addressed to Judge Laura Taylor Swain from
                           Jonathan Pines dated August 17, 2016 re: 261 LETTER MOTION for Extension of Time
                           or, in the alternative, stay of discovery addressed to Magistrate Judge Henry B. Pitman
                           from Jonathan Pines dated August 16, 2016., 260 LETTER MOTION to Stay re: 253
                           Order,, 259 Memorandum & Opinion, Set Hearings,,,,,,,, City Defs' Letter Motion for
                           Stay of Discovery addressed to Judge Laura Taylor Swain from Jonathan Pines dated
                           August 15, 2016. . Document filed by Gladys Carrion, City of New York, New York City
                           Administration for Childrens Services. (Pines, Jonathan) (Entered: 08/17/2016)
  08/17/2016           265 ORDER granting 261 Letter Motion for Extension of Time. Given the City Defendants'
                           representations concerning their efforts to complete their document production, I shall
                           extend their time to complete their production of documents to September 16, 2016. The
                           City Defendants are to make their production on a rolling basis. In addition, until their
                           production is complete, the City Defendants are to submit status reports to my chambers
                           every Friday, staring on August 19, 2016, describing the efforts they have made to
                           complete production in the preceding week. (Signed by Magistrate Judge Henry B.
                           Pitman on 8/17/2016) (mro) (Entered: 08/18/2016)
  08/19/2016           266 LETTER addressed to Magistrate Judge Henry B. Pitman from Jonatan Pines dated
                           August 19, 2016 re: Status Update Letter # 1. Document filed by Gladys Carrion, City of
                           New York, New York City Administration for Childrens Services. (Attachments: # 1
                           Appendix Rachel Kaufman Status Update and Explanatory Memorandum)(Pines,
                           Jonathan) (Entered: 08/19/2016)
  08/22/2016           267 TRANSCRIPT of Proceedings re: argument held on 8/5/2016 before Judge Laura Taylor
                           Swain. Court Reporter/Transcriber: Tara Jones, (212) 805-0300. Transcript may be
                           viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                           before the deadline for Release of Transcript Restriction. After that date it may be
                           obtained through PACER. Redaction Request due 9/15/2016. Redacted Transcript
                           Deadline set for 9/26/2016. Release of Transcript Restriction set for 11/25/2016.
                           (McGuirk, Kelly) (Entered: 08/22/2016)
  08/22/2016           268 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a argument proceeding held on 8/5/16 has been filed by the court
                           reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
                           days to file with the court a Notice of Intent to Request Redaction of this transcript. If no
                           such Notice is filed, the transcript may be made remotely electronically available to the
                           public without redaction after 90 calendar days...(McGuirk, Kelly) (Entered: 08/22/2016)
  08/25/2016           269 LETTER MOTION to Seal Document 255 Letter, 238 Letter addressed to Judge Laura
                           Taylor Swain from Julie A. North dated August 25, 2016. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 08/25/2016)
  08/26/2016           270 LETTER addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                           August 26, 2016 re: City Defs' 2d Status Update. Document filed by Gladys Carrion, City
                           of New York, New York City Administration for Childrens Services. (Attachments: # 1
                           Appendix R. Kaufman - 2d update memorandum)(Pines, Jonathan) (Entered: 08/26/2016)
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  08/29/2016           271 NOTICE of Intent to Request Redaction re: 267 Transcript,,. Document filed by Dameon
                           C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M.,
                           Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C.,
                           Valentina T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 08/29/2016)
  08/31/2016           272 CONSENT LETTER MOTION to Adjourn Conference set for October 13, 2016
                           addressed to Judge Laura Taylor Swain from Jennifer C. Simon dated August 31, 2016.
                           Document filed by New York State Office of Children and Family Services, Sheila J.
                           Poole, State Of New York.(Simon, Jennifer) (Entered: 08/31/2016)
  09/02/2016           273 LETTER addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                           September 2, 2016 re: City Defs' 3d Status Update. Document filed by Gladys Carrion,
                           City of New York, New York City Administration for Childrens Services. (Attachments:
                           # 1 Appendix R. Kaufman - 3d update memorandum)(Pines, Jonathan) (Entered:
                           09/02/2016)
  09/06/2016           274 ORDER granting 269 Motion to Seal Document. The request is granted. For the
                           foregoing reasons, the Clerk of Court is directed to remove the documents filed as ECF
                           entries 238 and 255 from the public docket and file them under seal. (Signed by Judge
                           Laura Taylor Swain on 9/6/2016) (cf) (Entered: 09/06/2016)
  09/06/2016                   Transmission to Sealed Records Clerk. Transmitted re: 274 Order to the Sealed Records
                               Clerk for the sealing or unsealing of document or case. (cf) (Entered: 09/06/2016)
  09/06/2016           275 ORDER granting 272 Letter Motion to Adjourn Conference. The conference is adjourned
                           to November 18, 2016, at 10:30 AM and the related deadlines are modified accordingly.
                           DE # 272 resolved. Pretrial Conference set for 11/18/2016 at 10:30 AM before Judge
                           Laura Taylor Swain. (Signed by Judge Laura Taylor Swain on 9/6/2016) (cf) (Entered:
                           09/06/2016)
  09/06/2016           276 SEALED DOCUMENT placed in vault.(mps) (Entered: 09/06/2016)
  09/09/2016           277 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           September 9, 2016 re: City Defs' 4th Status Update. Document filed by Gladys Carrion,
                           City of New York, New York City Administration for Childrens Services. (Attachments:
                           # 1 Appendix R. Kaufman - 4th update memorandum)(Giovanatti, Neil) (Entered:
                           09/09/2016)
  09/12/2016           278 OPINION AND ORDER re: 114 MOTION to Dismiss Plaintiff Letitia James,
                           Defendants ACS and Gladys Carrion, and all claims brought under the AACWA. filed by
                           Gladys Carrion, New York City Administration for Childrens Services, City of New
                           York. For the foregoing reasons, City Defendants' motion is granted in part. City
                           Defendants' motion is granted to the extent that it seeks to dismiss Plaintiffs' AACWA
                           claims premised on 42 U.S.C. §§ 671(a)(10) and 671(a)(22) described in paragraphs
                           348(a) and (j) of the Amended Complaint, and on the purported rights described in
                           paragraphs 348(c)-(f) of the Amended Complaint. City Defendants' motion is also
                           granted to the extent that it seeks the dismissal of the claims asserted against ACS and
                           Commissioner Carrion, without prejudice to the litigation of those claims as against the
                           Defendant City. The motion is denied in all other respects. This Opinion and Order
                           resolves Docket Entry Number 114. (As further set forth in this Order.) (Signed by Judge
                           Laura Taylor Swain on 9/12/2016) (cf) (Entered: 09/12/2016)
  09/16/2016           279 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           September 16, 2016 re: City Defs' 5th Status Update; and request to extend City
                           Defendants' deadline to produce emails on consent. Document filed by City of New York.
                           (Attachments: # 1 Appendix R. Kaufman - 5th update memorandum)(Giovanatti, Neil)
                           (Entered: 09/16/2016)
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  09/20/2016           280 ENDORSED LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated
                           9/15/2016 re: Na,ed P1aintiff Children propose to redact such confidential and
                           individually identifying material in the publicly filed version of this transcript.
                           ENDORSEMENT: The proposed redactions are approved. The highlighted copy showing
                           the proposed redactions will be filed under seal. (Signed by Judge Laura Taylor Swain on
                           9/19/2016) (cf) (Entered: 09/20/2016)
  09/20/2016                   Transmission to Sealed Records Clerk. Transmitted re: 280 Endorsed Letter to the Sealed
                               Records Clerk for the sealing or unsealing of document or case. (cf) (Entered:
                               09/20/2016)
  09/23/2016           281 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           September 23, 2016 re: City Def's 6th Status Update. Document filed by City of New
                           York. (Attachments: # 1 Appendix R. Kaufman - 6th update memorandum)(Giovanatti,
                           Neil) (Entered: 09/23/2016)
  09/27/2016           282 MEMORANDUM ORDER denying without prejudice 87 Motion to Certify Class.
                           Plaintiffs' motion for class certification is denied without prejudice to renewal in a
                           manner consistent with this Memorandum Order. This Memorandum Order resolves
                           docket entry no. 87. This case remains referred to Magistrate Judge Pitman for general
                           pre-trial management. The next pre-trial conference in this matter is scheduled for
                           November 18, 2016, at 10:30 a.m. (As further set forth in this Order.). (Signed by Judge
                           Laura Taylor Swain on 9/27/2016) (cf) (Entered: 09/27/2016)
  09/30/2016           283 SEVENTH LETTER addressed to Magistrate Judge Henry B. Pitman from Jonathan
                           Pines dated September 30, 2016 re: City Defs' 7th Status Update Letter. Document filed
                           by City of New York.(Pines, Jonathan) (Entered: 09/30/2016)
  10/03/2016           284 MEMO ENDORSEMENT on re: 279 Letter, filed by City of New York.
                           ENDORSEMENT: Given plaintiffs' consent, defendants' time to complete production of
                           their emails is extended to 10/31/2016. Defendants' counsel are to continue submitting
                           weekly progress reports. (Signed by Magistrate Judge Henry B. Pitman on 10/3/2016)
                           (tro) (Entered: 10/03/2016)
  10/04/2016           285 Redaction of 267 Transcript,, (McGuirk, Kelly) (Entered: 10/04/2016)
  10/04/2016           286 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a ARGUMENT REDACTED proceeding held on 8/5/16 has been
                           filed by the court reporter/transcriber in the above-captioned matter. The parties have
                           seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of
                           this transcript. If no such Notice is filed, the transcript may be made remotely
                           electronically available to the public without redaction after 90 calendar days...(McGuirk,
                           Kelly) (Entered: 10/04/2016)
  10/07/2016           287 LETTER MOTION for Conference addressed to Magistrate Judge Henry B. Pitman from
                           Jonathan Pines dated October 7, 2016. Document filed by City of New York.
                           (Attachments: # 1 Appendix Pls.' Document Requests to City Def., # 2 Appendix Pls'
                           Subpoenas of Vol. Agencies)(Pines, Jonathan) (Entered: 10/07/2016)
  10/11/2016           288 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           October 11, 2016 re: in response to the City's status report submitted on Oct 7. Document
                           filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M.,
                           Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T.,
                           Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered:
                           10/11/2016)
  10/11/2016           289 LETTER REPLY to Response to Motion addressed to Magistrate Judge Henry B. Pitman
                           from Jonathan Pines dated October 11, 2016 re: 287 LETTER MOTION for Conference
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                              57/90
                                                                         A0057
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                             addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated October 7,
                             2016. . Document filed by City of New York. (Pines, Jonathan) (Entered: 10/11/2016)
  10/21/2016           290 TENTH LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti
                           dated October 21, 2016 re: City Defs' 10th Status Update Letter. Document filed by City
                           of New York.(Giovanatti, Neil) (Entered: 10/21/2016)
  10/28/2016           291 LETTER MOTION for Extension of Time of City Defendants' deadline to produce
                           emails as set forth in the Court's Order (Dkt. No. 284) and 11th Status Update Letter
                           addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated October 28,
                           2016. Document filed by City of New York.(Giovanatti, Neil) (Entered: 10/28/2016)
  10/28/2016           292 CONSENT LETTER MOTION to Adjourn Conference set for November 18, 2016
                           addressed to Judge Laura Taylor Swain from Jennifer C. Simon dated October 28, 2016.
                           Document filed by New York State Office of Children and Family Services, Sheila J.
                           Poole, State Of New York.(Simon, Jennifer) (Entered: 10/28/2016)
  10/31/2016           293 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           October 31, 2016 re: in response to to City Defendant's October 28, 2016 letter motion
                           (ECF No. 291). Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls
                           J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel
                           S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..
                           (North, Julie) (Entered: 10/31/2016)
  11/01/2016           294 ORDER granting 292 Letter Motion to Adjourn Conference set for November 18, 2016.
                           The conference is adjourned to December 19, 2016, at 11:00 AM and the related
                           deadlines are modified accordingly. DE # 292 resolved. (Pretrial Conference set for
                           12/19/2016 at 11:00 AM before Judge Laura Taylor Swain.) (Signed by Judge Laura
                           Taylor Swain on 11/1/2016) (cla) (Entered: 11/01/2016)
  11/04/2016           295 LETTER addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                           November 4, 2016 re: 12th Update Letter. Document filed by City of New York.(Pines,
                           Jonathan) (Entered: 11/04/2016)
  11/11/2016           296 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           November 11, 2016 re: 13th Update Letter. Document filed by City of New York.
                           (Giovanatti, Neil) (Entered: 11/11/2016)
  11/16/2016           297 MOTION for Summary Judgment on Grounds of Mootness. Document filed by City of
                           New York.(Lively, Lauren) (Entered: 11/16/2016)
  11/16/2016           298 MEMORANDUM OF LAW in Support re: 297 MOTION for Summary Judgment on
                           Grounds of Mootness. . Document filed by City of New York. (Lively, Lauren) (Entered:
                           11/16/2016)
  11/16/2016           299 DECLARATION of Lauren Almquist Lively in Support re: 297 MOTION for Summary
                           Judgment on Grounds of Mootness.. Document filed by City of New York. (Attachments:
                           # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)
                           (Lively, Lauren) (Entered: 11/16/2016)
  11/16/2016           300 RULE 56.1 STATEMENT. Document filed by City of New York. (Lively, Lauren)
                           (Entered: 11/16/2016)
  11/16/2016                   A discovery conference is set for 11/28/2016 at 11:30 AM in Courtroom 18A, 500 Pearl
                               Street, New York, NY 10007 before Magistrate Judge Henry B. Pitman. (bh) (Entered:
                               11/16/2016)
  11/18/2016           301 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           November 18, 2016 re: 14th Update Letter. Document filed by City of New York.
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                             58/90
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                             (Giovanatti, Neil) (Entered: 11/18/2016)
  11/21/2016           302 LETTER MOTION for Extension of Time to File Response/Reply addressed to Judge
                           Laura Taylor Swain from Julie A. North dated November 21, 2016. Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered:
                           11/21/2016)
  11/21/2016           303 LETTER MOTION to Adjourn Conference addressed to Magistrate Judge Henry B.
                           Pitman from Julie A. North dated November 21, 2016. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 11/21/2016)
  11/21/2016           304 ORDER granting 302 Letter Motion for Extension of Time to File Response/Reply. The
                           extension request is granted. DE # 302 resolved. Responses due by 12/12/2016 (Signed
                           by Judge Laura Taylor Swain on 11/21/2016) (cf) (Entered: 11/21/2016)
  11/22/2016                   The discovery conference is adjourned to 12/13/2016 at 10:00 AM in Courtroom 18A,
                               500 Pearl Street, New York, NY 10007 before Magistrate Judge Henry B. Pitman. (bh)
                               (Entered: 11/22/2016)
  12/02/2016           305 CONSENT LETTER addressed to Judge Laura Taylor Swain from Jennifer C. Simon
                           dated December 2, 2016 re: Scheduling of State Defendants' Time to Respond to the
                           Amended Complaint. Document filed by New York State Office of Children and Family
                           Services, Sheila J. Poole, State Of New York.(Simon, Jennifer) (Entered: 12/02/2016)
  12/02/2016           306 LETTER addressed to Magistrate Judge Henry B. Pitman from Lauren Almquist Lively
                           dated December 2, 2016 re: City Defendant's Status Update. Document filed by City of
                           New York.(Lively, Lauren) (Entered: 12/02/2016)
  12/07/2016           307 MEMO ENDORSEMENT on re: 305 Letter filed by New York State Office of Children
                           and Family Services, State Of New York, Sheila J. Poole. ENDORSEMENT: The
                           proposed schedule is approved. The conference is adjourned to May 26, 2017, at 10:00
                           a.m. and the related deadlines are modified accordingly. DE # 305 resolved. SO
                           ORDERED., ( Motions due by 1/26/2016., Responses due by 2/13/2017, Replies due by
                           2/24/2017., Pretrial Conference set for 5/26/2017 at 10:00 AM before Judge Laura Taylor
                           Swain.) (Signed by Judge Laura Taylor Swain on 12/07/2016) (ama) (Entered:
                           12/07/2016)
  12/09/2016           308 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           December 9, 2016 re: 16th Update Letter. Document filed by City of New York.
                           (Giovanatti, Neil) (Entered: 12/09/2016)
  12/12/2016           309 MEMORANDUM OF LAW in Opposition re: 297 MOTION for Summary Judgment on
                           Grounds of Mootness. ("Named Plaintiff Children's Memorandum Of Law In Opposition
                           To City Defendant's Motion For Summary Judgment"). Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 12/12/2016)
  12/12/2016           310 RESPONSE re: 300 Rule 56.1 Statement ("Named Plaintiff Children's Responses To City
                           Defendant's Statement Of Facts Not In Dispute"). Document filed by Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R.,
                           Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 12/12/2016)

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  12/12/2016           311 DECLARATION of Sarah Jaffe in Opposition re: 297 MOTION for Summary Judgment
                           on Grounds of Mootness.. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W.. (Attachments: # 1 Exhibit A to Jaffe Declaration (filed under seal),
                           # 2 Exhibit B to Jaffe Declaration (filed under seal), # 3 Exhibit C to Jaffe Declaration
                           (filed under seal), # 4 Exhibit D to Jaffe Declaration (filed under seal), # 5 Exhibit E to
                           Jaffe Declaration (filed under seal), # 6 Exhibit F to Jaffe Declaration (filed under seal))
                           (North, Julie) (Entered: 12/12/2016)
  12/12/2016           312 SEALED DOCUMENT placed in vault.(mps) (Entered: 12/13/2016)
  12/13/2016                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 12/13/2016. (bh) (Entered: 12/13/2016)
  12/19/2016           313 LETTER MOTION for Leave to File Excess Pages addressed to Judge Laura Taylor
                           Swain from Lauren Almquist Lively dated December 19, 2016. Document filed by City
                           of New York.(Lively, Lauren) (Entered: 12/19/2016)
  12/19/2016           314 REPLY MEMORANDUM OF LAW in Support re: 297 MOTION for Summary
                           Judgment on Grounds of Mootness. . Document filed by City of New York. (Lively,
                           Lauren) (Entered: 12/19/2016)
  12/19/2016           315 REPLY AFFIRMATION of Lauren Almquist Lively in Support re: 297 MOTION for
                           Summary Judgment on Grounds of Mootness.. Document filed by City of New York.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Lively, Lauren) (Entered:
                           12/19/2016)
  12/19/2016           316 RULE 56.1 STATEMENT. Document filed by City of New York. (Lively, Lauren)
                           (Entered: 12/19/2016)
  12/19/2016           317 REPLY AFFIRMATION of Lauren Almquist Lively in Support re: 297 MOTION for
                           Summary Judgment on Grounds of Mootness.. Document filed by City of New York.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Lively, Lauren) (Entered:
                           12/19/2016)
  12/20/2016           318 SEALED DOCUMENT placed in vault.(rz) (Entered: 12/20/2016)
  12/20/2016           319 ORDER granting 313 Letter Motion for Leave to File Excess Pages. The requested
                           extension is granted. DE #313 resolved. (Signed by Judge Laura Taylor Swain on
                           12/20/2016) (kgo) (Entered: 12/20/2016)
  12/20/2016           320 LETTER MOTION for Leave to File Sur-Reply in Response to City Defendant's Reply
                           Memorandum of Law in Support of Its Motion for Partial Summary Judgment (ECF No.
                           314) addressed to Judge Laura Taylor Swain from Julie A. North dated December 20,
                           2016. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik
                           M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas
                           T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 12/20/2016)
  12/20/2016           321 LETTER RESPONSE in Opposition to Motion addressed to Judge Laura Taylor Swain
                           from Jonathan Pines dated December 20, 2016 re: 320 LETTER MOTION for Leave to
                           File Sur-Reply in Response to City Defendant's Reply Memorandum of Law in Support of
                           Its Motion for Partial Summary Judgment (ECF No. 314) addressed to Judge Laura
                           Taylor Swain from Julie A. North dated Decem . Document filed by City of New York.
                           (Attachments: # 1 Exhibit Parties' email exchange re: surreply)(Pines, Jonathan)
                           (Entered: 12/20/2016)
  12/21/2016           322 TRANSCRIPT of Proceedings re: Discovery Hearing held on 12/13/2016 before
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                               60/90
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                             Magistrate Judge Henry B. Pitman. Court Reporter/Transcriber: Carole Ludwig, (212)
                             420-0771. Transcript may be viewed at the court public terminal or purchased through
                             the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                             After that date it may be obtained through PACER. Redaction Request due 1/11/2017.
                             Redacted Transcript Deadline set for 1/23/2017. Release of Transcript Restriction set for
                             3/21/2017.(anc) (Entered: 12/21/2016)
  12/21/2016           323 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Discovery Hearing proceeding held on 12/13/2016 has been filed
                           by the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days...(anc) (Entered:
                           12/21/2016)
  12/21/2016           324 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated December
                           21, 2016 re: clarifying for the Court the Parties' correspondence regarding City
                           Defendant's consent for a sur-reply (ECF No. 321). Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit to December 21, 2016
                           letter)(North, Julie) (Entered: 12/21/2016)
  12/22/2016           325 ORDER: Plaintiffs and defendant City of New York are to brief whether Monell
                           discovery should be bifurdated. Defendants shall submit their brief on or before January
                           12, 2017. Plaintiffs shall submit their opposition brief by January 20, 2017. (As further
                           set forth in this Order.) (Motions due by 1/12/2017., Responses due by 1/20/2017)
                           (Signed by Magistrate Judge Henry B. Pitman on 12/21/2016) Copies Sent By Chambers.
                           (cf) (Entered: 12/22/2016)
  12/22/2016           326 ORDER granting 320 Letter Motion for Leave to File Document. The request to file a
                           surreply is granted. DE # 320 resolved. (Signed by Judge Laura Taylor Swain on
                           12/21/2016) (mro) (Entered: 12/23/2016)
  12/23/2016           327 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated December
                           23, 2016 re: Named Plaintiff Children's intention to submit a sur-reply no later than
                           December 29, 2016. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J.,
                           Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W..(North, Julie) (Entered: 12/23/2016)
  12/29/2016           328 REPLY MEMORANDUM OF LAW in Opposition re: 297 MOTION for Summary
                           Judgment on Grounds of Mootness. ("Named Plaintiff Children's Sur-Reply In Opposition
                           To City Defendant's Motion For Summary Judgment"). Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 12/29/2016)
  01/12/2017           329 MEMORANDUM OF LAW in Support re: 287 LETTER MOTION for Conference
                           addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated October 7,
                           2016. . Document filed by City of New York. (Pines, Jonathan) (Entered: 01/12/2017)
  01/17/2017           330 MOTION to Compel City Defendant's Responses to Named Plaintiff Children's
                           Interrogatories . Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls
                           J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel
                           S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..
                           (North, Julie) (Entered: 01/17/2017)
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  01/17/2017           331 MEMORANDUM OF LAW in Support re: 330 MOTION to Compel City Defendant's
                           Responses to Named Plaintiff Children's Interrogatories . . Document filed by Dameon
                           C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M.,
                           Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C.,
                           Valentina T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 01/17/2017)
  01/17/2017           332 DECLARATION of Julie A. North in Support re: 330 MOTION to Compel City
                           Defendant's Responses to Named Plaintiff Children's Interrogatories .. Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit A to
                           North Declaration, # 2 Exhibit B to North Declaration, # 3 Exhibit C to North
                           Declaration, # 4 Exhibit D to North Declaration, # 5 Exhibit E to North Declaration, # 6
                           Exhibit F to North Declaration)(North, Julie) (Entered: 01/17/2017)
  01/19/2017           333 LETTER addressed to Magistrate Judge Henry B. Pitman from Neil Giovanatti dated
                           January 19, 2017 re: Requesting that the Court reject Plaintiffs' Motion to Compel for
                           Plaintiffs' failure to comply with Local Rule 37.2 and Your Honor's Individual Practices.
                           Document filed by City of New York.(Giovanatti, Neil) (Entered: 01/19/2017)
  01/20/2017           334 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           January 20, 2017 re: in response to City Defendant's letter of January 19, 2017.
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 01/20/2017)
  01/20/2017           335 MEMORANDUM OF LAW in Opposition re: 287 LETTER MOTION for Conference
                           addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated October 7,
                           2016. ("Named Plaintiff Children's Memorandum Of Law In Opposition To City
                           Defendant's Request For Bifurcation"). Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Text of Proposed Order)(North,
                           Julie) (Entered: 01/20/2017)
  01/23/2017           336 REPLY MEMORANDUM OF LAW in Support re: 287 LETTER MOTION for
                           Conference addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                           October 7, 2016. in Support of City Def's Bifurcation Motion. Document filed by City of
                           New York. (Pines, Jonathan) (Entered: 01/23/2017)
  01/24/2017           337 LETTER MOTION for Leave to File sur-reply addressed to Magistrate Judge Henry B.
                           Pitman from Julie A. North dated January 24, 2017. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 PROPOSED NAMED
                           PLAINTIFF CHILDREN'S SUR-REPLY MEMORANDUM OF LAW IN FURTHER
                           OPPOSITION TO CITY DEFENDANT'S REQUEST FOR BIFURCATION)(North,
                           Julie) (Entered: 01/24/2017)
  01/24/2017                   As a reminder, Oral Argument on the motion for bifrucation is set for 1/25/2017 at 10:00
                               AM in Courtroom 18A, 500 Pearl Street, New York, NY 10007 before Magistrate Judge
                               Henry B. Pitman. (bh) (Entered: 01/24/2017)
  01/25/2017                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 1/25/2017. Oral argument on the motion to compel scheduled for
                               February 2, 2017 at 2:00 p.m. (bh) (Entered: 01/25/2017)
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  01/26/2017           338 NOTICE OF APPEARANCE by Samantha Leigh Buchalter on behalf of New York State
                           Office of Children and Family Services, Sheila J. Poole, State Of New York. (Buchalter,
                           Samantha) (Entered: 01/26/2017)
  01/26/2017           339 ORDER denying 287 Letter Motion for Conference. A conference having been held in
                           this matter on January 25, 2017, during which I heard oral argument concerning
                           defendants' application to bifurcate custom and policy discovery, for the reasons stated on
                           the record in open court, defendants' motion is denied. The Clerk of the Court is directed
                           to mark Docket Item 287 as closed. (Signed by Magistrate Judge Henry B. Pitman on
                           1/25/2017) Copies Sent By Chambers. (cf) (Entered: 01/26/2017)
  01/26/2017           340 MOTION to Dismiss Plaintiff Letitia James and Plaintiffs' AACWA Claims. Document
                           filed by Sheila J. Poole.(Buchalter, Samantha) (Entered: 01/26/2017)
  01/26/2017           341 MEMORANDUM OF LAW in Support re: 340 MOTION to Dismiss Plaintiff Letitia
                           James and Plaintiffs' AACWA Claims. . Document filed by Sheila J. Poole. (Buchalter,
                           Samantha) (Entered: 01/26/2017)
  01/26/2017           342 ANSWER to 91 Amended Complaint,,,. Document filed by Sheila J. Poole.(Buchalter,
                           Samantha) (Entered: 01/26/2017)
  01/27/2017           343 NOTICE OF PARTIAL VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                           PURSUANT TO FED R. CIV P. 41(a)(1)(A)(i): Pursuant to Fed R. Civ P. 41 (a)(1)(A)(i),
                           and subject to approval of the Court, counsel for Plaintiffs hereby voluntarily dismiss
                           without prejudice Defendants the STATE OF NEW YORK and the NEW YORK STATE
                           OFFICE OF CHILDREN AND FAMILY SERVICES from the above-captioned action.
                           These Defendants have not filed an answer to either the complaint or the amended
                           complaint nor filed a motion for summary judgment. SO ORDERED. *** Party New
                           York State Office of Children and Family Services and State Of New York terminated.
                           Signed by Judge Laura Taylor Swain on 1/26/2017) (ama) Modified on 1/27/2017 (ama).
                           (Entered: 01/27/2017)
  01/31/2017           344 PRE-CONFERENCE STATEMENT in Advance of Rule 33.2 Informal Conference.
                           Document filed by City of New York.(Pines, Jonathan) (Entered: 01/31/2017)
  01/31/2017           345 MOTION for Jennifer C. Simon to Withdraw as Attorney . Document filed by Sheila J.
                           Poole.(Simon, Jennifer) (Entered: 01/31/2017)
  01/31/2017           346 DECLARATION of Jennifer C. Simon in Support re: 345 MOTION for Jennifer C.
                           Simon to Withdraw as Attorney .. Document filed by Sheila J. Poole. (Simon, Jennifer)
                           (Entered: 01/31/2017)
  02/01/2017           347 NOTICE OF APPEARANCE by Brittany Lynn Sukiennik on behalf of Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (Sukiennik, Brittany) (Entered: 02/01/2017)
  02/02/2017                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 2/2/2017. (bh) (Entered: 02/02/2017)
  02/02/2017           348 MEMO ENDORSEMENT granting 345 Motion to Withdraw as Attorney.
                           ENDORSEMENT: APPLICATION GRANTED. Attorney Jennifer C. Simon terminated
                           (Signed by Magistrate Judge Henry B. Pitman on 2/1/2017) (cf) (Entered: 02/02/2017)
  02/03/2017           349 ORDER granting 330 Motion to Compel. Plaintiffs' application to compel supplemental
                           responses to their First Set of Interrogatories is granted. (As further set forth in this
                           Order.) The Clerk of the Court is directed to mark Docket Item 330 closed. (Signed by


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                             Magistrate Judge Henry B. Pitman on 2/3/2017) Copies Sent By Chambers (cf) (Entered:
                             02/03/2017)
  02/08/2017           350 TRANSCRIPT of Proceedings re: Discovery Hearing held on 1/25/2017 before
                           Magistrate Judge Henry B. Pitman. Court Reporter/Transcriber: Carole Ludwig, (212)
                           420-0771. Transcript may be viewed at the court public terminal or purchased through
                           the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                           After that date it may be obtained through PACER. Redaction Request due 3/1/2017.
                           Redacted Transcript Deadline set for 3/13/2017. Release of Transcript Restriction set for
                           5/9/2017.(anc) (Entered: 02/08/2017)
  02/08/2017           351 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Discovery Hearing proceeding held on 1/25/2017 has been filed by
                           the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days...(anc) (Entered:
                           02/08/2017)
  02/13/2017           352 MEMORANDUM OF LAW in Opposition re: 340 MOTION to Dismiss Plaintiff Letitia
                           James and Plaintiffs' AACWA Claims. . Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 02/13/2017)
  02/13/2017           353 MEMORANDUM OF LAW in Opposition re: 340 MOTION to Dismiss Plaintiff Letitia
                           James and Plaintiffs' AACWA Claims. . Document filed by Letitia James. (Levy, Jennifer)
                           (Entered: 02/13/2017)
  02/23/2017           354 TRANSCRIPT of Proceedings re: Discovery Hearing held on 2/2/2017 before Magistrate
                           Judge Henry B. Pitman. Court Reporter/Transcriber: Carole Ludwig, (212) 420-0771.
                           Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 3/16/2017. Redacted
                           Transcript Deadline set for 3/27/2017. Release of Transcript Restriction set for
                           5/24/2017.(jwh) (Entered: 02/23/2017)
  02/23/2017           355 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Discovery Hearing proceeding held on 2/2/2017 has been filed by
                           the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days...(jwh) (Entered:
                           02/23/2017)
  02/24/2017           356 REPLY MEMORANDUM OF LAW in Support re: 340 MOTION to Dismiss Plaintiff
                           Letitia James and Plaintiffs' AACWA Claims. . Document filed by Sheila J. Poole.
                           (Buchalter, Samantha) (Entered: 02/24/2017)
  03/22/2017                   Terminate Transcript Deadlines re: 322 . (anc) (Entered: 03/22/2017)
  03/23/2017           357 MOTION To Substitute Yusuf El Ashmawy As A Next Friend . Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered:
                           03/23/2017)
  03/23/2017           358 MEMORANDUM OF LAW in Support re: 357 MOTION To Substitute Yusuf El
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                             Ashmawy As A Next Friend . . Document filed by Dameon C., Thierry E., Mikayla G.,
                             Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                             Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                             Brittney W., Elisa W.. (North, Julie) (Entered: 03/23/2017)
  03/23/2017           359 DECLARATION of Yusuf El Ashmawy in Support re: 357 MOTION To Substitute Yusuf
                           El Ashmawy As A Next Friend .. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Letitia James, Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 03/23/2017)
  03/23/2017           360 DECLARATION of Liza Camellerie in Support re: 357 MOTION To Substitute Yusuf El
                           Ashmawy As A Next Friend .. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W.. (North, Julie) (Entered: 03/23/2017)
  04/03/2017           361 LETTER MOTION for Extension of Time to respond to 357 Plaintiffs Motion to
                           Substitute Yusuf El Ashmawy as a Next Friend addressed to Judge Laura Taylor Swain
                           from Agnetha E. Jacob dated 4/3/2017. Document filed by City of New York.(Jacob,
                           Agnetha) (Entered: 04/03/2017)
  04/06/2017           362 ORDER granting 361 Letter Motion for Extension of Time. APPLICATION GRANTED.
                           (Signed by Magistrate Judge Henry B. Pitman on 4/6/2017) (cf) (Entered: 04/06/2017)
  04/06/2017                   Set/Reset Deadlines: Responses due by 4/20/2017 (cf) (Entered: 04/06/2017)
  04/20/2017           363 CROSS MOTION to Dismiss Next Friends of Additional Plaintiff Children. Document
                           filed by City of New York.(Jacob, Agnetha) (Entered: 04/20/2017)
  04/20/2017           364 DECLARATION of Agnetha E. Jacob in Support re: 363 CROSS MOTION to Dismiss
                           Next Friends of Additional Plaintiff Children.. Document filed by City of New York.
                           (Attachments: # 1 Exhibit Excerpts of transcript of proceedings held before Magistrate
                           Judge Pitman on December 13, 2016)(Jacob, Agnetha) (Entered: 04/20/2017)
  04/20/2017           365 MEMORANDUM OF LAW in Support re: 363 CROSS MOTION to Dismiss Next
                           Friends of Additional Plaintiff Children. and in Opposition to 357 MOTION To Substitute
                           Yusuf El Ashmawy As A Next Friend. Document filed by City of New York. (Jacob,
                           Agnetha) (Entered: 04/20/2017)
  04/25/2017           366 LETTER MOTION for Extension of Time to File Response/Reply as to 357 MOTION
                           To Substitute Yusuf El Ashmawy As A Next Friend ., 363 CROSS MOTION to Dismiss
                           Next Friends of Additional Plaintiff Children. addressed to Judge Laura Taylor Swain
                           from Julie A. North dated April 25, 2017. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 04/25/2017)
  04/25/2017           367 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated April 25,
                           2017 re: letter to City Defendant (copy to Judge Swain) pursuant to pursuant to Judge
                           Swain's individual Rule A.2.b.iii informing City Defendant that Named Plaintiff Children
                           will not seek leave to amend their Amended Complaint. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 04/25/2017)
  04/26/2017           368 ORDER granting 366 Letter Motion for Extension of Time to File Response/Reply.
                           APPLICATION GRANTED. BOTH MOTIONS WILL BE BEFORE ME. (Signed by
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                                                                         A0065
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                             Magistrate Judge Henry B. Pitman on 4/26/2017) (ras) (Entered: 04/26/2017)
  04/26/2017                   Set/Reset Deadlines as to 357 MOTION To Substitute Yusuf El Ashmawy As A Next
                               Friend, 363 CROSS MOTION to Dismiss Next Friends of Additional Plaintiff Children.
                               Replies due by 5/11/2017. Responses due by 5/11/2017 (ras) (Entered: 04/26/2017)
  05/11/2017           369 MEMORANDUM OF LAW in Opposition re: 363 CROSS MOTION to Dismiss Next
                           Friends of Additional Plaintiff Children. and In Support of Named Plaintiff Children's
                           Motion to Substitute Yusuf El Ashmawy As A Next Friend (Dkt. 357). Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Addendum A -
                           Field Center brief, # 2 Addendum B - National Association brief)(North, Julie) (Entered:
                           05/11/2017)
  05/11/2017           370 DECLARATION of Marcia Robinson Lowry in Opposition re: 363 CROSS MOTION to
                           Dismiss Next Friends of Additional Plaintiff Children.. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 05/11/2017)
  05/11/2017           371 DECLARATION of Elisa W. (Filed Under Seal) in Opposition re: 363 CROSS MOTION
                           to Dismiss Next Friends of Additional Plaintiff Children.. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 05/11/2017)
  05/11/2017           372 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated May
                           11, 2017 re: Under Seal Filing of the Elisa W. Declaration (Dkt. 371). Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered:
                           05/11/2017)
  05/11/2017           373 SEALED DOCUMENT placed in vault.(rz) (Entered: 05/12/2017)
  05/15/2017           374 NOTICE OF APPEARANCE by Justin Conrad Clarke on behalf of Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R.,
                           Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Clarke, Justin) (Entered: 05/15/2017)
  05/15/2017           375 LETTER MOTION for Extension of Time to reply to 369 - 371 Plaintiffs' opposition to
                           Defendant's cross-motion addressed to Magistrate Judge Henry B. Pitman from Agnetha
                           E. Jacob dated 5/15/17. Document filed by City of New York.(Jacob, Agnetha) (Entered:
                           05/15/2017)
  05/16/2017           376 ORDER granting 375 Letter Motion for Extension of Time. The City's time to serve and
                           file a reply in further support of its motion to dismiss is extended to June 1, 2017.
                           (HEREBY ORDERED by Magistrate Judge Henry B. Pitman)(Text Only Order) Copies
                           of Notice of Electronic Filing Sent By Chambers. (Pitman, Henry) (Entered: 05/16/2017)
  05/18/2017           377 NOTICE OF APPEARANCE by Claire Botnick on behalf of Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Botnick, Claire) (Entered: 05/18/2017)
  05/18/2017           378 NOTICE OF APPEARANCE by Molly Montgomery Jamison on behalf of Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
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                             R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                             T.C., Matthew V., Brittney W., Elisa W.. (Jamison, Molly) (Entered: 05/18/2017)
  05/19/2017           379 JOINT PRELIMINARY PRETRIAL STATEMENT . Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 05/19/2017)
  05/23/2017           380 NOTICE OF APPEARANCE by Scott Bartron Reents on behalf of Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R.,
                           Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Reents, Scott) (Entered: 05/23/2017)
  05/25/2017           381 ORDER: Accordingly, and in light of the pending motion practice, the May 26, 2017,
                           conference scheduled before the undersigned is cancelled, and the parties are directed to
                           schedule a conference with Judge Pitman promptly to address the issues raised in their
                           joint statement. SO ORDERED. (Signed by Judge Laura Taylor Swain on 5/24/2017)
                           (ama) (Entered: 05/25/2017)
  05/26/2017           382 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated May
                           26, 2017 re: request for conference pursuant to the Court's May 25, 2017 Order (ECF No.
                           381). Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik
                           M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas
                           T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 05/26/2017)
  06/01/2017           383 REPLY MEMORANDUM OF LAW in Support re: 363 CROSS MOTION to Dismiss
                           Next Friends of Additional Plaintiff Children. . Document filed by City of New York.
                           (Jacob, Agnetha) (Entered: 06/01/2017)
  07/14/2017           384 NOTICE OF APPEARANCE by Roderick Leopold Arz on behalf of Sheila J. Poole.
                           (Arz, Roderick) (Entered: 07/14/2017)
  07/17/2017                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Status
                               Conference held on 7/17/2017. (ajc) (Entered: 07/17/2017)
  07/19/2017           385 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated July
                           19, 2017 re: Proposed Schedule. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W..(North, Julie) (Entered: 07/19/2017)
  07/21/2017           386 ORDER: It is hereby ORDERED that: 1. Plaintiffs are permitted to take up to 30
                           depositions. This order is without prejudice to an application from plaintiffs to take
                           additional depositions or to an application from a defendant for a protective order with
                           respect to a particular deposition or depositions. 2. Provided that plaintiffs include
                           proposed search terms in their document requests, the parties shall meet and confer
                           concerning search terms within 30 days of the date on which a document request is
                           served. 3. In an effort to ensure the prompt resolution of any discovery disputes that may
                           arise in this matter, monthly discovery conferences will be held commencing on August
                           10, 2017 and at four-week intervals thereafter, i.e. September 7, 2017, October 5, 2017,
                           November 2, 2017, etc. The conferences will commence at 3:00 p.m. Any party wishing
                           to raise an issue at the conference is directed to file a letter describing the issue on the
                           ECF system by 5:00 p.m. on the Monday preceding the conference; such letters shall be
                           limited to a maximum of 1500 words in length and shall include a representation that
                           counsel has had a viva voce conversation -- not merely an exchange of correspondence,
                           emails or faxes -- with the adverse party in a good faith attempt to resolve the dispute

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                             without my intervention. Opposition letters shall not be submitted. If no letters are filed
                             prior to the date of a scheduled conference, I shall assume that no discovery issues
                             currently exist and that there is no need for a conference at that time. This Order does not
                             preclude any party from seeking discovery conferences in addition to the regularly
                             scheduled Thursday conferences. (Signed by Magistrate Judge Henry B. Pitman on
                             7/21/2017) (rj) (Entered: 07/24/2017)
  07/21/2017                   Set/Reset Hearings: Discovery Hearing set for 8/10/2017 at 03:00 PM before Magistrate
                               Judge Henry B. Pitman. Discovery Hearing set for 9/7/2017 at 03:00 PM before
                               Magistrate Judge Henry B. Pitman. Discovery Hearing set for 10/5/2017 at 03:00 PM
                               before Magistrate Judge Henry B. Pitman. Discovery Hearing set for 11/2/2017 at 03:00
                               PM before Magistrate Judge Henry B. Pitman. (rj) (Entered: 07/24/2017)
  08/03/2017           387 TRANSCRIPT of Proceedings re: status conference held on 7/17/2017 before Magistrate
                           Judge Henry B. Pitman. Court Reporter/Transcriber: Shari Riemer, (518) 581-8973.
                           Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 8/24/2017. Redacted
                           Transcript Deadline set for 9/5/2017. Release of Transcript Restriction set for 11/1/2017.
                           (rro) (Entered: 08/03/2017)
  08/03/2017           388 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a status conference proceeding held on 7/17/2017 has been filed by
                           the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days.(rro) (Entered:
                           08/03/2017)
  08/10/2017           389 NOTICE OF APPEARANCE by Cara Brown Chomski on behalf of Sheila J. Poole.
                           (Chomski, Cara) (Entered: 08/10/2017)
  08/23/2017           390 AMENDED RULE 502(d) STIPULATION & ORDER [AMENDED STIPULATION
                           AND ORDER REGARDING THE DISCLOSURE OF PRIVILEGED
                           INFORMATION]...regarding procedures to be followed that shall govern the handling of
                           confidential material (See document). (Signed by Magistrate Judge Henry B. Pitman on
                           8/22/2017) (ras) (Entered: 08/23/2017)
  08/23/2017           391 SECOND AMENDED PROTECTIVE ORDER...regarding procedures to be followed
                           that shall govern the handling of confidential material...(As further set forth herein).
                           (Signed by Magistrate Judge Henry B. Pitman on 8/22/2017) (ras) (Entered: 08/23/2017)
  09/01/2017           392 MEMORANDUM OPINION AND ORDER: re: 297 MOTION for Summary Judgment
                           on Grounds of Mootness filed by City of New York. Accordingly, because the Court has
                           not yet made a final determination as to whether this case will proceed as a class action,
                           Defendants' motion for partial summary judgment dismissing the six Plaintiffs' claims on
                           the grounds of mootness is denied. This Memorandum Opinion and Order resolves
                           docket entry no. 297. SO ORDERED. (Signed by Judge Laura Taylor Swain on
                           9/01/2017) (ama) (Entered: 09/01/2017)
  09/01/2017           393 LETTER addressed to Magistrate Judge Henry B. Pitman from Samantha L. Buchalter
                           dated September 1, 2017 re: Request for Extension of Time. Document filed by Sheila J.
                           Poole.(Buchalter, Samantha) (Entered: 09/01/2017)
  09/01/2017           394 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           September 1, 2017 re: issues for discussion at the upcoming September 7, 2017 discovery
                           conference. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J.,

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                             Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S.,
                             Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North,
                             Julie) (Entered: 09/01/2017)
  09/07/2017                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 9/7/2017. (ajc) (Entered: 09/07/2017)
  09/08/2017           395 LETTER addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                           9/8/17 re: Cases addressing non-production of non-responsive family members.
                           Document filed by City of New York.(Pines, Jonathan) (Entered: 09/08/2017)
  09/11/2017           396 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           September 11, 2017 re: Request For List Of Citations. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 09/11/2017)
  09/11/2017           397 MEMORANDUM OPINION AND ORDER: re: 340 MOTION to Dismiss Plaintiff
                           Letitia James and Plaintiffs' AACWA Claims filed by Sheila J. Poole. For the foregoing
                           reasons, the Commissioner's motion to dismiss the Third Cause of Action is granted in
                           part and denied in part. The Public Advocate's claims against theCommissioner in the
                           Third Cause of Action are dismissed. The Named Plaintiff Childrens' claims against the
                           Commissioner as described in paragraphs 348(a), (c), (d), (e), (f), and (j) of the AC are
                           dismissed. The Commissioner's motion is denied in all other respects. This Memorandum
                           Opinion and Order resolves docket entry no. 340. This case remains referred to
                           Magistrate Judge Pitman for general pre-trial management. SO ORDERED. (Signed by
                           Judge Laura Taylor Swain on 9/11/2017) (ama) (Entered: 09/11/2017)
  09/19/2017           398 ORDER: It is hereby ORDERED that: The State Defendant's objection to producing
                           documents sufficient to show the State Defendant's policies concerning the oversight of
                           residential facilities is sustained. The State Defendant's request for an extension of time
                           to September 15, 2017 to start the meet and confer process with Plaintiffs regarding the
                           search terms that the State Defendant will use to identify electronically stored
                           information that is potentially responsive to Plaintiffs' documents requests is
                           granted...Plaintiffs' application to compel the City Defendants to produce non-responsive,
                           non-privileged irrelevant documents that are attached to relevant, responsive documents
                           is denied...Accordingly, plaintiff's application to compel the City Defendants to produce
                           non-responsive, nonprivileged, irrelevant documents that are attached to relevant
                           responsive documents is denied, and as further set forth herein. (Signed by Magistrate
                           Judge Henry B. Pitman on 9/19/2017) Copies Transmitted By Chambers. (ras) (Entered:
                           09/20/2017)
  10/05/2017           399 TRANSCRIPT of Proceedings re: Discovery Hearing held on 9/7/2017 before Magistrate
                           Judge Henry B. Pitman. Court Reporter/Transcriber: Shari Riemer, (518) 581-8973.
                           Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 10/26/2017. Redacted
                           Transcript Deadline set for 11/6/2017. Release of Transcript Restriction set for 1/3/2018.
                           (rro) (Entered: 10/05/2017)
  10/05/2017           400 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Discovery Hearing proceeding held on 9/7/2017 has been filed by
                           the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days.(rro) (Entered:
                           10/05/2017)
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                              69/90
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8/9/22, 11:02 AM            Case 22-7, Document 124, 08/10/2022,   3363319,
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  10/30/2017           401 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           October 30, 2017 re: July 21, 2017 Order (ECF No. 386). Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 10/30/2017)
  11/01/2017           402 NOTICE OF APPEARANCE by Daniel Slifkin on behalf of Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Slifkin, Daniel) (Entered: 11/01/2017)
  11/02/2017                   Minute Entry for proceedings held before Magistrate Judge Henry B. Pitman: Discovery
                               Hearing held on 11/2/2017. (ajc) (Entered: 11/02/2017)
  11/13/2017           403 TRANSCRIPT of Proceedings re: Discovery Hearing held on 11/2/2017 before
                           Magistrate Judge Henry B. Pitman. Court Reporter/Transcriber: Carole Ludwig, (212)
                           420-0771. Transcript may be viewed at the court public terminal or purchased through
                           the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                           After that date it may be obtained through PACER. Redaction Request due 12/4/2017.
                           Redacted Transcript Deadline set for 12/14/2017. Release of Transcript Restriction set for
                           2/12/2018.(rro) (Entered: 11/13/2017)
  11/13/2017           404 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Discovery Hearing proceeding held on 11/2/2017 has been filed by
                           the court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
                           available to the public without redaction after 90 calendar days.(rro) (Entered:
                           11/13/2017)
  11/16/2017           405 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           November 16, 2017 re: City Defendant's relevance and responsiveness objections.
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 11/16/2017)
  11/22/2017           406 JOINT LETTER MOTION for Leave to File Letter Brief addressed to Magistrate Judge
                           Henry B. Pitman from Julie A. North dated November 22, 2017. Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered:
                           11/22/2017)
  11/27/2017           407 ORDER: granting 406 Letter Motion for Leave to File Document. APPLICATION
                           GRANTED. (Signed by Magistrate Judge Henry B. Pitman on 11/27/2017) (ap) (Entered:
                           11/27/2017)
  12/08/2017           408 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER
                           MOTION for Discovery opposing production of ACS Draft Policies addressed to
                           Magistrate Judge Henry B. Pitman from Jonathan Pines dated December 8, 2017.
                           Document filed by City of New York. (Attachments: # 1 Appendix Pls' First Request for
                           Production of Documents)(Pines, Jonathan) Modified on 12/29/2017 (ldi). (Entered:
                           12/08/2017)
  12/08/2017           409 LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           December 8, 2017 re: City Defendant's responsiveness and relevance objections.
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                             70/90
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                             Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                             Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                             Ximena T., Jose T.C., Valentina T.C., Matthew V., Elisa W.. (Attachments: # 1 Exhibit A
                             to North Letter, # 2 Exhibit B to North Letter, # 3 Exhibit C to North Letter, # 4 Exhibit
                             D to North Letter, # 5 Exhibit E to North Letter, # 6 Exhibit F to North Letter, # 7 Exhibit
                             G to North Letter)(North, Julie) (Entered: 12/08/2017)
  12/11/2017           410 LETTER RESPONSE in Support of Motion addressed to Magistrate Judge Henry B.
                           Pitman from Jonathan Pines dated December 11, 2017 re: 408 LETTER MOTION for
                           Discovery opposing production of ACS Draft Policies addressed to Magistrate Judge
                           Henry B. Pitman from Jonathan Pines dated December 8, 2017. City Def's Response to
                           Pls' counsel's letter of December 8, 2017. Document filed by City of New York. (Pines,
                           Jonathan) (Entered: 12/11/2017)
  12/29/2017                   ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE
                               ERROR. Notice to Attorney Jonathan L. Pines to RE-FILE Document 408
                               LETTER MOTION for Discovery opposing production of ACS Draft Policies
                               addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                               December 8, 2017. Use the event type Letter found under the event list Other
                               Documents. (ldi) (Entered: 12/29/2017)
  12/29/2017           411 LETTER addressed to Magistrate Judge Henry B. Pitman from Jonathan Pines dated
                           December 8, 2017 re: Relevance/Responsiveness of ACS Draft Policy Documents.
                           Document filed by City of New York. (Attachments: # 1 Appendix Pls' First Request for
                           Production of Documents)(Pines, Jonathan) (Entered: 12/29/2017)
  02/01/2018           412 ORDER: The final pretrial conference currently scheduled for February 9, 2018, is
                           hereby adjourned to Friday, February 23, 2018 at 12:00 p.m. in Courtroom 17C. SO
                           ORDERED., ( Final Pretrial Conference set for 2/23/2018 at 12:00 PM in Courtroom
                           17C, 500 Pearl Street, New York, NY 10007 before Judge Laura Taylor Swain.) (Signed
                           by Judge Laura Taylor Swain on 2/01/2018) (ama) (Entered: 02/01/2018)
  02/14/2018           413 JOINT LETTER MOTION to Adjourn Conference addressed to Judge Laura Taylor
                           Swain from Julie A. North dated February 14, 2018. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 02/14/2018)
  02/16/2018           414 ORDER: granting 413 Letter Motion to Adjourn Conference. The Final Pre-trial
                           Conference is adjourned to March 15, 2019, at 11:00 AM and the related deadlines are
                           modified accordingly. DE # 413 resolved. SO ORDERED. Final Pretrial Conference set
                           for 3/15/2019 at 11:00 AM before Judge Laura Taylor Swain. (Signed by Judge Laura
                           Taylor Swain on 2/15/2018) (ama) (Entered: 02/16/2018)
  02/28/2018           415 JOINT LETTER MOTION for Extension of Time for completion of fact and expert
                           discovery addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           February 28, 2018. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J.,
                           Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W..(North, Julie) (Entered: 02/28/2018)
  02/28/2018           416 REPORT AND RECOMMENDATION re: 357 MOTION To Substitute Yusuf El
                           Ashmawy As A Next Friend, filed by Lucas T., Brittney W., Emmanuel S., Tyrone M.,
                           Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R., Mikayla G., Xavion
                           M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W., Matthew V., Ximena T.,
                           363 CROSS MOTION to Dismiss Next Friends of Additional Plaintiff Children, filed by
                           City of New York. I respectfully recommend that City's motion to dismiss to dismiss
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                                 71/90
                                                                         A0071
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                             Amy Mulzer, Rachel Friedman, Dawn Cardi, Michael B. Mushlin, Reverend Doctor
                             Gwendolyn Hadley-Hall, Bishop Lillian Robinson-Wiltshire, Liza Camellerie, Elizabeth
                             Hendrix, Samuel Perry as next friends be denied, that its motion to dismiss Elizabeth
                             Barricelli as the next friend of Elisa W. be granted and that plaintiffs' motion to substitute
                             Yusuf El Ashmawy in place of Liza Camellerie as the next friend of plaintiff Brittney W.
                             be granted. If accepted, this Report and Recommendation closes Docket Items 357 and
                             363. Pursuant to 28 U.S.C. § 636(b)(1)(c) and Rule 72(b) of the Federal Rules of Civil
                             Procedure, the parties shall have fourteen (14) days from receipt of this Report to file
                             written objections. See also Fed.R.Civ.P. 6(a). Such objections (and responses thereto)
                             shall be filed with the Clerk of the Court, with courtesy copies delivered to the Chambers
                             of the Honorable Laura Taylor Swain, United States District Judge, Room 1440, 500
                             Pearl Street, New York, New York 10007, and to the Chambers of the undersigned, 500
                             Pearl Street, Room 1670, New York, New York 10007. Any requests for an extension of
                             time for filing objections must be directed to Judge Swain. FAILURE TO OBJECT
                             WITHIN FOURTEEN (14) DAYS WILL RESULT IN A WAIVER OF OBJECTIONS
                             AND WILL PRECLUDE APPELLATE REVIEW. Thomas v. Arn, 474 U.S. 140, 155
                             (1985); United States v. Male Juvenile, 121 F.3d 34, 38 (2d Cir. 1997); IDE AFL-CIO
                             Pension Fund v. Herrmann, 9 F.3d 1049, 1054 (2d Cir. 1993); Frank v. Johnson, 968 F.2d
                             298, 300 (2d Cir. 1992); Wesolek v. Canadair Ltd., 838 F.2d 55, 57-59 (2d Cir. 1988);
                             McCarthy v. Manson, 714 F.2d 234, 237-238 (2d Cir. 1983). (Objections to R&R due by
                             3/14/2018.) (Signed by Magistrate Judge Henry B. Pitman on 2/28/2018) Copies Mailed
                             By Chambers. (ras) (Entered: 02/28/2018)
  03/02/2018           417 AMENDED ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case
                           be referred to the Clerk of Court for assignment to a Magistrate Judge for General Pretrial
                           (includes scheduling, discovery, non-dispositive pretrial motions, and settlement) and
                           Dispositive Motion (i.e., motion requiring a Report and Recommendation): docket entries
                           357 and 363. Referred to Magistrate Judge Henry B. Pitman. Motions referred to Henry
                           B. Pitman. (Signed by Judge Laura Taylor Swain on 3/2/2018(NPT to 3/23/2017)) (mro)
                           Modified on 3/2/2018 (mro). (Entered: 03/02/2018)
  03/20/2018           418 ORDER: for 416 Report and Recommendations 357 Motion for Miscellaneous Relief,
                           filed by Lucas T., Brittney W., Emmanuel S., Tyrone M., Thierry E., Ayanna J., Malik
                           M., Alexandria R., Jose T.C., Olivia R., Mikayla G., Xavion M., Ana-Maria R., Myls J.,
                           Valentina T.C., Dameon C., Elisa W., Matthew V., Ximena T., 363 Motion to Dismiss
                           filed by City of New York. Having reviewed Magistrate Judge Pitman's thorough and
                           well-reasoned Report, to which no objection has been made, the Court finds no clear
                           error. Therefore, the Court adopts the Report in its entirety. Accordingly, Defendants'
                           Motion to Dismiss next friends Amy Mulzer, Rachel Friedman, Dawn Cardi, Michael B.
                           Mushlin, Reverend Doctor Gwendolyn Hadley-Hall, Bishop Lillian Robinson-Wiltshire,
                           Liza Camellerie, Elizabeth Hendrix, and Samuel Perry is denied. Defendants' Motion to
                           Dismiss Elizabeth Barricelli as the next friend of Elisa W is granted. Plaintiffs' Motion to
                           Substitute Yusuf El Ashmawy As Next Friend of Brittney W. is granted. The Clerk of
                           Court is requested to update the docket accordingly. This Order resolves docket entry
                           nos. 357 and 363. This case remains referred to Judge Pitman for general pretrial
                           management, and as further set forth in this order. (Signed by Judge Laura Taylor Swain
                           on 3/20/2018) (ap) Modified on 3/20/2018 (ap). Modified on 3/22/2018 (ap). (Entered:
                           03/20/2018)
  03/30/2018           419 ORDER granting 415 Letter Motion for Extension of Time. APPLICATION GRANTED.
                           (Signed by Magistrate Judge Henry B. Pitman on 3/29/2018) (ras) (Entered: 03/30/2018)
  03/30/2018                   Set/Reset Deadlines: Expert Discovery due by 2/28/2019. Fact Discovery due by
                               11/29/2018. (ras) (Entered: 03/30/2018)
  04/25/2018           420 NOTICE OF CHANGE OF ADDRESS by Samantha Leigh Buchalter on behalf of Sheila
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                                   72/90
                                                                         A0072
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                             J. Poole. New Address: New York State Office of the Attorney General, 28 Liberty
                             Street, New York, New York, United States 10005, 212-416-6582. (Buchalter, Samantha)
                             (Entered: 04/25/2018)
  04/25/2018           421 NOTICE OF CHANGE OF ADDRESS by Antoinette W Blanchette on behalf of Sheila
                           J. Poole. New Address: New York State Office of the Attorney General, 28 Liberty
                           Street, New York, NY, 10005, (212) 416-8595. (Blanchette, Antoinette) (Entered:
                           04/25/2018)
  04/25/2018           422 NOTICE OF CHANGE OF ADDRESS by Roderick Leopold Arz on behalf of Sheila J.
                           Poole. New Address: New York State Office of the Attorney General, 28 Liberty Street,
                           New York, New York, 10005, (212) 416-8633. (Arz, Roderick) (Entered: 04/25/2018)
  04/25/2018           423 NOTICE OF CHANGE OF ADDRESS by Cara Brown Chomski on behalf of Sheila J.
                           Poole. New Address: New York State Office of the Attorney General, 28 Liberty Street,
                           New York, New York, 10005, (212) 416-8177. (Chomski, Cara) (Entered: 04/25/2018)
  11/19/2018           424 LETTER MOTION for Extension of Time for completion of fact discovery on class
                           certification addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           November 19, 2018. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J.,
                           Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W..(North, Julie) (Entered: 11/19/2018)
  11/29/2018           425 ORDER granting 424 Letter Motion for Extension of Time. THE SCHEDULE
                           PROVIDED HEREIN IS APPROVED. SO ORDERED. (Signed by Magistrate Judge
                           Henry B. Pitman on 11/29/2018) (ne) (Entered: 11/29/2018)
  11/29/2018                   Set/Reset Deadlines: Fact Discovery due by 4/30/2019. (ne) (Entered: 11/29/2018)
  12/05/2018           426 LETTER MOTION to Adjourn Conference ("Final Pretrial Conference scheduled for
                           March 15, 2019") addressed to Judge Laura Taylor Swain from Julie A. North dated
                           December 5, 2018. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J.,
                           Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W..(North, Julie) (Entered: 12/05/2018)
  12/06/2018           427 ORDER: granting 426 Letter Motion to Adjourn Conference. The Final Pretrial
                           Conference is adjourned to December 20, 2019, at 2:00 p.m. as a control date and the
                           related deadlines are suspended pending further Order of the Court. DE # 426 resolved.
                           SO ORDERED. Final Pretrial Conference set for 12/20/2019 at 02:00 PM before Judge
                           Laura Taylor Swain. (Signed by Judge Laura Taylor Swain on 12/06/2018) (ama)
                           (Entered: 12/06/2018)
  12/20/2018           428 OPINION AND ORDER: Accordingly, for all the foregoing reasons, plaintiffs'
                           application to compel the production of drafts of certain of defendants' policies is denied.
                           (Signed by Magistrate Judge Henry B. Pitman on 12/20/2018) Copies Transmitted By
                           Chambers. (ne) (Entered: 12/20/2018)
  12/31/2018           429 FIRST MOTION for Jennifer Levy to Withdraw as Attorney for Plaintiff Letitia James.
                           Document filed by Letitia James. (Attachments: # 1 Exhibit Proposed Order)(Levy,
                           Jennifer) (Entered: 12/31/2018)
  01/02/2019           430 ORDER GRANTING MOTION TO WITHDRAW JENNIFER LEVY AS A COUNSEL
                           OF RECORD FOR PLAINTIFF granting 429 Motion to Withdraw as Attorney. IT IS
                           HEREBY ORDERED that Jennifer Levy, Esq., is withdrawn as counsel of record for
                           Plaintiff Letitia James. IT IS FURTHER ORDERED that Jennifer Levy, Esq., shall no
                           longer receive electronic notices from the court's CM/ECF system in this proceeding. It is
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                               73/90
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                             SO ORDERED. Attorney Jennifer L. Levy terminated. (Signed by Magistrate Judge
                             Henry B. Pitman on 1/2/2019) (ne) (Entered: 01/02/2019)
  03/04/2019           431 LETTER MOTION for Extension of Time for Close of Fact Discovery on Class
                           Certification addressed to Magistrate Judge Henry B. Pitman from Julie A. North dated
                           March 4, 2019. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls
                           J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel
                           S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..
                           (North, Julie) (Entered: 03/04/2019)
  03/05/2019           432 ORDER granting 431 Letter Motion for Extension of Time. The within application is
                           granted. Fact discovery is extended to May 31, 2019. The parties are to submit a
                           proposed briefing schedule for plaintiffs' motion for class certification no later than June
                           30, 2019. SO ORDERED. (Signed by Magistrate Judge Henry B. Pitman on 3/5/2019)
                           Copies Transmitted By Chambers. (ne) (Entered: 03/05/2019)
  03/05/2019                   Set/Reset Deadlines: Fact Discovery due by 5/31/2019. (ne) (Entered: 03/05/2019)
  06/18/2019           433 JOINT LETTER addressed to Magistrate Judge Henry B. Pitman from Julie A. North
                           dated June 18, 2019 re: proposed briefing schedule for Plaintiffs' motion for class
                           certification. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J.,
                           Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S.,
                           Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North,
                           Julie) (Entered: 06/18/2019)
  06/19/2019           434 MEMO ENDORSEMENT on re: 433 Letter, filed by Lucas T., Brittney W., Emmanuel
                           S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R.,
                           Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W.,
                           Matthew V., Ximena T. ENDORSEMENT: THE SCHEDULE PROPOSED HEREIN IS
                           APPROVED. SO ORDERED. (Motions due by 7/31/2019, Responses due by
                           10/31/2019, Replies due by 12/20/2019.) (Signed by Magistrate Judge Henry B. Pitman
                           on 6/19/2019) (ne) (Entered: 06/19/2019)
  07/23/2019           435 LETTER MOTION for Leave to File Excess Pages addressed to Judge Laura Taylor
                           Swain from Julie A. North dated July 23, 2019. Document filed by Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R.,
                           Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W..(North, Julie) (Entered: 07/23/2019)
  07/24/2019           436 ORDER: denying 435 Letter Motion for Leave to File Excess Pages. The requested
                           extension is Denied. Plaintiffs are granted an extension of up to 60 pages in total for their
                           opening brief as to both Defendants. SO ORDERED. (Signed by Judge Laura Taylor
                           Swain on 7/24/2019) (ama) (Entered: 07/24/2019)
  07/29/2019           437 LETTER MOTION to Seal Document addressed to Judge Laura Taylor Swain from Julie
                           A. North dated July 29, 2019. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W..(North, Julie) (Entered: 07/29/2019)
  07/30/2019           438 ORDER: granting 437 Motion to Seal Document. The request is granted insofar as it
                           seeks to redact identifying information of Named Plaintiff Children in their memorandum
                           of law and exhibits to the same. Named Plaintiff Children's request to file under seal
                           certain excerpts of 30(b)(6) depositions of certain third-party agencies (the "Contract
                           Agencies") is granted temporarily until August 14, 2019, by which date either the Named
                           Plaintiff Children or the Contract Agencies must file a letter motion on ECF seeking
                           leave for the continued sealing of these excerpts. The letter motion, which may be

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                             redacted if necessary, must identify any relevant provisions of the Second Amended
                             Protective Order (docket entry no. 391), justify the request in light of the standards set
                             forth in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 11920 (2d Cir. 2006), and
                             state whether the request is on consent and, if not, the substance of any opposing
                             position(s). Unredacted courtesy copies of the letter motion and relevant deposition
                             excerpts with all proposed redactions in highlighted form must be provided to Chambers.
                             If no timely request seeking leave for continued sealing is filed, the excerpts shall be
                             unsealed without further notice. Named Plaintiff Children are directed to serve a copy of
                             this order upon the Contract Agencies no later than July 31, 2019. This Order resolves
                             docket entry no. 437. SO ORDERED. (Signed by Judge Laura Taylor Swain on
                             7/30/2019) (ama) (Entered: 07/30/2019)
  07/30/2019                   Set/Reset Deadlines: Motions due by 8/14/2019. (ama) (Entered: 07/30/2019)
  07/30/2019           439 MOTION to Certify Class ("Notice of Renewed Motion for Class Certification").
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 07/30/2019)
  07/30/2019           440 MEMORANDUM OF LAW in Support re: 439 MOTION to Certify Class ("Notice of
                           Renewed Motion for Class Certification"). . Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Appendix 1, # 2 Appendix 2, # 3
                           Appendix 3, # 4 Appendix 4)(North, Julie) (Entered: 07/30/2019)
  07/30/2019           441 DECLARATION of Marcia Robinson Lowry in Support re: 439 MOTION to Certify
                           Class ("Notice of Renewed Motion for Class Certification").. Document filed by Dameon
                           C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M.,
                           Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C.,
                           Valentina T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 07/30/2019)
  07/30/2019           442 DECLARATION of Julie A. North in Support re: 439 MOTION to Certify Class ("Notice
                           of Renewed Motion for Class Certification").. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                           3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, #
                           10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                           Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                           Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                           Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30
                           Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35
                           Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40
                           Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45
                           Exhibit 45, # 46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50
                           Exhibit 50, # 51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55
                           Exhibit 55, # 56 Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60
                           Exhibit 60, # 61 Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65
                           Exhibit 65, # 66 Exhibit 66, # 67 Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, # 70
                           Exhibit 70, # 71 Exhibit 71, # 72 Exhibit 72, # 73 Exhibit 73, # 74 Exhibit 74, # 75
                           Exhibit 75, # 76 Exhibit 76, # 77 Exhibit 77, # 78 Exhibit 78, # 79 Exhibit 79, # 80
                           Exhibit 80, # 81 Exhibit 81, # 82 Exhibit 82, # 83 Exhibit 83, # 84 Exhibit 84, # 85
                           Exhibit 85, # 86 Exhibit 86, # 87 Exhibit 87, # 88 Exhibit 88, # 89 Exhibit 89, # 90
                           Exhibit 90, # 91 Exhibit 91, # 92 Exhibit 92, # 93 Exhibit 93, # 94 Exhibit 94, # 95
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                             Exhibit 95, # 96 Exhibit 96, # 97 Exhibit 97, # 98 Exhibit 98, # 99 Exhibit 99, # 100
                             Exhibit 100, # 101 Exhibit 101, # 102 Exhibit 102, # 103 Exhibit 103, # 104 Exhibit 104,
                             # 105 Exhibit 105, # 106 Exhibit 106, # 107 Exhibit 107, # 108 Exhibit 108, # 109
                             Exhibit 109, # 110 Exhibit 110, # 111 Exhibit 111, # 112 Exhibit 112, # 113 Exhibit 113,
                             # 114 Exhibit 114, # 115 Exhibit 115, # 116 Exhibit 116, # 117 Exhibit 117, # 118 Exhibit
                             118, # 119 Exhibit 119, # 120 Exhibit 120, # 121 Exhibit 121)(North, Julie) (Entered:
                             07/30/2019)
  07/31/2019           443 SEALED DOCUMENT placed in vault.(mhe) (Entered: 07/31/2019)
  08/01/2019           444 LETTER MOTION to Seal Document (letter requesting an extension of the class
                           certification briefing schedule) addressed to Judge Laura Taylor Swain from Julie A.
                           North dated August 1, 2019. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W..(North, Julie) (Entered: 08/01/2019)
  08/05/2019           445 JOINT LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated
                           August 5, 2019 re: extension of class certification briefing schedule. Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie) (Entered:
                           08/05/2019)
  08/05/2019           446 MEMO ENDORSEMENT: on re: 445 Letter filed by Lucas T., Brittney W., Emmanuel
                           S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R.,
                           Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W.,
                           Matthew V., Ximena T., ), ENDORSEMENT: The proposed schedule is approved and the
                           request to withdraw the prior letters is Granted. DE # 445 resolved, DE # 444 withdrawn
                           and terminated. SO ORDERED. Motions terminated: 444 LETTER MOTION to Seal
                           Document (letter requesting an extension of the class certification briefing schedule)
                           addressed to Judge Laura Taylor Swain from Julie A. North dated August 1, 2019 filed
                           by Lucas T., Brittney W., Emmanuel S., Tyrone M., Thierry E., Ayanna J., Malik M., Jose
                           T.C., Alexandria R., Mikayla G., Olivia R., Xavion M., Myls J., Ana-Maria R., Valentina
                           T.C., Dameon C., Elisa W., Matthew V., Ximena T. ( Responses due by 12/12/2019,
                           Replies due by 1/31/2020.) (Signed by Judge Laura Taylor Swain on 8/05/2019) (ama)
                           (Entered: 08/05/2019)
  08/14/2019           447 LETTER addressed to Judge Laura Taylor Swain from Kristin L. Williams dated
                           08/13/2019 re: Order to Unseal Testimony. Document filed by Non-party agency.
                           (Williams, Kristin) (Entered: 08/14/2019)
  08/14/2019           448 LETTER addressed to Judge Laura Taylor Swain from Non-party agency dated
                           08/13/2019 re: Order to Unseal Testimony. Document filed by Non-party agency.
                           (Williams, Kristin) (Entered: 08/14/2019)
  08/15/2019           449 ORDER: The temporary sealing of the deposition excerpts is hereby continued until
                           September 6, 2019. If no timely joint report is filed, the excerpts shall be unsealed
                           without further notice. Named Plaintiff Children are directed to serve a copy of this Order
                           upon CHFS and HSVS, and to file a certificate attesting to such service, no later than
                           August 16, 2019. SO ORDERED. (Signed by Judge Laura Taylor Swain on 8/15/2019)
                           (ks) (Entered: 08/15/2019)
  08/15/2019           450 CERTIFICATE OF SERVICE of the Order of the Court (ECF No. 449) served on Kristin
                           L. Williams on August 15, 2019. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,

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                             Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                             Brittney W., Elisa W.. (Winograd, Max) (Entered: 08/15/2019)
  09/06/2019           451 LETTER addressed to Judge Laura Taylor Swain from Non-party agency dated
                           09/06/2019 re: Continued Sealing of Deposition Excerpts Filed Under Seal. Document
                           filed by Non-party agency.(Williams, Kristin) (Entered: 09/06/2019)
  09/11/2019           452 ORDER: The Court hereby grants the agencies a third and final opportunity to offer more
                           than conclusory statements demonstrating the need for continued sealing. The third-party
                           agencies must file no later than September 20, 2019, a submission (1) explaining the
                           specific deposition testimony they seek to file under seal, (2) demonstrating why that
                           testimony will "cause embarrassment and harm," "damage [the agencies'] relationship
                           with ACS," or "damage the trust and security the families have in their foster services,"
                           and (3) describing how continued sealing or redaction is necessary to preserve higher
                           values beyond the third-party agencies' mere desire not to disclose this information to the
                           public. To the extent that the agencies contend that the supplemental explanatory material
                           includes material that itself meets the high standard for sealing or protection, the
                           statement may be filed on ECF in redacted form with the unredacted version delivered for
                           chambers and served on Named Plaintiff Children. The Court will review and rule on
                           whether that material may remain sealed in conjunction with its ruling on whether the
                           deposition excerpts that are the subject of the Named Plaintiff Childrens application may
                           remain sealed. The temporary sealing of the deposition excerpts is hereby continued until
                           September 23, 2019. If no timely supplemental submission is filed, the excerpts shall be
                           unsealed without further notice. Named Plaintiff Children are directed to serve a copy of
                           this Order upon CHFS and HSVS, and to file a certificate attesting to such service, no
                           later than September 12, 2019. And as set forth herein. SO ORDERED. (Signed by Judge
                           Laura Taylor Swain on 9/11/2019) (ama) (Entered: 09/11/2019)
  09/11/2019           453 CERTIFICATE OF SERVICE of the Order of the Court (ECF No. 452) served on Kristin
                           L. Williams on September 11, 2019. Document filed by Dameon C., Thierry E., Mikayla
                           G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W.. (Coleman, Amanda) (Entered: 09/11/2019)
  09/20/2019           454 LETTER addressed to Judge Laura Taylor Swain from Non-party agency dated 9/20/19
                           re: In Response to Court Order. Document filed by Non-party agency.(Williams, Kristin)
                           (Entered: 09/20/2019)
  09/24/2019           455 MEMO ENDORSEMENT: on re: 454 Letter filed by Non-party agency.
                           ENDORSEMENT: The Court appreciates the Agencies' concerns but finds no proper
                           legal basis for maintaining the referenced excerpts under seal. Plaintiff are directed to file
                           them on the ECF docket by September 30, 2019. SO ORDERED. (Signed by Judge
                           Laura Taylor Swain on 9/23/2019) (ama) (Entered: 09/24/2019)
  09/25/2019           456 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated September
                           25, 2019 re: filing of previously sealed deposition excerpts pursuant to order of
                           September 24, 2019 (ECF No. 455). Document filed by Dameon C., Thierry E., Mikayla
                           G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W.. (Attachments: # 1 Exhibit 9--Gonzalez Excerpts, # 2 Exhibit 15--
                           Munoz Excerpts)(North, Julie) (Entered: 09/25/2019)
  10/02/2019                   Magistrate Judge Sarah L. Cave is so redesignated. (ad) (Entered: 10/02/2019)
  10/02/2019                   NOTICE OF REASSIGNMENT OF A REFERRAL TO ANOTHER MAGISTRATE
                               JUDGE. The referral in the above entitled action has been reassigned to Magistrate Judge
                               Sarah L. Cave, for General Pretrial (includes scheduling, discovery, non-dispositive
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                             pretrial motions, and settlement). Magistrate Judge Henry B. Pitman no longer referred to
                             the case. Motions referred to Sarah L. Cave. (ad) (Entered: 10/02/2019)
  10/02/2019           457 NOTICE OF APPEARANCE by Sharon Vicky Sprayregen on behalf of Gladys Carrion,
                           City of New York, New York City Administration for Childrens Services. (Sprayregen,
                           Sharon) (Entered: 10/02/2019)
  10/03/2019           458 NOTICE OF APPEARANCE by Ian William Forster on behalf of Gladys Carrion, City
                           of New York, New York City Administration for Childrens Services. (Forster, Ian)
                           (Entered: 10/03/2019)
  10/23/2019           459 LETTER MOTION to Seal Document addressed to Judge Laura Taylor Swain from Julie
                           A. North dated October 23, 2019. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W..(North, Julie) (Entered: 10/23/2019)
  10/24/2019           460 ORDER denying 459 Motion to Seal Document. The general request is denied, without
                           prejudice to a motion, consistent with paragraph A.5 of the individual practices rules of
                           the undersigned, demonstrating the need for redaction of specific identifying or medical
                           information. DE # 459 resolved. (Signed by Judge Laura Taylor Swain on 10/24/2019)
                           (ras) (Entered: 10/24/2019)
  10/25/2019           461 LETTER MOTION to Seal Document addressed to Judge Laura Taylor Swain from Julie
                           A. North dated October 25, 2019. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W..(North, Julie) (Entered: 10/25/2019)
  11/01/2019           462 ORDER granting 461 LETTER MOTION to Seal Document addressed to Judge Laura
                           Taylor Swain from Julie A. North dated October 25, 2019. Document filed by Dameon
                           C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M.,
                           Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C.,
                           Valentina T.C., Matthew V., Brittney W., Elisa W. The request is granted. DE #461
                           resolved. So ordered. (Signed by Judge Laura Taylor Swain on 11/1/2019) (rjm)
                           Transmission to Sealed Records Clerk for processing. (Entered: 11/01/2019)
  11/01/2019           463 MOTION to Substitute Michael B. Mushlin and Shamara Mills as Next Friends .
                           Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W..(North, Julie)
                           (Entered: 11/01/2019)
  11/01/2019           464 MEMORANDUM OF LAW in Support re: 463 MOTION to Substitute Michael B.
                           Mushlin and Shamara Mills as Next Friends . . Document filed by Dameon C., Thierry
                           E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R.,
                           Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                           3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, #
                           10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14)(North,
                           Julie) (Entered: 11/01/2019)
  11/01/2019           465 DECLARATION of Michael B. Mushlin in Support re: 463 MOTION to Substitute
                           Michael B. Mushlin and Shamara Mills as Next Friends .. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 11/01/2019)

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  11/01/2019           466 DECLARATION of Shamara Mills in Support re: 463 MOTION to Substitute Michael B.
                           Mushlin and Shamara Mills as Next Friends .. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (North, Julie) (Entered: 11/01/2019)
  12/04/2019           467 MEMO ENDORSEMENT on NOTICE OF MOTION TO SUBSTITUTE MICHAEL B.
                           MUSHLIN AND SHAMARA MILLS AS NEXT FRIENDS: granting 463 Motion for
                           SUBSTITUTE MICHAEL B. MUSHLIN AND SHAMARA MILLS AS NEXT
                           FRIENDS. ENDORSEMENT: The within Motion for the substitution of Ms. Mills as
                           next friend to Brittany W. and for the substitution of Ms. Mushlin as next friend to
                           Mikayla G. and Thierry E. is Granted, and the Clerk of Court is directed to update the
                           caption as set forth above. DE # 463 resolved. SO ORDERED. (Signed by Judge Laura
                           Taylor Swain on 12/04/2019) (ama) (Entered: 12/04/2019)
  12/06/2019           468 JOINT LETTER addressed to Judge Laura Taylor Swain from Jonathan Pines dated
                           December 6, 2019 re: extension of filing schedule for opposition and reply papers
                           relating to Plaintiffs' pending Motion for Class Certification. Document filed by City of
                           New York.(Forster, Ian) (Entered: 12/06/2019)
  12/10/2019           469 MEMO ENDORSEMENT: on re: 468 Letter filed by The City of New York.
                           ENDORSEMENT: In light of the need for time for further discussions, the Clerk of Court
                           is directed to terminate the pending motion (DE # 439) without prejudice to restoration
                           for completion of briefing, by letter request on or after April 1, 2020, for approval by
                           briefing according to the above schedule. SO ORDERED., ( Responses due by
                           4/13/2020, Replies due by 5/29/2020.), Motions terminated: 439 MOTION to Certify
                           Class ("Notice of Renewed Motion for Class Certification") filed by Lucas T., Brittney
                           W., Emmanuel S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C.,
                           Olivia R., Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C.,
                           Elisa W., Matthew V., Ximena T. (Signed by Judge Laura Taylor Swain on 12/06/2019)
                           (ama) (Entered: 12/10/2019)
  12/13/2019           470 ORDER: The final pretrial conference currently scheduled for December 20, 2019, is
                           hereby adjourned to Friday, March 13, 2020 at 2:00 p.m. in Courtroom 17C. (Final
                           Pretrial Conference set for 3/13/2020 at 02:00 PM in Courtroom 17C, 500 Pearl Street,
                           New York, NY 10007 before Judge Laura Taylor Swain.) (Signed by Judge Laura Taylor
                           Swain on 12/13/2019) (cf) (Entered: 12/13/2019)
  02/27/2020           471 LETTER MOTION to Adjourn Conference (Final PTC currently 3/13/20 @ 2:00)
                           addressed to Judge Laura Taylor Swain from Jonathan Pines dated February 27, 2020.
                           Document filed by The City of New York..(Pines, Jonathan) (Entered: 02/27/2020)
  02/28/2020           472 ORDER: granting 471 Letter Motion to Adjourn Conference. The FPTC is adjourned to
                           October 2, 2020 at 2:00 p.m. as a control date. The parties must file a joint status report
                           by July 31, 2020. DE # 471 resolved. SO ORDERED. Final Pretrial Conference set for
                           10/2/2020 at 02:00 PM before Judge Laura Taylor Swain. (Signed by Judge Laura Taylor
                           Swain on 2/28/2020) (ama) (Entered: 02/28/2020)
  03/04/2020           473 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by Bronx
                           Defenders, Brooklyn Defender Service, Center for Family Representation, Neighborhood
                           Defender Service of Harlem..(Flynn-Fitzsimmons, Luke) (Entered: 03/04/2020)
  03/05/2020           474 NOTICE AND ORDER FOR WITHDRAWAL OF COUNSEL re: 473 Proposed Order
                           for Withdrawal of Attorney: The Clerk of Court is respectfully directed to terminate
                           Attorney Luke Xavier Flynn-Fitzsimmons' appearance as attorney for Intervenors
                           Brooklyn Defender Services, The Bronx Defenders, Center for Family Representation,
                           Inc., and Neighborhood Defender Service of Harlem. (Attorney Luke Xavier Flynn-
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                             Fitzsimmons terminated.) (Signed by Magistrate Judge Sarah L Cave on 3/5/2020) (jwh)
                             (Entered: 03/05/2020)
  03/16/2020           475 SCHEDULING ORDER: It is hereby ORDERED, pursuant to Fed. R. Civ. P. 30(b)(3)
                           and (b)(4), that all depositions in this action may be taken via telephone,
                           videoconference, or other remote means, and may be recorded by any reliable audio or
                           audiovisual means. This order does not dispense with the requirements set forth in Fed.
                           R. Civ. P. 30(b)(5), including the requirement that ("[u]nless the parties stipulate
                           otherwise") the deposition be "conducted before an officer appointed or designated under
                           Rule 28," and that the deponent be placed under oath by that officer. For avoidance of
                           doubt, however, a deposition will be deemed to have been conducted "before" an officer
                           so long as that officer attends the deposition via the same remote means (e.g., telephone
                           conference call or video conference) used to connect all other remote participants, and so
                           long as all participants (including the officer) can clearly hear and be heard by all other
                           participants. It is further ORDERED, pursuant to Fed. R. Civ. P. 16(b)(4), that all
                           unexpired deadlines for the completion of fact depositions, fact discovery, expert
                           depositions, expert discovery, and/or all discovery are hereby EXTENDED for a period
                           of 30 days, together with all post-discovery deadlines previously set by this Court.
                           Nothing in this Order prevents the parties from seeking to further modify the pretrial
                           schedule in this action in light of the COVID-19 pandemic (or for any other good cause).
                           Prior to seeking such relief, the parties must, as always, meet and confer (via remote
                           means) in a good faith effort to reach agreement on how best to fulfil the goals of Rule 1
                           while avoiding unnecessary health risks. On receipt of this order, each party is directed to
                           ensure that all other parties in this action are aware of the order, particularly if this action
                           involves a pro se party. SO ORDERED. (Signed by Magistrate Judge Sarah L Cave on
                           3/16/2020) (ama) (Entered: 03/16/2020)
  03/17/2020           476 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated March 17,
                           2020 re: Amended Exhibit 1 to ECF Docket No. 442. Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit Amended Exhibit 1
                           (Redacted) to the Declaration of Julie A. North in Support).(North, Julie) (Entered:
                           03/17/2020)
  03/19/2020           477 MEMO ENDORSEMENT: on re: 476 Letter filed by Lucas T., Brittney W., Emmanuel
                           S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R.,
                           Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W.,
                           Matthew V., Ximena T. ENDORSEMENT: The foregoing application to file an amended
                           version of Exhibit 1 to DE 442 with the corrected redacted exhibit is granted. The
                           implicit motion to file under seal the unredacted exhibit with access permitted only to the
                           Court and counsel for named parties is also granted. The unredacted exhibit must be filed
                           under seal electronically, linked to this authorizing order in accordance with the Court's
                           ECF rules. DE # 476 resolved. SO ORDERED. (Signed by Judge Laura Taylor Swain on
                           3/18/2020) (ama) (Entered: 03/19/2020)
  03/19/2020           478 ***SELECTED PARTIES***NOTICE of Amended Exhibit 1 re: 477 Memo
                           Endorsement, Set Deadlines/Hearings,,,,,,. Document filed by Olivia R., Myls J., Dameon
                           C., Alexandria R., Emmanuel S., Elisa W., Valentina T.C., Matthew V., Lucas T., Malik
                           M., Mikayla G., Xavion M., Thierry E., Brittney W., Tyrone M., Ayanna J., Ximena T.,
                           Jose T.C., Ana-Maria R., David Hansel, New York City Administration for Childrens
                           Services, Sheila J. Poole, State Of New York, The City of New York, The New York
                           State Office of Children and Family Services. Motion or Order to File Under Seal: 477 .
                           (North, Julie) (Entered: 03/19/2020)
  04/13/2020           479 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated April 13,
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                                   80/90
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                             2020 re: request for an extension for restoration of the briefing schedule on behalf of all
                             parties. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik
                             M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas
                             T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W...(North, Julie)
                             (Entered: 04/13/2020)
  04/14/2020           480 MEMO ENDORSEMENT on re: 479 Letter, filed by Lucas T., Brittney W., Emmanuel
                           S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R.,
                           Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W.,
                           Matthew V., Ximena T. ENDORSEMENT: The schedule proposed above is approved.
                           DE #479 resolved. SO ORDERED. ( Responses due by 6/15/2020, Replies due by
                           7/31/2020.) (Signed by Judge Laura Taylor Swain on 4/14/2020) (va) (Entered:
                           04/14/2020)
  06/05/2020           481 LETTER addressed to Judge Laura Taylor Swain from Julie A. North dated June 5, 2020
                           re: restoration of the briefing schedule. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W...(North, Julie) (Entered: 06/05/2020)
  06/08/2020           482 MEMO ENDORSEMENT on re: 481 Letter, filed by Lucas T., Brittney W., Emmanuel
                           S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R.,
                           Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W.,
                           Matthew V., Ximena T. ENDORSEMENT: The request is granted and the proposed
                           briefing schedule is approved. The motion for class certification (DE # 439) is deemed
                           refiled on June 8,2020. DE # 481 resolved. SO ORDERED., ( Responses due by
                           8/31/2020, Replies due by 9/18/2020.) (Signed by Judge Laura Taylor Swain on
                           6/08/2020) (ama) (Entered: 06/08/2020)
  07/16/2020           483 PROPOSED STIPULATION AND ORDER. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Appendix A--Minimum Technical
                           Requirements for Remote Depositions).(North, Julie) (Entered: 07/16/2020)
  07/17/2020           484 STIPULATED ORDER REGARDING REMOTE DEPOSITIONS. It is ORDERED that
                           the Remote Depositions shall proceed subject to the following rules and procedures,
                           which have been agreed upon by the Parties: Pursuant to Rule 30(b)(5) of the Federal
                           Rules of Civil Procedure, Remote Depositions will be conducted before a Court Reporter
                           who shall have all of the authority of an officer appointed or authorized under Rule 28 to
                           take Depositions. Remote Depositions shall be conducted using the Remote Deposition
                           Video and Exhibit Platforms, and shall be accessed only through a secured connection to
                           protect confidential information. In order to facilitate reliable use of the Remote
                           Deposition Video and Exhibit Platforms, each attorney shall be responsible for acquiring,
                           maintaining, and utilizing computer, audio, and video equipment that meets the minimum
                           requirements set forth in Appendix A. The Parties stipulate that the language set forth
                           below shall be included in oral deposition notices served pursuant to Rule 30(b)(1) and
                           provides sufficient notice with respect to Remote Depositions as further set forth in this
                           Stipulation. Except as otherwise provided herein, the Remote Depositions shall in all
                           ways be governed by the rules regarding depositions by oral examination set forth in Rule
                           30 of the Federal Rules of Civil Procedure. The Remote Depositions shall satisfy the
                           Parties and each Witnesss obligations to make the Witness available for deposition to the
                           same extent as if the depositions had been conducted in person. Except as otherwise
                           provided in this Stipulated Order or as otherwise agreed by the parties, no Participant
                           shall permit anyone who is not a Participant to hear or view the Remote Deposition while
                           it is being conducted. No Participant shall communicate or attempt to communicate with
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                               81/90
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                             the Witness while the Remote Deposition is on the record through any means other than
                             the Remote Deposition Video and Exhibit Platforms, except that the Videographer or
                             Operator may communicate with the Witness to resolve technical issues through means
                             other than the Remote Deposition Video and Exhibit Platforms. Notwithstanding this
                             provision, subject to all otherwise applicable rules, including Federal Rule of Civil
                             Procedure 30(d)(1), the Defending Attorney may communicate privately with the Witness
                             by any means any time during breaks in the Remote Deposition or if the Court Reporter
                             otherwise suspends the Remote Deposition. This Stipulated Order also shall govern any
                             Remote Depositions of non-Party witnesses and as further set forth in this Stipulation. IT
                             IS SO ORDERED. (Signed by Magistrate Judge Sarah L Cave on 7/17/20) (yv) (Entered:
                             07/17/2020)
  07/22/2020                   NOTICE OF CASE REASSIGNMENT to Judge Kimba M. Wood. Judge Laura Taylor
                               Swain is no longer assigned to the case..(wb) (Entered: 07/22/2020)
  07/29/2020           485 LETTER MOTION for Extension of Time to File Response/Reply as to 482 Memo
                           Endorsement, Set Deadlines/Hearings,,,, and All Parties' Joint Status Update Letter
                           addressed to Judge Kimba M. Wood from Jonathan Pines dated July 29, 2020. Document
                           filed by The City of New York..(Pines, Jonathan) (Entered: 07/29/2020)
  08/04/2020           486 ORDER granting 485 Letter Motion for Extension of Time to File Response/Reply. On
                           July 29, 2020, the City Defendant submitted a letter to the Court on behalf of the parties,
                           seeking to resolve a dispute regarding the date on which the Defendants' papers in
                           opposition to Plaintiffs' Renewed Motion for Class Certification will be due. (ECF No.
                           485.) The Court adopts the briefing schedule proposed by Plaintiffs. The City Defendant
                           shall file its opposition by August 31, 2020. The State Defendant shall file its opposition
                           by September 21, 2020. Plaintiffs shall file their reply by October 9, 2020. SO
                           ORDERED. Responses due by 9/21/2020. Replies due by 10/9/2020. (Signed by Judge
                           Kimba M. Wood on 8/4/2020) (va) (Entered: 08/04/2020)
  08/21/2020           487 LETTER MOTION for Leave to File Excess Pages on behalf of State and City
                           Defendants addressed to Judge Kimba M. Wood from Jonathan Pines dated August 21,
                           2020. Document filed by The City of New York..(Pines, Jonathan) (Entered: 08/21/2020)
  08/24/2020           488 ORDER granting 487 LETTER MOTION for Leave to File Excess Pages on behalf of
                           State and City Defendants addressed to Judge Kimba M. Wood from Jonathan Pines
                           dated August 21, 2020. Document filed by The City of New York. The City Defendant's
                           requested is GRANTED. The City Defendant's memorandum in opposition to Plaintiffs'
                           motion for class certification shall be limited to 75 pages, and the State Defendant's
                           memorandum in opposition shall be limited to 40 pages. SO ORDERED. (Signed by
                           Judge Kimba M. Wood on 8/24/2020) (rjm) (Entered: 08/24/2020)
  08/31/2020           489 DECLARATION of Jonathan Pines in Opposition re: 439 MOTION to Certify Class
                           ("Notice of Renewed Motion for Class Certification").. Document filed by The City of
                           New York. (Attachments: # 1 Exhibit C (Metro News article), # 2 Exhibit D (Long Dep.
                           excerpt), # 3 Exhibit E (Long Dep. excerpt), # 4 Exhibit F (Long Dep. excerpt), # 5
                           Exhibit G (Long Dep. excerpt), # 6 Exhibit H (CGS Dep. excerpt), # 7 Exhibit I
                           (Children's Village Dep. excerpt), # 8 Exhibit J (Graham Windham Dep. excerpt), # 9
                           Exhibit K (Little Flower Dep. excerpt), # 10 Exhibit L (HHS ACF letter 6/23/20)).(Pines,
                           Jonathan) (Entered: 08/31/2020)
  08/31/2020           490 DECLARATION of Julie Farber in Opposition re: 439 MOTION to Certify Class
                           ("Notice of Renewed Motion for Class Certification").. Document filed by The City of
                           New York..(Pines, Jonathan) (Entered: 08/31/2020)
  08/31/2020           491 DECLARATION of Andrew White in Opposition re: 439 MOTION to Certify Class
                           ("Notice of Renewed Motion for Class Certification").. Document filed by The City of
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                               82/90
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                             New York..(Pines, Jonathan) (Entered: 08/31/2020)
  08/31/2020           492 DECLARATION of Allon Yaroni in Opposition re: 439 MOTION to Certify Class
                           ("Notice of Renewed Motion for Class Certification").. Document filed by The City of
                           New York. (Attachments: # 1 Exhibit Yaroni-A (Reas. Efforts Chart))).(Pines, Jonathan)
                           (Entered: 08/31/2020)
  08/31/2020           493 MEMORANDUM OF LAW in Opposition re: 439 MOTION to Certify Class ("Notice of
                           Renewed Motion for Class Certification"). with Appendix (City's 2016 Memo of Law in
                           Opp to Class Certification, De 205). Document filed by The City of New York.
                           (Attachments: # 1 Appendix City Def's 2016 Memo in Opp to Class Certification)).
                           (Pines, Jonathan) (Entered: 08/31/2020)
  08/31/2020           494 RESPONSE in Opposition to Motion re: 439 MOTION to Certify Class ("Notice of
                           Renewed Motion for Class Certification"). Margaret Burt Expert Report. Document filed
                           by The City of New York..(Pines, Jonathan) (Entered: 08/31/2020)
  08/31/2020           495 RESPONSE in Opposition to Motion re: 439 MOTION to Certify Class ("Notice of
                           Renewed Motion for Class Certification"). Fred Wulczyn Expert Report. Document filed
                           by The City of New York..(Pines, Jonathan) (Entered: 08/31/2020)
  09/01/2020           496 DECLARATION of Nancy Thomson in Opposition re: 439 MOTION to Certify Class
                           ("Notice of Renewed Motion for Class Certification").. Document filed by The City of
                           New York..(Pines, Jonathan) (Entered: 09/01/2020)
  09/21/2020           497 MEMORANDUM OF LAW in Opposition re: 439 MOTION to Certify Class ("Notice of
                           Renewed Motion for Class Certification"). . Document filed by Sheila J. Poole..
                           (Buchalter, Samantha) (Entered: 09/21/2020)
  09/21/2020           498 DECLARATION of Lisa Ghartey Ogundimu in Opposition re: 439 MOTION to Certify
                           Class ("Notice of Renewed Motion for Class Certification").. Document filed by Sheila J.
                           Poole. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                           Exhibit E).(Buchalter, Samantha) (Entered: 09/21/2020)
  09/21/2020           499 DECLARATION of Samantha L. Buchalter in Opposition re: 439 MOTION to Certify
                           Class ("Notice of Renewed Motion for Class Certification").. Document filed by Sheila J.
                           Poole. (Attachments: # 1 Exhibit F, # 2 Exhibit G).(Buchalter, Samantha) (Entered:
                           09/21/2020)
  09/29/2020           500 JOINT LETTER addressed to Judge Kimba M. Wood from Julie A. North dated
                           September 29, 2020 re: case scheduling. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W...(North, Julie) (Entered: 09/29/2020)
  09/30/2020           501 SCHEDULING ORDER: Completion of Plaintiffs' Document Productions due by
                           10/30/2020. Defendants File Daube1t Motion due by November 30, 2020. Plaintiffs File
                           Opposition to Daubert due by December 14, 2020. Defendants File Reply In Support of
                           Daubert Motion Due December 21, 2020 Completion of City Defendants' February 6,
                           2021 Document Productions due by 2/6/2021. Close of Expert Depositions due by 3
                           weeks after close of City Defendants' document productions. The pretrial conference
                           scheduled for October 2, 2020 is adjourned.The conference shall take place seven days
                           after the issuance of an orderon Plaintiffs' motion for class certification.Plaintiffs' request
                           to file additional pages in reply to City and StateDefendants' opposition briefs is granted.
                           (Motions due by 11/30/2020. Responses due by 12/14/2020 Replies due by 12/21/2020.)
                           (Signed by Judge Kimba M. Wood on 9/30/2020) (rro) (Entered: 09/30/2020)
  11/25/2020           502 FIRST LETTER MOTION for Extension of Time to file Daubert motion (on consent)
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                                  83/90
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                             addressed to Judge Kimba M. Wood from Sharon Sprayregen dated November 25, 2020.
                             Document filed by The City of New York..(Sprayregen, Sharon) (Entered: 11/25/2020)
  11/27/2020           503 AMENDED SCHEDULING ORDER granting 502 Letter Motion for Extension of Time.
                           City Defendant's request for an extension to the deadline for filing a Daubert motion
                           (ECF No. 502) is granted. Motions due by 12/30/2020. (nb) (Entered: 11/30/2020)
  11/27/2020                   Set/Reset Deadlines: Responses due by 1/13/2021 Replies due by 1/21/2021. (nb)
                               (Entered: 11/30/2020)
  12/29/2020           504 LETTER MOTION for Extension of Time on consent to file the Daubert motion, and
                           joint request to supplement DE 503 addressed to Judge Kimba M. Wood from Sharon
                           Sprayregen dated December 29, 2020. Document filed by The City of New York..
                           (Sprayregen, Sharon) (Entered: 12/29/2020)
  12/30/2020           505 SECOND AMENDED SCHEDULING ORDER: Motions due by 1/11/2021. Responses
                           due by 1/25/2021. Defendants File Reply in Support of Daubert Motion due 2/2/2021.
                           Completion of City Defendants' Document Productions 2/6/2021. Deposition due by
                           3/1/2021. Replies due by 3/22/2021. City Defendant's request for an extension to the
                           deadline for filing a Daubert motion and to supplement the November 27, 2020
                           Scheduling Order is granted. (ECF No. 504.) Counsel are advised that further extensions
                           to the deadline for filing a Daubert motion shall not be granted absent a showing of good
                           cause. SO ORDERED. (Signed by Judge Kimba M. Wood on 12/30/2020) (va) (Entered:
                           12/30/2020)
  01/07/2021           506 LETTER addressed to Judge Kimba M. Wood from Ian William Forster dated January 7,
                           2021 re: City Defendant's amended expert reports to be filed separately, originally filed at
                           Dkt. Nos. 494 and 495. Document filed by The City of New York..(Forster, Ian) (Entered:
                           01/07/2021)
  01/07/2021           507 NOTICE of Amended Margaret Burt Expert Report re: 494 Response in Opposition to
                           Motion, 506 Letter,. Document filed by The City of New York..(Forster, Ian) (Entered:
                           01/07/2021)
  01/07/2021           508 NOTICE of Amended Fred Wulczyn Expert Report re: 506 Letter, 495 Response in
                           Opposition to Motion. Document filed by The City of New York..(Forster, Ian) (Entered:
                           01/07/2021)
  01/08/2021           509 LETTER MOTION for Leave to File Excess Pages on consent addressed to Judge Kimba
                           M. Wood from Sharon Sprayregen dated January 8, 2021. Document filed by The City of
                           New York..(Sprayregen, Sharon) (Entered: 01/08/2021)
  01/08/2021           510 ORDER granting 509 Letter Motion for Leave to File Excess Pages. Granted. SO
                           ORDERED. (Signed by Judge Kimba M. Wood on 1/8/2021) (va) (Entered: 01/08/2021)
  01/11/2021           511 MOTION to Disqualify pursuant to Fed. R. Evid. 702. Document filed by The City of
                           New York..(Sprayregen, Sharon) (Entered: 01/11/2021)
  01/11/2021           512 MEMORANDUM OF LAW in Support re: 511 MOTION to Disqualify pursuant to Fed.
                           R. Evid. 702. . Document filed by The City of New York..(Sprayregen, Sharon) (Entered:
                           01/11/2021)
  01/11/2021           513 DECLARATION of Jonathan Pines in Support re: 511 MOTION to Disqualify pursuant
                           to Fed. R. Evid. 702.. Document filed by The City of New York. (Attachments: # 1
                           Exhibit A, # 2 Exhibit C, # 3 Exhibit D, # 4 Exhibit E).(Sprayregen, Sharon) (Entered:
                           01/11/2021)
  01/11/2021           514 ***SELECTED PARTIES***DECLARATION of Jonathan Pines in Support re: 511
                           MOTION to Disqualify pursuant to Fed. R. Evid. 702.. Document filed by The City of
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?66054900657127-L_1_0-1                                              84/90
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                             New York, Bronx Defenders, Brooklyn Defender Service, Dameon C., Center for Family
                             Representation, Thierry E., Mikayla G., David Hansel, Ayanna J., Myls J., Lawyers for
                             Children, Inc., Malik M., Tyrone M., Xavion M., Neighborhood Defender Service of
                             Harlem, New York City Administration for Childrens Services, Non-party agency, Sheila
                             J. Poole, Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., State Of New York,
                             Lucas T., Ximena T., Jose T.C., Valentina T.C., The Children's Law Center of New York,
                             The Legal Aid Society, The New York State Office of Children and Family Services,
                             Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit B)Motion or Order to File
                             Under Seal: 477 .(Sprayregen, Sharon) (Entered: 01/11/2021)
  01/13/2021           515 MOTION to Amend/Correct 513 Declaration in Support of Motion, Amd. Ex. E Amd.
                           Anastas Rept. (incl. CV). Document filed by The City of New York..(Sprayregen, Sharon)
                           (Entered: 01/13/2021)
  01/15/2021           516 LETTER MOTION for Extension of Time addressed to Judge Kimba M. Wood from
                           Julie A. North dated January 15, 2021. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Attachments: # 1 [Proposed] Third Amended
                           Scheduling Order).(North, Julie) (Entered: 01/15/2021)
  01/16/2021           518 ORDER granting 516 Letter Motion for Extension of Time. Granted. Because Plaintiffs
                           have demonstrated good cause for a limited extension of the deadline to oppose City
                           Defendant's Daubert motion, the request is granted. In addition, Plaintiffs' request to file
                           up to five additional pages in opposition to the Daubert motion is granted. SO
                           ORDERED. (Signed by Judge Kimba M. Wood on 1/16/2021) (va) (Entered: 01/19/2021)
  01/16/2021                   Set/Reset Deadlines: Deposition due by 2/8/2021. Responses due by 2/22/2021. Replies
                               due by 3/1/2021. (va) (Entered: 01/19/2021)
  01/16/2021           519 THIRD AMENDED SCHEDULING ORDER: Deposition of Dr. Jeane W. Anastas due
                           2/8/2021. Plaintiffs file Opposition to Daubert Motion 2/22/2021. Defendants file Reply
                           in Support of Daubert Motion 3/1/2021. Expert Deposition due by 3/1/2021. Replies due
                           by 3/22/2021. SO ORDERED. (Signed by Judge Kimba M. Wood on 1/16/2021) (va)
                           (Entered: 01/19/2021)
  01/19/2021           517 LETTER addressed to Judge Kimba M. Wood from Jonathan Pines dated January 19,
                           2021 re: Plaintiffs' request for expert discovery. Document filed by The City of New
                           York..(Pines, Jonathan) (Entered: 01/19/2021)
  02/23/2021           520 MEMORANDUM OF LAW in Opposition re: 511 MOTION to Disqualify pursuant to
                           Fed. R. Evid. 702. . Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J.,
                           Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R.,
                           Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W.,
                           Elisa W.. (Attachments: # 1 Statement of Technical Failure).(North, Julie) (Entered:
                           02/23/2021)
  02/23/2021           521 FILING ERROR - DEFICIENT DOCKET ENTRY (SEE DOCUMENT #523) -
                           DECLARATION of Julie A. North in Opposition re: 511 MOTION to Disqualify
                           pursuant to Fed. R. Evid. 702.. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                           Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6 (Part I), # 7 Exhibit 6 (Part II), # 8 Exhibit 7, # 9
                           Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12).(North, Julie)
                           Modified on 2/24/2021 (ldi). (Entered: 02/23/2021)

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  02/23/2021           522 FILING ERROR - ELECTRONIC FILING FOR NON-ECF DOCUMENT -
                           MOTION to Amend/Correct 521 Declaration in Opposition to Motion,, Including Exhibit
                           11. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M.,
                           Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T.,
                           Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W...(North, Julie)
                           Modified on 2/24/2021 (ldi). (Entered: 02/23/2021)
  02/24/2021                   ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF DOCUMENT
                               ERROR. Note to Attorney Julie A North: Document No. 522 Exhibit is not filed via
                               ECF. Exhibits are only added as attachments. (ldi) (Entered: 02/24/2021)
  02/24/2021           523 DECLARATION of Julie A. North in Opposition re: 511 MOTION to Disqualify
                           pursuant to Fed. R. Evid. 702.. Document filed by Dameon C., Thierry E., Mikayla G.,
                           Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R.,
                           Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V.,
                           Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                           Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6 (Part I), # 7 Exhibit 6 (Part II), # 8 Exhibit 7, # 9
                           Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12).(North, Julie)
                           (Entered: 02/24/2021)
  02/26/2021           524 LETTER MOTION for Extension of Time to File Response/Reply as to 511 MOTION to
                           Disqualify pursuant to Fed. R. Evid. 702., 520 Memorandum of Law in Opposition to
                           Motion, 523 Declaration in Opposition to Motion,, addressed to Judge Kimba M. Wood
                           from Jonathan Pines dated February 26, 2021. Document filed by The City of New York..
                           (Pines, Jonathan) (Entered: 02/26/2021)
  02/26/2021           525 ORDER granting 524 Letter Motion for Extension of Time to File Response/Reply re 524
                           LETTER MOTION for Extension of Time to File Response/Reply as to 511 MOTION to
                           Disqualify pursuant to Fed. R. Evid. 702., 520 Memorandum of Law in Opposition to
                           Motion, 523 Declaration in Opposition to Motion,, addres, 511 MOTION to Disqualify
                           pursuant to Fed. R. Evid. 702. GRANTING. SO ORDERED. Replies due by 3/3/2021.
                           (Signed by Judge Kimba M. Wood on 2/26/2021) (va) (Entered: 02/26/2021)
  03/03/2021           526 REPLY MEMORANDUM OF LAW in Support re: 511 MOTION to Disqualify pursuant
                           to Fed. R. Evid. 702. . Document filed by The City of New York..(Pines, Jonathan)
                           (Entered: 03/03/2021)
  03/12/2021           527 LETTER MOTION for Conference (Pre-Motion Conference) addressed to Judge Kimba
                           M. Wood from Audra J. Soloway dated March 12, 2020. Document filed by Bronx
                           Defenders, Brooklyn Defender Service, Center for Family Representation, Neighborhood
                           Defender Service of Harlem. (Attachments: # 1 Amicus Brief).(Soloway, Audra)
                           (Entered: 03/12/2021)
  03/12/2021           528 LETTER MOTION for Extension of Time to file Plaintiffs' Reply in Support of Plaintiffs'
                           Renewed Motion for Class Certification from March 22, 2021 to April 1, 2021 addressed
                           to Judge Kimba M. Wood from Julie A. North dated March 12, 2021. Document filed by
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W...(North, Julie) (Entered: 03/12/2021)
  03/16/2021           529 LETTER MOTION for Extension of Time to file Plaintiffs' Reply in Support of Plaintiffs'
                           Renewed Motion for Class Certification from March 22, 2021 to April 1, 2021 and in
                           RESPONSE to D.E. 527 addressed to Judge Kimba M. Wood from Julie A. North dated
                           March 16, 2021. Document filed by Thierry E., Mikayla G., Ayanna J., Myls J., Malik
                           M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas
                           T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W...(North, Julie)
                           (Entered: 03/16/2021)
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  03/21/2021           530 ORDER granting 527 Letter Motion for Conference addressed to Judge Kimba M. Wood
                           from Audra J. Soloway dated March 12, 2021; 528 LETTER MOTION for Extension of
                           Time to file Plaintiffs' Reply in Support of Plaintiffs' Renewed Motion for Class
                           Certification from March 22, 2021 to April 1, 2021 addressed to Judge Kimba M. Wood
                           from Julie A. North dated March 12; 529 LETTER MOTION for Extension of Time to
                           file Plaintiffs' Reply in Support of Plaintiffs' Renewed Motion for Class Certification from
                           March 22, 2021 to April 1, 2021 and in RESPONSE to D.E. 527 addressed to Judge
                           Kimba M. Wood from Ju ; granting 528 Letter Motion for Extension of Time; granting
                           529 Letter Motion for Extension of Time. It is hereby ORDERED that: 1. The Parent
                           Advocates' request is GRANTED. The Parent Advocates shall submit the proposed
                           amicus curiae brief by March 22, 2021. 2. Plaintiffs' request to modify the briefing
                           schedule is GRANTED. On or before April 1, 2021, Plaintiffs shall submit the Reply in
                           Support of Plaintiffs' Renewed Motion for Class Certification. Because Plaintiffs may
                           wish to respond to the Parent Advocates' amicus curiae brief, Plaintiffs may submit up to
                           five additional pages. 3. On or before April 8, 2021, the City and State Defendants may
                           each file a five-page surreply to Plaintiffs' Reply in Support of Plaintiffs' Renewed
                           Motion for Class Certification. 4. The Clerk of Court is respectfully directed to terminate
                           the letter motions at ECF Nos. 527, 528, and 529. SO ORDERED. (Signed by Judge
                           Kimba M. Wood on 3/21/2021) (va) (Entered: 03/22/2021)
  03/21/2021                   Set/Reset Deadlines: Replies due by 4/1/2021. Surreplies due by 4/8/2021. (va) (Entered:
                               03/22/2021)
  03/22/2021           531 BRIEF re: 439 MOTION to Certify Class ("Notice of Renewed Motion for Class
                           Certification"). . Document filed by Bronx Defenders, Brooklyn Defender Service,
                           Center for Family Representation, Neighborhood Defender Service of Harlem..(Soloway,
                           Audra) (Entered: 03/22/2021)
  04/01/2021           532 LETTER MOTION to Seal confidential information contained in Reply Ex. 9 addressed
                           to Judge Kimba M. Wood from Julie A. North dated April 1, 2021. Document filed by
                           Dameon C., Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion
                           M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose
                           T.C., Valentina T.C., Matthew V., Brittney W., Elisa W...(North, Julie) (Entered:
                           04/01/2021)
  04/01/2021           533 REPLY MEMORANDUM OF LAW in Support re: 439 MOTION to Certify Class
                           ("Notice of Renewed Motion for Class Certification"). . Document filed by Dameon C.,
                           Thierry E., Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria
                           R., Ana-Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina
                           T.C., Matthew V., Brittney W., Elisa W...(North, Julie) (Entered: 04/01/2021)
  04/01/2021           534 DECLARATION of Julie A. North in Support re: 439 MOTION to Certify Class ("Notice
                           of Renewed Motion for Class Certification")., 532 LETTER MOTION to Seal
                           confidential information contained in Reply Ex. 9 addressed to Judge Kimba M. Wood
                           from Julie A. North dated April 1, 2021.. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                           3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9
                           (Redacted), # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                           Exhibit 14, # 15 Exhibit 15).(North, Julie) (Entered: 04/02/2021)
  04/02/2021           535 ***SELECTED PARTIES***REDACTION Exhibit 9 - sealed version by Olivia R.,
                           Myls J., Dameon C., Alexandria R., Emmanuel S., Elisa W., Valentina T.C., Matthew V.,
                           Lucas T., Malik M., Mikayla G., Xavion M., Thierry E., Brittney W., Tyrone M., Ayanna


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                             J., Ximena T., Jose T.C., Ana-Maria R., Sheila J. Poole, The City of New YorkMotion or
                             Order to File Under Seal: 532 .(North, Julie) (Entered: 04/02/2021)
  04/03/2021           536 ORDER granting 532 Letter Motion to Seal. SO ORDERED. (Signed by Judge Kimba
                           M. Wood on 4/3/2021) (cf) (Entered: 04/05/2021)
  04/07/2021           537 LETTER MOTION for Leave to File Excess Pages addressed to Judge Kimba M. Wood
                           from Jonathan Pines dated April 7, 2021. Document filed by The City of New York..
                           (Pines, Jonathan) (Entered: 04/07/2021)
  04/07/2021           538 ORDER: granting 537 Letter Motion for Leave to File Excess Pages. SO ORDERED.
                           (Signed by Judge Kimba M. Wood on 4/07/2021) (ama) (Entered: 04/08/2021)
  04/08/2021           539 REPLY MEMORANDUM OF LAW in Opposition re: 439 MOTION to Certify Class
                           ("Notice of Renewed Motion for Class Certification"). State Defendant's Surreply
                           Memorandum of Law in Further Opposition to Plaintiffs' Renewed Motion for Class
                           Certification. Document filed by Sheila J. Poole..(Buchalter, Samantha) (Entered:
                           04/08/2021)
  04/08/2021           540 DECLARATION of Samantha L. Buchalter in Opposition re: 439 MOTION to Certify
                           Class ("Notice of Renewed Motion for Class Certification").. Document filed by Sheila J.
                           Poole. (Attachments: # 1 Exhibit H).(Buchalter, Samantha) (Entered: 04/08/2021)
  04/08/2021           541 RESPONSE in Opposition to Motion re: 439 MOTION to Certify Class ("Notice of
                           Renewed Motion for Class Certification"). (City Def's Surreply Memorandum).
                           Document filed by The City of New York..(Pines, Jonathan) (Entered: 04/08/2021)
  09/03/2021           542 OPINION & ORDER: re: 511 MOTION to Disqualify pursuant to Fed. R. Evid. 702 filed
                           by The City of New York, 504 LETTER MOTION for Extension of Time on consent to
                           file the Daubert motion, and joint request to supplement DE 503 addressed to Judge
                           Kimba M. Wood from Sharon Sprayregen dated December 29, 2020 filed by The City of
                           New York, 515 MOTION to Amend/Correct 513 Declaration in Support of Motion, Amd.
                           Ex. E Amd. Anastas Rept. (incl. CVfiled by The City of New York. It goes without
                           saying that any allegations regarding potential harm to children in foster care are of grave
                           concern. The question here, however, is whether the named Plaintiffs have met their
                           burden to demonstrate (among other things) that there are questions of law or fact
                           common to a class of all children who are or will be in the foster care system of New
                           York City, and that the named Plaintiffs are typical representatives of such a broad class.
                           Because the Court finds that Plaintiffs have not offered sufficient evidence to satisfy that
                           burden, the motion for class certification is denied. By September 13, 2021, the parties
                           must file a joint letter addressing the next steps in this litigation. The Clerk of Court is
                           respectfully directed to terminate the motions at ECF Nos. 504, 511, and 515. SO
                           ORDERED. (Signed by Judge Kimba M. Wood on 9/03/2021) (ama) (Entered:
                           09/03/2021)
  09/13/2021           543 JOINT LETTER addressed to Judge Kimba M. Wood from Julie A. North dated
                           September 13, 2021 re: Next Steps in Litigation per the Courts September 3, 2021 Order
                           [ECF No. 542]. Document filed by Dameon C., Thierry E., Mikayla G., Ayanna J., Myls
                           J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-Maria R., Olivia R., Emmanuel
                           S., Lucas T., Ximena T., Jose T.C., Valentina T.C., Matthew V., Brittney W., Elisa W...
                           (North, Julie) (Entered: 09/13/2021)
  09/15/2021           544 MEMO ENDORSEMENT on re: 543 Letter, filed by Lucas T., Brittney W., Emmanuel
                           S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R.,
                           Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W.,
                           Matthew V., Ximena T. ENDORSEMENT: Plaintiff's request is granted. Further
                           proceedings are stayed until after the Second Circuit resolves Plaintiff's motion for leave

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                             to appeal. The parties shall file a joint status update informing the Court of the Second
                             Circuit's decision within three (3) days of such decision. Within seven (7) days of the
                             decision, the parties shall file a joint letter proposing next steps in the case. SO
                             ORDERED. (Signed by Judge Kimba M. Wood on 9/15/2021) (va) (Entered: 09/15/2021)
  09/15/2021                   Case Stayed. (va) (Entered: 09/20/2021)
  01/04/2022           545 ORDER of USCA (Certified Copy) USCA Case Number 21-2262. Petitioners request,
                           pursuant to Federal Rule of Civil Procedure 23(f), leave to appeal the district courts order
                           denying Petitioners motion for class certification. Upon due consideration, it is hereby
                           ORDERED that the petition is GRANTED. See Sumitomo Copper Litigation v. Credit
                           Lyonnais Rouse, Ltd., 262 F.3d 134 (2d Cir. 2001). Catherine O'Hagan Wolfe, Clerk
                           USCA for the Second Circuit. Certified: 1/4/2022. (tp) (Entered: 01/04/2022)
  01/07/2022           546 LETTER addressed to Judge Kimba M. Wood from Justin C. Clarke dated January 7,
                           2022 re: Second Circuit's Ruling on Named Plaintiff Children's Rule 23(f) Petition per
                           the Court's September 15, 2021 Order. Document filed by Dameon C., Thierry E.,
                           Mikayla G., Ayanna J., Myls J., Malik M., Tyrone M., Xavion M., Alexandria R., Ana-
                           Maria R., Olivia R., Emmanuel S., Lucas T., Ximena T., Jose T.C., Valentina T.C.,
                           Matthew V., Brittney W., Elisa W...(Clarke, Justin) (Entered: 01/07/2022)
  01/10/2022           547 MEMO ENDORSEMENT: on re: 546 Letter, filed by Lucas T., Brittney W., Emmanuel
                           S., Tyrone M., Thierry E., Ayanna J., Malik M., Alexandria R., Jose T.C., Olivia R.,
                           Mikayla G., Xavion M., Ana-Maria R., Myls J., Valentina T.C., Dameon C., Elisa W.,
                           Matthew V., Ximena T. ENDORSEMENT: Plaintiff' request is Granted. Further
                           proceedings are stayed until after the Second Circuit resolves Plaintiff's appeal. The
                           parties shall file a joint status letter informing the Court of the Second Circuit decision
                           within three (3) days of such decision. Within seven (7)days of the decision, the parties
                           shall file a joint letter proposing next steps in the case. SO ORDERED. (Signed by Judge
                           Kimba M. Wood on 1/10/2022) (ama) (Entered: 01/10/2022)
  01/18/2022           548 MANDATE of USCA (Certified Copy) USCA Case Number 21-2262. Petitioners
                           request, pursuant to Federal Rule of Civil Procedure 23(f), leave to appeal the district
                           courts order denying Petitioners motion for class certification. Upon due consideration, it
                           is hereby ORDERED that the petition is GRANTED. See Sumitomo Copper Litigation v.
                           Credit Lyonnais Rouse, Ltd., 262 F.3d 134 (2d Cir. 2001)... Catherine O'Hagan Wolfe,
                           Clerk USCA for the Second Circuit. Issued As Mandate: 01/18/2022..(nd) (Entered:
                           01/18/2022)
  01/18/2022                   Appeal Record Sent to USCA (Electronic File). USCA Case Number 22-007, Certified
                               Indexed record on Appeal Electronic Files for 545 USCA Order granting 23 (f), were
                               transmitted to the U.S. Court of Appeals..(nd) Modified on 1/18/2022 (nd). (Entered:
                               01/18/2022)
  01/18/2022                   Appeal Fee Due re: 545 USCA Order. $505.00 Appeal fee due..(nd) (Entered:
                               01/18/2022)
  01/20/2022                   USCA Appeal Fees received. $ 505.00 wire transfer receipt number 690008 on 1/19/2022
                               re: 545 USCA Order Rule 23f Appeal. (tp) (Entered: 01/20/2022)
  04/11/2022           549 MOTION for Ian William Forster to Withdraw as Attorney . Document filed by The City
                           of New York..(Forster, Ian) (Entered: 04/11/2022)
  04/12/2022           550 ORDER granting 549 MOTION for Ian William Forster to Withdraw as Attorney.
                           Attorney Ian William Forster's Motion to Withdraw as counsel for Defendant City of
                           New York (ECF No. 549) is GRANTED. The Clerk of Court is respectfully directed to
                           close ECF No. 549. SO ORDERED. Attorney Ian William Forster terminated. (Signed by
                           Magistrate Judge Sarah L Cave on 4/12/2022) (jca) (Entered: 04/12/2022)
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


ELISA W., by her next friend, Elizabeth
Barricelli; ALEXANDRIA R., by her next friend,
Alison Max Rothschild; THIERRY E., by his next
friend, Amy Mulzer; AYANNA J., by her next
friend, Meyghan McCrea; OLIVIA and ANA-
MARIA R., by their next friend, Dawn Cardi;
XAVION M., by his next friend, Michael B.
Mushlin; DAMEON C., by his next friend,
Reverend Doctor Gwendolyn Hadley-Hall;
TYRONE M., by his next friend, Bishop Lillian
Robinson-Wiltshire; and BRITTNEY W., by her
next friend, Liza Camellerie, individually and on
behalf of a class of all others similarly situated,
and LETITIA JAMES, the Public Advocate for                     15 Civ. _____
the City of New York,
                                                       CLASS ACTION COMPLAINT FOR
                                         Plaintiffs,
                                                       INJUNCTIVE AND
                     -against-                         DECLARATORY RELIEF

THE CITY OF NEW YORK; the NEW YORK
CITY ADMINISTRATION FOR CHILDREN’S
SERVICES; GLADYS CARRIÓN, Commissioner
of the New York City Administration for
Children’s Services, in her official capacity; the
STATE OF NEW YORK; the NEW YORK
STATE OFFICE OF CHILDREN AND FAMILY
SERVICES; and SHEILA J. POOLE, Acting
Commissioner of the New York State Office of
Children and Family Services, in her official
capacity,

                                       Defendants.




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                                PRELIMINARY STATEMENT

       1.      Foster care is supposed to be safe and temporary. For children in New York

City’s foster care system, it is neither. Children in New York City’s foster care system are in one

of the most dangerous foster care systems in the country, and they spend longer in foster care

than do foster children almost anywhere else in the country. The emotional damage—and, far

too often, abuse—suffered by these children at the hands of a system designed to keep them safe

is unacceptable. That the responsible state and city officials have known about these problems

and done nothing to fix them is inexcusable.

       2.      Ten named plaintiffs, all children in foster care in New York City, bring this

lawsuit as a civil rights action on behalf of all children who are now or will be in the foster care

custody of the Commissioner of New York City’s Administration for Children’s Services

(“ACS”) (“Plaintiff Children”). They seek both declaratory and injunctive relief against the city

and state agencies and officials responsible for violating their rights under the United States

Constitution, federal law, and New York state law and regulations. Plaintiff Letitia James, as

Public Advocate for the City of New York, who has received myriad constituent complaints

concerning foster care, brings this lawsuit seeking injunctive and declaratory relief against the

City Defendants to ensure that ACS promptly remedies the systemic failures that have been

plaguing New York City’s foster care system for too long.

       3.      Defendants are the City of New York (“City”), ACS, Gladys Carrión,

Commissioner of ACS, in her official capacity (collectively, “City Defendants”); the State of

New York, the New York State Office of Children and Family Services (“OCFS”), and Sheila J.

Poole, Acting Commissioner of OCFS, in her official capacity (collectively, “State Defendants”).




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       4.      Through a pattern and practice of long-standing and well-documented action and

inaction, Defendants—who are responsible for protecting New York City’s foster children—fail

to keep these children safe. And, instead of ensuring that New York City’s foster children grow

up in safe, permanent families, Defendants’ policies and customs cause far too many children to

grow up in the custody of the state, without a home or family to call their own:


               a.     New York City children make up the majority of children in foster care in

                      New York State, which has one of the worst rates of maltreatment in foster

                      care of any jurisdiction in this country.

               b.     Children in foster care in New York City spend two times as much time in

                      state custody as children in the rest of New York State, and over double

                      the amount of time in state custody as children in the rest of the nation.

               c.     It takes longer to return New York City children in foster care to their

                      parents than in the rest of New York State and the rest of the nation. The

                      most recent federal data available shows that New York City performs

                      worse on this measure than all but five other states and territories.

               d.     It takes longer for a foster child to be adopted in New York City than

                      anywhere else in the country. New York City has performed worse on this

                      measure than every state since at least 2007.

               e.     Many children who are without a permanent home never get adopted at all

                      and leave the foster care system only when they get too old to stay in it

                      any longer. Approximately 1,000 children “age out” of the foster care

                      system each year, often winding up homeless and without any adult with

                      whom they have a permanent connection.

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       5.      New York City’s child welfare system is causing devastating, ongoing and long-

lasting harm to New York City children in its care:


               a.     Children who are separated from their parents to whom they could be

                      returned weep at the end of visits with their parents but continue to live in

                      foster care well beyond the time they could be returned home.

               b.     Parents whose children are removed because they need services are unable

                      to gain access to the right services and thus are unable to regain custody of

                      their children.

               c.     Children who cannot be safely returned to their parents languish in foster

                      care, many moving from place to place, growing older and more damaged

                      by their experiences, not knowing to which adults to form attachments, or

                      trusting no adults at all.

               d.     Children traumatized by the disruptions in their young lives do not know

                      where they will be living from one month to the next, or whether there are

                      any adults on whom they can rely. Often by the time a decision is made

                      about what the plan should be for their future, they are irreparably

                      damaged by their experiences in foster care.


       6.      These consequences are the result of systemic deficiencies in which:


               a.     The state agency, OCFS, is responsible for foster care across New York

                      State and for ensuring that federal foster care funds are spent as required

                      by the governing federal statutes and state statutes and regulations




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                         consistent with federal law, but neither monitors nor enforces those laws

                         and regulations.

               b.        The city agency, ACS, in whose legal custody all foster children are

                         placed, delegates its responsibility for the day-to-day care of these

                         children by contract to 29 agencies (the “Contract Agencies”), paying

                         hundreds of millions of dollars to the Contract Agencies for foster care

                         services but failing to ensure they meet minimum professional standards

                         or provide adequate and meaningful oversight to ensure compliance with

                         federal and state law and the applicable contracts.

               c.        The damage that is being done to children in foster care in New York City

                         as a direct result of these structural failures in the New York City child

                         welfare system is both avoidable and a violation of these children’s

                         statutory and constitutional rights.


       7.      The illegal conduct of which Plaintiffs complain has plagued New York City’s

foster care system for far too long—a fact well known to Defendants, all of whom have been in a

position to change it.

       8.      Plaintiffs seek a ruling from this Court that the structural deficiencies and long-

standing actions and inactions described in this complaint violate the statutory and constitutional

rights of all children dependent on the New York City foster care system for their safety, their

well-being and their futures. They seek an equitable injunction against the responsible city and

state officials and agencies named as Defendants in this lawsuit, directing that appropriate relief

be granted so that New York City’s foster children are no longer irreparably harmed by the




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system that is supposed to protect them. These children have a right to a safe and nurturing

childhood. Plaintiffs ask this Court to protect that right.


                                             PARTIES

  I.   The Named Plaintiff Children

       Elisa W.

       9.      Plaintiff Elisa W. is a 16 year old girl in the twelfth grade. ACS removed her

from her biological mother when she was approximately four years old. She has been in ACS

custody for the past 12 years—over two thirds of her life.

       10.     Plaintiff Elisa W. appears through her next friend, Elizabeth Barricelli. Ms.

Barricelli has been an elementary school teacher for over 30 years and currently teaches

elementary school science at a public school in Brooklyn. Ms. Barricelli taught Elisa W. from

2006 to 2010 when Elisa W. was in elementary school and they recently reconnected. Ms.

Barricelli is familiar with Elisa W.’s background and education. Ms. Barricelli is truly dedicated

to Elisa W.’s best interests.

       11.     ACS removed Plaintiff Elisa W. from her biological mother when she was four

years old because of allegations of physical abuse. At the time, Elisa W.’s biological mother was

approximately 19 years old and living in a mother-child foster placement in New York City.

       12.     Over the past 12 years, ACS has shuffled Plaintiff Elisa W. through so many

foster placements that she is unable to account for all of them—a direct result of ACS’s failure to

ensure an appropriate foster placement that could meet her needs. In the last two years alone,

Elisa W. has been in four foster placements. Elisa W. has attended at least seven schools over

the course of her young life.




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       13.     Plaintiff Elisa W. has a reported history of physical and suspected sexual abuse

while in ACS custody.

       14.     In the first foster placement Plaintiff Elisa W. can remember, she was sexually

abused by the nephew of her then-foster mother. She was just six years old at the time. She did

not report the incident to anyone because she did not want to get in trouble. At this same

placement, Elisa W. was subjected to other physical, psychological and emotional abuse,

including being forced by her then-foster mother to sleep in a bug-infested bedroom and being

forced to walk around the foster home naked after bathing. Once, Plaintiff Elisa W.’s then-foster

mother beat her and denied her food as punishment for purportedly telling her biological mother

that she was being beaten by her foster mother; however, the allegation had been made by the

foster mother’s own daughter pretending to be Elisa W. Upon information and belief, Elisa W.’s

then-foster mother would allow family members with violent criminal records in the home. Elisa

W. reports feeling like “just a total stranger” in this foster placement.

       15.     In approximately 2006, Elisa W. was placed in another foster placement, and

again suffered severe physical, psychological and emotional abuse, including sexual abuse by

multiple relatives of her then-foster mother. Elisa W.’s teachers made multiple reports of

physical abuse to her caseworker, including when Elisa W.’s then-foster mother punched her in

the face. Upon information and belief, neither the Contract Agency nor ACS took any action in

response to these reports. Her then-foster mother neglected Elisa W., who often went to school

unkempt and underfed; her teacher at the time, her next friend Ms. Barricelli, often had to buy

Elisa W. snacks during the school day and maintained a clean uniform at school for her. Plaintiff

Elisa W. remained in this abusive foster placement for five years—a direct result of ACS’s

failure to ensure that the Contract Agency to which ACS had delegated day-to-day care of this


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young girl was keeping her safe. On April 28, 2014, Plaintiff Elisa W. was assigned to a

different Contract Agency when it was determined she needed “therapeutic foster placements”.

Although Plaintiff Elisa W. is from New York City, the Contract Agency first placed her in a

home in Suffolk County and then in a home in Nassau County. However, at the time—and to

this day—the only person Elisa W. considers a friend lives in New York City.

       16.     As a result of the great emotional damage Elisa W. has suffered while in ACS

custody for the past 12 years, this young girl has suffered and continues to suffer from a variety

of mental health problems. Her diagnoses include depression, bipolar disorder and post-

traumatic stress disorder. She has been on anti-depressants and mood stabilizers since she was

11 years old. In July 2014, Elisa W. requested she be placed in a mental health facility because

of her mental health concerns. Elisa W. remained there for two months. Since her

hospitalization, she has been placed on heavy doses of psychotropic medication; she reports that,

as a result, she can barely string a sentence together and no longer looks people in the eye

because she gets nervous.

       17.     In addition to failing to keep Plaintiff Elisa W. free from physical, psychological

and emotional harm while in its custody, ACS has also failed to take reasonable and appropriate

steps consistent with professional standards to place Elisa W. in a permanent home. Twice,

Plaintiff Elisa W.’s biological mother conditionally surrendered her parental rights so Elisa W.

could be adopted. Neither adoption was ever finalized. In approximately 2010, Plaintiff Elisa

W.’s aunt expressed interest in adopting Elisa W. This adoption was not finalized. In 2012,

after Plaintiff Elisa W. already had been in foster care for approximately eight years, her

biological mother’s parental rights were terminated. Although her aunt has been considered as

an adoptive resource since then, the Contract Agency, ACS and Plaintiff Elisa W.’s law guardian


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have not taken steps to pursue this possibility or sought out other non-relative adoption

possibilities for Plaintiff Elisa W. to finally have a permanent home and family to call her own.

Indeed, Elisa W. fears that she will “age out” of foster care—where she has spent the last 12

years being abused, neglected and shuffled from place to place—and return to living with her

biological mother. Elisa W. fears that if this happens she will be unable to attend college.

       18.      Plaintiff Elisa W. describes her stay in foster care by noting that when she was

younger she did well in school and had an extensive vocabulary, but now, as a result of her

experiences in foster care and medication regimen, she has difficulty concentrating. She

expresses great frustration that the Contract Agency and ACS are unresponsive to her requests

for driving lessons and a state identification card—normal requests for a 16 year old girl. For the

12 years Elisa W. has been in foster care, the Contract Agency, ACS and Plaintiff Elisa W.’s law

guardian have been making decisions about her life but, as she puts it—“no one ever asks me

what I want”.

       19.      During the 12 years that Plaintiff Elisa W. has been in the custody of ACS,

Defendants repeatedly have violated her constitutional, statutory and contractual rights by failing

to protect her from physical, psychological and emotional harm; by failing to provide services to

ensure her physical, psychological and emotional well-being; by failing to ensure the provision

of appropriate foster care placements consistent with professional standards or of a meaningful,

timely and appropriate plan to enable her to be safely returned to her biological mother or, if that

were not possible within a reasonable period of time, to place her in a permanent home. ACS

has further failed to exercise meaningful oversight over the Contract Agencies to which ACS has

delegated the day-to-day care of, and case planning responsibility for, this child. As a direct

result of Defendants’ actions and inactions, Elisa W. has suffered and continues to suffer


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irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where she will grow

up and of believing that there is no family she can call her own. Because of Defendants’ actions

and inactions, Plaintiff Elisa W. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


       Alexandria R.

       20.     Plaintiff Alexandria R. is a 12 year old girl in the fifth grade. ACS removed her

from her biological mother’s home on August 9, 2007. Plaintiff Alexandria R.’s permanency

goal currently is to be returned to her parent. She has been in the custody of ACS for the past

eight years—over two thirds of her life.

       21.     Plaintiff Alexandria R. appears through her next friend, Alison Max Rothschild.

Ms. Rothschild is the director of a private school in New York City. Ms. Rothschild knows

Alexandria R. and her current foster parents, and is familiar with her background including her

education. Ms. Rothschild is truly dedicated to Alexandria R.’s best interests.

       22.     Upon information and belief, this is Plaintiff Alexandria R.’s second time in foster

care. Upon information and belief, ACS removed her from her biological mother a few months

after she was born, placed her in a kinship foster placement with her maternal great-grandmother

for three and a half years and returned her to her biological mother for a few months—only to

remove her and again place her in foster care in 2007.

       23.     Plaintiff Alexandria R. is not the only child that ACS has removed from her

biological mother and placed into foster care. Plaintiff Alexandria R. has six siblings: (1) a 15

year old sister, Andrea R.; (2) a 13 year old brother, Kavon L.; (3) an 11 year old brother, Russell

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W.; (4) a nine year old brother, Anton W.; (5) a seven year old sister, Naomi M.W.; and (6) a 20

month old sister, Raquel W. All of her siblings are currently in foster care.

       24.        In 2006, ACS opened a preventive services case involving Plaintiff Alexandria

R.’s biological mother because then six year old Andrea R. had jumped out of a second floor

window after being locked in her bedroom. In August 2007, ACS removed Plaintiff Alexandria

R. and her then-living siblings from their home and placed them in ACS custody because their

biological mother’s boyfriend was physically abusing Alexandria R.’s brother, Kavon L. Now

seven year old Naomi M.W. was born five months later and ACS took custody of her at birth.

On or about May 13, 2015, ACS removed Plaintiff Alexandria R.’s youngest sister, 22 month old

Raquel W., from their biological mother due to allegations of neglect.

       25.        From 2007 to 2011, between the time she was four and eight years old, ACS

bounced Plaintiff Alexandria R. from placement to placement due to its failure to ensure an

appropriate foster placement that could meet her needs. During her first four years in ACS

custody, ACS placed Plaintiff Alexandria R. in approximately eight different foster homes and

with two different Contract Agencies. When she was approximately eight years old, Plaintiff

Alexandria R. spent approximately six months in the mental health unit of a residential treatment

facility. Her then-foster parents dropped her off, telling her they would return the next morning

to pick her up, and never returned. As a result, Plaintiff Alexandria R. suffered severe emotional

trauma, compounding the emotional harm she was already experiencing from being moved from

place to place.

       26.        ACS moved Plaintiff Alexandria R. to her current foster placement on November

11, 2011, when she was eight years old. She has now lived there for over three and a half years.

At 12 years old, this is the longest she has ever lived in one place—a direct result of ACS’s


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failure to develop and implement an appropriate case plan and provide appropriate services

consistent with professional standards to enable this young girl to be safely returned to her

biological mother or, if that were not possible within a reasonable period of time, to ensure that

she can grow up in a permanent family.

       27.     Plaintiff Alexandria R. has a reported history of physical and suspected sexual

abuse. Upon information and belief, the physical and suspected sexual abuse has taken place

while Plaintiff Alexandria R. has been in ACS custody, and includes physical abuse by her

biological mother during an unsupervised visit at her then-foster home.

       28.     As a result of the great emotional damage Alexandria R. has suffered while in

ACS custody for the past eight years, this young girl has suffered and continues to suffer from a

variety of mental health problems. Her diagnoses over the past eight years have only grown

more serious during her time in foster care and have included adjustment disorder (2007),

adjustment disorder with mixed disturbance emotions and conduct (i.e., mood and behavioral

problems) (2009), disorder of childhood (2009) and post-traumatic stress disorder (2014 to

present). She also suffers from learning disabilities and is behind her peers in school.

       29.     Since being placed in ACS custody, Plaintiff Alexandria R. has suffered severe

emotional and behavioral problems, including physical aggression toward herself and others.

She has an extreme distrust of people she views as “in the system”, including her doctors and

therapists. She also has difficulty controlling her emotions. As recently as late 2014, Plaintiff

Alexandria R. became highly emotional and distraught, including hysterically crying and

becoming physically aggressive, when her biological mother missed a family therapy

appointment.




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       30.     In addition to failing to keep Plaintiff Alexandria R. free from physical,

psychological and emotional harm while in its custody, ACS has also failed to take reasonable

and appropriate steps consistent with professional standards to place Alexandria R. in a

permanent home. In approximately 2012, after she already had been in foster care for over four

years, Plaintiff Alexandria R.’s permanency goal was changed to adoption and the Contract

Agency to which ACS has delegated day-to-day responsibility for this child told this nine year

old girl that she would be adopted by her foster parents. However, the adoption did not take

place, even though her foster parents remain interested in adopting her, and this has created

serious additional damage to Alexandria R.’s emotional state. She is now angry and does not

understand why her foster parents have not been able to adopt her yet.

       31.     In July 2013, Plaintiff Alexandria R.’s permanency goal was changed from

adoption to return to parent. Upon information and belief, this is because ACS attorneys failed

to take necessary steps to obtain the termination of her biological mother’s parental rights.

       32.     After already languishing in foster care for almost eight years, and with none of

her siblings currently living with her or her biological mother, Plaintiff Alexandria R.’s

permanency goal currently is to be returned to her parent. Plaintiff Alexandria R. reportedly

lives in fear that she will be moved yet again by ACS and has been deeply harmed by the

continuing uncertainty about where and how she will grow up.

       33.     During the almost eight years that Plaintiff Alexandria R. has been in the custody

of ACS, Defendants repeatedly have violated her constitutional, statutory and contractual rights

by failing to protect her from physical, psychological and emotional harm; by failing to provide

services to ensure her physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a


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meaningful, timely and appropriate plan to enable her to be safely returned to her biological

mother or, if that were not possible within a reasonable period of time, to place her in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Alexandria

R. has suffered and continues to suffer irreparable harm and continues to be subjected to the

lasting emotional damage that is a consequence of a child being harmed while in foster care, of

not knowing where she will grow up and of believing that there is no family she can call her

own. Because of Defendants’ actions and inactions, Plaintiff Alexandria R. is being deprived of

the opportunity for a childhood that is reasonably free from harm and that provides the

opportunity for stability and healthy development.


       Thierry E.

       34.     Plaintiff Thierry E. is a three year old boy. ACS removed him from his biological

mother on September 27, 2013. His permanency goal currently is to be returned to his parent.

He has been in ACS custody for the past 21 months—nearly half his life.

       35.     Plaintiff Thierry E. appears through his next friend, Amy Mulzer. Ms. Mulzer is

an Acting Assistant Professor of Lawyering at New York University School of Law. The

primary focus of her research includes: Adoption, Child Welfare, Family Law, Parental Rights

and Poverty Law. Prior to joining the lawyering faculty at NYU, Ms. Mulzer spent five years

representing low-income parents whose children were in foster care or at risk of being placed in

foster care, first as a staff attorney at Brooklyn Defender Services and then as an appellate

attorney on the assigned counsel panel for the Appellate Division, Second Department. Ms.

Mulzer is truly dedicated to Thierry E.’s best interests.

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       36.     On or about August 15, 2013, Thierry E.’s mother, who has been a public school

teacher for the past 11 years, called Safe Horizon, a domestic violence hotline, to request

information about how she could remove Thierry E.’s biological father from her home. Safe

Horizon reported the call to the Statewide Central Register of Child Abuse and Maltreatment and

ACS opened an investigation. There was not and never has been any allegation that anyone

abused Thierry E. or that his mother failed to provide him with appropriate, loving care. On

September 23, 2013, Thierry E.’s mother obtained an order of protection from the Family Court

against Thierry E.’s father. In her petition, she alleged that Thierry E.’s father had held a knife to

her throat threatening to kill her, strangled her at least three times, punched her in the face and

threw household furniture at her. Thierry E.’s mother has not been in a relationship with Thierry

E.’s father since September 2013 and does not intend to re-enter a relationship with him.

       37.     ACS removed Plaintiff Thierry E. from his home on September 27, 2013, while

his mother was at work, without taking necessary steps or making reasonable efforts to

determine whether Thierry E. could remain safely at home with his mother. His father was no

longer living in the house.

       38.     The Contract Agency to which ACS had delegated the day-to-day care of, and

case planning responsibility for, Plaintiff Thierry E. first moved him to a foster placement far

away from his mother’s home and required visits to take place at the Contract Agency’s office in

the Bronx, even though he and his mother had lived in Manhattan. Moreover, the foster mother

spoke only Spanish and Thierry E., then two years old, did not speak any Spanish. As a result,

Thierry E.’s language and speech development was severely stunted. Thierry E.’s mother had

him evaluated in March 2014 and the speech therapist recommended speech therapy twice a

week, but the Contract Agency refused to provide this service.


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       39.     On May 13, 2014, during a visit at the Contract Agency, Plaintiff Thierry E.’s

mother noticed a severe rash while changing his diaper and reported this and other concerns to

the Family Court. On June 21, 2014, the Family Court ordered that Thierry E. be transferred to a

new Contract Agency. Thierry E. was moved to a second foster placement two days later.

       40.     Plaintiff Thierry E. has now been in foster care for 21 months—nearly half his

life. This is a direct result of ACS’s failure to develop and implement an appropriate case plan

and provide appropriate services consistent with professional standards to enable this young boy

to be returned to his mother or, if that were not possible within a reasonable period of time, to

ensure that he would grow up in a permanent family.

       41.     Plaintiff Thierry E. has suffered emotional harm as a result of spending nearly

half his life in ACS custody without a permanent family. All indications are that he misses his

mother very much. At the end of his twice weekly visits with his mother, he cries

uncontrollably. When his mother expressed concern at this behavior, Thierry E.’s therapist told

her that he had to “get used to it” because this was “his life now”.

       42.     ACS continues to fail to ensure that Plaintiff Thierry E. is receiving appropriate

services. Although Thierry E. currently receives therapy, Thierry E.’s mother has expressed

concerns that the therapy being provided by the Contract Agency is focused on normalizing

Thierry E.’s separation from his mother rather than trying to help him prepare to be returned to

her care—even though his permanency goal remains to be returned to his parent.

       43.     In addition to failing to keep Plaintiff Thierry E. free from emotional harm while

in its custody, ACS has also failed to take reasonable and appropriate steps consistent with

professional standards to place Thierry E. in a permanent home.




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       44.     Although ACS removed Plaintiff Thierry E. from his home over 20 months ago,

there has been no fact-finding hearing or disposition of ACS’s neglect petition against Thierry

E.’s biological mother. The fact-finding hearing has been postponed several times.

       45.     Plaintiff Thierry E. had his first permanency hearing in December 2014—after he

had already been in ACS custody for over a year.

       46.     Plaintiff Thierry E.’s permanency goal remains to be returned to his parent. His

biological mother wants nothing more than to finally bring her son home. She has completed

parenting classes, domestic violence counseling and mental health evaluations in accordance

with the two different Contract Agencies’ instructions. In documents filed with the Family

Court, the Contract Agency has stated that Thierry E.’s mother “comes prepared to her visits

with activities to do with her son and also tries to reinforce parenting skills that will help her

son’s vocabulary and pronunciation.”

       47.     Since his removal over 21 months ago, ACS has made no effort to ensure that this

little boy is returned to the mother he misses, and that his permanency goal—reunification with

his biological mother—is implemented as soon as possible.

       48.     During the nearly two years that Plaintiff Thierry E. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from psychological and emotional harm; by failing to provide services to

ensure his physical, psychological and emotional well-being; by failing to ensure the provision of

appropriate foster care placements consistent with professional standards or of a meaningful,

timely and appropriate plan to enable him to be safely returned to his mother or, if that were not

possible within a reasonable period of time, to place him in a permanent home. ACS has further

failed to exercise adequate and meaningful oversight over the Contract Agencies to which ACS


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has delegated the day-to-day care of, and case planning responsibility for, this child. As a direct

result of Defendants’ actions and inactions, Thierry E. has suffered and continues to suffer

irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where he will grow up

and of believing that there is no family he can call his own. Because of Defendants’ actions and

inactions, Plaintiff Thierry E. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


        Ayanna J.

        49.        Plaintiff Ayanna J. is a two and a half year old girl. ACS removed her from her

biological mother on November 2, 2012—three days after she was born. Her permanency goal

currently is adoption. She has been in ACS custody for the past two and a half years—virtually

her entire life.

        50.        Plaintiff Ayanna J. appears through her next friend, Meyghan McCrea. Meyghan

McCrea is an attorney in private practice in New York City. She was previously employed as a

Family Court Legal Services Attorney for ACS. Ms. McCrea has known Ayanna J. since March

2013 and has had regular contact with her since that time. Ms. McCrea has met Ayanna J.’s

current foster parent and babysitter. Ms. McCrea is truly dedicated to Ayanna J.’s best interests.

        51.        Plaintiff Ayanna J. has two siblings: (1) a nine year old sister, Alyssa L., and (2)

a sister, Angela L., who was beaten to death by her biological mother’s boyfriend in March 2010,

when she was 19 months old. Documents filed with the Family Court allege that, given Angela

L.’s extensive injuries, Plaintiff’s biological mother knew or should have known about the

ongoing abuse that her daughter suffered. These documents also allege that Plaintiff Ayanna J.’s

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biological mother delayed seeking medical care for Angela L., lied to hospital staff about the

source of the child’s injuries and instructed her other daughter, Alyssa L., who was then three

and a half years old, to lie about what had occurred.

       52.     The day after Angela L. died, ACS filed a petition against Ayanna J.’s biological

mother alleging severe and repeated abuse. In October 2012, the Family Court made a finding of

abuse against Ayanna J.’s biological mother. On appeal in June 2014, the New York State

Appellate Division found that Ayanna J.’s biological mother “severely abused [Angela L.] and

derivatively severely abused the subject child [Alyssa L.]”.

       53.     Plaintiff Ayanna J. was born after her sister Angela L. died. Due to the prior

finding of abuse against her biological mother, ACS placed Plaintiff Ayanna J. in custody and in

her current foster placement on November 2, 2012—three days after she was born. In March

2013, the Family Court made a finding of derivative abuse as to Ayanna J. and on September 30,

2014, the Family Court amended its finding to severe abuse as to Ayanna J. based on the

Appellate Division’s June 2014 finding.

       54.     Since being placed in foster care two and a half years ago, Plaintiff Ayanna J. has

had approximately eight caseworkers at the Contract Agency to which ACS has delegated her

day-to-day care.

       55.     While in the custody of ACS, Plaintiff Ayanna J. has had supervised visits with

her biological mother and father at the Contract Agency. During one such visit in September

2013, Plaintiff Ayanna J.’s biological father became angry and began screaming at Ayanna J.’s

biological mother in front of Ayanna J., who was not even two years old at the time. Upon

information and belief, at least one Contract Agency visit was discontinued because Ayanna J.’s

biological parents were fighting. Ayanna J.’s biological father has not visited Plaintiff Ayanna J.


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since April 2014. Upon information and belief, visits at Ayanna J.’s biological mother’s home

were suspended after she threatened to physically assault a caseworker. Ayanna J. continues to

have supervised visits with her biological mother twice per week at the Contract Agency.

During one such visit in July 2014, Ayanna J.’s biological mother allowed her biological father

to speak with Plaintiff Ayanna J. over the phone despite such contact being prohibited.

       56.     Plaintiff Ayanna J. has languished in the custody of ACS for the past two and a

half years—a direct result of ACS’s failure to develop and implement an appropriate case plan

and provide appropriate services consistent with professional standards to enable this young girl

to be safely returned to her mother or, if that were not possible within a reasonable period of

time, to ensure that she can grow up in a permanent family.

       57.     As a result of her continued placement in ACS custody, Plaintiff Ayanna J. has

suffered great emotional harm. In 2013, Ayanna J. cried hysterically during supervised visits

with her biological mother at the Contract Agency. Now that she is older, Ayanna J. expresses

the desire to not attend visits with her biological mother, will not leave her babysitter to visit

with her biological mother, or will ask for her babysitter in the middle of a visit with her

biological mother. These visits have caused and continue to cause great stress, confusion and

psychological harm to this young child.

       58.     In addition to failing to keep Plaintiff Ayanna J. free from emotional harm while

in its custody, ACS has also failed to take reasonable and appropriate steps consistent with

reasonable professional standards to place Ayanna J. in a permanent home.

       59.     On April 9, 2014, Plaintiff Ayanna J.’s permanency goal was changed from return

to parent to adoption. Her current foster parent has indicated a willingness to adopt her.




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       60.     A petition for termination of parental rights (“TPR”) was filed on April 28, 2014,

after Plaintiff Ayanna J. already had been in foster care for almost one and a half years. The

TPR proceedings were adjourned repeatedly due to ACS’s failure to ensure that all parties were

prepared for court on scheduled hearing dates to resolve the permanency issues in this case. On

April 27, 2015, almost a year after the TPR petition was filed, the assigned New York Family

Court judge heard one day of testimony related to the TPR proceeding and continued the case

until mid-June 2015. The next day, that Family Court judge was reassigned to another court. On

June 22, 2015, Plaintiff Ayanna J.’s TPR proceeding was re-assigned to a new New York Family

Court judge, who declared a mistrial and postponed a new trial until October 2015.

       61.     After languishing in foster care for two and a half years, Plaintiff Ayanna J.’s

permanency goal remains to be adopted.

       62.     During the two and a half years that Plaintiff Ayanna J. has been in the custody

of ACS, Defendants repeatedly have violated her constitutional, statutory and contractual rights

by failing to protect her from psychological and emotional harm; by failing to provide services to

ensure her physical, psychological and emotional well-being; by failing to ensure the provision

of appropriate foster care placements consistent with professional standards or of a meaningful,

timely and appropriate plan to enable her to be safely returned to her biological mother or, if that

were not possible within a reasonable period of time, to place her in a permanent home. ACS

has further failed to exercise adequate and meaningful oversight over the Contract Agencies to

which ACS has delegated the day-to-day care of, and case planning responsibility for, this child.

As a direct result of Defendants’ actions and inactions, Ayanna J. has suffered and continues to

suffer irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where she will grow


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up and of believing that there is no family she can call her own. Because of Defendants’ actions

and inactions, Plaintiff Ayanna J. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


       Olivia R. and Ana-Maria R.

       63.     Plaintiff Olivia R. is a five year old girl in the first grade, and Plaintiff Ana-Maria

R. is a four year old girl in pre-kindergarten. ACS removed them from their biological mother’s

home on June 8, 2011. The permanency goal for both children currently is adoption. They have

been in ACS custody for more than four years.

       64.     Plaintiffs Olivia and Ana-Maria R. appear through their next friend, Dawn Cardi.

Ms. Cardi is an attorney in private practice in New York City, specializing in criminal and family

law. She is appointed and has served as a certified Law Guardian in the First Department of the

Appellate Division, representing children in complex family law proceedings. She is truly

dedicated to Olivia and Ana-Maria R.’s best interests.

       65.     Upon information and belief, this is Plaintiffs Olivia and Ana-Maria R.’s second

time in ACS custody. Upon information and belief, ACS removed Plaintiffs Olivia and Ana-

Maria R. from their biological parents in January 2011, they spent a few months in a foster

placement and then ACS returned them home. On June 8, 2011, when Olivia R. was two years

old and Ana-Maria R. was eight months old, ACS again removed the girls from their home and

placed them into ACS custody, reportedly due to domestic violence between their biological

parents and their biological mother’s alcohol and drug use.




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       66.     The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, Plaintiffs Olivia and Ana-Maria R. initially placed them in a non-

kinship foster placement—the third place they had been moved to in six months.

       67.     In March 2012, the Contract Agency returned Olivia and Ana-Maria R. to their

biological mother on a trial discharge. In June 2012, their biological mother dropped them off at

the foster home where they had been living and did not return to pick them up. She did not visit

the children again until July 24, 2012.

       68.     ACS has allowed Plaintiffs Olivia and Ana-Maria R. to be bounced in and out of

foster care for almost the entirety of their young lives, and they now have been in ACS custody

for the past four years—a direct result of ACS’s failure to develop and implement an appropriate

case plan and provide appropriate services consistent with professional standards to enable these

young girls to be safely returned to their biological mother or, if that were not possible within a

reasonable period of time, to ensure that they can grow up in a permanent family.

       69.     Plaintiffs Olivia and Ana-Maria R. have suffered physical and emotional abuse

while in ACS custody. In October 2013, Plaintiff Olivia R., who was four years old at the time,

was sexually abused by her biological mother’s friend during an unsupervised visit. Plaintiff

Ana-Maria R. was present during that abuse. Although the Contract Agency was made aware of

this abuse at that time, upon information and belief, neither the Contract Agency nor ACS took

any action in response to the report. More recently, Plaintiff Olivia R. reported the incident to

her therapist, who (as a mandated reporter) informed the Statewide Central Register of Child

Abuse and Maltreatment and the police, and an investigation is underway. Plaintiffs Olivia and

Ana-Maria R.’s biological mother has not visited with the children since November 26, 2014.




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       70.     As a result of the emotional harm they have suffered while in ACS custody for the

past four years, Plaintiffs Olivia and Ana-Maria R. have suffered and continue to suffer from a

variety of mental health problems. Olivia R.’s diagnoses include Attention Deficit Hyperactivity

Disorder, Developmental Coordination Disorder and Disruptive Behavior Disorder. She is in a

special education setting at school. Ana-Maria R.’s diagnoses include Attention Deficit

Hyperactivity Disorder, Anger Management, and Conduct Disorder. She is being evaluated for

placement in a special education setting at school.

       71.     Since being placed in ACS custody, Plaintiffs Olivia and Ana-Maria R. have

suffered severe emotional and behavioral problems. Olivia R. has developed serious trust issues

and she wets the bed before any visit with her biological mother. Ana-Maria R. demonstrates

severe hyperactivity and aggression. At school, she often would hit her teacher, tear things off

the wall or break other items. In January 2015, her pre-kindergarten program would not allow

her to attend classes until she was medicated for these behavioral problems. She did not start

receiving medication until June 2015.

       72.     ACS has failed to ensure that Plaintiffs Olivia and Ana-Maria R. are provided

with the necessary and appropriate services to ensure their physical, psychological and emotional

well-being. One of their caseworkers recommended that the girls enroll in Bridges to Health

Program (“B2H”)—a Medicaid waiver program that provides support for children in foster care

who are medically fragile, have a developmental disability or are severely emotionally disturbed.

Upon information and belief, when their foster mother initially requested these services, the

Contract Agency declined to submit the request because an agency caseworker said “that’s a lot

of paperwork”. Upon information and belief, Plaintiffs Olivia and Ana-Maria R. still do not

have B2H services.


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       73.      In addition to failing to keep Plaintiffs Olivia and Ana-Maria R. free from

physical, psychological and emotional harm while in its custody, ACS also has failed to take

reasonable and appropriate steps consistent with reasonable professional standards to place

Plaintiffs Olivia and Ana-Maria R. in a permanent home.

       74.      Plaintiffs Olivia and Ana-Maria R.’s permanency goal was not changed from

return to parent to adoption until March 1, 2014—after they had been in ACS custody for almost

three years. Olivia and Ana-Maria R.’s current foster mother has indicated a willingness to

adopt them. TPR petitions were filed approximately eight months later in November 2014.

Upon information and belief, on May 28, 2015, the judge made an oral statement that parental

rights would be terminated; however, because none of the attorneys present had drafted a

proposed order, that ruling has not been finalized and Olivia and Ana-Maria R. are not yet freed

for adoption.

       75.      During the four years that Plaintiffs Olivia and Ana-Maria R. have been in the

custody of ACS, Defendants repeatedly have violated their constitutional, statutory and

contractual rights by failing to protect them from physical, psychological and emotional harm; by

failing to provide services to ensure their physical, psychological and emotional well-being; by

failing to ensure the provision of appropriate foster care placements consistent with professional

standards or of a meaningful, timely and appropriate plan to enable them to be safely returned to

their biological mother or, if that were not possible within a reasonable period of time, to place

them in a permanent home. ACS has further failed to exercise adequate and meaningful

oversight over the Contract Agencies to which ACS has delegated the day-to-day care of, and

case planning responsibility for, these children. As a direct result of Defendants’ actions and

inactions, Plaintiffs Olivia and Ana-Maria R. have suffered and continue to suffer irreparable


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harm and continue to be subjected to the lasting emotional damage that is a consequence of

children being harmed while in foster care, of not knowing where they will grow up and of

believing that there is no family they can call their own. Because of Defendants’ actions and

inactions, Plaintiffs Olivia and Ana-Maria R. are being deprived of the opportunity for a

childhood that is reasonably free from harm and that provides the opportunity for stability and

healthy development.


        Xavion M.

        76.    Plaintiff Xavion M. is a five year old boy in the first grade. ACS removed him

from his biological mother due to an allegation of neglect 15 days after he was born. Plaintiff

Xavion M.’s permanency goal currently is adoption. He has been in ACS custody for over five

years—nearly his entire life.

        77.    Plaintiff Xavion M. appears through his next friend, Michael B. Mushlin. Mr.

Mushlin is a Law Professor at Pace University School of Law in New York City, where he has

taught for the last 30 years. His scholarship has included maltreatment of children in foster care.

Previously, he worked as a public interest and civil rights lawyer for 15 years as a staff attorney

with Harlem Assertion of Rights, Inc., as a staff attorney and Project Director of the Prisoners

Rights Project of the Legal Aid Society, and as Associate Director of the Children’s Rights

Project of the American Civil Liberties Union. He is truly dedicated to Xavion M.’s best

interests.

        78.    Plaintiff Xavion M. is not the only child that ACS has removed from his

biological mother and placed into foster care. Plaintiff Xavion M. has two siblings: (1) a 12

year old brother, Vincent D., and (2) an 11 year old sister, Zahara D. Plaintiff Xavion M.’s

siblings have been in ACS custody for the past six years. Upon information and belief, at least

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one Family Court judge has referred to these two children as “unadoptable” and their

permanency goals remain that they be returned to their parent.

       79.       The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this young boy first placed Plaintiff Xavion M. with a fictive kin

foster parent, who was a friend of his biological mother. On December 21, 2011, when Xavion

M. was just two years old, he was moved to a second, non-kinship, foster placement. When he

arrived, he was anemic and malnourished. He has resided in this foster placement for well over

three years—a direct result of ACS’s failure to develop and implement an appropriate case plan

and provide appropriate services consistent with professional standards to enable this young boy

to be safely returned to his biological mother or, if that were not possible within a reasonable

period of time, to ensure that he can grow up in a permanent family.

       80.       Since being placed in foster care over five years ago, Plaintiff Xavion M. has had

approximately four caseworkers at the Contract Agency to which ACS has delegated his care and

case planning.

       81.       Plaintiff Xavion M., who has been in ACS custody for over five years, has weekly

supervised visits with his biological mother and older siblings. Upon information and belief,

Plaintiff Xavion M.’s brother hit and kicked him during a recent visit.

       82.       The Contract Agency to which ACS has delegated the day-to-day care of, and

case planning responsibility for, this boy has not provided Plaintiff Xavion M. with necessary

services for his physical and emotional well-being. Although his teacher recommended that an

Individualized Education Program be written for him, Xavion M. has not received the evaluation

necessary because his biological mother refuses to give consent.




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       83.        As a result of the over five years that Plaintiff Xavion M. has spent in ACS

custody, Xavion M. has suffered severe emotional damage. He has started to exhibit increased

behavioral problems, including becoming aggressive and violent at home and at school; he also

is having difficulty concentrating at school. At five years old, he will only sleep in the same bed

as his foster mother and will not sleep through the night.

       84.        In addition to failing to keep Plaintiff Xavion M. free from physical,

psychological and emotional harm while in its custody, ACS has also failed to take reasonable

and appropriate steps consistent with reasonable professional standards to place Xavion M. in a

permanent home.

       85.        On July 21, 2014—after Plaintiff Xavion M. had been in foster care for almost

five years—Xavion’s permanency goal was changed from return to parent to adoption. This goal

change occurred only after the Family Court judge handling Xavion M. and his siblings’ case

instructed Xavion M.’s caseworkers at the Contract Agency to file a petition to terminate the

parental rights of Xavion M.’s biological mother and begin adoption proceedings. Xavion M.’s

current foster mother has indicated a willingness to adopt. Almost a year later, no TPR petition

has been filed.

       86.        Despite the court’s instruction, the Contract Agency plans to return Xavion M. to

his biological mother after first returning Xavion M.’s older siblings to his mother on a trial

basis. Indeed, papers filed in Family Court in March 2015 state that the “Agency is working

with [biological mother] for reunification”. At a family team conference on June 24, 2015, the

Contract Agency said it will pursue granting Xavion M.’s biological mother unsupervised visits

despite the fact that Xavion M.’s therapist has stated that Xavion M. is not ready for this and that

Xavion M.’s permanency goal is adoption. The long-standing inconsistency in planning for this


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child’s future is increasing the insecurity and emotional damage this child is experiencing in

foster care.

        87.        During the over five years that Plaintiff Xavion M. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from physical, psychological and emotional harm; by failing to provide

services to ensure his physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable him to be safely returned to his biological

mother or, if that were not possible within a reasonable period of time, to place him in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Xavion M.

has suffered and continues to suffer irreparable harm and continues to be subjected to the lasting

emotional damage that is a consequence of a child being harmed while in foster care, of not

knowing where he will grow up and of believing that there is no family he can call his own.

Because of Defendants’ actions and inactions, Plaintiff Xavion M. is being deprived of the

opportunity for a childhood that is reasonably free from harm and that provides the opportunity

for stability and healthy development.


        Dameon C.

        88.        Plaintiff Dameon C. is a four year old boy with special needs. ACS removed him

from his biological mother, who was then incarcerated, nine days after he was born. His

permanency goal currently is adoption. He has been in ACS custody for over four years—nearly

his entire life.

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       89.     Plaintiff Dameon C. appears through his next friend, Reverend Doctor

Gwendolyn Hadley-Hall. Reverend Doctor Hadley-Hall is an associate pastor at Christ Temple

United Baptist Church in Brooklyn. Prior to entering the ministry, Reverend Doctor Hadley-Hall

was a teacher at public elementary schools in New York City for 30 years. She is truly dedicated

to Dameon C.’s best interests.

       90.     The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this boy first placed Plaintiff Dameon C. in a foster placement.

       91.     On Christmas Eve 2011, when Plaintiff Dameon C. was nine months old, he was

returned to his mother on a trial basis when she was released from jail. They were placed in a

mother-child drug and alcohol rehabilitation center. His former foster parent would often take

Dameon C. for two to three weeks at a time with his biological mother’s consent because

Dameon C.’s behavior deteriorated drastically when he was moved to his mother’s care. He

began banging his head, which he continues to do now at age four. In July 2012, his biological

mother was expelled from the rehabilitation center and Dameon C. was returned to his former

foster placement, where he remains to this day. He has been in foster care virtually his entire

life—a direct result of ACS’s failure to develop and implement an appropriate case plan and

provide appropriate services consistent with professional standards to enable this young boy to

be safely returned to his biological mother or, if that were not possible within a reasonable period

of time, to ensure that he can grow up in a permanent family.

       92.     While in ACS custody, Plaintiff Dameon C. has had regular visits with his

biological mother. In February 2014, when Dameon was almost three years old, his mother

kicked him during the first unsupervised overnight visit at her drug treatment facility. Although

she is still permitted to have supervised visits with him, she did not have contact with Dameon C.


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between December 2014 and April 23, 2015, at which time she began attending supervised visits

with Dameon C. again. However, in recent weeks, Dameon C.’s biological mother has

disappeared from her drug treatment program and has not attended visits with him or contacted

him since.

       93.     In addition to failing to keep Plaintiff Dameon C. safe from physical abuse and

emotional damage, ACS has also failed to ensure that he is provided with necessary services to

ensure his physical, psychological and emotional well-being. Although he has been diagnosed

with Attention Deficit Hyperactivity Disorder and Oppositional Defiant Disorder, he was placed

on the waiting list for B2H.

       94.     ACS also has failed to take reasonable and appropriate steps to place Plaintiff

Dameon C. in a permanent home. Dameon C.’s permanency goal was not changed to adoption

until November 3, 2014—after he had already been in ACS custody for over three and a half

years. A TPR petition was filed thereafter. Plaintiff Dameon C.’s next court date had been

scheduled for June 2, 2015, but has been postponed until November 2015.

       95.     During the over four years that Plaintiff Dameon C. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from physical, psychological and emotional harm; by failing to provide

services to ensure his physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable him to be safely returned to his biological

mother or, if that were not possible within a reasonable period of time, to place him in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning


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responsibility for, this child. As a direct result of Defendants’ actions and inactions, Dameon C.

has suffered and continues to suffer irreparable harm and continues to be subjected to the lasting

emotional damage that is a consequence of a child being harmed while in foster care, of not

knowing where he will grow up and of believing that there is no family he can call his own.

Because of Defendants’ actions and inactions, Plaintiff Dameon C. is being deprived of the

opportunity for a childhood that is reasonably free from harm and that provides the opportunity

for stability and healthy development.


       Tyrone M.

       96.     Plaintiff Tyrone M. is a seven year old boy with special needs. ACS removed

him from his biological mother 12 days after he was born. His permanency goal currently is

adoption. He has been in ACS custody for over seven years—nearly his entire life.

       97.     Plaintiff Tyrone M. appears through his next friend, Bishop Lillian Robinson-

Wiltshire. Bishop Robinson-Wiltshire is the Senior Pastor and Overseer of Cathedral of Christ

Community Ministries in Brooklyn. Prior to entering the ministry 30 years ago, Bishop

Robinson-Wiltshire was a family counselor and worked with families dealing with abuse and

neglect. Bishop Robinson-Wiltshire has also served as a foster parent to older children. She is

truly dedicated to Tyrone M.’s best interests.

       98.     Twelve days after he was born, ACS removed Plaintiff Tyrone M. from his

biological mother when she tested positive for cocaine after giving birth to him.

       99.     The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this young boy first placed Plaintiff Tyrone M. in a kinship foster

placement with his aunt. On June 23, 2014, ACS removed him from his aunt’s home after she

failed a random drug screening. The Contract Agency then placed him in a non-kinship foster

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placement where he currently resides. Plaintiff Tyrone M. has now spent his entire life in ACS

custody—a direct result of ACS’s failure to develop and implement an appropriate case plan and

provide appropriate services consistent with professional standards to enable this young boy to

be safely returned to his biological mother or, if that were not possible within a reasonable period

of time, to ensure that he can grow up in a permanent family.

       100.    ACS also has also failed to keep Plaintiff Tyrone M. free from physical,

psychological, and emotional harm while in its custody. When he arrived at his current foster

placement, his health and behavior indicated severe neglect. He suffered from severe dental

problems. He went to sleep in his clothing every night because in his previous foster placement

he had not been provided with such basic care as being taught to undress or change into pajamas

before bed.

       101.    As a result of the emotional harm he has suffered while in ACS custody for the

past seven years, Plaintiff Tyrone M. suffered and continues to suffer from a variety of mental

health problems. His diagnoses include Pervasive Developmental Disorder, Developmental

Coordination Disorder, Communication Disorder and Attention Deficit Hyperactivity Disorder.

Tyrone M. also exhibits severe behavioral problems and often becomes violent at school and

throws chairs or pencils. As a result, his school has barred him from eating in the lunchroom

with other students and from attending school-sponsored field trips.

       102.    ACS has also failed to ensure that Plaintiff Tyrone M. is provided with the

necessary services to ensure his physical and emotional well-being. For example, although his

Individualized Education Program states that he is required to receive psychological counseling

outside of school, upon information and belief, it has taken the Contract Agency over a year to

even begin the process for getting Tyrone M. mental health services.


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       103.    In addition to failing to keep Plaintiff Tyrone M. physically free from harm while

in its custody, ACS has also failed to take reasonable and appropriate steps consistent with

reasonable professional standards to place Plaintiff Tyrone M. in a permanent home.

       104.    After almost seven years in foster care, his biological mother recently voluntarily

surrendered her parental rights. Although he is now free to be adopted, it is not clear that he will

be adopted by his current foster parent and, upon information and belief, the Contract Agency,

ACS and Plaintiff Tyrone M.’s law guardian have not sought out other adoption possibilities for

Plaintiff Tyrone M. to have a permanent home and family to call his own.

       105.    During the over seven years that Plaintiff Tyrone M. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from physical, psychological and emotional harm; by failing to provide

services to ensure his physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable him to be safely returned to his biological

mother or, if that were not possible within a reasonable period of time, to place him in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Tyrone M.

has suffered and continues to suffer irreparable harm and continues to be subjected to the lasting

emotional damage that is a consequence of a child being harmed while in foster care, of not

knowing where he will grow up and of believing that there is no family he can call his own.

Because of Defendants’ actions and inactions, Plaintiff Tyrone M. is being deprived of the




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opportunity for a childhood that is reasonably free from harm and that provides the opportunity

for stability and healthy development.


       Brittney W.

       106.    Plaintiff Brittney W. is a six year old girl with special needs. ACS removed her

from her biological mother and placed her into ACS custody on May 10, 2011. Her permanency

goal currently is to be returned to her parent. She has been in ACS custody for over four years—

most of her life.

       107.    Plaintiff Brittney W. appears through her next friend, Liza Camellerie. Ms.

Camellerie is an attorney in private practice in New York City. She currently serves on the

assigned panel for Family Court in Manhattan, representing children and parents in Article 10

cases, among others. She also spent six years as a Family Court Legal Services (“FCLS”)

Attorney for ACS, four of which were spent as a supervisor to 25 to 30 other FCLS attorneys.

Ms. Camellerie is truly dedicated to Brittney W.’s best interests.

       108.    Shortly after Plaintiff Brittney W. was born, a report was called in to the

Statewide Central Register of Child Abuse and Maltreatment alleging that her biological

mother’s own mental incapacity and developmental delays prevented her from caring for her

infant daughter. Brittney W. was placed into voluntary kinship care with her biological mother’s

niece by agreement with ACS.

       109.    On May 10, 2011, when Plaintiff Brittney W. was two years old, ACS remanded

her into custody because her mother’s niece could no longer care for Brittney W.

       110.    The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this young girl then placed Plaintiff Brittney W. in a non-kinship

foster placement. She has been residing in this foster placement for over four years—a direct

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result of ACS’s failure to develop and implement an appropriate case plan and provide

appropriate services consistent with professional standards to enable this young girl to be safely

returned to her mother or, if that were not possible within a reasonable period of time, to ensure

that she can grow up in a permanent family.

       111.    After over four years in foster care, Plaintiff Brittney W.’s permanency goal is to

be returned to her parent. Upon information and belief, Plaintiff Brittney W.’s lawyer does not

think that her biological mother’s mental incapacities allow her to provide appropriate care for

Brittney W. Upon information and belief, the Contract Agency to which ACS has delegated the

care and case planning responsibility for this child has taken the position that Brittney W.’s

biological mother can provide care if she has 24-hour medical support. Upon information and

belief, because Brittney’s W.’s doctor reports that there is no reason why 24-hour support is

medically necessary, the Contract Agency is trying to arrange for Brittany W.’s biological

mother to have medical and other support during daytime hours. Brittney W.’s current foster

mother has indicated a willingness to adopt. No TPR petition has been filed.

       112.    During the four years that Plaintiff Brittney W. has been in the custody of ACS,

Defendants repeatedly have violated her constitutional, statutory and contractual rights by failing

to protect her from physical, psychological and emotional harm; by failing to provide services to

ensure her physical, psychological and emotional well-being; by failing to ensure the provision

of appropriate foster care placements consistent with professional standards or of a meaningful,

timely and appropriate plan to enable her to be safely returned to her biological mother or, if that

were not possible within a reasonable period of time, to place her in a permanent home. ACS

has further failed to exercise adequate and meaningful oversight over the Contract Agencies to

which ACS has delegated the day-to-day care of, and case planning responsibility for, this child.


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As a direct result of defendants’ actions and inactions, Brittney W. has suffered and continues to

suffer irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where she will grow

up and of believing that there is no family she can call her own. Because of Defendants’ actions

and inactions, Plaintiff Brittney W. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


                                                ***

       113.    All of Defendants’ actions and inactions as described herein substantially depart

from accepted professional judgment and constitute deliberate indifference to the harms, risk of

harms and violations of legal rights suffered by the Named Plaintiff Children.


 II.   The Public Advocate for the City of New York

       114.    Plaintiff Letitia James is the Public Advocate for the City of New York (the

“Public Advocate”). In this capacity, the Public Advocate ensures that the city government

serves its citizens by exercising oversight of city agencies, investigating citizen complaints

regarding city services, and making proposals or seeking relief to address perceived

shortcomings or failures.

       115.    Just two months into her tenure, the Public Advocate introduced a law, Int. 0104-

2014, that would require ACS to report information related to youth in the foster care system on

an annual basis. This law ensures that the City monitors which supports and resources these

young adults use and identifies ongoing educational barriers they experience and problems they

might encounter with homelessness or law enforcement. In September 2014, the Office of the

Public Advocate issued a policy report concerning youth “aging out” of the foster care system.
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The report provided recommendations to improve data collection, access to housing, and

coordination of services for young people aging out of the system. On September 30, 2014, Int.

0104-2014 was signed into law.

       116.    On an ongoing basis, the Office of the Public Advocate Constituent Affairs

Department (“the Constituent Affairs Department”) receives complaints from constituents in all

five boroughs alleging deficiencies and lapses in responsibilities by both ACS and Contract

Agencies. Constituent complaints alleged, for instance, failure to investigate allegations of abuse

of children in ACS custody, failure to initiate timely TPR proceedings, failure to follow proper

procedures when removing children from their family home or foster home, failure to provide

required services for both biological parents and foster children, failure to honor ACS vouchers

and potentially retaliatory practices against those who complained directly to ACS or Contract

Agencies. In total, the Constituent Affairs Department has received 259 complaints regarding

ACS since January 1, 2014.

       117.    As a result of ongoing complaints, the Public Advocate identified ACS as an

agency whose practices warrant investigation.

       118.    Upon learning that New York City keeps children in foster care longer than

almost every jurisdiction in the country, the Office of the Public Advocate began to examine

obstacles to permanency and established a hotline to hear directly from foster children and their

advocates about their experiences.

       119.    In November 2014, the Office of the Public Advocate requested a copy of all

contracts ACS holds with individual Contract Agencies; on November 17, 2014, ACS responded

with electronic copies of all the contracts it has with the 29 Contract Agencies. On or about

February 6, 2015, the Office requested all data collected by ACS used to produce “Scorecard”


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evaluations (see infra ¶¶ 214–17) of the Contract Agencies from 2012 to 2014, in addition to the

Scorecard evaluations themselves and any related documentation. After receiving no response,

the Office of the Public Advocate repeated the request on February 27, 2015. A meeting was

held on March 11, 2015, at which the document request was made for a third time and denied by

ACS.

       120.    On or about April 1, 2015, the Office of the Public Advocate sent a letter to ACS

threatening legal action if they did not comply with the data request and also requested access to

ACS’s Legal Tracking System in order to investigate constituent complaints concerning

significant delays and inefficiencies occurring in Family Court proceedings in which ACS is

involved. Following this correspondence, ACS provided Scorecard evaluations, but did not

provide the underlying data used to produce them, or the other requested information.

       121.    Also in April 2015, the Office of the Public Advocate launched a multilingual

hotline to learn first-hand from children and their advocates about the current barriers to

receiving better services while in foster care and obtaining a safe and permanent home.

Participants in the hotline were asked to complete a survey. The survey’s questions varied based

on the type of respondent—typically a child, birth parent or foster parent—and asked about the

child’s trajectory in foster care, permanency planning, services provided and cases of

maltreatment in care.

       122.    Combining anecdotal reports from the hotline and publicly available data, the

Office of the Public Advocate identified several deficiencies including, but not limited to, ACS

removal of children without proper court process, failure to identify and provide adequate

services for parents of children in care and subsequent delays in reunification, failure to place

children appropriately and thus creating instability, failure of ACS and the Contract Agencies to


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be prepared for court dates, failure of ACS to recruit, train and support adoptive placements,

failure to engage in concurrent planning, failure to protect children from maltreatment and failure

to provide adequate health and mental health services to children in care. Those deficiencies and

recommendations for addressing them were cited in a report that was issued on July 2, 2015.


III.   Defendants

       123.    Defendant City of New York (“City”) was, and is, a municipal entity created and

authorized under the laws of the State of New York. It is authorized by law to maintain and

ultimately is responsible for the New York City Administration for Children’s Services, which

acts as its agent in the area of protecting the safety and welfare of children in the City. The City

assumes the risks incidental to the maintenance of the New York City Administration for

Children’s Services and its employment of attorneys, caseworkers and others.

       124.    Defendant New York City Administration for Children's Services (“ACS”) was,

and is, a municipal agency of the City responsible for protecting the safety and welfare of all

children in New York City. At all times relevant hereto, the officials, agents and employees of

ACS were acting under the color of state law in the course and scope of their duties and

functions as agents, servants, employees and officials of ACS and otherwise performed and

engaged in conduct incidental to the performance of their lawful duties. The officials, agents and

employees were acting for, and on behalf of, ACS at all times relevant herein with the power and

authority vested in them as agents and employees of ACS and the City and incidental to their

lawful pursuit of their duties as officials, employees and agents of ACS.

       125.    Defendant Gladys Carrión is Commissioner of ACS and is sued solely in her

official capacity. She is responsible for ACS’s policies, practices and operations, and for

ensuring that ACS and the private agencies with which it contracts comply with all applicable

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federal and state laws, pursuant to the Charter of the City of New York, Chapter 24-B §§ 615 and

617. All children in foster care in New York City are in the custody of Defendant Carrión, and

she is responsible for ensuring their health, safety and well-being, including, but not limited to,

their freedom from maltreatment while in state custody and their placement in a permanent home

within a reasonable period of time.

        126.   Defendant State of New York (“State”) was, and is, a governmental entity. It is

authorized by law to maintain and is ultimately responsible for the New York State Office of

Children and Family Services, which acts as its agent in the area of foster care, adoption and

adoption assistance for children in New York State. The State assumes the risks incidental to the

maintenance of the New York State Office of Children and Family Services.

        127.   Defendant New York State Office of Children and Family Services (“OCFS”)

was, and is, an agency of the State responsible for programs involving foster care, adoption and

adoption assistance for children in New York State. At all times relevant hereto, the officials,

agents and employees of OCFS were acting under the color of state law in the course and scope

of their duties and functions as agents, servants, employees and officials of OCFS and otherwise

performed and engaged in conduct incidental to the performance of their lawful duties. The

officials, agents and employees were acting for, and on behalf of, OCFS at all times relevant

herein with the power and authority vested in them as agents and employees of OCFS and the

State and incidental to their lawful pursuit of their duties as officials, employees and agents of

OCFS.

        128.   Defendant Sheila J. Poole is Acting Commissioner of OCFS and is sued solely in

her official capacity. She is responsible for the policies, practices and operation of OCFS, for

ensuring OCFS’s compliance with all applicable federal and state law, pursuant to New York


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State Social Services Law §§ 11 and 17, and for providing oversight to all social services

districts in the state.


                                  JURISDICTION AND VENUE

        129.     This action arises under the Constitution and laws of the United States, including

42 U.S.C. § 1983. The Court has jurisdiction over the federal claims pursuant to 28 U.S.C.

§§ 1331 and 1343(a). The Court may exercise supplemental jurisdiction over the claims based

on New York law pursuant to 28 U.S.C. § 1367(a).

        130.     This Court has jurisdiction to issue declaratory and injunctive relief pursuant to

28 U.S.C. §§ 2201 and 2002 and Rule 57 of the Federal Rules of Civil Procedure.

        131.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) because the claims

arise in this district. Although OCFS and ACS are responsible for children from all five

boroughs of New York City, including those in the Eastern District of New York, the

Commissioner of ACS has custody of all Plaintiff Children, and ACS’s administrative and

managerial functions are operated out of its headquarters, which is located in the Southern

District of New York.


                                CLASS ACTION ALLEGATIONS

        132.     This action is properly maintained as a class action pursuant to Rules 23(a) and

23(b)(2) of the Federal Rules of Civil Procedure.

        133.     The general class is defined as all children who are now or will be in the foster

care custody of the Commissioner of New York City’s Administration for Children’s Services

(“Plaintiff Children” or the “Class”).




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       134.    The Class is sufficiently numerous to make joinder impracticable. As of April

2015, there were approximately 11,137 children in the foster care custody of the Commissioner

of ACS.

       135.    The questions of fact and law raised by Named Plaintiff Children’s claims are

common to and typical of those of each putative member of the Class whom they seek to

represent. The Named Plaintiff Children and Plaintiff Children rely on Defendants for foster

care services in New York City and wholly depend on the State and City Defendants for

provision of those services. Defendants’ long-standing and well-documented actions and

inactions substantially depart from accepted professional judgment and constitute deliberate

indifference to the harm, risk of harm and violations of legal rights suffered by the Named

Plaintiff Children and Plaintiff Children.

       136.    Questions of fact common to the Class include:


               a.      whether State and City Defendants fail to protect Plaintiff Children from

                       physical, psychological and emotional harm;

               b.      whether State and City Defendants fail to ensure meaningful case plans to

                       enable Plaintiff Children to be safely returned to their parents or, if that

                       were not possible within a reasonable period of time, to place them in

                       permanent homes;

               c.      whether State and City Defendants fail to provide foster care placements

                       and services that ensure Plaintiff Children’s well-being; and

               d.      whether ACS fails to exercise adequate and meaningful oversight over the

                       Contract Agencies to which ACS has delegated the day-to-day care of, and

                       case planning responsibility for, Plaintiff Children.

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         137.   Questions of law common to the Class include:


                a.     whether Defendants’ long-standing and well-documented actions and

                       inactions violate Plaintiff Children’s substantive rights under the due

                       process clause of the Fourteenth Amendment to the United States

                       Constitution;

                b.     whether Defendants’ long-standing and well-documented actions and

                       inactions violate Plaintiff Children’s right to a permanent home and family

                       under the First, Ninth and Fourteenth Amendments to the United States

                       Constitution;

                c.     whether Defendants’ long-standing and well-documented actions and

                       inactions violate Plaintiff Children’s rights under the Adoption Assistance

                       and Child Welfare Act of 1980, as amended by the Adoption and Safe

                       Families Act of 1997;

                d.     whether Defendants’ long-standing and well-documented actions and

                       inactions violate Plaintiff Children’s rights under New York State Social

                       Services Law and regulations adopted pursuant thereto; and

                e.     whether City Defendants’ actions and inactions violate Plaintiff Children’s

                       rights as third party beneficiaries to the contracts between the City

                       Defendants and the Contract Agencies to which ACS has delegated the

                       day-to-day care of, and case planning responsibility for, Plaintiff Children.


         138.   The violations of law and resulting harms averred by Named Plaintiffs are typical

of the legal violations and harms and/or risk of harms experienced by all Plaintiff Children in the

Class.
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        139.    Named Plaintiffs will fairly and adequately protect the interests of the Class that

they seek to represent. Named Plaintiffs and Plaintiff Children are represented by the following

attorneys who are competent and experienced in class action litigation, child welfare litigation

and complex civil litigation:


                a.      Marcia Robinson Lowry, an attorney with A Better Childhood, Inc., a

                        non-profit legal advocacy organization, who has substantial experience

                        and expertise in federal child welfare class actions nationally; and

                b.      Attorneys from Cravath, Swaine & Moore LLP, including attorney Julie A.

                        North, a Member of the Firm, who has significant experience in complex

                        litigation in state and federal courts throughout the United States.


Plaintiff Children’s attorneys have identified and thoroughly investigated all claims in this action

and have committed sufficient resources to represent the Class through trial and any appeals.

Each Named Plaintiff appears by a next friend pursuant to Federal Rule of Civil Procedure 17(c),

and each next friend is sufficiently familiar with the facts of the child’s situation and dedicated to

the child’s best interests to fairly and adequately represent the child’s best interests in this

litigation.


        140.    Defendants have acted or failed to act on grounds generally applicable to all

members of the Class, necessitating class-wide declaratory and injunctive relief. Counsel for

Plaintiff Children know of no conflict among the Class members.




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         STRUCTURE OF THE NEW YORK CITY CHILD WELFARE SYSTEM

       141.    Children in foster care in New York City are in the legal custody of the

Commissioner of ACS (currently, Defendant Carrión) (“ACS custody”). At all times, ACS

maintains legal custody and legal responsibility for all children in foster care in New York City.

       142.    Pursuant to its Charter, the City of New York and Defendant Carrión, as

Commissioner of ACS, are responsible for ensuring that ACS complies with federal and state

law.

       143.    New York State provides funding to New York City that is spent on child welfare

services, and, through OCFS, is responsible for overseeing ACS and ensuring that ACS complies

with all applicable federal and state laws. OCFS is also responsible for ensuring that ACS

complies with all elements of the state plans (which OCFS signs as a condition of receiving child

welfare funds from the United States Department of Health and Human Services) that document

how the state will comply with certain core policies and procedures intended to, among other

things, either enable children in foster care to be reunited with their families and/or ensure timely

efforts to find a permanent home for children who cannot be reunited with their families.

       144.    Pursuant to the Constitution and federal and state statutory law, ACS, as the

custodian of children in foster care in New York City, is required to:


               a.      Protect each child in foster care from physical, psychological and

                       emotional harm, U.S. Const. amend. XIV;

               b.      Provide to each child in foster care the services necessary to ensure his or

                       her physical, psychological and emotional well-being, U.S. Const. amend.

                       XIV;




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     c.    Provide to each child in foster care conditions, treatment and care

           consistent with the purpose and assumptions of custody, U.S. Const.

           amend. XIV;

     d.    Ensure that each child in foster care is not maintained in custody longer

           than is necessary to accomplish the purpose of custody, U.S. Const.

           amend. XIV;

     e.    Provide each child in foster care with a permanent home and family within

           a reasonable period of time, U.S. Const. amends. I, IX, XIV;

     f.    Place each child in foster care in a foster placement that conforms to

           nationally recommended professional standards, 42 U.S.C. § 671(a)(10);

     g.    Provide for each child in foster care a written case plan that includes a

           plan to provide safe, appropriate and stable foster care placements and

           implement that plan, 42 U.S.C. §§ 671(a)(16), 675(1)(A);

     h.    Provide for each child in foster care a written case plan that ensures that

           the child receives safe and proper care while in foster care and implement

           that plan, 42 U.S.C. §§ 671(a)(16), 675(1)(B);

     i.    Provide for each child in foster care a written case plan that ensures the

           provision of services to facilitate reunification or, where that is not

           possible, a permanent home for the child and implement that plan,

           42 U.S.C. §§ 671(a)(16), 675(1)(B);

     j.    Provide for each child in foster care, where reunification is not possible or

           appropriate, a written case plan that ensures the location of an adoptive or




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           other permanent home for the child and implement that plan, 42 U.S.C.

           §§ 671(a)(16), 675(1)(E);

     k.    Provide for each child in foster care a written case plan that ensures the

           educational stability of the child while in foster care and implement that

           plan, 42 U.S.C. §§ 671(a)(16), 675(1)(G);

     l.    Maintain a case review system in which each child in foster care has a

           case plan designed to achieve safe, appropriate and stable foster care

           placements, 42 U.S.C. §§ 671(a)(16), 675(5)(A);

     m.    Maintain a case review system in which the status of each child in foster

           care is reviewed every six months by a court, or person responsible for

           case management, for purposes of determining the safety of the child, the

           continuing necessity and appropriateness of the foster placement, the

           extent of compliance with the permanency plan and the projected date of

           permanency, 42 U.S.C. §§ 671(a)(16), 675(5)(B), 675(5)(C);

     n.    Maintain a case review system that ensures that for each child that has

           been in foster care for 15 of the most recent 22 months, ACS files a

           petition to terminate the parental rights of the child’s parents and

           concurrently identifies, recruits, processes and approves a qualified family

           for an adoption, or documents compelling reasons for determining that

           filing such a petition would not be in the best interest of the child, 42

           U.S.C. §§ 671(a)(16), 675(5)(B), 675 (5)(E);

     o.    Provide to each child in foster care quality services to protect his or her

           safety and health, 42 U.S.C. § 671(a)(22);


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              p.     Timely create meaningful and appropriate Family Assessment and Service

                     Plans, New York State Social Services Law § 409-e;

              q.     Timely plan and complete meaningful and appropriate Family Assessment

                     and Service Plan reviews, New York State Social Services Law § 409-e

                     and N.Y. Comp. Codes R. & Regs. tit. 18, § 430.12;

              r.     Place each child in a foster placement that meets standards for continuity

                     and appropriate level of placement, N.Y. Comp. Codes R. & Regs. tit. 18,

                     § 430.11;

              s.     File a petition to terminate parental rights for each child who has been in

                     foster care for 15 out of the most recent 22 months or, where applicable,

                     appropriately document an exception, New York State Social Services

                     Law § 384-b, N.Y. Comp. Codes R. & Regs. tit. 18, §§ 430.12 and 431.9;

                     and

              t.     Provide each child in foster care who has been freed for adoption with

                     meaningful and appropriate adoption services, including evaluation of the

                     child’s placement and pre-placement needs, recruitment of and a home

                     study for prospective adoptive parents, placement planning, supervision

                     and post-adoption services, New York State Social Services Law §§ 372-b,

                     372-e and N.Y. Comp. Codes R. & Regs. tit. 18, § 421.8.


       145.   By contract, ACS has delegated the care of the City’s children in foster care to

agencies (“Contract Agencies”). ACS currently has entered into valid and enforceable contracts

with 29 Contract Agencies. The contracts into which ACS has entered with each of the Contract

Agencies (referred to herein as the “Agreements”) require the Contract Agencies to comply with

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all applicable ACS policies, as well as state and federal law. The Agreements also require the

Contract Agencies to provide comprehensive foster care services as defined in the Agreements.1

         146.     Regardless of the terms of the Agreements, by law, ACS at all times maintains

legal custody of and legal responsibility for all children in foster care in New York City.

However, ACS has failed and continues to fail to ensure the protection of Plaintiff Children’s

rights under federal and state constitutional and statutory law.

         147.     Children in New York City enter foster care in one of two ways—they can be

voluntarily placed into foster care by their parents,2 or they can be removed from their parents by

ACS. Most children in foster care in New York City have been removed from their parents.

When children are removed from their parents, the removal is either (a) pursuant to a Family

Court finding that the child is in danger of abuse or neglect if left with his or her parents or

(b) on an emergency basis, subject to a later finding by the Family Court that the child would

have been in danger of abuse or neglect if he or she had been left with his or her legal parents. In

both cases, the Family Court must hold a fact-finding hearing to determine whether the child was

in danger of being abused or neglected if left with his or her parents. After the fact-finding

hearing, the Family Court holds a disposition hearing to determine whether the child can safely

be returned home or should remain in foster care pending the completion of certain actions (e.g.,

treatment for drug or alcohol addiction, anger management classes, etc.).




     1
      Each Agreement between the Contract Agency and ACS is for a particular set of foster placement services.
Therefore, one Contract Agency may have multiple Agreements with ACS, each for a different type of placement.
Appendix A lists, to the best of our information and belief, the Agreements which were current as of November
2014 (see ¶ 119) and that are still in force today.
     2
       Unless otherwise specified, the term “parents” as used herein refers to the person(s) who have legal custody
or legal responsibility for the child prior to his or her entry into foster care, and may include biological parents,
grandparents, adoptive parents or other legal guardians.

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         148.     Once a child enters foster care, ACS “places” the child with a Contract Agency, to

which ACS delegates the day-to-day care of, and case planning responsibility for, the child.

Upon information and belief, placement with a Contract Agency is determined largely by which

Contract Agency has availability when placement is sought, not by a determination of the child’s

health, safety or permanency needs, or of the ability of a potential available placement to meet

those needs.

         149.     The Contract Agency with which the child has been placed then assigns the child

a foster placement, which can be either a traditional home-like setting or residential facility.3

Upon information and belief, foster placements are determined largely by availability at the time

the placement is sought, not by a determination of the child’s health, safety or permanency

needs, or of the ability of a potential available placement to meet those needs.

         150.     Once a child is placed with a Contract Agency, caseworkers employed by that

Contract Agency are responsible for generating and recommending a case plan for the child.

         151.     Pursuant to federal and state law, ACS is required to ensure that a case plan

meeting statutory criteria and professional standards is prepared for each child in foster care. In

New York, these case plans are referred to as Family Assessment and Service Plans (“FASP”).

Each child’s FASP must describe, among other things, the child’s physical and mental health

needs, the child’s permanency goal, the services necessary to meet the child’s physical and

mental needs as identified in the case plan and the services necessary to help the child achieve

his or her permanency goal as identified in the case plan.




     3
       Residential facilities include boarding homes, group homes, group residences, and institutions or residential
treatment facilities. Residential facilities are the most restrictive settings, usually intended for the placement of
older children with severe clinical, medical, mental and/or behavioral problems.

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        152.   Pursuant to state and federal law, ACS also is responsible for ensuring that each

child’s case plan is implemented, and for providing each child in its custody with the services

necessary to meet the child’s physical and mental needs as identified in the case plan and the

services necessary to help the child achieve his or her permanency goal as identified in the case

plan.

        153.   ACS delegates the preparation of such case plans and the provision of such

services to the Contract Agency with which the child has been placed. However, ACS fails to

ensure that the Contract Agencies prepare meaningful and appropriate FASPs for each child in

ACS custody, as required by state law. ACS also fails to ensure that the Contract Agencies

provide the services necessary to meet both the child’s physical and mental needs and to help the

child achieve his or her permanency goal (as identified in the case plan), as required by law.

        154.   Foster care is intended to be temporary—a short-term placement until a child can

be safely reunified with his or her parents or, where that is not possible, placed into another

stable, permanent home.

        155.   Accordingly, federal and state law require ACS to ensure that each child in foster

care has a “permanency goal” and that reasonable efforts are made to reach each child’s

established permanency goal within a reasonable period of time. There are five possible

permanency goals: (1) return to parent; (2) adoption; (3) legal guardianship or kinship

guardianship; (4) placement with a relative; and (5) another planned permanent living

arrangement (“APPLA”), the permanency goal given to children who will “age out” of the foster

care system.

        156.   ACS delegates case planning responsibility, including assigning permanency

goals and making reasonable efforts toward permanency goals, to the Contract Agency with


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which each child in ACS custody has been placed. However, ACS fails to ensure that the

Contract Agencies engage in meaningful and appropriate permanency planning, as required by

federal and state law.

       157.    Federal law requires ACS to ensure that caseworkers engage in concurrent

planning, so that each child in ACS custody has a primary permanency goal and a secondary

permanency goal, both of which the caseworker must work toward simultaneously. For

example, if a child’s primary permanency goal is “return to parent” and the secondary

permanency goal is “adoption”, concurrent planning requires simultaneous provision of

necessary services so that the child can be returned home safely and recruitment of potential

adoptive parents in the event the child is unable to be returned home safely. The purpose of

concurrent planning is to limit the harm caused to the child by a lengthy stay in foster care by

ensuring that the child is placed into a permanent home within a reasonable period of time.

       158.    ACS delegates case planning responsibility, including engaging in concurrent

planning, to the Contract Agency with which each child in ACS custody has been placed.

However, ACS fails to ensure that the Contract Agencies engage in meaningful and appropriate

concurrent planning, as required by federal law.

       159.    Federal and state law require ACS to ensure that a child’s case plan is periodically

reviewed to ensure that the child’s permanency goal is appropriate and that progress is being

made toward safely returning the child to his or her parent or, if that were not possible within a

reasonable period of time, placing the child in a permanent home. By state statute, an initial

FASP review must be held between 60 and 90 days after the child is placed in foster care, and

subsequent FASP reviews must be held no less than every six months thereafter. ACS must

ensure that the caseworker and all relevant persons, including, but not limited to, the parents of


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the child, relatives, the foster parent and the child, if old enough, participate in the FASP

reviews. However, ACS fails to ensure that meaningful and appropriate FASP reviews occur as

required by state law.

        160.    By state statute, a permanency hearing must be held in the Family Court within

eight months of a child’s removal from his or her parents and every six months thereafter, and

that permanency hearing must be completed within 30 days. The purpose of permanency

hearings is to provide each child in ACS custody with timely judicial review of the child’s

permanency goal and whether progress has been made toward achieving that goal.

        161.    Because ACS fails to ensure that all parties are prepared for court and that

Contract Agencies submit necessary paperwork in a timely fashion, such permanency hearings

often are not completed within the time period required by state law. In many if not most

instances, the permanency hearings are held before the Family Court has even made a

determination about whether the parent from whom the child was removed has in fact neglected

or abused the child.

        162.    Federal and state law provide that ACS must, after a child is removed from his or

her parents, make a reasonable effort to preserve family relationships, which includes providing

services to the child’s parents. Federal law and policy dictate that the preferred course of action

is to reunify the child with his or her parents.

        163.    ACS has delegated its responsibility to make reasonable efforts to reunify each

child in its custody with his or her parents to the Contract Agency with which the child has been

placed. However, ACS fails to ensure that reasonable efforts are being made or that necessary

services are being provided to enable children in ACS custody to be returned home within a

reasonable period of time, as required by federal and state law.


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        164.    Even while efforts are being made to reunify a child with his or her parents,

federal law and professional standards also require ACS to ensure that concurrent planning—i.e.,

to pursue another permanency option for the child in the event that the child cannot safely be

returned to his or her parents (see supra ¶ 157)—occurs. That means that ACS should not wait

months or years until reunification efforts have failed to begin alternative permanency planning,

including identifying other potential permanent homes for the child.

        165.    Federal and state law require ACS to determine within a reasonable period of time

whether or not a child in foster care can be safely and appropriately returned to his or her

parents, and if not, to initiate a petition to terminate parental rights so that the child is legally

available to be adopted. ACS has delegated the responsibility for making that determination to

the Contract Agency with which each child in ACS custody has been placed. However, ACS

fails to ensure that the Contract Agency makes that determination within a reasonable time, as

required by federal and state law.

        166.     Under federal and state law, ACS must file a petition to terminate parental rights

(“TPR”) when a child has been in foster care for 15 of the previous 22 months, subject to certain

exceptions that must be documented. Under state law, ACS must file a TPR petition (a) within

30 days of establishing a primary permanency goal of “adoption”; (b) within 60 days of

completing a FASP that documents abandonment or permanent neglect of a child; and (c) within

60 days of a judicial determination that a child was abandoned. ACS has delegated its

responsibility to file TPR petitions to the Contract Agency with which each child in its custody

has been placed. However, ACS fails to ensure that TPR petitions are filed within the time

periods required by federal and state law.




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        167.    Once parental rights have been terminated and a child in ACS custody is

considered “freed” for adoption, state statutory law and regulations require ACS to take a

number of additional steps to place that child into a permanent home, including (a) timely acting

on applications by persons looking to adopt children; (b) initiating and completing adoption

studies (evaluations of an applicant’s ability to be an adoptive parent) within certain time

periods; (c) placing children in adoptive homes within certain time periods; and (d) finalizing

adoptions within certain time periods. However, as the concept of concurrent planning (see

supra ¶ 157) makes clear, ACS should have been identifying other potential permanent homes

for the child well before the child is freed for adoption. ACS has delegated these responsibilities

to the Contract Agency with which each child in its custody has been placed; however, ACS fails

to ensure that the necessary and appropriate steps are taken to develop an appropriate pool of

adoptive families and to place children who have been freed for adoption into adoptive homes, as

required by state law.

        168.    Although ACS has delegated the provision of comprehensive foster care services

in New York City to 29 Contract Agencies, that delegation does not and cannot supplant ACS’s

responsibilities to Plaintiff Children under federal and state law. ACS has legal custody of all

children in foster care in New York City. ACS accordingly has legal responsibility for ensuring

that the rights of all children in foster care in New York City are protected—which ACS has

failed, and continues to fail, to do.




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         FACTUAL ALLEGATIONS REGARDING SYSTEMIC DEFICIENCIES
           PLAGUING NEW YORK CITY’S FOSTER CARE SYSTEM AND
                RESULTING HARM TO PLAINTIFF CHILDREN

       169.    The experiences and current situations of the Named Plaintiff Children as

described above are neither unusual nor aberrational. Rather, they are merely examples that are

far too typical of the irreparable harm being suffered by all children in ACS custody.

       170.    Defendants are harming Plaintiff Children by:


               a.     failing to protect Plaintiff Children from physical, psychological and

                      emotional harm;

               b.     failing to ensure the development and implementation of meaningful case

                      plans to enable Plaintiff Children to be safely returned to their parents or,

                      if that were not possible within a reasonable period of time, to place them

                      in permanent homes; and

               c.     failing to provide foster care placements and services to ensure Plaintiff

                      Children’s well-being.


       171.    These harms are a direct result of Defendants’ long-standing and well

documented actions and inactions and Defendants’ failure to remedy structural and systemic

deficiencies that have plagued New York City’s foster care system for years:


               a.     ACS fails to exercise adequate and meaningful oversight over the Contract

                      Agencies to which ACS has delegated the day-to-day care of, and case

                      planning responsibility for, Plaintiff Children.




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               b.      ACS fails to ensure that Contract Agency caseworkers are assigned

                       caseloads and receive appropriate training consistent with professional

                       standards.

               c.      ACS fails to provide a system for making foster placements consistent

                       with federal and state law and minimum professional standards.

               d.      ACS fails to ensure case and service plans are developed and implemented

                       consistent with federal and state law and minimum professional standards.

               e.      ACS fails to take all necessary and available action to ensure timely

                       adjudication of family court proceedings involving children in ACS

                       custody consistent with federal and state law and minimum professional

                       standards.


All of Defendants’ actions and inactions as described herein substantially depart from accepted

professional judgment and constitute deliberate indifference to the harm, risk of harm and

violations of legal rights suffered by Plaintiff Children.


       172.    Put simply, as a result of Defendants’ failures, caseworkers employed by the

Contract Agencies to which ACS has delegated the care of Plaintiff Children often are

inexperienced, undertrained, under-supervised, overworked and underpaid; case planning often is

sloppy and ineffective; there are not enough suitable and appropriate foster and pre-adoptive

placements to meet Plaintiff Children’s needs; and a lack of urgency and accountability pervades

New York City’s foster care system.

       173.    Defendants have long been aware of these systemic failures and the resulting

harm to the vulnerable children in ACS custody. Since 2000, OCFS has undergone two federal

performance audits of the New York State child welfare system, known as Child and Family
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Services Reviews (“CFSR”). These reviews are conducted by the United States Department of

Health and Human Services to assess the performance of child welfare systems across the

country, including the outcomes achieved for children, to identify areas in which systemic

improvement is required to assure appropriate outcomes for children, and to implement

corrective actions where outcomes for children are found to be deficient. States are evaluated on

seven outcome indicators of safety, permanency and well-being—the unequivocal goals of all

foster care systems pursuant to federal statutory law—and on seven systemic factors that affect

the state’s capacity to deliver foster care services effectively.

        174.    The two federal audits completed to date revealed myriad areas in which the New

York State foster care system was causing harm to the children in its care, and that New York

State’s foster care system was getting worse. The first CFSR audit, which was published in

2002, found that New York State failed to conform to federal expectations in five of the seven

safety, permanency and well-being indicators, and in three of the seven systemic factors. Seven

years later, New York State performed worse. During the second CFSR audit, which was

published in 2009, the federal government determined that New York State failed to conform to

federal expectations in all seven safety, permanency and well-being indicators, and in five of the

seven systemic factors. New York State’s CFSR results are heavily influenced by New York

City’s child welfare system, which accounted for well over 60% of children in foster care in New

York State in both 2002 and 2009.

        175.    Notwithstanding having had 13 years to improve performance since the first

CFSR audit of New York State, Defendants continue to place New York City children in ACS

custody at significant risk of harm. The most recent federal data available shows that children in




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     New York State spend longer in foster care and are more likely to be maltreated while in foster

     care than children in virtually all other states.

             176.    Defendants are not acting with sufficient urgency to address these known failures

     or to meet their legal obligations to protect the children in New York City’s foster care system.


I.           DEFENDANTS ARE CAUSING IRREPARABLE HARM TO CHILDREN IN ACS
             CUSTODY.

             A.      Defendants Fail To Protect Children in ACS Custody from Maltreatment.

             177.    Maltreatment of children in foster care is a significant problem in New York City.

             178.    New York City currently accounts for almost 60% of children in foster care in

     New York State, which lags far behind the nation with respect to the protection of children in

     foster care.

             179.    Based on the most recent federal data available, New York State ranks 46th out of

     48 states and territories for instances of substantiated or indicated maltreatment of children while

     in foster care. Put simply, children in New York are more likely to be harmed while under the

     state’s protection than children in virtually every other state.

             180.    New York State has had a high rate of maltreatment in foster care for years. In

     both the 2002 and 2009 CFSRs, the federal government found that New York State did not meet

     the national standard for the rate of maltreatment in foster care. Based on the most recent federal

     data available, New York State did not meet the national standard for 2013.

             181.    Upon information and belief, the high rate of maltreatment in care in New York

     State is largely driven by maltreatment of children in ACS custody in New York City, which

     accounts for the majority of children in foster care in New York State.

             182.    All investigations of maltreatment, including those pertaining to children in foster

     care custody, begin with a call to the Statewide Central Register of Child Abuse and
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Maltreatment (“SCR”). According to ACS, in 2014, SCR received 1,987 reports of maltreatment

of children in ACS custody (i.e., children in foster care in New York City). ACS’s Office of

Special Investigation investigates reports of maltreatment made to the SCR, including those for

children already in foster care; a report of maltreatment is “substantiated” when sufficient

evidence is found to support a determination that a child was in fact maltreated. Of the 1,987

reports of maltreatment in foster care received by SCR in 2014, 28% were substantiated. The

Children’s Bureau of the federal government does not publish comparable data.

          183.   The high rate of maltreatment of children in ACS custody is a direct result of

Defendants’ long-standing and well-documented actions and inactions and Defendants’ failure to

remedy structural and systemic deficiencies that have plagued New York City’s foster care

system for years. ACS’s failure to ensure that Plaintiff Children are protected from maltreatment

substantially departs from accepted professional judgment and demonstrates a deliberate

indifference to the risk of harm to Plaintiff Children.


          B.     Defendants Fail To Provide Children in ACS Custody with Permanent Homes and
                 Families Within a Reasonable Time.

          184.   Foster care is intended to be temporary. Children who do not grow up in stable

family environments are less likely to complete their education, to form healthy relationships or

to be otherwise prepared to live healthy, satisfying adult lives. Accordingly, federal and state

law and professional standards dictate that foster children should be placed in permanent homes

as quickly as is safely possible, whether with their parents, another relative or an adoptive

family.

          185.   But ACS allows Plaintiff Children to languish for years in foster care without

permanent homes or families to call their own. Indeed, the most recent federal data available

shows that New York City lags far behind the rest of New York State and the nation as a whole
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in placing children in foster care custody in permanent homes. As a result, children spend longer

in foster care custody in New York City than virtually everywhere else in the nation.


                  1.       Defendants Fail To Ensure Children Are Timely and Safely Reunified
                           with Their Parents.

         186.     Federal and state law provide that ACS must, in the first instance, make

reasonable efforts to preserve a child’s relationship with his or her family. After a child is

removed from home due to allegations of abuse or neglect, federal and state law and policy

dictate that the preferred course of action is to reunify the child with his or her parents.

Reunification, however, is only appropriate where the reason for removal has been addressed

through appropriate services to the family so that the child’s safety is assured. As a result, ACS

must ensure the provision of appropriate and effective services4 so that children in ACS custody

can safely return home.

         187.     ACS fails to ensure that children in ACS custody are safely returned to their

parents within a reasonable period of time.


                  a.       It takes longer to return children in foster care to their parents in New

                           York City than in the rest of New York State and the rest of the nation as a

                           whole. The most recent federal data available shows that children in New

                           York City had spent a median of over a year—12.6 months—in foster care

                           before being reunified with their parents, while children in the rest of New

                           York State spent a median of 10.8 months, and children in the rest of the

                           nation spent a median of 8.6 months in foster care prior to reunification.

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       Necessary reunification services, which should be established and set forth in the child’s case plan, may
include psychological evaluations and/or care, substance abuse treatment, parenting classes or assistance, or
assistance with accessing adequate housing.

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               b.      New York City takes longer to return children in foster care to their

                       parents than all but five other states and territories. Based on the most

                       recent available federal data comparing the median number of days

                       children spent in foster care prior to being returned to their parents, New

                       York City ranks 48th of 53 jurisdictions.


       188.    ACS also fails to ensure that children are safely returned to their parents.

Children who are eventually reunified with their legal parents too often re-enter foster care due

to further abuse or neglect. In 2014, 13.9% of foster care placements in New York City were of

children who had been in foster care within the previous three years. Failed reunifications cause

harm to children both as a result of additional maltreatment—in the worst cases, severe injury or

even death—and the trauma that accompanies repeated family separation.


                    2. Defendants Fail To Ensure a Timely Permanent Home for Children in
                       ACS Custody when Reunification Is Not Possible.

       189.    When a child cannot be returned safely to his or her parents, federal and state law

require ACS to promptly find children in its custody alternative permanent homes, typically

through adoption or kinship guardianship.

       190.    However, ACS fails to secure timely adoptions for too many children in its

custody who cannot safely be returned to their parents. Instead, these children languish in ACS

custody for years without a permanent home or family to call their own.


               a.      For children who cannot be safely returned to their parents, it takes longer

                       to be adopted in New York City than in the rest of New York State. It also

                       takes longer to be adopted in New York City than in every other state in

                       the nation.

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               b.      Children who were adopted in New York City in 2013 spent a median of

                       55.8 months—over 4.5 years—in foster care prior to adoption. In

                       contrast, children in the rest of New York State spent almost two years

                       less time—a median of 32.6 months—in foster care prior to being

                       adopted, and children in the rest of the nation spent less than half that

                       amount of time—a median of 26.9 months—in foster care prior to being

                       adopted.

               c.      Based on the most recent available federal data comparing the median

                       number of days children spent in foster care prior to being adopted, New

                       York City ranks dead last—a fact that has been true since at least 2007.


       191.    The City Defendants are well aware that it takes over 4.5 years for a child to be

adopted in New York City. The City has published that fact for the past five years in its Mayor’s

Management Reports.


                    3. Defendants’ Failure To Provide Children in ACS Custody Permanent
                       Homes Within a Reasonable Period of Time Causes Irreparable Harm.

       192.    Research has shown that permanent homes and families are critical to ensuring a

child’s healthy development and continue to confer benefits that contribute to the child’s success

throughout life. Being placed with a permanent family helps infants with brain development;

young children with self esteem, healthy attachment and behavior regulation; and adolescents

with independence and healthy boundary-setting. Parental support and a stable, familiar

environment also help children cope after traumatic experiences.

       193.    Conversely, research has shown that children suffer when they grow up in state

custody without the protective effects of a permanent home and family. Each year,


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approximately 1,000 young people “age out” of New York City’s foster care system, the vast

majority on their own with virtually no safety net. These children suffer irreparable harm.

Research has shown that children who “age out” of foster care are more likely than their peers to

be unemployed, homeless and incarcerated as adults; are more likely to have drug dependence

and post-traumatic stress disorder; and are less likely to have graduated high school, attended

college, or to have a savings or checking account.

       194.    Too frequently, caseworkers push children to accept the permanency goal of

APPLA—the goal given to children who will “age out” of the foster care system—at young ages,

often failing to explore other options, such as adoption or placement with a relative. ACS allows

too many children who cannot safely be returned home to be deemed “unadoptable” without

making reasonable efforts to search for or secure permanent homes for those children. ACS also

fails to explore alternative permanency options for older teens who may express that they do not

want to be adopted but who would nevertheless benefit from a permanent and stable adult

connection.

       195.    Defendants have long been aware of the harm children suffer when they do not

grow up in a permanent home or have a permanent family. In February 2011, Defendant OCFS

sent ACS and the Contract Agencies an informational letter stating that “children who have a

significant connection to an adult generally fare better” and that “[s]tudies of youth who leave

foster care without a safe, permanent family reveal consistently negative life outcomes.”

However, Defendants have made no meaningful efforts to improve permanency for Plaintiff

Children.

       196.    ACS’s failure to provide Plaintiff Children with permanent homes within a

reasonable period of time is a direct result of Defendants’ long-standing and well-documented


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actions and inactions and Defendants’ failure to remedy structural and systemic deficiencies that

have plagued New York City’s foster care system for years. ACS’s failure to ensure that

Plaintiff Children are placed in permanent homes within a reasonable period of time substantially

departs from accepted professional judgment and demonstrates a deliberate indifference to the

risk of harm to Plaintiff Children.


         C.       Defendants Fail To Provide Foster Placements and Services that Ensure the Well-
                  Being of Children in ACS Custody.

         197.     Federal and state law and professional standards require ACS to ensure foster care

services are provided in a manner that ensures the well-being of each child in ACS custody.

         198.     Federal and state law and professional standards require ACS to ensure that each

child in ACS custody is placed in the most appropriate, least restrictive placement available. The

abrupt and overwhelming change of being removed from his or her parents and placed into ACS

custody can further traumatize a child. In the process of initial placement, children are removed,

often abruptly, from familiar surroundings and lose everything known and comforting. Research

has shown that change of this magnitude has a detrimental effect on brain and neurological

function and other negative physiological effects.5 Accordingly, foster placements should be

based on an assessment of the individual child’s needs and should promote stability and

continuity by placing children with relatives, keeping children in their communities and schools,

and keeping siblings together whenever possible.




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       This is one reason why children, especially very young children, often regress in their development and
behaviors (e.g., toilet training, talking, etc.) after being removed from their parents. Separation from family, and the
resulting attachment disruption, may intensify these negative physiological effects and is particularly devastating for
younger children.

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       199.    Instead, ACS further harms Plaintiff Children by putting them in inappropriate

foster placements ill-equipped to meet their needs, which results in far too many children being

shuffled from foster placement to foster placement:


               a.      In December 2011, ACS published data stating that 14% of children then

                       in ACS custody had experienced more than six transfers while in foster

                       care; and additional 16% had been shuffled from between three and five

                       placements.

               b.      More recently, in July 2015, the Public Advocate published a report,

                       finding that 26% of the foster children surveyed had experienced five or

                       more transfers while in ACS custody.


       200.    Being shuffled from foster placement to foster placement negatively affects a

child’s well-being. Children may be dropped off at a new place with no explanation for where

they are going and why. This degree of turbulence can lead to emotional trauma and attachment

disorders, and causes children to lose all sense of stability and security. Frequent moves may

result in children losing contact with siblings, other family members, friends and adults in their

community who may have been involved in their lives.

       201.    Multiple placements can also cause educational interruptions and compromise the

child’s ability to finish school. Federal statutory law and reasonable professional standards

require ACS to make reasonable efforts to keep children in the same school whenever possible.

       202.    As a result, for too many children in ACS custody, moving foster placements

means changing schools, losing teachers and friends. In 2009, Children’s Rights, a national

advocacy organization for abused and neglected children, ACS and the Legal Aid Society

Juvenile Rights Practice conducted a study of children in New York City’s foster care system
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(referred to herein as “The Long Road Home Study”).6 The Long Road Home Study found that

30% of children studied had experienced at least one school transfer within the past year and that

children who had experienced more than one placement move in a one-year period were

significantly more likely to have experienced a school transfer as well.

         203.    The failure to provide educational stability—like the failure to provide placement

stability—further damages children in ACS custody. School is often the one place where

children who are being abused or neglected at home feel safe, so changing schools can be

traumatic. Research has also shown that children in foster care have lower standardized test

scores, poorer academic performance and higher rates of grade retention, absenteeism, tardiness,

truancy and dropout than their peers. According to data from the New York City Department of

Education, foster youth in 8th grade score significantly lower than their peers in English and

math.

         204.    Federal and state law also require ACS to ensure that all children in its legal

custody receive the necessary services to ensure their well-being. This includes adequate

medical, dental and mental health assessments and follow-up care; educational assessments and

services; independent living services; substance abuse treatment; or family planning services, as

needed.

         205.    However, ACS fails to ensure that all children in its custody are provided with

these essential services to ensure their well-being:


                 a.      New York City fails to meet the national standard for providing adequate

                         medical, dental and mental health care. In the 2009 CFSR, for example,


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       The results of this study were published in a November 2009 report entitled “The Long Road Home: A Study
of Children Stranded in New York City Foster Care”.

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                      the federal government determined that only 73% of children in New York

                      City received adequate services to meet their physical and mental health

                      needs—well below the national benchmark of 95%.

               b.     The Long Road Home Study found that ACS failed to ensure the provision

                      of necessary mental health services for a substantial number of children in

                      its custody—16% of children studied who needed a mental health

                      assessment, 19% of children studied who needed individual therapy and

                      11% of children studied who needed psychotropic medication had not

                      received those critical mental health services within the past year. The

                      study also found that many children who needed the B2H Medicaid

                      waiver program did not receive it because caseworkers failed to make

                      timely referrals or because there were not enough slots in the program.


       206.    These services are critical to the well-being of children in ACS custody, who are

particularly vulnerable to irreparable physical, psychological and emotional damage from ACS’s

failure to provide necessary services. Children in foster care custody often have experienced

severe and chronic trauma, including physical or sexual abuse, neglect and domestic or

community violence, as well as other stressors such as extreme poverty or parental substance

abuse. Research has shown that children exposed to repeated traumatic stress or pervasive

neglect, including children removed from their home due to abuse or neglect, manifest increased

physical, psychological and emotional problems later in life. Being placed in and left to languish

in foster care without a permanent home or family further compounds these problems.

       207.    According to the National Child Traumatic Stress Network, exposure to trauma

derails development in children of all ages. Young children (five and younger) may experience

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sensitivity to noise, avoidance of contact, heightened startle response, confusion about what is

dangerous and who to go to for protection, and fear of being separated from familiar people and

places. School-aged children (ages six to 12) may exhibit emotional swings, learning problems,

specific anxieties and fears, attention seeking behavior and reversion to younger behaviors.

Adolescents (13 to 21) may have difficulty imagining or planning for the future, over- or under-

estimate danger, display inappropriate aggression, and engage in reckless and/or self-destructive

behaviors.

       208.    Accordingly, it is critical that all children in ACS custody are properly assessed

and receive necessary services as soon as possible to facilitate their recovery from the trauma

they already have experienced. However, ACS fails to ensure that all children in its custody are

provided with these critical services within a reasonable period of time.

       209.    ACS also fails to ensure that the quality of services being provided to Plaintiff

Children is consistent with professional standards. Upon information and belief, many Contract

Agencies do not directly provide services; instead, they refer foster children to other service

providers with which the City contracts. However, upon information and belief, the City

Defendants do not exercise adequate and meaningful oversight over these service providers.

Upon information and belief, most mental health services provided to children in ACS custody

are ineffective and of poor quality, but ACS continues to renew contracts with these substandard

service providers while the few quality service providers have lengthy waiting lists.

       210.    ACS’s failure to provide Plaintiff Children with appropriate foster care

placements consistent with professional standards and services to ensure their physical,

psychological and emotional well-being is a direct result of Defendants’ long-standing and well-

documented actions and inactions and Defendants’ failure to remedy structural and systemic


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deficiencies that have plagued New York City’s foster care system for years. These failures

substantially depart from accepted professional judgment and demonstrate a deliberate

indifference to the risk of harm to Plaintiff Children.


 II.   DEFENDANTS HAVE FAILED TO REMEDY THE SYSTEMIC DEFICIENCIES
       PLAGUING NEW YORK CITY’S CHILD WELFARE SYSTEM

       211.    The harms described in ¶¶ 177–210 are a direct result of Defendants’ long-

standing and well-documented actions and inactions and Defendants’ failure to remedy structural

and systemic deficiencies that have plagued New York City’s foster care system for years,

including:


               a.      the City Defendants’ failure to exercise adequate and meaningful

                       oversight over the Contract Agencies to which ACS has delegated the day-

                       to-day care of, and case planning responsibility for, Plaintiff Children to

                       ensure foster care services are provided consistent with federal and state

                       law and minimum professional standards;

               b.      ACS’s failure to ensure that Contract Agency caseworkers are assigned

                       caseloads and receive appropriate training consistent with professional

                       standards;

               c.      ACS’s failure to provide a system for making foster placements consistent

                       with federal and state law and minimum professional standards;

               d.      ACS’s failure to ensure case and service plans are developed and

                       implemented consistent with federal and state law and minimum

                       professional standards; and




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               e.      ACS’s failure to take all necessary and available action to ensure timely

                       adjudication of family court proceedings involving children in ACS

                       custody consistent with federal and state law and minimum professional

                       standards.


These failures substantially depart from accepted professional judgment and demonstrate a

deliberate indifference to the harm, risk of harm and violations of rights suffered by Plaintiff

Children.

       A.      City Defendants Fail To Exercise Adequate and Meaningful Oversight over
               Contract Agencies.

       212.    By contract, ACS delegates its responsibility to provide children in its custody

with foster care services to Contract Agencies. However, ACS at all times maintains legal

custody of and legal responsibility for all children in foster care in New York City. ACS thus

has an obligation to Plaintiff Children to ensure that Contract Agencies are providing foster care

services consistent with all applicable law and professional standards. ACS fails to do so.

       213.    Instead, ACS does not meaningfully supervise Contract Agencies or hold them

accountable for underperformance. As a result, ACS shirks its legal obligations to Plaintiff

Children while the City pays millions of dollars to Contract Agencies for the provision of foster

care services without ensuring that those services are adequately provided to Plaintiff Children.

       214.    Under the Agreements, ACS is expressly required to supervise, monitor, audit and

review the activities of the Contract Agencies. Currently, ACS conducts an annual evaluation,

called “Scorecard”, of each Contract Agency to evaluate process, practice and outcome

indicators in safety, permanency and well-being. According to ACS’s 2014 Scorecard

Methodology, the Scorecard evaluation involves reviewing a combination of case-specific and



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aggregate data. Each Contract Agency then receives a letter grade (from A to F) indicating its

performance for safety, for permanency and for well-being.

       215.     The Scorecard evaluations are flawed and ineffective for at least the following

reasons:


                a.     ACS fails to measure several key performance metrics. For example,

                       ACS has failed to develop Scorecard measures to evaluate whether

                       Contract Agencies are successfully engaging in concurrent planning and

                       whether Contract Agencies are making efforts to recruit non-kinship foster

                       parents and adoptive parents.

                b.     Upon information and belief, the results of the Scorecard evaluations do

                       not accurately reflect each Contract Agency’s performance in providing

                       foster care services to children in ACS custody.

                c.     ACS’s performance standards are simply too low—upon information and

                       belief, the majority of Contract Agencies receive “passing” grades even

                       though New York City has one of the worst foster care systems in the

                       nation.


       216.     ACS also fails to hold Contract Agencies accountable for underperformance on

the Scorecard evaluations. According to ACS’s 2014 Scorecard Methodology, ACS’s Agency

Program Assistance team (“APA”) analyzes the Scorecard data to identify areas of strength and

weakness for each Contract Agency and works collaboratively with each Contract Agency and

with ACS to improve performance. APA sets benchmarks throughout the year for each Contract

Agency; however these benchmarks are relative and set by taking into account the Contract

Agency’s current performance, ACS standards and system-wide performance.
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       217.    When performance is “considerably or persistently poor”, APA can use

“accountability mechanisms” in order to drive performance. However, ACS does not adequately

use its accountability mechanisms to ensure appropriate performance of the Contract Agencies.

ACS’s failure to make Scorecard data publicly available further decreases accountability.

       218.    As a direct result of ACS’s failure to meaningfully oversee the Contract Agencies,

Plaintiff Children suffer irreparable harm because there simply are no consequences for the

failure to protect them from physical, psychological and emotional harm; the failure to enable

them to be safely returned to their parents or, if that were not possible within a reasonable period

of time, to place them in permanent homes; and the failure to provide them with appropriate

foster placements and necessary services to ensure their well-being.


       B.      Defendants Fail To Ensure an Adequately Staffed and Appropriately Trained
               Child Welfare Workforce.

       219.    No foster care system can effectively perform its basic functions absent a well-

trained, experienced and adequately staffed workforce. In New York City, ACS has delegated

its obligation to care for the children in state custody to Contract Agencies, who in turn employ

the caseworkers that directly interact with children in foster care and their families. However,

ACS fails to ensure that these caseworkers are adequately trained, supervised and staffed,

consistent with professional standards.


                   1. Defendants Fail To Ensure Caseworkers Are Adequately Trained and
                      Supervised.

       220.    Caseworkers must be fluent in governing policy and procedure and familiar with

current best practices. Consistent with professional standards, a foster care system should

require pre-service training, which must be completed before caseworkers can carry an active

caseload, and mandatory annual in-service training designed to refresh caseworkers in basic

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policy and procedure and to teach advances in policy and in the field. In addition, it is critical to

ensure appropriate supervision.

       221.    ACS fails to ensure that Contract Agency caseworkers receive adequate training

or supervision. In 2009, the Long Road Home Study, which was performed in conjunction with

ACS, found that a substantial proportion of caseworkers had not received any training before

being given responsibility for a caseload of foster children. That same study also found that the

quality of caseworker supervision at Contract Agencies was questionable.


                   2. Caseworkers Carry Unmanageable Caseloads.

       222.    Child welfare research has shown that high caseworker caseloads negatively

impact children in foster care. Caseworkers with high caseloads have less time to interact with

children, families and service providers and provide meaningful and appropriate case plans,

necessary services, and timely casework and decision-making. It is therefore critical that

caseworkers have manageable caseloads.

       223.    However, in New York City, ACS fails to ensure that all Contract Agency

caseworkers carry caseloads consistent with professional standards.

       224.    The Child Welfare League of America (“CWLA”), a coalition of private and

public agencies that develops child welfare policies and promotes sound child welfare practice,

has established nationally recognized standards for caseworker caseloads. The standards

governing foster care caseworkers limit caseloads to between 12 and 15 children per worker.

The Council on Accreditation (“COA”), an accrediting body that partners with human service

organizations to improve child welfare service delivery outcomes, recommends that caseloads

for foster care caseworkers be limited to between eight and 15 children per worker, depending on

the needs of the children.

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       225.    Upon information and belief, ACS fails to ensure that Contract Agencies comply

with these caseload standards, and many caseworkers’ caseloads in New York City exceed this

standard by a wide margin. The Long Road Home Study found that caseworker caseloads

exceed recommended sizes. Similarly, at a briefing in January 2013, a member of ACS’s senior

management under the previous administration stated that caseloads could range from 16 to 24

children, noting that this was far too high.

       226.    Excessive caseloads overburden caseworkers and prevent them from performing

casework consistent with federal and state law and professional standards.

       227.    High caseloads also contribute to burnout and turnover among caseworkers.

Research has shown that Contract Agency caseworker turnover is associated with children

experiencing multiple placements, receiving fewer services, staying in foster care longer and

failing to achieve permanency. When a case changes hands from caseworker to caseworker,

relationships are severed and valuable information is lost. ACS does not publish system-wide

data regarding foster care caseworker turnover; upon information and belief, ACS does not

collect such data. In 2006, the Council of Family and Child Caring Agencies reported Contract

Agency caseworker turnover rates of 40%. In 2009, the Long Road Home Study reported that

caseworker turnover is a major barrier to permanency. Upon information and belief, high foster

care caseworker turnover rates persist.


                   3. Defendants Fail To Ensure Regular Caseworker Visits To Children in
                      Foster Homes or Congregate Care.

       228.    Caseworkers must have regular face-to-face contact with children in foster care,

parents, and foster parents or child care workers. The primary purpose of these contacts is to

ensure the safety and well-being of the children, to engage families in planning for their children,

to assess the strengths and needs of all family members and caregivers, and to address the needs
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of all family members and caregivers in order to move children out of foster care and into

permanent homes.

       229.     COA recommends that caseworkers meet separately with children, parents and

foster parents at least once a month. ACS policy requires a minimum of monthly contact

between caseworkers and children in foster care.

       230.     However, ACS fails to ensure that caseworkers are making sufficient contacts

with children, parents and foster parents to ensure the safety and well-being of children in ACS

custody. The Long Road Home Study, which was prepared in conjunction with ACS in 2009,

found that caseworkers did not maintain adequate contact with children, parents and foster

parents.

       231.     Moreover, upon information and belief, ACS fails to ensure that Contract

Agencies make unannounced visits to ensure that children in ACS custody are protected from

maltreatment. Upon information and belief, ACS also fails to ensure that visits with children

take place privately and out of the presence of the child’s caretaker.

       232.     ACS’s failure to ensure that Contract Agency caseworkers maintain contact with

key persons to ensure the safety and well-being of children in its care substantially departs from

reasonable professional standards and demonstrates a deliberate indifference to the risk of harm

to Plaintiff Children.

       233.     As a direct result of ACS’s failure to ensure that caseworkers maintain regular

contact with children, parents and foster parents, Plaintiff Children frequently suffer harm

because their assigned caseworkers are unable to meaningfully assess the child’s safety and well-

being and to provide necessary services to place the child into a permanent home. ACS’s failure

to ensure that Contract Agency caseworkers make sufficient contacts with the children in ACS


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custody substantially departs from accepted professional judgment and demonstrates a deliberate

indifference to the risk of harm to Plaintiff Children.


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       234.    As a direct result of Defendants’ failure to ensure that the first point of contact for

all Plaintiff Children—the Contract Agency caseworkers—are trained, supervised, staffed and

performing visits consistent with professional standards, Plaintiff Children frequently suffer

harm because their assigned caseworkers are ill-prepared to make the judgments necessary to

promote their safety, permanency and well-being, unable to meaningfully address their complex

and varied needs and unable to meaningfully assess the child’s safety and well-being or provide

necessary services. ACS’s failures as described above substantially depart from accepted

professional judgment and demonstrate a deliberate indifference to the harm, risk of harm and

violations of legal rights suffered by Plaintiff Children.


       C.      Defendants’ Processes for Making Foster Placements in New York City Are
               Deficient.

       235.    When ACS removes a child from his or her parents, ACS is obligated to provide a

safe temporary home for that child until he or she is discharged from foster care. Federal and

state law require ACS to ensure that each child in ACS custody is placed in the most appropriate,

least restrictive placement available. Professional standards dictate that foster placements be

based on an assessment of the individual child’s needs and promote stability and continuity by

placing children with relatives, keeping children in their communities and schools, and keeping

siblings together whenever possible.

       236.    In order to meet the needs of a large and diverse foster care population, ACS must

ensure the recruitment and maintenance of a sufficient number of homes to accommodate the


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number of children currently in custody and additional children as they enter the system on an

ongoing basis. In addition, a sufficient array of placement types must be available to meet

children’s needs. The types of placements will range from “basic” foster homes that provide

ordinary parental care to children without heightened therapeutic needs, to more “therapeutic”,

“intensive” or “specialized” foster homes that receive additional training and support for the care

of more high-needs children, to more highly structured or “restrictive” group homes and

residential programs suitable for children who cannot yet thrive in a family setting. In addition,

placements may vary in terms of their likelihood to develop into permanent or adoptive homes if

the child cannot safely be returned to his parents.

       237.    Placement in a stable and appropriate foster home can be critical to a child’s

chances of securing a permanent home because a child who cannot safely be returned to his

parent is most likely to be adopted by kin or a foster parent.

       238.    However, ACS fails to ensure that Contract Agencies recruit and retain an

adequate number and variety of placements to meet Plaintiff Children’s needs. In particular,

ACS fails to ensure that a sufficient number of pre-adoptive homes are recruited and retained,

particularly for children who cannot safely be returned to their parents but who are “hard to

place” into adoptive homes, such as adolescents, children with health or behavioral problems and

large sibling groups.

       239.    Pursuant to the Agreements, the City pays each Contract Agency per diem

payments for every day a child is in foster care, thus incentivizing Contract Agencies to keep

children in care longer. As a result, Contract Agencies may not pursue adoptive resources with

urgency or offer sufficient resources for persons who are interested in adopting foster children.

Upon information and belief, Contract Agencies often tell individuals interested in adoption that


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they are “in the business of fostering, not adoption”—even though ACS has delegated to them

both the care of children who safely can be returned to their parents and the care of children in

need of adoption and waiting desperately for a permanent home and family to call their own.

       240.    The City and State Defendants have long been aware of, and have failed to fix,

this systemic failure. Indeed, Defendant Carrión recently admitted that ACS “really need[s] to

do a better job of publicizing . . . we need to do more to get the message out that these children

are waiting and that they need adoptive homes.” However, the City Defendants have recently

taken actions that will make these problems worse—by defunding the only two voluntary service

providers whose sole mission was to find adoptive homes for older and “hard to place” children

in foster care. During a March 2015 City Council meeting, Commissioner Carrión stated that the

defunding of these two agencies “wasn’t a great loss”.

       241.    ACS also lacks an effective system for appropriately matching Plaintiff Children

with the most appropriate foster placement to meet their needs. Upon information and belief,

ACS does not assess a child’s safety, health or permanency needs prior to placing the child with

a Contract Agency. Instead, ACS makes a blind placement decision based on which Contract

Agency has availability at the time the placement is sought. Upon information and belief, the

Contract Agency does not assess a child’s safety, health or permanency needs prior to placing the

child into a foster placement. Instead, the Contract Agency makes the determination based on

which foster placement has availability at the time the placement is sought.

       242.    Put simply, ACS fails to ensure that the children in its custody who cannot, or

who are least likely to, return home safely are placed in pre-adoptive foster placements that are

more likely to turn into permanent adoptive homes. Instead, ACS places the child with whatever

Contract Agency has availability at the time the placement is sought.


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       243.    Moreover, ACS also fails to ensure that children who are unlikely to be safely

returned to their parents and who will not be adopted by kin or their current foster parent are

quickly placed with Contract Agencies capable of individually recruiting adoptive parents.

       244.    As a direct result of these failures, Plaintiff Children frequently are harmed

because they are not placed in the best foster home to meet their safety and permanency needs.

ACS’s failure to recruit and retain a sufficient number of foster homes and to match children in

its custody with foster placements that meet their needs substantially departs from accepted

professional judgment and demonstrates a deliberate indifference to the harm, risk of harm and

violations of rights suffered by Plaintiff Children.


       D.      ACS Fails To Ensure that Meaningful Case Plans and Service Plans for Foster
               Children Are Developed and Implemented.

       245.    Federal and state law require caseworkers to establish a permanency goal and to

develop a strategic plan for achieving that goal. This includes establishing a permanency goal,

engaging in concurrent planning, developing and implementing service plans to promote

reunification, and recruiting and securing an alternative permanent home for children who cannot

be safely returned home.

       246.    According to OCFS’s own standards, caseworkers in New York State should

establish a child’s permanency goal within 30 days of the child entering the foster care system.

However, by OCFS’s own measure, nearly one-third of children entering foster care for the first

time do not have a documented permanency goal within 90 days of admission.

       247.    Federal and state law and policy require caseworkers in New York City to

conduct concurrent permanency planning as soon as a child is taken into foster care, so that there

is a primary permanency plan and a secondary permanency plan that caseworkers pursue

simultaneously. ACS fails to ensure that concurrent planning occurs. Upon information and
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belief, caseworkers do not begin to engage in non-reunification permanency planning until long

after it becomes clear that the child’s parents will not be able to safely care for the child.

       248.    As a direct result of these systemic deficiencies, New York City’s foster children

stay in the system for far too long. This is no secret to ACS. ACS has been aware of rampant

case planning deficiencies in New York City for years.


               a.      In the 2002 and 2009 CFSRs, the federal government concluded that

                       appropriate permanency goals were not established in a timely manner for

                       children in foster care in New York State.

               b.      Similarly, the Long Road Home Study, which was prepared in conjunction

                       with ACS in 2009, found that children in ACS custody spent a long time

                       in foster care before their permanency goal was changed to adoption,

                       alternative permanency options were not adequately explored and

                       concurrent planning was not sufficiently documented.


       249.    As a direct result of Defendants’ failures (as described in this section) to ensure

the provision of meaningful and appropriate case plans, Plaintiff Children frequently grow up in

ACS custody without a permanent home or family to call their own. ACS’s failure to ensure that

meaningful and appropriate case planning occurs substantially departs from accepted

professional judgment and demonstrates a deliberate indifference to the harms, risk of harms,

and violations of legal rights being suffered by Plaintiff Children.


                    1. ACS Fails To Ensure Services Are Provided To Sustain Family Ties and
                       Support Reunification When It Is Safely Possible.

       250.    After a child is removed from home due to abuse or neglect, federal and state law

and policy dictate that the preferred course of action is to reunify the child with his or her

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parents. Reunification, however, is only appropriate where the reason for removal has been

addressed through appropriate services to the family so that the child’s safety is assured.

However, ACS fails to ensure the provision of meaningful case planning and effective services

to support reunification:


               a.      ACS often fails to ensure that Contract Agencies involve parents in case

                       planning and service planning for their children. In the 2009 CFSR, the

                       federal government found that ACS had adequately assured family

                       involvement in case and services planning in only 45% of cases—well

                       below the national standard of 95%.

               b.      ACS fails to ensure that the reunification services required are adequately

                       tailored to ensure that the child in ACS custody can safely be returned

                       home. Often the services Contract Agencies require and refer parents to

                       do not correspond to the conduct that led to the removal of the child from

                       the home in the first place. For example, most parents are required to

                       attend standardized anger management or parenting classes even though

                       neither of those classes offer the particularized support that a parent may

                       need. Upon information and belief, Contract Agencies do not evaluate

                       services to determine if services better suited to a parent’s needs are

                       available or, if they do, it is not until after the parent has completed

                       standardized classes. Upon information and belief, Family Court judges

                       are often reluctant to return children to their parents where the issue giving

                       rise to the initial removal has not been addressed.




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     c.    ACS fails to ensure that required services are evidence-based and

           represent recent innovations in the field. For example, required mental

           health services often do not incorporate trauma-based practice or cognitive

           behavioral therapy.

     d.    ACS fails to ensure that required services accomplish the purpose they

           purport to—ensuring children in ACS custody can be returned home

           within a reasonable period of time. Upon information and belief, neither

           ACS nor the Contract Agencies perform regular evaluations of what

           services correspond to successful reunifications.

     e.    ACS fails to ensure efficiency and coordination among multiple service

           providers, fails to ensure that required services are not duplicative of one

           another and fails to consider whether it is logistically possible for parents

           to comply with service plans (while also potentially searching for housing

           or employment, or working)—all of which delays children in foster care

           being returned to their parents.

     f.    ACS fails to ensure services are available to parents so that children in

           ACS custody can be returned home within a reasonable period of time.

           Contract Agencies frequently require parents to take a certain action or to

           obtain a certain service so that the child in foster care can return home, but

           that same parent is not provided with critical assistance in taking that

           action or obtaining that service. For example, many parents are required

           to obtain permanent housing before their children in ACS custody can be

           returned. However, ACS fails to provide assistance with completing


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                        applications for public housing or expediting those applications. When

                        mental health services are required, parents find they have no access to

                        mental health services in their community or are unable to afford the

                        appropriate services.

                g.      ACS also fails to ensure alternative services are available to parents so that

                        children in ACS custody can be returned home within a reasonable period

                        of time. Upon information and belief, if suitable group classes do not

                        exist, Contract Agencies do not seek out alternative arrangements, such as

                        therapy or counseling, to meet a parent’s needs more quickly.


        251.    ACS’s failure to ensure that reunification services are appropriately tailored,

effective and sufficiently available prevents or delays reunification, even though many parents

could resume custody of their children if the proper services were provided consistent with

federal and state law and professional standards.

        252.    These systemic failures have long been known to ACS. In 2003, the New York

City Child Welfare Advisory Panel noted that ACS failed to ensure that parents knew how to get

information about services or other issues, or whether or not someone from ACS or the Contract

Agency was responsible for ensuring the service plan would be carried out and that services

would be provided. The Long Road Home Study, which was conducted in 2009 in conjunction

with ACS, found that substantial numbers of parents did not receive necessary reunification

services due to both parents’ lack of participation and casework failures.

        253.    ACS has failed to address these problems and children in ACS custody have

suffered as a direct result.




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                   2. ACS Fails To Ensure Timely Adoptions.

       254.    When a child has been in foster care for 15 of the last 22 months, federal and state

law require ACS to file a petition to terminate parental rights unless certain compelling

circumstances exist and are documented. ACS has delegated its responsibility to timely file TPR

petitions to the Contract Agencies. However, ACS fails to ensure that TPR petitions are timely

filed consistent with federal and state law.

       255.    Defendants are well aware of this failure. In December 2011, ACS reported that

New York City was failing to meet federal and state law standards for the overwhelming

majority of children in ACS custody. For FY 2010—the most recent 12-month period for which

this data is available—ACS reported that 94.9% of children who had been in ACS custody for

the past 18 months did not have a TPR petition filed.

       256.    ACS’s failure to file TPR petitions in accordance with the time periods set by

federal and state law is not a new problem. In the 2002 CFSR, the federal government reported

that in New York State, caseworker turnover, staffing shortages, transfer of cases and

caseworkers’ lack of familiarity with cases slowed down the TPR process. In the 2002 CFSR

Report, the federal government also reported that delays in Family Court, including “lengthy

adjournments”, “w[ere] seen as the greatest barrier” to the timely termination of parental rights.

In the 2009 CFSR, the federal government concluded that New York State met federal

requirements regarding timely termination of parental rights in only 62% of cases reviewed—far

less than the 90% required to meet the national standard—and was not consistent in documenting

compelling reasons when a termination of parental rights petition was not filed. Upon

information and belief, the CFSR results for New York State are heavily influenced by New

York City’s child welfare system, which accounted for over 60% of children in foster care in

New York State in both 2002 and 2009.
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       257.    Once both parents’ rights have been either voluntarily surrendered or terminated,

a child is considered “freed” or legally available to be adopted into a permanent home and

family. New York State regulations require that a child be freed for adoption within 12 months

of his or her permanency goal changing to adoption.

       258.    However, ACS fails to ensure that children in its custody are freed for adoption

within a reasonable time period. In New York City, it takes longer for a child in foster care to be

freed for adoption than anywhere else in the country. Based on the most recent federal data

available, it takes nearly two times longer to be freed for adoption in New York City than in the

rest of New York State (42.2 months versus 22.1 months), and 2.5 times longer to be freed for

adoption in New York City than in the rest of the nation (42.2 months versus 16.8 months).

       259.    ACS also fails to act on applications from potential adoptive families within the

time periods set by state law.

       260.    When a foster parent or other person wants to adopt a child in foster care in New

York City, he or she must submit an application. By state law, an adoption application must be

acted upon within six months and such action must be sufficiently documented.

       261.    Then a potential adoptive parent must undergo an adoption study during which his

or her fitness to be an adoptive parent is assessed. Completion of adoption studies are subject to

strict timelines under state law. Priority for completion of an adoption study is determined by

the characteristics of the child that the applicant seeks to adopt. Those who seek to adopt

children with the age, racial and other characteristics of the highest proportion of children

waiting to be adopted are given first priority. Second priority is given to those who seek to adopt

photo-listed children. All other applicants are given third priority. For applicants with first

priority, an adoption study should be offered within 30 days. An adoption study must be


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completed within four months of initiation, subject to appropriate documentation of an

exception.

       262.     When a foster parent applies to adopt a child, the adoption study must be

completed within two months of application when the child is legally free for adoption or within

four months of application when the child is not legally free for adoption.

       263.     Pursuant to state law, ACS must place a child who has been legally freed for

adoption in an adoptive home within six months, or document an appropriate exception. State

law also requires that adoptions be finalized within 12 months of the child placement in an

adoptive home.

       264.     Upon information and belief, ACS fails to ensure that Contract Agencies comply

with the timelines set by state law for conducting adoption studies and acting on adoption

applications.

       265.     Upon information and belief, ACS fails to ensure that applications to become an

adoptive parent are acted upon within six months as required by state law.

       266.     Upon information and belief, ACS fails to ensure that Contract Agencies offer to

complete adoption studies within six months.

       267.     Upon information and belief, ACS fails to ensure that Contract Agencies offer to

initiate adoption studies for those with first priority within 30 days.

       268.     Upon information and belief, ACS fails to ensure that Contract Agencies

complete adoption studies within four months of beginning the study or that an exception is

appropriately documented.




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         269.    Upon information and belief, ACS fails to ensure that Contract Agencies

complete adoption studies within two months of an application by a foster parent to adopt a child

who is legally freed for adoption.

         270.    Upon information and belief, ACS fails to ensure that Contract Agencies

complete adoption studies within four months of an application by a foster parent to adopt a child

who is not legally freed for adoption.

         271.    Upon information and belief, ACS fails to ensure that Contract Agencies place

children who have been legally freed for adoption into adoptive homes within six months, or that

an exception is appropriately documented.

         272.    ACS fails to ensure that children in its custody have finalized adoptions within 12

months of the child being placed in an adoptive home, as required by state law. In September

2012, ACS reported that 72% of children did not have finalized adoptions within 12 months of

being placed in an adoptive home.7

         273.    Defendants’ failures to ensure that Contract Agencies process adoption

applications, conduct adoption studies, place children in adoptive homes and finalize adoptions

within the time periods set by state law further delays providing these children in ACS custody—

who likely have already been in foster care for many months or even years—with a permanent

home and family.




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       517 of the 1,825 children (28%) in adoptive placements on March 31, 2011 were adopted within 12 months
of being adoptively placed.

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       E.      Defendants Fail To Ensure Timely Adjudication of Family Court Proceedings
               Involving Children in Foster Care.

       274.    Defendants’ failure to ensure that Family Court proceedings are adjudicated in a

timely fashion consistent with state law contributes significantly to the length of time New York

City children spend in foster care without permanent homes and families.

       275.    State law requires that a child who is placed into foster care have a permanency

hearing within eight months of being placed into foster care and every six months thereafter.

That hearing must be completed within 30 days. The purpose of permanency hearings is to

monitor the child’s safety and well-being, the family’s progress, and efforts to return the child

home or to find the child another permanent home. Upon information and belief, Defendants fail

to ensure that all children in ACS custody receive timely permanency hearings as required by

state law.

       276.    The Long Road Home Study, which was prepared in 2009 in conjunction with

ACS, detailed the following findings with respect to delays in Family Court proceedings

involving children in ACS custody:


               a.      The length of time between a child’s entry into foster care and the Family

                       Court’s completion of the fact-finding and disposition hearings was

                       extremely long for many children;

               b.      Many children in ACS custody do not receive timely permanency hearings

                       as required by state law;

               c.      The most common reasons for permanency hearing delays were that the

                       Contract Agency had not submitted the permanency hearing report on

                       time, that the Family Court did not have sufficient time for the hearing,

                       that Contract Agency caseworkers were not present, that the permanency
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                      hearing report did not sufficiently address the issues in the case, and that

                      ACS caseworkers were not present; and

               d.     Termination of parental rights proceedings were extremely delayed for

                      most children.


Additionally, the study noted that the number of adjournments and the length of time between

adjournments of all types of Family Court proceedings contribute to children’s lengthy stays in

foster care in New York City. The published study stated:

               “[T]he Court gives ACS and the [Contract Agencies] many
               chances (and multiple hearing adjournments) to present evidence
               and provide necessary services to parents, even after they have
               been slow and negligent in doing so.”

Finally, the study found that a lack of accountability in Family Court proceedings contributes to

delays in placing children in ACS custody into permanent homes and families, stating:

               “The Court’s decision-making is hampered by poor-quality
               casework by ACS and the [Contract Agencies]. The Court
               depends on ACS and the [Contract Agencies] to provide
               appropriate services to children and families and to inform the
               Court’s decision-making through assessments of the children’s
               progress toward permanency . . . [J]udges and referees expressed
               frustration with the quality of the agencies’ case practices – and the
               fact that many caseworkers seem to see their role as only
               documenting parents’ attendance at services rather than providing
               the Court with clinical assessments of parents’ progress. In
               addition . . . the parties infrequently make applications or motions
               to the Court for relief to address pressing issues and try to move
               cases forward.”

       277.    In 2010, the New York County Lawyers’ Association Task Force on the Family

Court released a report recognizing two causes for delay in Family Court: (1) a shortage of

Family Court judges and (2) a culture of delay. The Task Force made a number of

recommendations to minimize delay and enhance the effectiveness of litigation, including:



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              a.      scheduling trials where a child has been removed within 45 days of the

                      first appearance;

              b.      requiring compliance with timely production and filing of documents, as

                      well as attendance at status and trial conferences;

              c.      scheduling times certain for trial conferences;

              d.      holding trials in block times on consecutive days;

              e.      refraining from adjourning trials for more than 30 days, and then only for

                      good cause shown; and

              f.      disciplining attorneys and other personnel who are unprepared, late or fail

                      to appear.


       278.   Defendants’ failure to ensure that ACS and Contract Agency attorneys and

caseworkers are appropriately staffed with caseloads consistent with professional standards and

given necessary support further contributes to delays in Family Court proceedings.

       279.   Upon information and belief, delays continue to plague the vast majority of

Family Court proceedings involving children in ACS custody in New York City.

       280.   Defendants’ failures result in delays in Family Court proceedings involving

children in ACS custody in New York City and include:


              a.      the State’s failure to ensure adequate judicial resources are devoted to

                      Family Court in New York City;

              b.      the State’s failure to provide Family Court judges in New York City with

                      sufficient resources, including referees or law clerks with social work

                      experience;



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              c.      Defendants’ failure to ensure that ACS and Contract Agency attorneys and

                      caseworkers have caseloads consistent with professional standards;

              d.      ACS’s failure to ensure that attorneys and caseworkers appear at all

                      Family Court proceedings prepared;

              e.      ACS’s failure to ensure that attorneys and caseworkers do not request

                      adjournments absent good cause shown;

              f.      ACS’s failure to ensure that necessary paperwork is prepared in

                      accordance with reasonable professional standards and submitted to the

                      Family Court in a timely fashion; and

              g.      ACS’s failure to ensure that caseworkers are trained to give the Court

                      detailed assessments of children and parents’ progress in accordance with

                      reasonable professional standards.


       281.   A three- or six-month adjournment is a long time to a child in ACS custody who

is struggling with the uncertainty and emotional harm of not knowing if or when he or she will

be moved again and of not having a permanent home and family to call his or her own.

Defendants have an obligation to ensure that all service providers, including caseworkers and

attorneys, recognize the urgency of Family Court proceedings for Plaintiff Children, who are

languishing in ACS custody.

       282.   As a direct result of Defendants’ failure to ensure that all reasonable efforts are

made to ensure the timely adjudication of Family Court proceedings involving children in its

custody, Plaintiff Children suffer harm by being forced to grow up in ACS custody rather than in

a permanent home. Defendants’ failures substantially depart from reasonable professional




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standards and demonstrate a deliberate indifference to the harms, risk of harms and violations of

legal rights suffered by Plaintiff Children.


                                        CAUSES OF ACTION

                                      FIRST CAUSE OF ACTION

                  (Substantive Due Process under the U.S. Constitution)
   (Asserted by the Named Plaintiff Children and Plaintiff Children against Defendants)

       283.    Each of the foregoing allegations is incorporated as if fully set forth herein.

       284.    A state assumes an affirmative duty under the Fourteenth Amendment to the

United States Constitution to provide reasonable care to and to protect from harm a child it has

taken into its foster care custody.

       285.    The foregoing actions and inactions of Defendants City of New York, ACS,

Gladys Carrión, in her official capacity, State of New York, OCFS and Sheila J. Poole, in her

official capacity, constitute a policy, pattern, practice or custom that is inconsistent with the

exercise of accepted professional judgment and amounts to deliberate indifference to the

constitutionally protected liberty and privacy interests of all Named Plaintiff Children and

Plaintiff Children. As a result, all Named Plaintiff Children and Plaintiff Children have been,

and are at risk of being, deprived of substantive due process rights conferred upon them by the

Fourteenth Amendment to the United States Constitution.

       286.    These substantive due process rights include, but are not limited to:


               a.      the right to freedom from maltreatment while in foster care;

               b.      the right to protection from unnecessary intrusions into the child’s

                       emotional well-being while in government custody;




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               c.      the right to services necessary to prevent unreasonable and unnecessary

                       intrusions into the child’s emotional well-being while in government

                       custody;

               d.      the right to conditions and duration of foster care reasonably related to the

                       purpose of government custody;

               e.      the right to treatment and care consistent with the purpose and

                       assumptions of government custody; and

               f.      the right not to be maintained in custody longer than is necessary to

                       accomplish the purpose to be served by taking a child into government

                       custody.


                                  SECOND CAUSE OF ACTION

            (First, Ninth and Fourteenth Amendments to the U.S. Constitution)
   (Asserted by the Named Plaintiff Children and Plaintiff Children against Defendants)

       287.    Each of the foregoing allegations is incorporated as if fully set forth herein.

       288.    The foregoing actions and inactions of Defendants City of New York, ACS,

Gladys Carrión, in her official capacity, State of New York, OCFS and Sheila J. Poole, in her

official capacity constitute a policy, pattern, practice or custom that is inconsistent with the

exercise of professional judgment and amounts to deliberate indifference to Plaintiffs’

constitutional rights. As a result, all Named Plaintiff Children and Plaintiff Children have been,

and are at risk of being, deprived of the right to a permanent home and family derived from the

First Amendment right of association, the Ninth Amendment’s reservation of rights to the people

and the Fourteenth Amendment’s substantive due process protections.




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                                 THIRD CAUSE OF ACTION

    (The Adoption Assistance and Child Welfare Act of 1980, 42 U.S.C. § 670 et seq.)
   (Asserted by the Named Plaintiff Children and Plaintiff Children against the State
Defendants and City Defendants and by the Public Advocate against the City Defendants)

       289.    Each of the foregoing allegations is incorporated as if fully set forth herein.

       290.    The foregoing actions and inactions of Defendants City of New York, ACS,

Gladys Carrión, in her official capacity, State of New York, OCFS and Sheila J. Poole, in her

official capacity, constitute a policy, pattern, practice or custom of depriving the Named Plaintiff

Children and Plaintiff Children of the rights conferred upon them by the Adoption Assistance

and Child Welfare Act of 1980, as amended by the Adoption and Safe Families Act of 1997, to:


               a.      placement in a foster placement that conforms to nationally recommended

                       professional standards, 42 U.S.C. § 671(a)(10);

               b.      a written case plan that includes a plan to provide safe, appropriate and

                       stable foster care placements, 42 U.S.C. §§ 671(a)(16), 675(1)(A);

               c.      a written case plan that ensures that the child receives safe and proper care

                       while in foster care and implementation of that plan,

                       42 U.S.C. §§ 671(a)(16), 675(1)(B);

               d.      a written case plan that ensures provision of services to parents, children

                       and foster parents to facilitate reunification, or where that is not possible,

                       the permanent placement of the child and implementation of that plan,

                       42 U.S.C. §§ 671(a)(16), 675(1)(B);

               e.      a written case plan, where appropriate, that ensures the location of an

                       adoptive or other permanent home for the child and implementation of that

                       plan, 42 U.S.C. §§ 671(a)(16), 675(1)(E);


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              f.     a written case plan that ensures the educational stability of the child while

                     in foster care and implementation of that plan,

                     42 U.S.C. §§ 671(a)(16), 675(1)(G);

              g.     a case review system in which each child has a case plan designed to

                     achieve safe and appropriate foster care placements,

                     42 U.S.C. §§ 671(a)(16), 675(5)(A);

              h.     a case review system in which the status of the child is reviewed no less

                     frequently than every six months by a court, or person responsible for case

                     management, for purposes of determining the safety of the child,

                     continuing necessity and appropriateness of the placement, extent of

                     compliance with the permanency plan and projected date of permanency,

                     42 U.S.C. §§ 671(a)(16), 675(5)(B), 675(5)(C);

              i.     a case review system that ensures that for each child that has been in foster

                     care for 15 of the most recent 22 months, the state files a petition to

                     terminate the parental rights of the child’s parents and, concurrently

                     identifies, recruits, processes, and approves a qualified family for an

                     adoption, or documents compelling reason for determining that filing such

                     a petition would not be in the best interests of the child,

                     42 U.S.C. §§ 671(a)(16), 675(5)(B), 675 (5)(E); and

              j.     receive quality services to protect each child’s safety and health,

                     42 U.S.C. § 671(a)(22).


       291.   As a direct result of the City Defendants’ failure to comply with the Adoption

Assistance and Child Welfare Act of 1980, as amended by the Adoption and Safe Families Act

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of 1997, the Office of the Public Advocate has been forced to expend resources investigating and

responding to complaints. The Defendants’ continued failure to adhere to the provisions of the

law will result in the expenditure of similar resources in the future.


                                 FOURTH CAUSE OF ACTION

                        (New York State Social Services Law)
  (Asserted by the Named Plaintiff Children, Plaintiff Children and the Public Advocate
                             against the City Defendants)

       292.    Each of the foregoing allegations is incorporated as if fully set forth herein.

       293.    The foregoing actions and inactions of Defendants City of New York, ACS,

Gladys Carrión, in her official capacity, State of New York, OCFS and Sheila J. Poole, in her

official capacity, constitute a deprivation of rights conferred on the Named Plaintiff Children and

Plaintiff Children by provisions of the New York State Social Services Law and regulations

adopted thereto, including:


               a.      provision of various adoption services, such as evaluation of a child’s

                       placement needs and pre-placement needs, recruitment of a home study

                       for prospective adoptive parents, placement planning and supervision, as

                       required under New York State Social Services Law § 372-b;

               b.      timely action on adoption applications and documentation of all action

                       taken on such, as required under

                       New York State Social Services Law § 372-e;

               c.      furnishing adoptive parent applicants with reasons for agency failure to act

                       on applications and denial of applications, as required under New York

                       State Social Services Law § 372-e;



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     d.     termination of parental rights for children in foster care for 15 out of the

            most recent 22 months and, where applicable, appropriate documentation

            of exceptions, as required under

            New York State Social Services Law § 384-b;

     e.     timely completion of adoption home studies, as required under

            18 N.Y. Comp. Codes R. & Regs. tit. 18, §§ 421.14, 421.15 and 421.19;

     f.     timely and complete preparation and amendment of the FASP, as required

            under New York State Social Services Law § 409-e and

            18 N.Y. Comp. Codes R. & Regs. tit. 18, §§ 428.6 and 428.7;

     g.     placement in a foster placement that meets standards for continuity and

            appropriate level of placement, as required under

            18 N.Y. Comp. R. & Regs. tit. 18, § 430.11;

     h.     timely implementation of the FASP and timely occurrence and completion

            of FASP reviews, as required under

            18 N.Y. Comp. Codes R. & Regs. tit. 18, § 430.12;

     i.     timely initiation of proceedings to terminate parental rights, as required

            under 18 N.Y. Comp. Codes R. & Regs. tit. 18, §§ 430.12 and 431.9;

     j.     timely placement in adoptive homes, as required under

            18 N.Y. Comp. Codes R. & Regs. tit. 18, § 430.12; and

     k.     timely completion of adoptions of children who are legally free for

            adoption, as required under

            18 N.Y. Comp. Codes R. & Regs. tit. 18, § 430.12.




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         294.    As a direct result of the City Defendants’ failure to comply with New York State

Social Services Law and regulations adopted thereto, the Office of the Public Advocate has been

forced to expend resources investigating and responding to complaints. The Defendants’

continued failure to adhere to the provisions of the law will result in the expenditure of similar

resources in the future.


                                       FIFTH CAUSE OF ACTION

                                (Common Law Contract)
   (Asserted by the Named Plaintiff Children, Plaintiff Children and the Public Advocate
                              against the City Defendants)

         295.    Each of the foregoing allegations is incorporated as if fully set forth herein.

         296.    The Agreements for the purchase of foster care services between ACS and the

Contract Agencies constitute valid, binding and enforceable contracts.8

         297.    The Public Advocate is a member of New York’s City Council (the “Council”).

Charter of the City of New York, Chapter 2 § 22. The Council is charged with reviewing “on a

regular and continuous basis the activities of the agencies of the city, including their service

goals and performance and management efficiency.” Charter of the City of New York, Chapter

2 § 29(a)(2). Further, the Council is charged with overseeing “patterns of contractual spending

by city agencies” and “procedures for evaluating contractor performance.” Charter of the City of

New York, Chapter 2 § 30(2), (4).

         298.    Under the terms of the Agreements, ACS pays hundreds of millions of dollars to

Contract Agencies that agree to “provide comprehensive family foster care services as set forth


     8
      To the best of our information and belief, the Agreements, which are listed in Appendix A, were current as of
November 2014 (see ¶ 119) and are still in force today. Attached hereto as Exhibit 1 is a copy of an excerpt of one
such Agreement between ACS and a Contract Agency, which has been modified to include the relevant portion of
the Agreement. The Agreements are substantively identical from Contract Agency to Contract Agency, with the
exception of the contracting parties and the contract amount.

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in this Agreement, the Law, court orders and mandates, ACS Policies, the Fiscal Manual”9 and

several appendices to each Agreement. Agreement for the Purchase of Regular Family Foster

Care Services Part II, Section 2.01(A) (General Requirements).

         299.     Under the terms of the Agreement—and by law—the management and

supervisory staff of ACS, on behalf of the Commissioner of ACS, “has the ultimate

responsibility for the protection and preservation of the welfare of each child receiving services”,

and “has the ultimate authority for making all decisions relative to the welfare of such child”.

Agreement for the Purchase of Regular Family Foster Care Services Part II, Section 4.01(A)

(Responsibility and Authority of ACS and Procedure for Final Decisions on Issues Related to

Services Provided to the Client).

         300.     City Defendants have breached and failed to enforce the Agreements, which were

intended for the benefit of the Named Plaintiff Children and Plaintiff Children, and over which

the Public Advocate has oversight.

         301.     The Agreements state that “ACS and the Contractor agree that the fundamental

purpose of [the] Agreement is to provide the best available services, care and treatment to Foster

Children who are entrusted to the Contractors care, and further ensure that the health, welfare

and fundamental rights of the Foster Children shall be the guiding principle for all decisions

which affect their lives”. Agreement for the Purchase of Regular Family Foster Care Services

Part II, Section 4.01(B) (Responsibility and Authority of ACS and Procedure for Final Decisions

on Issues Related to Services Provided to the Client).

         302.     As a direct and causal result of City Defendants’ breach of the Agreements, the

Named Plaintiff Children and Plaintiff Children have been harmed.

     9
        This language may differ to account for the type of foster placement services provided for in the Agreement
but, in substance, the provisions are identical.

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                           PRAYER FOR RELIEF

WHEREFORE, the Plaintiff Children respectfully request that this Honorable Court:


       a.     Assert jurisdiction over this action;

       b.     Order that Plaintiff Children may maintain this action as a class action

              pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure;

       c.     Pursuant to Rule 57 of the Federal Rules of Civil Procedure, declare

              unconstitutional and unlawful:


              1.     Defendants’ violation of Plaintiff Children’s right to be free from

                     harm under the Fourteenth Amendment to the United States

                     Constitution;

              2.     Defendants’ violation of Plaintiff Children’s rights under the First,

                     Ninth and Fourteenth Amendments to the United States

                     Constitution;

              3.     Defendants’ violation of Plaintiff Children’s rights under the

                     Adoption Assistance and Child Welfare Action of 1980, as

                     amended by the Adoption and Safe Families Act of 1997,

                     42 U.S.C. § 670 et seq.;

              4.     City Defendants’ violation of Plaintiff Children’s rights under New

                     York Social Services Law and regulations adopted thereto; and

              5.     City Defendants’ violation of Plaintiff Children’s rights under the

                     Agreements with the Contract Agencies.




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     d.     Permanently enjoin Defendants from subjecting Plaintiff Children to

            practices that violate their rights, including:


            1.      Enjoin City Defendants from placing children with Contract

                    Agencies that do not maintain caseloads for all workers providing

                    direct supervision and planning for children that conform to

                    accepted professional standards, as developed by either the COA

                    and/or the CWLA, or a workload analysis conducted by ACS.

                    Require that ACS independently and periodically verify that every

                    Contract Agency meets and maintains the applicable caseload

                    standards and its verification process and that the results shall be

                    public information.

            2.      Require City Defendants to develop a process for matching

                    children with Contract Agencies that takes into account the child’s

                    need for permanence, the child’s service needs, and the Agency’s

                    demonstrated ability to provide timely permanence for children,

                    and timely and necessary individualized services for children and

                    families based on timelines set by ACS in accordance with federal

                    and state law and accepted professional standards. Require that

                    ACS independently and periodically verify that each Contract

                    Agency meets and maintains the applicable standards set by ACS

                    and its verification process and that the results shall be public

                    information.




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            3.    Enjoin ACS from placing children in Contract Agencies that do not

                  ensure that all workers receive training that OCFS and ACS shall

                  approve and certify as meeting accepted professional training

                  standards. Require that ACS independently and periodically verify

                  that the approved training is being provided to all workers, and

                  their verification process and that the results shall be public

                  information.

            4.    Enjoin ACS from placing children in any Contract Agency unless

                  at least 90% of the case plans for children currently placed with the

                  Agency (a) meet federal requirements (as set forth in

                  42 U.S.C. §§ 671(a)(16), 675(1)) and accepted professional

                  standards as set by COA and/or CWLA, (b) are created in a timely

                  fashion pursuant to applicable regulations and (c) are implemented

                  consistent with professional standards. Require that ACS

                  independently and periodically verify that each Contract Agency

                  with which ACS places children meets such standards, and their

                  verification process and that the results shall be public information.

            5.    Enjoin ACS from placing children with any Contract Agency

                  unless the Agency has demonstrated, and ACS has ascertained,

                  that it conducts permanency planning, including concurrent

                  planning, that it has the resources to provide individualized and

                  effective reunification services and that it has the resources to

                  develop and implement individualized adoptive recruitment for


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                  children whose permanency goal is adoption. Require that, in

                  conducting this assessment, ACS be guided by timelines to achieve

                  permanency goals set by ACS in accordance with federal and state

                  law and accepted professional standards. Require that ACS

                  independently and periodically verify that each Contract Agency

                  with which it places children shall meet these standards, and rank

                  the agencies in their effectiveness in doing so. Require that their

                  verification process and the results, including the Contract Agency

                  rankings, shall be public information.

            6.    Require that ACS develop and fund post-permanency services of

                  sufficient duration to provide all possible support for the successful

                  reunification, guardianship or adoption of foster children.

            7.    Require that ACS ensure that its attorneys and attorneys employed

                  by the Contract Agencies take all reasonable steps necessary

                  (including not seeking adjournments except in extraordinary

                  circumstances) to proceed to the adjudication and disposition in

                  Article 10 proceedings within three months and, when a

                  termination of parental rights process is necessary, to proceed to a

                  disposition of that proceeding within four months of the petition

                  being filed. Require that ACS collect and maintain detailed

                  information on this, which shall be public record.

            8.    Require that City and State Defendants regularly collect and

                  independently verify the information necessary to determine the


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                  Contract Agencies’ compliance with the provisions of the state

                  statutes and regulations enumerated in paragraph 293 above and

                  provide public reports of each Agency’s compliance with each of

                  these requirements. Require that the Defendants require corrective

                  action of any Contract Agency failing to achieve at least 75%

                  compliance with these requirements for two continuous six-month

                  periods, and shall terminate the contract of any Agency that fails to

                  achieve at least 75% compliance for a two-year period.

            9.    Require that OCFS conduct annual case record reviews of a

                  statistically significant sample of children in ACS custody to

                  measure the degree to which children in ACS custody are receiving

                  timely permanence, as required by state and federal law, and the

                  degree to which they are being maltreated in care; issue annual

                  public reports on the findings of these case record reviews; and

                  require corrective action when necessary.

            10.   The Court shall appoint a Special Master either with special

                  expertise in the areas covered by the Remedial Order, or who shall

                  appoint an Expert Panel to report to the Special Master, to

                  determine whether the standards developed by Defendants comport

                  with acceptable professional standards, and to monitor and report

                  on Defendants’ compliance with their obligations as contained in

                  the Court’s Order. Plaintiffs shall have the right to enforce the

                  provisions of the Court Order entered pursuant to Federal Rule of


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                   Civil Procedure 65(d), and the Court shall have continuing

                   jurisdiction to oversee compliance with that Order.


     e.     Award Plaintiff Children the reasonable costs and expenses incurred in the

            prosecutions of this action, including reasonable attorneys’ fees, pursuant

            to 28 U.S.C. § 1920 and 42 U.S.C. § 1988, and the Federal Rules of Civil

            Procedure 23(e) and (h).

     f.     Grant such other and further equitable relief as the Court deems just,

            necessary and proper to protect Plaintiff Children from further harm while

            in Defendants’ custody in foster care.




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Dated: New York, NY
       July 8, 2015


                              Respectfully submitted,

                                        by




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                                             Thierry E., by his next friend, Amy Mulzer;
                                             Ayanna J., by her next friend, Meyghan
                                             McCrea; Olivia and Ana-Maria R., by their
                                             next friend, Dawn Cardi; Xavion M., by his
                                             next friend, Michael B. Mushlin; Dameon C.,
                                             by his next friend, Reverend Doctor
                                             Gwendolyn Hadley-Hall; Tyrone M., by his
                                             next friend, Bishop Lillian Robinson-
                                             Wiltshire; and Brittney W., by her next
                                             friend, Liza Camellerie, individually and on
                                             behalf of a class of all others similarly
                                             situated,


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ELISA W., by her next friend, Elizabeth
Barricelli, et al.,                                              15 Civ. 5273 (LTS) (HBP)
                                          Plaintiffs,
                                                           ORAL ARGUMENT REQUESTED
                     -against-

THE CITY OF NEW YORK, et al.,
                                        Defendants.

                  NOTICE OF MOTION FOR CLASS CERTIFICATION

               PLEASE TAKE NOTICE that upon the declarations of Marcia Robinson Lowry

and Julia A. North, both executed on November 20, 2015, and the accompanying Memorandum

of Law in Support of Named Plaintiff Children’s Motion for Class Certification pursuant to

Federal Rule of Civil Procedure 23, Plaintiffs Elisa W., by her next friend, Elizabeth Barricelli;

Alexandria R., by her next friend, Alison Max Rothschild; Thierry E., by his next friend, Amy

Mulzer; Ayanna J., by her next friend, Meyghan McCrea; Olivia and Ana-Maria R., by their next

friend, Dawn Cardi; Xavion M., by his next friend, Michael B. Mushlin; Dameon C., by his next

friend, Reverend Doctor Gwendolyn Hadley-Hall; Tyrone M., by his next friend, Bishop Lillian

Robinson-Wiltshire; and Brittney W., by her next friend Liza Camellerie, individually and on

behalf of a class of all others similarly situated, by and through their attorneys, hereby move this

Court, before Hon. Laura Taylor Swain, courtroom 12D, at Daniel Patrick Moynihan United

States Courthouse, 500 Pearl Street, New York, NY, for an order pursuant to Rule 23(a) and

(b)(2) of the Federal Rules of Civil Procedure, certifying the following class: Children who are

now or will be in the foster care custody of the New York City Administration for Children’s

Services, and granting such other and further relief as the Court deems just and proper.




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               Named Plaintiff Children have used best efforts to resolve informally the matters

raised in this submission, consistent with this Court's Individual Practice Rule A.2.b, through

both written and oral communications, but have been unable to do so.

Dated: New York, NY
       November 20, 2015




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                                                     by her next friend, Alison Max Rothschild;
                                                     Thierry E., by his next friend, Amy Mulzer;
                                                    Ayanna J., by her next friend, Meyghan
                                                    McCrea; Olivia and Ana-Maria R., by their
                                                     next friend, Dawn Cardi; Xavion M, by his
                                                     next friend, Michael B. Mush/in; Dameon C.,
                                                     by his next friend, Reverend Doctor
                                                     Gwendolyn Hadley-Hall; Tyrone M, by his
                                                     next friend, Bishop Lillian Robinson-
                                                     Wiltshire; and Brittney W., by her next
                                                    friend, Liza Camellerie, individually and on
                                                     behalfofa class ofall others similarly
                                                    situated


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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


ELISA W., by her next friend, Elizabeth
Barricelli; ALEXANDRIA R., by her next friend,
Alison Max Rothschild; THIERRY E., by his next
friend, Amy Mulzer; LUCAS T., XIMENA T.,
JOSE T.C. AND VALENTINA T.C., by their next
friend, Rachel Friedman; AYANNA J., by her
next friend, Meyghan McCrea; OLIVIA and
ANA-MARIA R., by their next friend, Dawn
Cardi; XAVION M., by his next friend, Michael
B. Mushlin; DAMEON C., by his next friend,
Reverend Doctor Gwendolyn Hadley-Hall;
TYRONE M., by his next friend, Bishop Lillian
Robinson-Wiltshire; BRITTNEY W., by her next
friend, Liza Camellerie; MIKAYLA G., by her
next friend, Amy Mulzer; MYLS J. AND MALIK
M., by their next friend, Elizabeth Hendrix; and
EMMANUEL S. AND MATTHEW V., by their                       15 Civ. 5273 (LTS) (HBP)
next friend, Samuel D. Perry, individually and on
behalf of a class of all others similarly situated,    AMENDED CLASS ACTION
and LETITIA JAMES, the Public Advocate for             COMPLAINT FOR INJUNCTIVE
the City of New York,                                  AND DECLARATORY RELIEF

                                         Plaintiffs,

                     -against-

THE CITY OF NEW YORK; the NEW YORK
CITY ADMINISTRATION FOR CHILDREN’S
SERVICES; GLADYS CARRIÓN, Commissioner
of the New York City Administration for
Children’s Services, in her official capacity; the
STATE OF NEW YORK; the NEW YORK
STATE OFFICE OF CHILDREN AND FAMILY
SERVICES; and SHEILA J. POOLE, Acting
Commissioner of the New York State Office of
Children and Family Services, in her official
capacity,

                                       Defendants.




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                                PRELIMINARY STATEMENT

       1.      Foster care is supposed to be safe and temporary. For children in New York

City’s foster care system, it is neither. Children in New York City’s foster care system are in one

of the most dangerous foster care systems in the country, and they spend longer in foster care

than do foster children almost anywhere else in the country. The emotional damage—and, far

too often, abuse—suffered by these children at the hands of a system designed to keep them safe

is unacceptable. That the responsible state and city officials have known about these problems

and done nothing to fix them is inexcusable.

       2.      Nineteen named plaintiffs, all children in foster care in New York City, bring this

lawsuit as a civil rights action on behalf of all children who are now or will be in the foster care

custody of the Commissioner of New York City’s Administration for Children’s Services

(“ACS”) (“Plaintiff Children”). They seek both declaratory and injunctive relief against the city

and state agencies and officials responsible for violating their rights under the United States

Constitution, federal law, and New York state law and regulations. Plaintiff Letitia James, as

Public Advocate for the City of New York, who has received myriad constituent complaints

concerning foster care, brings this lawsuit seeking injunctive and declaratory relief against the

State Defendants to ensure that ACS promptly remedies the systemic failures that have been

plaguing New York City’s foster care system for too long.

       3.      Defendants are the City of New York (“City”), ACS, Gladys Carrión,

Commissioner of ACS, in her official capacity (collectively, “City Defendants”); the State of

New York, the New York State Office of Children and Family Services (“OCFS”), and Sheila J.

Poole, Acting Commissioner of OCFS, in her official capacity (collectively, “State Defendants”).

       4.      Through a pattern and practice of long-standing and well-documented action and

inaction, Defendants—who are responsible for protecting New York City’s foster children—fail




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to keep these children safe. And, instead of ensuring that New York City’s foster children grow

up in safe, permanent families, Defendants’ policies and customs cause far too many children to

grow up in the custody of the state, without a home or family to call their own:


               a.     New York City children make up the majority of children in foster care in

                      New York State, which has one of the worst rates of maltreatment in foster

                      care of any jurisdiction in this country.

               b.     Children in foster care in New York City spend two times as much time in

                      state custody as children in the rest of New York State, and over double

                      the amount of time in state custody as children in the rest of the nation.

               c.     It takes longer to return New York City children in foster care to their

                      parents than in the rest of New York State and the rest of the nation. The

                      most recent federal data available shows that New York City performs

                      worse on this measure than all but five other states and territories.

               d.     It takes longer for a foster child to be adopted in New York City than

                      anywhere else in the country. New York City has performed worse on this

                      measure than every state since at least 2007.

               e.     Many children who are without a permanent home never get adopted at all

                      and leave the foster care system only when they get too old to stay in it

                      any longer. Approximately 1,000 children “age out” of the foster care

                      system each year, often winding up homeless and without any adult with

                      whom they have a permanent connection.




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       5.      New York City’s child welfare system is causing devastating, ongoing and long-

lasting harm to New York City children in its care:


               a.     Children who are separated from their parents to whom they could be

                      returned weep at the end of visits with their parents but continue to live in

                      foster care well beyond the time they could be returned home.

               b.     Parents whose children are removed because they need services are unable

                      to gain access to the right services and thus are unable to regain custody of

                      their children.

               c.     Children who cannot be safely returned to their parents languish in foster

                      care, many moving from place to place, growing older and more damaged

                      by their experiences, not knowing to which adults to form attachments, or

                      trusting no adults at all.

               d.     Children traumatized by the disruptions in their young lives do not know

                      where they will be living from one month to the next, or whether there are

                      any adults on whom they can rely. Often by the time a decision is made

                      about what the plan should be for their future, they are irreparably

                      damaged by their experiences in foster care.


       6.      These consequences are the result of systemic deficiencies in which:


               a.     The state agency, OCFS, is responsible for foster care across New York

                      State and for ensuring that federal foster care funds are spent as required

                      by the governing federal statutes and state statutes and regulations




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                         consistent with federal law, but neither monitors nor enforces those laws

                         and regulations.

               b.        The city agency, ACS, in whose legal custody all foster children are

                         placed, delegates its responsibility for the day-to-day care of these

                         children by contract to 29 agencies (the “Contract Agencies”), paying

                         hundreds of millions of dollars to the Contract Agencies for foster care

                         services but failing to ensure they meet minimum professional standards

                         or provide adequate and meaningful oversight to ensure compliance with

                         federal and state law and the applicable contracts.

               c.        The damage that is being done to children in foster care in New York City

                         as a direct result of these structural failures in the New York City child

                         welfare system is both avoidable and a violation of these children’s

                         statutory and constitutional rights.


       7.      The illegal conduct of which Plaintiffs complain has plagued New York City’s

foster care system for far too long—a fact well known to Defendants, all of whom have been in a

position to change it.

       8.      Plaintiffs seek a ruling from this Court that the structural deficiencies and long-

standing actions and inactions described in this complaint violate the statutory and constitutional

rights of all children dependent on the New York City foster care system for their safety, their

well-being and their futures. They seek an equitable injunction against the responsible city and

state officials and agencies named as Defendants in this lawsuit, directing that appropriate relief

be granted so that New York City’s foster children are no longer irreparably harmed by the




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system that is supposed to protect them. These children have a right to a safe and nurturing

childhood. Plaintiffs ask this Court to protect that right.


                                             PARTIES

  I.    The Named Plaintiff Children

        Elisa W.

        9.     Plaintiff Elisa W. is a 17 year old girl in the twelfth grade. ACS removed her

from her biological mother when she was approximately four years old. She has been in ACS

custody for the past 13 years—over three quarters of her life.

        10.    Plaintiff Elisa W. appears through her next friend, Elizabeth Barricelli. Ms.

Barricelli has been an elementary school teacher for over 30 years and currently teaches

elementary school science at a public school in Brooklyn. Ms. Barricelli taught Elisa W. from

2006 to 2010 when Elisa W. was in elementary school and they recently reconnected. Ms.

Barricelli is familiar with Elisa W.’s background and education. Ms. Barricelli is truly dedicated

to Elisa W.’s best interests.

        11.    ACS removed Plaintiff Elisa W. from her biological mother when she was four

years old because of allegations of physical abuse. At the time, Elisa W.’s biological mother was

approximately 19 years old and living in a mother-child foster placement in New York City.

        12.    Over the past 13 years, ACS has shuffled Plaintiff Elisa W. through so many

foster placements that she is unable to account for all of them—a direct result of ACS’s failure to

ensure an appropriate foster placement that could meet her needs. In the last two years alone,

Elisa W. has been in four foster placements. Elisa W. has attended at least seven schools over

the course of her young life.




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       13.     Plaintiff Elisa W. has a reported history of physical and suspected sexual abuse

while in ACS custody.

       14.     In the first foster placement Plaintiff Elisa W. can remember, she was sexually

abused by the nephew of her then-foster mother. She was just six years old at the time. She did

not report the incident to anyone because she did not want to get in trouble. At this same

placement, Elisa W. was subjected to other physical, psychological and emotional abuse,

including being forced by her then-foster mother to sleep in a bug-infested bedroom and being

forced to walk around the foster home naked after bathing. Once, Plaintiff Elisa W.’s then-foster

mother beat her and denied her food as punishment for purportedly telling her biological mother

that she was being beaten by her foster mother; however, the allegation had been made by the

foster mother’s own daughter pretending to be Elisa W. Upon information and belief, Elisa W.’s

then-foster mother would allow family members with violent criminal records in the home. Elisa

W. reports feeling like “just a total stranger” in this foster placement.

       15.     In approximately 2006, Plaintiff Elisa W. was placed in another foster placement,

and again suffered severe physical, psychological and emotional abuse, including sexual abuse

by multiple relatives of her then-foster mother. Elisa W.’s teachers made multiple reports of

physical abuse to her caseworker, including when Elisa W.’s then-foster mother punched her in

the face. Upon information and belief, neither the Contract Agency nor ACS took any action in

response to these reports. Her then-foster mother neglected Elisa W., who often went to school

unkempt and underfed; her teacher at the time, her next friend Ms. Barricelli, often had to buy

Elisa W. snacks during the school day and maintained a clean uniform at school for her. Elisa

W. remained in this abusive foster placement for five years—a direct result of ACS’s failure to

ensure that the Contract Agency to which ACS had delegated day-to-day care of this young girl




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was keeping her safe. On April 28, 2014, Elisa W. was assigned to a different Contract Agency

when it was determined she needed “therapeutic foster placements”. Although Elisa W. is from

New York City, the Contract Agency first placed her in a home in Suffolk County and then in a

home in Nassau County. However, at the time—and to this day—the only person Elisa W.

considers a friend lives in New York City.

       16.     As a result of the great emotional damage Plaintiff Elisa W. has suffered while in

ACS custody for the past 13 years, this young girl has suffered and continues to suffer from a

variety of mental health problems. Her diagnoses include depression, bipolar disorder and post-

traumatic stress disorder. She has been on anti-depressants and mood stabilizers since she was

11 years old. In July 2014, Elisa W. requested she be placed in a mental health facility because

of her mental health concerns. Elisa W. remained there for two months. Since her

hospitalization, she has been placed on heavy doses of psychotropic medication; she reports that,

as a result, she can barely string a sentence together and no longer looks people in the eye

because she gets nervous. On or about December 16, 2015, Elisa W. was voluntarily

hospitalized for one day because of her mental health concerns.

       17.     In addition to failing to keep Plaintiff Elisa W. free from physical, psychological

and emotional harm while in its custody, ACS has also failed to take reasonable and appropriate

steps consistent with professional standards to place Elisa W. in a permanent home. Twice, Elisa

W.’s biological mother conditionally surrendered her parental rights so Elisa W. could be

adopted. Neither adoption was ever finalized. In approximately 2010, Elisa W.’s aunt expressed

interest in adopting Elisa W. This adoption was not finalized. In 2012, after Elisa W. already

had been in foster care for approximately eight years, her biological mother’s parental rights

were terminated. Although Elisa W. has requested that her aunt be considered as an adoptive




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resource, upon information and belief, the Contract Agency, ACS and Elisa W.’s law guardian

have not taken steps to pursue this possibility or sought out other non-relative adoption

possibilities for Elisa W. to finally have a permanent home and family to call her own. Indeed,

Elisa W. fears that she will “age out” of foster care—where she has spent the last 13 years being

abused, neglected and shuffled from place to place—and return to living with her biological

mother. Elisa W. fears that if this happens she will be unable to attend college.

         18.   Plaintiff Elisa W. describes her stay in foster care by noting that when she was

younger she did well in school and had an extensive vocabulary, but now, as a result of her

experiences in foster care and medication regimen, she has difficulty concentrating. Elisa W. is

at risk of having to repeat the twelfth grade because of class days she misses for appointments

made with doctors by the Contract Agency and Family Court appearances. She expresses great

frustration that the Contract Agency and ACS are unresponsive to her requests for driving

lessons and a state identification card—normal requests for a 17 year old girl. Although Elisa W.

has told the supervisor at the Contract Agency that she wants to be like “normal kids” and go on

school trips, the Contract Agency has denied her requests to go on such trips. For the 13 years

Elisa W. has been in foster care, the Contract Agency, ACS and Plaintiff Elisa W.’s law guardian

have been making decisions about her life but, as she puts it—“no one ever asks me what I

want”.

         19.   During the 13 years that Plaintiff Elisa W. has been in the custody of ACS,

Defendants repeatedly have violated her constitutional, statutory and contractual rights by failing

to protect her from physical, psychological and emotional harm; by failing to provide services to

ensure her physical, psychological and emotional well-being; by failing to ensure the provision

of appropriate foster care placements consistent with professional standards or of a meaningful,




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timely and appropriate plan to enable her to be safely returned to her biological mother or, if that

were not possible within a reasonable period of time, to place her in a permanent home. ACS

has further failed to exercise meaningful oversight over the Contract Agencies to which ACS has

delegated the day-to-day care of, and case planning responsibility for, this child. As a direct

result of Defendants’ actions and inactions, Elisa W. has suffered and continues to suffer

irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where she will grow

up and of believing that there is no family she can call her own. Because of Defendants’ actions

and inactions, Plaintiff Elisa W. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


       Alexandria R.

       20.     Plaintiff Alexandria R. is a 12 year old girl in the sixth grade. ACS removed her

from her biological mother’s home on August 9, 2007. She has been in the custody of ACS for

the past eight years—over two thirds of her life.

       21.     Plaintiff Alexandria R. appears through her next friend, Alison Max Rothschild.

Ms. Rothschild is the director of a private school in New York City. Ms. Rothschild knows

Alexandria R. and her current foster parents, and is familiar with her background including her

education. Ms. Rothschild is truly dedicated to Alexandria R.’s best interests.

       22.     Upon information and belief, this is Plaintiff Alexandria R.’s second time in foster

care. Upon information and belief, ACS removed her from her biological mother a few months

after she was born, placed her in a kinship foster placement with her maternal great-grandmother




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for three and a half years and returned her to her biological mother for a few months—only to

remove her and again place her in foster care in 2007.

       23.     Plaintiff Alexandria R. is not the only child that ACS has removed from her

biological mother and placed into foster care. Alexandria R. has six siblings: (1) a 15 year old

sister, Andrea R.; (2) a 13 year old brother, Kavon L.; (3) an 11 year old brother, Russell W.;

(4) a nine year old brother, Anton W.; (5) a seven year old sister, Naomi M.W.; and (6) a two

year old sister, Raquel W. All of her siblings are currently in foster care; five live in foster

placements and Naomi M.W. has been returned to her biological father on a trial basis.

       24.     In 2006, ACS opened a preventive services case involving Plaintiff Alexandria

R.’s biological mother because then six year old Andrea R. had jumped out of a second floor

window after being locked in her bedroom. In August 2007, ACS removed Alexandria R. and

her then-living siblings from their home and placed them in ACS custody because their

biological mother’s boyfriend was physically abusing Alexandria R.’s brother, Kavon L. Now

seven year old Naomi M.W. was born five months later and ACS took custody of her at birth.

On or about May 13, 2015, ACS removed Plaintiff Alexandria R.’s youngest sister, Raquel W.,

from their biological mother due to allegations of neglect.

       25.     From 2007 to 2011, between the time she was four and eight years old, ACS

bounced Plaintiff Alexandria R. from placement to placement due to its failure to ensure an

appropriate foster placement that could meet her needs. During her first four years in ACS

custody, ACS placed Alexandria R. in approximately eight different foster homes and with two

different Contract Agencies. When she was approximately eight years old, Alexandria R. spent

approximately six months in the mental health unit of a residential treatment facility. Her then-

foster parents dropped her off, telling her they would return the next morning to pick her up, and




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never returned. As a result, Alexandria R. suffered severe emotional trauma, compounding the

emotional harm she was already experiencing from being moved from place to place.

       26.     ACS moved Plaintiff Alexandria R. to her current foster placement on November

11, 2011, when she was eight years old. She has now lived there for over four years. At 12

years old, this is the longest she has ever lived in one place—a direct result of ACS’s failure to

develop and implement an appropriate case plan and provide appropriate services consistent with

professional standards to enable this young girl to be safely returned to her biological mother or,

if that were not possible within a reasonable period of time, to ensure that she can grow up in a

permanent family.

       27.     Plaintiff Alexandria R. has a reported history of physical and suspected sexual

abuse. Upon information and belief, the physical and suspected sexual abuse has taken place

while Alexandria R. has been in ACS custody, and includes physical abuse by her biological

mother during an unsupervised visit at her then-foster home.

       28.     As a result of the great emotional damage Plaintiff Alexandria R. has suffered

while in ACS custody for the past eight years, this young girl has suffered and continues to suffer

from a variety of mental health problems. Her diagnoses over the past eight years have only

grown more serious during her time in foster care and have included adjustment disorder (2007),

adjustment disorder with mixed disturbance emotions and conduct (i.e., mood and behavioral

problems) (2009), disorder of childhood (2009) and post-traumatic stress disorder (2014 to

present). She also suffers from learning disabilities and is behind her peers in school.

       29.     Since being placed in ACS custody, Plaintiff Alexandria R. has suffered severe

emotional and behavioral problems, including physical aggression toward herself and others.

She has an extreme distrust of people she views as “in the system”, including her doctors and




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therapists. She also has difficulty controlling her emotions. As recently as late 2014, Alexandria

R. became highly emotional and distraught, including hysterically crying and becoming

physically aggressive, when her biological mother missed a family therapy appointment.

       30.     In addition to failing to keep Plaintiff Alexandria R. free from physical,

psychological and emotional harm while in its custody, ACS has also failed to take reasonable

and appropriate steps consistent with professional standards to place Alexandria R. in a

permanent home. In approximately 2012, after she already had been in foster care for over four

years, Alexandria R.’s permanency goal was changed to adoption and the Contract Agency to

which ACS has delegated day-to-day responsibility for this child told this nine year old girl that

she would be adopted by her foster parents. However, the adoption did not take place at that

time, even though her foster parents were interested in adopting her. This created serious

additional damage to Alexandria R.’s emotional state, causing her anger and confusion as to why

her foster parents have not been able to adopt her. Alexandria R. reportedly has lived in fear that

she will be moved yet again by ACS and has been deeply harmed by the continuing uncertainty

about where and how she will grow up.

       31.     In July 2013, Plaintiff Alexandria R.’s permanency goal was changed from

adoption to return to parent. Upon information and belief, this is because ACS attorneys failed

to take necessary steps to obtain the termination of her biological mother’s parental rights.

       32.     On or about October 28, 2015, Plaintiff Alexandria R.’s biological mother

voluntarily surrendered her parental rights on the condition that Alexandria R.’s current foster

parents adopt her. Upon information and belief, the possibility of voluntarily surrendering her

parental rights or pursuing an open adoption was not discussed with Alexandria R.’s biological

mother until 2015—after Alexandria R. had already been in foster care for between seven and




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eight years. Although Alexandria R.’s foster parents are pursuing adopting her, they have been

unable to timely obtain the documents necessary to proceed with the adoption.

       33.     During the eight years that Plaintiff Alexandria R. has been in the custody of

ACS, Defendants repeatedly have violated her constitutional, statutory and contractual rights by

failing to protect her from physical, psychological and emotional harm; by failing to provide

services to ensure her physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable her to be safely returned to her biological

mother or, if that were not possible within a reasonable period of time, to place her in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Alexandria

R. has suffered and continues to suffer irreparable harm and continues to be subjected to the

lasting emotional damage that is a consequence of a child being harmed while in foster care, of

not knowing where she will grow up and of believing that there is no family she can call her

own. Because of Defendants’ actions and inactions, Plaintiff Alexandria R. is being deprived of

the opportunity for a childhood that is reasonably free from harm and that provides the

opportunity for stability and healthy development.


       Thierry E.

       34.     Plaintiff Thierry E. is a four year old boy in pre-kindergarten. ACS removed him

from his biological mother on September 27, 2013. His permanency goal currently is to be

returned to his parent. He has been in ACS custody for more than two years—over half his life.




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       35.     Plaintiff Thierry E. appears through his next friend, Amy Mulzer. Ms. Mulzer is

an Acting Assistant Professor of Lawyering at New York University School of Law. The

primary focus of her research includes: Adoption, Child Welfare, Family Law, Parental Rights

and Poverty Law. Prior to joining the lawyering faculty at NYU, Ms. Mulzer spent five years

representing low-income parents whose children were in foster care or at risk of being placed in

foster care, first as a staff attorney at Brooklyn Defender Services and then as an appellate

attorney on the assigned counsel panel for the Appellate Division, Second Department. Ms.

Mulzer is truly dedicated to Thierry E.’s best interests.

       36.     On or about August 15, 2013, Plaintiff Thierry E.’s biological mother, who has

been a public school teacher for over a decade, called Safe Horizon, a domestic violence hotline,

to request information about how she could remove Thierry E.’s biological father from her home.

Safe Horizon reported the call to the Statewide Central Register of Child Abuse and

Maltreatment and ACS opened an investigation. There was not and never has been any

allegation that anyone abused Thierry E. or that his biological mother failed to provide him with

appropriate, loving care. On September 23, 2013, Thierry E.’s biological mother obtained an

order of protection from the Family Court against Thierry E.’s biological father. In her petition,

she alleged that Thierry E.’s biological father had held a knife to her throat threatening to kill

her, strangled her at least three times, punched her in the face and threw household furniture at

her. Thierry E.’s biological mother has not been in a relationship with Thierry E.’s biological

father since September 2013 and does not intend to re-enter a relationship with him. Thierry E.’s

biological father has since been diagnosed with a psychotic disorder.

       37.     ACS removed Plaintiff Thierry E. from his home on September 27, 2013, while

his biological mother was at work, without taking necessary steps or making reasonable efforts




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to determine whether Thierry E. could remain safely at home with her. His biological father was

no longer living in the house.

       38.     The Contract Agency to which ACS had delegated the day-to-day care of, and

case planning responsibility for, Plaintiff Thierry E. first moved him to a foster placement far

away from his biological mother’s home and required visits to take place at the Contract

Agency’s office in the Bronx, even though he and his biological mother had lived in Manhattan.

Moreover, the foster mother spoke only Spanish and Thierry E., then two years old, did not

speak any Spanish. As a result, Thierry E.’s language and speech development was severely

stunted. Thierry E.’s biological mother had him evaluated in March 2014 and the speech

therapist recommended speech therapy twice a week, but the Contract Agency refused to provide

this service. When Thierry E. entered a pre-kindergarten program, he started speech therapy

once a week.

       39.     On May 13, 2014, during a visit at the Contract Agency, Plaintiff Thierry E.’s

biological mother noticed a severe rash while changing his diaper and reported this and other

concerns to the Family Court. On June 21, 2014, the Family Court ordered that Thierry E. be

transferred to a new Contract Agency. Thierry E. was moved to a second foster placement two

days later. This foster placement is in the Bronx, even though Thierry E. and his biological

mother had lived in Manhattan. In approximately December 2015, Thierry E. reported to his

biological mother that his foster parent hit him. Upon information and belief, an investigation of

this report is underway.

       40.     Plaintiff Thierry E. has now been in foster care for more than two years—over

half his life. This is a direct result of ACS’s failure to develop and implement an appropriate

case plan and provide appropriate services consistent with professional standards to enable this




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young boy to be returned to his biological mother or, if that were not possible within a

reasonable period of time, to ensure that he would grow up in a permanent family.

       41.     Plaintiff Thierry E. has suffered emotional harm as a result of spending nearly

half his life in ACS custody without a permanent family. All indications are that he misses his

biological mother very much. At the end of his once weekly visits with her, he cries

uncontrollably. When she expressed concern at this behavior, Thierry E.’s therapist told her that

he had to “get used to it” because this was “his life now”. Upon information and belief, Thierry

E. is experiencing more anxiety the longer he is without a permanent family.

       42.     ACS continues to fail to ensure that Plaintiff Thierry E. is receiving appropriate

services. Although Thierry E. currently receives therapy, Thierry E.’s biological mother has

expressed concerns that the therapy being provided by the Contract Agency is focused on

normalizing Thierry E.’s separation from her rather than trying to help him prepare to be

returned to her care—even though his permanency goal remains to be returned to his parent.

       43.     In addition to failing to keep Plaintiff Thierry E. free from emotional harm while

in its custody, ACS has also failed to take reasonable and appropriate steps consistent with

professional standards to place Thierry E. in a permanent home.

       44.     Although ACS removed Plaintiff Thierry E. from his home over two years ago,

there has been no disposition of ACS’s neglect petition against Thierry E.’s biological mother.

The fact-finding hearing began only in August 2015 after having been postponed several times.

The fact-finding hearing then proceeded on non-consecutive dates in September, October and

November 2015. The next fact-finding hearing date is in February 2016.

       45.     Plaintiff Thierry E. had his first permanency hearing in December 2014—after he

had already been in ACS custody for over a year.




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       46.     Plaintiff Thierry E.’s permanency goal remains to be returned to his parent. His

biological mother wants nothing more than to finally bring her son home. She has completed

parenting classes, domestic violence counseling and multiple mental health evaluations in

accordance with the two different Contract Agencies’ instructions. In documents filed with the

Family Court, the Contract Agency has stated that Thierry E.’s biological mother “comes

prepared to her visits with activities to do with her son and also tries to reinforce parenting skills

that will help her son’s vocabulary and pronunciation.”

       47.     Since his removal over two years ago, ACS has made no effort to ensure that this

little boy is returned to the mother he misses, and that his permanency goal—reunification with

his biological mother—is implemented as soon as possible.

       48.     During the over two years that Plaintiff Thierry E. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from psychological and emotional harm; by failing to provide services to

ensure his physical, psychological and emotional well-being; by failing to ensure the provision of

appropriate foster care placements consistent with professional standards or of a meaningful,

timely and appropriate plan to enable him to be safely returned to his biological mother or, if that

were not possible within a reasonable period of time, to place him in a permanent home. ACS

has further failed to exercise adequate and meaningful oversight over the Contract Agencies to

which ACS has delegated the day-to-day care of, and case planning responsibility for, this child.

As a direct result of Defendants’ actions and inactions, Thierry E. has suffered and continues to

suffer irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where he will grow up

and of believing that there is no family he can call his own. Because of Defendants’ actions and




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inactions, Plaintiff Thierry E. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


       Lucas T., Ximena T., Jose T.C. and Valentina T.C.

       49.     Plaintiff Lucas T. is a seven year old boy in the second grade. Plaintiff Ximena T.

is a four year old girl in kindergarten. Plaintiff Jose T.C. is a three year old boy. Plaintiff

Valentina T.C. is a one year old girl. ACS removed these children from their biological mother

on February 4, 2015. Their permanency goal is to be returned to their parent. They have been in

ACS custody for the past ten months.

       50.     Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina T.C. appear through their

next friend, Rachel Friedman. Ms. Friedman is a tenth grade English teacher in Manhattan and

has been a teacher since 2008. During her time as a teacher in New York City, Ms. Friedman

has worked primarily with low-income students and has taught students that are or were

previously in the custody of ACS. Ms. Friedman is truly dedicated to Lucas T., Ximena T., Jose

T.C. and Valentina T.C.’s best interests.

       51.     In November 2014, Lucas T., Ximena T., Jose T.C. and Valentina T.C. and their

biological mother began living in a rented room in an apartment in Queens in which they did not

have full use of the kitchen. Lucas T., Ximena T., Jose T.C. and Valentina T.C.’s biological

mother cared for the children full time while Lucas T., Ximena T., Jose T.C. and Valentina

T.C.’s biological father worked and lived elsewhere. Upon information and belief, because she

did not have full use of a kitchen, Lucas T., Ximena T., Jose T.C. and Valentina T.C.’s biological

mother purchased cereal, fruit and prepared food for the children to eat.




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          52.   ACS removed Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina T.C. from

their biological parents on February 4, 2015, reportedly due to their biological parents’ inability

to adequately supervise and provide guardianship to the children because the children were left

home unattended, they had poor hygiene and there was an insufficient amount of food and

formula at their home, without taking necessary steps or making reasonable efforts to determine

whether Lucas T., Ximena T., Jose T.C. and Valentina T.C. could remain safely at home with

their biological mother. The children spent the night of February 4, 2015, at the Children’s

Center.

          53.   The Contract Agency to which ACS had delegated the day-to-day care of, and

case planning responsibility for, Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina T.C.

first moved them to a foster placement in which the foster parents did not speak Spanish even

though Lucas T., Ximena T., Jose T.C. and Valentina T.C. speak Spanish almost exclusively.

Lucas T., the only one of his siblings in school at that time, was moved to a new school.

          54.   Upon information and belief, in May 2015, during a visit at the Contract Agency,

Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina T.C.’s biological mother noticed

bruising and lacerations on the children and reported this and other concerns to the Contract

Agency. On May 29, 2015, Lucas T., Ximena T., Jose T.C. and Valentina T.C. were removed

from their foster placement and placed in two separate foster placements—Lucas T. and Jose

T.C. are in one foster placement and Ximena T. and Valentina T.C. are in a second foster

placement. Upon information and belief, Lucas T., Ximena T., Jose T.C. and Valentina T.C. see

each other only during visits with their biological mother at the Contract Agency.

          55.   Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina T.C. have now been in

foster care for over ten months. This is a direct result of ACS’s failure to develop and implement




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an appropriate case plan and provide appropriate services consistent with professional standards

to enable these young children to be returned to their biological mother or, if that were not

possible within a reasonable period of time, to ensure that they would grow up in a permanent

family.

          56.   Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina T.C. have suffered

emotional harm as a result of spending the past ten months in ACS custody without a permanent

family. All indications are that they miss their biological mother very much. They are very

excited when they have their visits with their biological mother and ask when they can go home

with her.

          57.   In addition to failing to keep Plaintiffs Lucas T., Ximena T., Jose T.C. and

Valentina T.C. free from emotional harm while in its custody, ACS has also failed to take

reasonable and appropriate steps consistent with professional standards to place Lucas T.,

Ximena T., Jose T.C. and Valentina T.C. in a permanent home.

          58.   Although ACS removed Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina

T.C. from their home over ten months ago, there has been no fact-finding hearing or disposition

of ACS’s neglect petition against their biological parents.

          59.   Plaintiffs Lucas T., Ximena T., Jose T.C. and Valentina T.C.’s permanency goal

remains to be returned to their parent. Their biological mother wants nothing more than to bring

her children home. In February 2015, Lucas T., Ximena T., Jose T.C. and Valentina T.C.’s

mother was told by ACS that she needed domestic relationship/family violence services, mental

health/emotional stability services, parenting skills services and decision making/problem

solving skills services. There are no allegations of domestic violence in the neglect petition

against her. According to the service agency providing her services, she “is participating in the




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entire service plan she has been assigned to”. She completed a mental health evaluation in June

2015, and has completed parenting classes and domestic violence counseling. Upon information

and belief, Lucas T., Ximena T., Jose T.C. and Valentina T.C.’s biological mother was recently

informed that she has to undergo another psychological evaluation, which she has completed.

       60.     Upon information and belief, soon after Plaintiffs Lucas T., Ximena T., Jose T.C.

and Valentina T.C. were placed in ACS custody, the Contract Agency informed their biological

mother that it could not expedite reunification because she did not have suitable housing. Upon

information and belief, at that time, the Contract Agency provided her with no assistance to find

suitable housing. Using her own limited resources, Lucas T., Ximena T., Jose T.C. and

Valentina T.C.’s biological mother secured a two bedroom apartment during the summer of

2015. Upon information and belief, she has had to move out of this housing because the home

was the subject of foreclosure proceedings and was sold. Lucas T., Ximena T., Jose T.C. and

Valentina T.C.’s biological mother now lives in a rented room in Queens. Upon information and

belief, the Contract Agency has taken no steps to assist her in finding housing so her children can

come home.

       61.     Since their removal over ten months ago, ACS has made no effort to ensure that

these young children are returned to the mother they miss, and that their permanency goal—

reunification with their biological parent—is implemented as soon as possible.

       62.     During the nearly one year that Plaintiffs Lucas T., Ximena T., Jose T.C. and

Valentina T.C. have been in the custody of ACS, Defendants repeatedly have violated their

constitutional, statutory and contractual rights by failing to protect them from psychological and

emotional harm; by failing to provide services to ensure their physical, psychological and

emotional well-being; by failing to ensure the provision of appropriate foster care placements




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consistent with professional standards or of a meaningful, timely and appropriate plan to enable

them to be safely returned to their biological mother or, if that were not possible within a

reasonable period of time, to place them in a permanent home. ACS has further failed to

exercise adequate and meaningful oversight over the Contract Agencies to which ACS has

delegated the day-to-day care of, and case planning responsibility for, these children. As a direct

result of Defendants’ actions and inactions, Lucas T., Ximena T., Jose T.C. and Valentina T.C.

have suffered and continue to suffer irreparable harm and continue to be subjected to the lasting

emotional damage that is a consequence of children being harmed while in foster care, of not

knowing where they will grow up and of believing that there is no family they can call their own.

Because of Defendants’ actions and inactions, Plaintiffs Lucas T., Ximena T., Jose T.C. and

Valentina T.C. are being deprived of the opportunity for a childhood that is reasonably free from

harm and that provides the opportunity for stability and healthy development.


        Ayanna J.

        63.     Plaintiff Ayanna J. is a three year old girl in pre-kindergarten. ACS removed her

from her biological mother on November 2, 2012—three days after she was born. Her

permanency goal currently is adoption. She has been in ACS custody for over three years—

virtually her entire life.

        64.     Plaintiff Ayanna J. appears through her next friend, Meyghan McCrea. Meyghan

McCrea is an attorney in private practice in New York City. She was previously employed as a

Family Court Legal Services Attorney for ACS. Ms. McCrea has known Ayanna J. since March

2013 and has had regular contact with her since that time. Ms. McCrea has met Ayanna J.’s

current foster parent and babysitter. Ms. McCrea is truly dedicated to Ayanna J.’s best interests.




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       65.     Plaintiff Ayanna J. has two siblings: (1) a nine year old sister, Alyssa L., and (2)

a sister, Angela L., who was beaten to death by her biological mother’s boyfriend in March 2010,

when she was 19 months old. Documents filed with the Family Court allege that, given Angela

L.’s extensive injuries, Ayanna J.’s biological mother knew or should have known about the

ongoing abuse that her daughter suffered. These documents also allege that Ayanna J.’s

biological mother delayed seeking medical care for Angela L., lied to hospital staff about the

source of the child’s injuries and instructed her other daughter, Alyssa L., who was then three

and a half years old, to lie about what had occurred.

       66.     The day after Angela L. died, ACS filed a petition against Plaintiff Ayanna J.’s

biological mother alleging severe and repeated abuse. In October 2012, the Family Court made a

finding of abuse against Ayanna J.’s biological mother. On appeal in June 2014, the New York

State Appellate Division found that Ayanna J.’s biological mother “severely abused [Angela L.]

and derivatively severely abused the subject child [Alyssa L.]”.

       67.     Plaintiff Ayanna J. was born after her sister Angela L. died. Due to the prior

finding of abuse against her biological mother, ACS placed Ayanna J. in ACS custody and in her

current foster placement on November 2, 2012—three days after she was born. In March 2013,

the Family Court made a finding of derivative abuse as to Ayanna J. and on September 30, 2014,

the Family Court amended its finding to severe abuse as to Ayanna J. based on the Appellate

Division’s June 2014 finding.

       68.     Since being placed in foster care over three years ago, Plaintiff Ayanna J. has had

approximately thirteen caseworkers at the Contract Agency to which ACS has delegated her day-

to-day care. Upon information and belief, five of these caseworkers have been assigned to

Ayanna J. in the last six months.




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       69.     While in the custody of ACS, Plaintiff Ayanna J. has had supervised visits with

her biological mother and father at the Contract Agency. During one such visit in September

2013, Ayanna J.’s biological father became angry and began screaming at Ayanna J.’s biological

mother in front of Ayanna J. Upon information and belief, at least one Contract Agency visit

was discontinued because Ayanna J.’s biological parents were fighting. Ayanna J.’s biological

father has not visited her since April 2014. Upon information and belief, visits at Ayanna J.’s

biological mother’s home were suspended after she threatened to physically assault a

caseworker. Ayanna J. continues to have supervised visits with her biological mother twice per

week at the Contract Agency. During one such visit in July 2014, Ayanna J.’s biological mother

allowed her biological father to speak with Ayanna J. over the phone despite such contact being

prohibited.

       70.     Plaintiff Ayanna J. has languished in the custody of ACS for the past three

years—a direct result of ACS’s failure to develop and implement an appropriate case plan and

provide appropriate services consistent with professional standards to enable this young girl to be

safely returned to her biological mother or, if that were not possible within a reasonable period of

time, to ensure that she can grow up in a permanent family.

       71.     As a result of her continued placement in ACS custody, Plaintiff Ayanna J. has

suffered great emotional harm. In 2013, Ayanna J. cried hysterically during supervised visits

with her biological mother at the Contract Agency. Now that she is older, Ayanna J. expresses

the desire to not attend visits with her biological mother, will not leave her babysitter to visit

with her biological mother, or will ask for her babysitter in the middle of a visit with her

biological mother. These visits have caused and continue to cause great stress, confusion and

psychological harm to this young child.




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       72.     In addition to failing to keep Plaintiff Ayanna J. free from emotional harm while

in its custody, ACS has also failed to take reasonable and appropriate steps consistent with

reasonable professional standards to place Ayanna J. in a permanent home.

       73.     On April 9, 2014, Plaintiff Ayanna J.’s permanency goal was changed from return

to parent to adoption. Her current foster parent has indicated a willingness to adopt her.

       74.     A petition for termination of parental rights (“TPR”) was filed on April 28, 2014,

after Plaintiff Ayanna J. already had been in foster care for almost one and a half years. The

TPR proceedings were adjourned repeatedly due to ACS’s failure to ensure that all parties were

prepared for court on scheduled hearing dates to resolve the permanency issues in this case. On

April 27, 2015, almost a year after the TPR petition was filed, the assigned Family Court judge

heard one day of testimony related to the TPR proceeding and continued the case until mid-June

2015. The next day, that Family Court judge was reassigned to another court. On June 22, 2015,

Plaintiff Ayanna J.’s TPR proceeding was re-assigned to a new Family Court judge, who

declared a mistrial and postponed a new trial. To date, no further testimony on this petition has

been heard.

       75.     After languishing in foster care for three years, Plaintiff Ayanna J.’s permanency

goal remains to be adopted.

       76.     During the over three years that Plaintiff Ayanna J. has been in the custody of

ACS, Defendants repeatedly have violated her constitutional, statutory and contractual rights by

failing to protect her from psychological and emotional harm; by failing to provide services to

ensure her physical, psychological and emotional well-being; by failing to ensure the provision

of appropriate foster care placements consistent with professional standards or of a meaningful,

timely and appropriate plan to enable her to be safely returned to her biological mother or, if that




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were not possible within a reasonable period of time, to place her in a permanent home. ACS

has further failed to exercise adequate and meaningful oversight over the Contract Agencies to

which ACS has delegated the day-to-day care of, and case planning responsibility for, this child.

As a direct result of Defendants’ actions and inactions, Ayanna J. has suffered and continues to

suffer irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where she will grow

up and of believing that there is no family she can call her own. Because of Defendants’ actions

and inactions, Plaintiff Ayanna J. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


       Olivia R. and Ana-Maria R.

       77.     Plaintiff Olivia R. is a six year old girl in the first grade, and Plaintiff Ana-Maria

R. is a five year old girl in kindergarten. ACS removed them from their biological mother’s

home on June 8, 2011. The permanency goal for both children currently is adoption. They have

been in ACS custody for more than four years.

       78.     Plaintiffs Olivia and Ana-Maria R. appear through their next friend, Dawn Cardi.

Ms. Cardi is an attorney in private practice in New York City, specializing in criminal and family

law. She is appointed and has served as a certified Law Guardian in the First Department of the

Appellate Division, representing children in complex family law proceedings. She is truly

dedicated to Olivia and Ana-Maria R.’s best interests.

       79.     Upon information and belief, this is Plaintiffs Olivia and Ana-Maria R.’s second

time in ACS custody. Upon information and belief, ACS removed Olivia and Ana-Maria R.

from their biological parents in January 2011, they spent a few months in a foster placement and



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then ACS returned them home. On June 8, 2011, when Olivia R. was two years old and Ana-

Maria R. was eight months old, ACS again removed the girls from their home and placed them

into ACS custody, reportedly due to domestic violence between their biological parents and their

biological mother’s alcohol and drug use.

       80.     The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, Plaintiffs Olivia and Ana-Maria R. initially placed them in a non-

kinship foster placement—the third place they had been moved to in six months.

       81.     In March 2012, the Contract Agency returned Plaintiffs Olivia and Ana-Maria R.

to their biological mother on a trial basis. In June 2012, their biological mother dropped them

off at the foster placement where they had been living and did not return to pick them up. She

did not visit the children again until July 24, 2012.

       82.     ACS has allowed Plaintiffs Olivia and Ana-Maria R. to be bounced in and out of

foster care for almost the entirety of their young lives, and they now have been in ACS custody

for the past four years—a direct result of ACS’s failure to develop and implement an appropriate

case plan and provide appropriate services consistent with professional standards to enable these

young girls to be safely returned to their biological mother or, if that were not possible within a

reasonable period of time, to ensure that they can grow up in a permanent family.

       83.     Plaintiffs Olivia and Ana-Maria R. have suffered physical and emotional abuse

while in ACS custody. In October 2013, Olivia R., who was four years old at the time, was

sexually abused by her biological mother’s friend during an unsupervised visit. Ana-Maria R.

was present during that abuse. Although the Contract Agency was made aware of this abuse at

that time, upon information and belief, neither the Contract Agency nor ACS took any action in

response to the report. More recently, Olivia R. reported the incident to her therapist, who (as a




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mandated reporter) informed the Statewide Central Register of Child Abuse and Maltreatment

and the police, and an investigation is underway. Olivia and Ana-Maria R.’s biological mother

has not visited with the children since November 26, 2014.

       84.     As a result of the emotional harm they have suffered while in ACS custody for the

past four years, Plaintiffs Olivia and Ana-Maria R. have suffered and continue to suffer from a

variety of mental health problems. Olivia R.’s diagnoses include Attention Deficit Hyperactivity

Disorder, Developmental Coordination Disorder and Disruptive Behavior Disorder. She is in a

special education setting at school. Ana-Maria R.’s diagnoses include Attention Deficit

Hyperactivity Disorder, Anger Management, and Conduct Disorder. She is in a special

education setting at school.

       85.     Since being placed in ACS custody, Plaintiffs Olivia and Ana-Maria R. have

suffered severe emotional and behavioral problems. Olivia R. has developed serious trust issues

and she would wet the bed before any visit with her biological mother. Ana-Maria R.

demonstrates severe hyperactivity and aggression. In her pre-kindergarten program, she often

would hit her teacher, tear things off the wall or break other items. In January 2015, her pre-

kindergarten program would not allow her to attend classes until she was medicated for these

behavioral problems. Although her doctor has recommended that she be given medication, upon

information and belief, she has been unable to start taking medication because the Contract

Agency has not approved it.

       86.     ACS has failed to ensure that Plaintiffs Olivia and Ana-Maria R. are provided

with the necessary and appropriate services to ensure their physical, psychological and emotional

well-being. One of their caseworkers recommended that the girls enroll in Bridges to Health

Program (“B2H”)—a Medicaid waiver program that provides support for children in foster care




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who are medically fragile, have a developmental disability or are severely emotionally disturbed.

Upon information and belief, when their foster mother initially requested these services, the

Contract Agency declined to submit the request because an agency caseworker said “that’s a lot

of paperwork”. Upon information and belief, Olivia and Ana-Maria R. still do not have all of the

B2H services for which they have been approved, including speech therapy and education

assistance.

       87.     In addition to failing to keep Plaintiffs Olivia and Ana-Maria R. free from

physical, psychological and emotional harm while in its custody, ACS also has failed to take

reasonable and appropriate steps consistent with reasonable professional standards to place

Olivia and Ana-Maria R. in a permanent home.

       88.     Plaintiffs Olivia and Ana-Maria R.’s permanency goal was not changed from

return to parent to adoption until March 1, 2014—after they had been in ACS custody for almost

three years. TPR petitions were filed approximately eight months later in November 2014.

Upon information and belief, on May 28, 2015, the Family Court judge handling Olivia and Ana-

Maria R.’s case made an oral statement that parental rights would be terminated; however,

because none of the attorneys present had drafted a proposed order, that ruling was not finalized

and Olivia and Ana-Maria R. were not freed for adoption at that time. Upon information and

belief, since then, Olivia and Ana-Maria R. have been freed for adoption. Olivia and Ana-Maria

R.’s current foster mother has indicated a willingness to adopt them and has submitted

paperwork to proceed with the adoption. Upon information and belief, the Contract Agency has

not provided clear instructions regarding what paperwork, classes and other information are

necessary to complete the adoption, and has directed Olivia and Ana-Maria R.’s foster mother to

submit to steps that are not requirements or steps that have already been completed. On




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November 27, 2015, the Family Court judge informed the Contract Agency that it must provide

clear, written instructions regarding the adoption process to Olivia and Ana-Maria R.’s foster

mother. Upon information and belief, the Contract Agency has not yet done so.

       89.     During the more than four years that Plaintiffs Olivia and Ana-Maria R. have

been in the custody of ACS, Defendants repeatedly have violated their constitutional, statutory

and contractual rights by failing to protect them from physical, psychological and emotional

harm; by failing to provide services to ensure their physical, psychological and emotional well-

being; by failing to ensure the provision of appropriate foster care placements consistent with

professional standards or of a meaningful, timely and appropriate plan to enable them to be

safely returned to their biological mother or, if that were not possible within a reasonable period

of time, to place them in a permanent home. ACS has further failed to exercise adequate and

meaningful oversight over the Contract Agencies to which ACS has delegated the day-to-day

care of, and case planning responsibility for, these children. As a direct result of Defendants’

actions and inactions, Plaintiffs Olivia and Ana-Maria R. have suffered and continue to suffer

irreparable harm and continue to be subjected to the lasting emotional damage that is a

consequence of children being harmed while in foster care, of not knowing where they will grow

up and of believing that there is no family they can call their own. Because of Defendants’

actions and inactions, Plaintiffs Olivia and Ana-Maria R. are being deprived of the opportunity

for a childhood that is reasonably free from harm and that provides the opportunity for stability

and healthy development.




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        Xavion M.

        90.    Plaintiff Xavion M. is a six year old boy in the first grade. ACS removed him

from his biological mother due to an allegation of neglect 15 days after he was born. He has

been in ACS custody for over six years—nearly his entire life.

        91.    Plaintiff Xavion M. appears through his next friend, Michael B. Mushlin. Mr.

Mushlin is a Law Professor at Pace University School of Law in New York City, where he has

taught for the last 30 years. His scholarship has included maltreatment of children in foster care.

Previously, he worked as a public interest and civil rights lawyer for 15 years as a staff attorney

with Harlem Assertion of Rights, Inc., as a staff attorney and Project Director of the Prisoners

Rights Project of the Legal Aid Society, and as Associate Director of the Children’s Rights

Project of the American Civil Liberties Union. He is truly dedicated to Xavion M.’s best

interests.

        92.    Plaintiff Xavion M. is not the only child that ACS has removed from his

biological mother and placed into foster care. Xavion M. has two siblings: (1) a 13 year old

brother, Vincent D., and (2) an 11 year old sister, Zahara D. Xavion M.’s siblings have been in

ACS custody for the past six years. Upon information and belief, at least one Family Court

judge has referred to these two children as “unadoptable” and their permanency goals remain that

they be returned to their parent.

        93.    The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this young boy first placed Plaintiff Xavion M. with a fictive kin

foster parent, who was a friend of his biological mother. On December 21, 2011, when Xavion

M. was just two years old, he was moved to a second, non-kinship, foster placement. When he

arrived, he was anemic and malnourished. He resided in this foster placement for well over three




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years. On August 26, 2015, the Contract Agency removed Xavion M. from this foster placement

and returned him to his biological mother on a trial basis. That Xavion M. has bounced in and

out of foster placements is a direct result of ACS’s failure to develop and implement an

appropriate case plan and provide appropriate services consistent with professional standards to

enable this young boy to be safely returned to his biological mother or, if that were not possible

within a reasonable period of time, to ensure that he can grow up in a permanent family.

       94.       Since being placed in foster care over six years ago, Plaintiff Xavion M. has had

approximately four caseworkers at the Contract Agency to which ACS has delegated his care and

case planning.

       95.       Plaintiff Xavion M., who has been in ACS custody for over six years, had weekly

supervised visits with his biological mother and older siblings prior to July 2015. Upon

information and belief, Xavion M.’s brother hit and kicked him during one such visit. In July

2015, Xavion M. started attending weekend, overnight visits with his biological mother. Upon

information and belief, during one such visit, Xavion M.’s biological mother took him to a home

in which his biological father resides, whom Xavion M. is not permitted to see because of an

order of protection.

       96.       The Contract Agency to which ACS has delegated the day-to-day care of, and

case planning responsibility for, this boy has not provided Plaintiff Xavion M. with necessary

services for his physical and emotional well-being. Although his teacher recommended that an

Individualized Education Program (“IEP”) be written for him, Xavion M. did not receive the

evaluation necessary for many months because his biological mother refused to give consent.

       97.       As a result of the over six years that Plaintiff Xavion M. has spent in ACS

custody, Xavion M. has suffered severe emotional damage. He has exhibited behavioral




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problems, including becoming aggressive and violent at home and at school; he also is having

difficulty concentrating at school. At five years old, he would only sleep in the same bed as his

foster mother and would not sleep through the night. Although Xavion M. was attending regular

therapy sessions, upon information and belief, he has not attended these sessions since August

2015.

        98.    In addition to failing to keep Plaintiff Xavion M. free from physical,

psychological and emotional harm while in its custody, ACS has also failed to take reasonable

and appropriate steps consistent with reasonable professional standards to place Xavion M. in a

permanent home.

        99.    On July 21, 2014—after Plaintiff Xavion M. had been in foster care for almost

five years—Xavion M.’s permanency goal was changed from return to parent to adoption. This

goal change occurred only after the Family Court judge handling Xavion M. and his siblings’

case instructed Xavion M.’s caseworkers at the Contract Agency to file a petition to terminate

the parental rights of Xavion M.’s biological mother and begin adoption proceedings. Xavion

M.’s foster mother at that time indicated a willingness to adopt him.

        100.   No TPR petition was filed and the Contract Agency continued to pursue plans to

return Xavion M. to his biological mother after first returning Xavion M.’s older siblings to his

mother on a trial basis. Indeed, papers filed in Family Court in March 2015 state that the

“Agency is working with [biological mother] for reunification”. At a family team conference on

June 24, 2015, the Contract Agency said it intended to pursue granting Xavion M.’s biological

mother unsupervised visits despite the fact that Xavion M.’s therapist had stated that Xavion M.

was not ready for this and that Xavion M.’s permanency goal was adoption.




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       101.    Upon information and belief, on July 29, 2015, the Contract Agency informed the

Family Court judge that it wanted to return Xavion M. to his biological mother on a trial basis

immediately. Upon information and belief, the Family Court judge informed the Contract

Agency that it could do so only after Xavion M. had one month of weekend, overnight visits

with his biological mother and upon 28 days’ notice.

       102.    On August 26, 2015, Xavion M. was returned to his biological mother on a trial

basis. The long-standing inconsistency in planning for this child’s future is increasing the

insecurity and emotional damage this child is experiencing in foster care.

       103.    During the over six years that Plaintiff Xavion M. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from physical, psychological and emotional harm; by failing to provide

services to ensure his physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable him to be safely returned to his biological

mother or, if that were not possible within a reasonable period of time, to place him in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Xavion M.

has suffered and continues to suffer irreparable harm and continues to be subjected to the lasting

emotional damage that is a consequence of a child being harmed while in foster care, of not

knowing where he will grow up and of believing that there is no family he can call his own.

Because of Defendants’ actions and inactions, Plaintiff Xavion M. is being deprived of the




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opportunity for a childhood that is reasonably free from harm and that provides the opportunity

for stability and healthy development.


        Dameon C.

        104.       Plaintiff Dameon C. is a four year old boy with special needs. ACS removed him

from his biological mother, who was then incarcerated, nine days after he was born. His

permanency goal currently is adoption. He has been in ACS custody for over four years—nearly

his entire life.

        105.       Plaintiff Dameon C. appears through his next friend, Reverend Doctor

Gwendolyn Hadley-Hall. Reverend Doctor Hadley-Hall is an associate pastor at Christ Temple

United Baptist Church in Brooklyn. Prior to entering the ministry, Reverend Doctor Hadley-Hall

was a teacher at public elementary schools in New York City for 30 years. She is truly dedicated

to Dameon C.’s best interests.

        106.       The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this boy first placed Plaintiff Dameon C. in a non-kinship foster

placement.

        107.       On Christmas Eve 2011, when Plaintiff Dameon C. was nine months old, he was

returned to his mother on a trial basis when she was released from jail. They were placed in a

mother-child drug and alcohol rehabilitation center. His former foster parent would often take

Dameon C. for two to three weeks at a time with his biological mother’s consent because

Dameon C.’s behavior deteriorated drastically when he was moved to his biological mother’s

care. He began banging his head, which he continues to do now at age four. In July 2012, his

biological mother was expelled from the rehabilitation center and Dameon C. was returned to his

former foster placement, where he remains to this day. He has been in foster care virtually his



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entire life—a direct result of ACS’s failure to develop and implement an appropriate case plan

and provide appropriate services consistent with professional standards to enable this young boy

to be safely returned to his biological mother or, if that were not possible within a reasonable

period of time, to ensure that he can grow up in a permanent family.

       108.    While in ACS custody, Plaintiff Dameon C. has had regular visits with his

biological mother. In February 2014, when Dameon C. was almost three years old, his

biological mother kicked him during the first unsupervised overnight visit at her drug treatment

facility. Although she is still permitted to have supervised visits with him, she did not have

contact with Dameon C. between December 2014 and April 23, 2015, at which time she began

attending supervised visits with Dameon C. again. However, during the summer of 2015,

Dameon C.’s biological mother disappeared from her drug treatment program and has not

consistently attended visits with him or contacted him since.

       109.    In addition to failing to keep Plaintiff Dameon C. safe from physical abuse and

emotional damage, ACS has also failed to ensure that he is provided with necessary services to

ensure his physical, psychological and emotional well-being. Although he has been diagnosed

with Attention Deficit Hyperactivity Disorder and Oppositional Defiant Disorder, and has been

approved to receive services through B2H, he is on a waiting list for those services.

       110.    ACS also has failed to take reasonable and appropriate steps to place Plaintiff

Dameon C. in a permanent home. Dameon C.’s permanency goal was not changed to adoption

until November 3, 2014—after he had already been in ACS custody for over three and a half

years. A TPR petition was filed thereafter. Plaintiff Dameon C.’s next court date had been

scheduled for June 2, 2015, but was postponed until November 2015, at which time it was

postponed until February 2016.




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       111.    During the over four years that Plaintiff Dameon C. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from physical, psychological and emotional harm; by failing to provide

services to ensure his physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable him to be safely returned to his biological

mother or, if that were not possible within a reasonable period of time, to place him in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Dameon C.

has suffered and continues to suffer irreparable harm and continues to be subjected to the lasting

emotional damage that is a consequence of a child being harmed while in foster care, of not

knowing where he will grow up and of believing that there is no family he can call his own.

Because of Defendants’ actions and inactions, Plaintiff Dameon C. is being deprived of the

opportunity for a childhood that is reasonably free from harm and that provides the opportunity

for stability and healthy development.


       Tyrone M.

       112.    Plaintiff Tyrone M. is a seven year old boy with special needs. ACS removed

him from his biological mother 12 days after he was born. His permanency goal currently is

adoption. He has been in ACS custody for over seven years—nearly his entire life.

       113.    Plaintiff Tyrone M. appears through his next friend, Bishop Lillian Robinson-

Wiltshire. Bishop Robinson-Wiltshire is the Senior Pastor and Overseer of Cathedral of Christ

Community Ministries in Brooklyn. Prior to entering the ministry 30 years ago, Bishop



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Robinson-Wiltshire was a family counselor and worked with families dealing with abuse and

neglect. Bishop Robinson-Wiltshire has also served as a foster parent to older children. She is

truly dedicated to Tyrone M.’s best interests.

       114.    Twelve days after he was born, ACS removed Plaintiff Tyrone M. from his

biological mother when she tested positive for cocaine after giving birth to him.

       115.    The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this young boy first placed Plaintiff Tyrone M. in a kinship foster

placement with his aunt. On June 23, 2014, ACS removed him from his aunt’s home after she

failed a random drug screening. The Contract Agency then placed him in a non-kinship foster

placement where he currently resides. Tyrone M. has now spent nearly his entire life in ACS

custody—a direct result of ACS’s failure to develop and implement an appropriate case plan and

provide appropriate services consistent with professional standards to enable this young boy to

be safely returned to his biological mother or, if that were not possible within a reasonable period

of time, to ensure that he can grow up in a permanent family.

       116.    ACS also has also failed to keep Plaintiff Tyrone M. free from physical,

psychological, and emotional harm while in its custody. When he arrived at his current foster

placement, his health and behavior indicated severe neglect. He suffered from severe dental

problems. He went to sleep in his clothing every night because in his previous foster placement

he had not been provided with such basic care as being taught to undress or change into pajamas

before bed.

       117.    As a result of the emotional harm he has suffered while in ACS custody for the

past seven years, Plaintiff Tyrone M. suffered and continues to suffer from a variety of mental

health problems. His diagnoses include Pervasive Developmental Disorder, Developmental




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Coordination Disorder, Communication Disorder and Attention Deficit Hyperactivity Disorder.

Tyrone M. also exhibits severe behavioral problems and often becomes violent at school and

throws chairs or pencils. As a result, his school has barred him from eating in the lunchroom

with other students and from attending school-sponsored field trips.

       118.    ACS has also failed to ensure that Plaintiff Tyrone M. is provided with the

necessary services to ensure his physical and emotional well-being. Although he has been

approved to receive services through B2H, he is on a waiting list for those services.

       119.    In addition to failing to keep Plaintiff Tyrone M. physically free from harm while

in its custody, ACS has also failed to take reasonable and appropriate steps consistent with

reasonable professional standards to place Tyrone M. in a permanent home.

       120.    After Plaintiff Tyrone M. had been in foster care for over seven years, his

biological mother voluntarily surrendered her parental rights. Although he is now free to be

adopted, it is not clear that he will be adopted by his current foster parent and, upon information

and belief, the Contract Agency, ACS and Tyrone M.’s law guardian have not sought out other

adoption possibilities for Tyrone M. to have a permanent home and family to call his own.

       121.    During the over seven years that Plaintiff Tyrone M. has been in the custody of

ACS, Defendants repeatedly have violated his constitutional, statutory and contractual rights by

failing to protect him from physical, psychological and emotional harm; by failing to provide

services to ensure his physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable him to be safely returned to his biological

mother or, if that were not possible within a reasonable period of time, to place him in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the




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Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Tyrone M.

has suffered and continues to suffer irreparable harm and continues to be subjected to the lasting

emotional damage that is a consequence of a child being harmed while in foster care, of not

knowing where he will grow up and of believing that there is no family he can call his own.

Because of Defendants’ actions and inactions, Plaintiff Tyrone M. is being deprived of the

opportunity for a childhood that is reasonably free from harm and that provides the opportunity

for stability and healthy development.


       Brittney W.

       122.    Plaintiff Brittney W. is a seven year old girl with special needs. ACS removed

her from her biological mother and placed her into ACS custody on May 10, 2011. Her

permanency goal currently is to be returned to her parent. She has been in ACS custody for over

four years—most of her life.

       123.    Plaintiff Brittney W. appears through her next friend, Liza Camellerie. Ms.

Camellerie is an attorney in private practice in New York City. She currently serves on the

assigned panel for Family Court in Manhattan, representing children and parents in Article 10

cases, among others. She also spent six years as a Family Court Legal Services (“FCLS”)

Attorney for ACS, four of which were spent as a supervisor to 25 to 30 other FCLS attorneys.

Ms. Camellerie is truly dedicated to Brittney W.’s best interests.

       124.    Shortly after Plaintiff Brittney W. was born, a report was called in to the

Statewide Central Register of Child Abuse and Maltreatment alleging that her biological

mother’s own mental incapacity and developmental delays prevented her from caring for her




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infant daughter. Brittney W. was placed into voluntary kinship care with her biological mother’s

niece by agreement with ACS.

       125.    On May 10, 2011, when Plaintiff Brittney W. was two years old, ACS remanded

her into its custody because her biological mother’s niece could no longer care for Brittney W.

       126.    The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, this young girl then placed Plaintiff Brittney W. in a non-kinship

foster placement. She has been residing in this foster placement for over four years—a direct

result of ACS’s failure to develop and implement an appropriate case plan and provide

appropriate services consistent with professional standards to enable this young girl to be safely

returned to her biological mother or, if that were not possible within a reasonable period of time,

to ensure that she can grow up in a permanent family.

       127.    After over four years in foster care, Plaintiff Brittney W.’s permanency goal is to

be returned to her parent. Upon information and belief, Brittney W.’s lawyer does not think that

her biological mother’s mental incapacities allow her to provide appropriate care for Brittney W.

Upon information and belief, the Contract Agency to which ACS has delegated the care and case

planning responsibility for this child has taken the position that Brittney W.’s biological mother

can provide care if she has 24-hour medical support.

       128.    In September 2015, Brittney W.’s biological mother was assigned a part-time

home health attendant, and, soon after, Brittney W. started once a week, four-day, overnight

visits with her mother. Upon information and belief, Brittney W.’s biological mother was unable

to ensure that Brittney W. got to and from school on time and, in October 2015, allowed a

stranger to transport Brittney W. to her foster placement. Upon information and belief, during a

recent visit, Brittney W.’s biological mother struck Brittney W. across the face. Upon




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information and belief, the Contract Agency has terminated overnight visits because of this,

however it intends to proceed with returning Brittney W. to her biological mother on a trial basis.

Brittney W.’s current foster mother has indicated a willingness to adopt her. No TPR petition

has been filed.

       129.       During the over four years that Plaintiff Brittney W. has been in the custody of

ACS, Defendants repeatedly have violated her constitutional, statutory and contractual rights by

failing to protect her from physical, psychological and emotional harm; by failing to provide

services to ensure her physical, psychological and emotional well-being; by failing to ensure the

provision of appropriate foster care placements consistent with professional standards or of a

meaningful, timely and appropriate plan to enable her to be safely returned to her biological

mother or, if that were not possible within a reasonable period of time, to place her in a

permanent home. ACS has further failed to exercise adequate and meaningful oversight over the

Contract Agencies to which ACS has delegated the day-to-day care of, and case planning

responsibility for, this child. As a direct result of Defendants’ actions and inactions, Brittney W.

has suffered and continues to suffer irreparable harm and continues to be subjected to the lasting

emotional damage that is a consequence of a child being harmed while in foster care, of not

knowing where she will grow up and of believing that there is no family she can call her own.

Because of Defendants’ actions and inactions, Plaintiff Brittney W. is being deprived of the

opportunity for a childhood that is reasonably free from harm and that provides the opportunity

for stability and healthy development.




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       Mikayla G.

       130.    Plaintiff Mikayla G. is a two year old girl. ACS removed her from her biological

mother on November 21, 2013. Her permanency goal currently is adoption. She has been in

ACS custody for the past two years—nearly her entire life.

       131.     Plaintiff Mikayla G. appears through her next friend, Amy Mulzer. As discussed

supra, Ms. Mulzer is an Acting Assistant Professor of Lawyering at New York University

School of Law. The primary focus of her research includes: Adoption, Child Welfare, Family

Law, Parental Rights and Poverty Law. Prior to joining the lawyering faculty at NYU, Ms.

Mulzer spent five years representing low-income parents whose children were in foster care or at

risk of being placed in foster care, first as a staff attorney at Brooklyn Defender Services and

then as an appellate attorney on the assigned counsel panel for the Appellate Division, Second

Department. Ms. Mulzer is truly dedicated to Mikayla G.’s best interests.

       132.    Upon information and belief, on November 20, 2013, Plaintiff Mikayla G.’s

biological mother, then an 18 year old who had formerly been in the custody of ACS and who

was struggling to financially support herself and her four month old child, arranged for childcare

so that she could go to the Human Resources Administration to arrange for childcare, housing

and other benefits. Upon information and belief, thereafter, she went to several grocery stores to

use her Women, Infants, and Children benefits (“WIC”) to purchase formula Mikayla G. needed

for colic. Upon information and belief, upon her return to pick up her child, Mikayla G.’s

biological mother was told that Mikayla G. had been taken to a family member’s home. Upon

information and belief, Mikayla G.’s biological mother was told that an ACS caseworker would

not allow her in her family member’s home. The next day, Mikayla G.’s biological mother was

told that Mikayla G. was being removed from her custody.




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       133.    ACS removed Plaintiff Mikayla G. without taking necessary steps or making

reasonable efforts to determine whether Mikayla G. could remain safely at home with her

biological mother. Although Mikayla G.’s biological mother had contact with ACS between

July and November 2013, no preventive services case was ever opened and a report made to the

Statewide Central Register of Child Abuse and Maltreatment came back “unfounded”. Upon

information and belief, ACS removed Mikayla G. without offering Mikayla G.’s biological

mother the services that would have allowed Mikayla G. to remain safely at home with her.

       134.    The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, Plaintiff Mikayla G. initially placed her in a non-kinship foster

placement. The foster mother did not provide Mikayla G. with the appropriate formula. Upon

information and belief, in approximately December 2013, the Contract Agency moved Mikayla

G. to a new foster placement because the foster mother in her first foster placement was not

appropriately feeding Mikayla G. Upon information and belief, Mikayla G. is one of many

children living in this second foster placement.

       135.    Plaintiff Mikayla G. has now been in foster care for two years—nearly her entire

life. This is a direct result of ACS’s failure to develop and implement an appropriate case plan

and provide appropriate services consistent with professional standards to enable this young girl

to be returned to her biological mother or, if that were not possible within a reasonable period of

time, to ensure that she would grow up in a permanent family.

       136.    Plaintiff Mikayla G. has had three caseworkers and two supervisors during her

time in ACS custody.

       137.    Plaintiff Mikayla G. has suffered emotional harm as a result of spending nearly

her entire life in ACS custody without a permanent family. All indications are that she misses




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her biological mother very much. Mikayla G. visits once a week with her biological mother and

asks at the end of every visit if she can go home with her. Upon information and belief, Mikayla

G.’s biological mother has expressed concern that Mikayla G. is confused about her placement in

foster care and has asked the Contract Agency to provide services to address this. Upon

information and belief, the Contract Agency has not provided any services to address this issue.

        138.   In addition to failing to keep Plaintiff Mikayla G. free from emotional harm while

in its custody, ACS has also failed to take reasonable and appropriate steps consistent with

professional standards to place Mikayla G. in a permanent home.

        139.   On or about March 2, 2015, Plaintiff Mikayla G.’s permanency goal was changed

from return to parent to adoption. On April 28, 2015, a TPR petition was filed. Upon

information and belief, in June 2015, the Family Court judge handling Mikayla G.’s case ordered

that Mikayla G.’s permanency goal be changed back to return to parent. The Contract Agency is

proceeding with adjudication of the TPR petition and the trial is scheduled to begin in February

2016.

        140.   Plaintiff Mikayla G.’s biological mother wants nothing more than to finally bring

her daughter home. When Mikayla G. was removed, Mikayla G.’s biological mother was

ordered to attend parenting classes, attend a drug treatment program and find stable housing.

Upon information and belief, Mikayla G.’s biological mother was not provided with any

assistance in finding a parenting class. She identified one herself and completed it in nine weeks.

Mikayla G.’s biological mother was referred to a drug treatment program for her marijuana use.

Upon information and belief, she has been in and out of drug treatment programs and she has

communicated to the Contract Agency that she intends to begin an outpatient drug program again

soon. Upon information and belief, the Contract Agency has told Mikayla G.’s biological




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mother that she cannot meet with its housing specialist to help find her stable housing until she

has completed her outpatient drug treatment program. Due to her inability to find affordable and

stable housing, Mikayla G.’s biological mother lived in an abandoned house with other family

members for a number of months. Mikayla G.’s biological mother now lives with friends. Upon

information and belief, the Family Court judge and Contract Agency caseworker handling

Mikayla G.’s case told her to give finding work and housing lower priority than her drug

treatment.

       141.    If Plaintiff Mikayla G. is unable to be returned to her parent, Mikayla G.’s

biological mother would like her to be placed with a relative. Upon information and belief, since

her removal over two years ago, neither ACS nor the Contract Agency has made efforts to

determine whether this little girl’s relatives may be appropriate foster or adoptive placements

even though family members have presented themselves to ACS and the Contract Agency as

options for placement.

       142.    During the more than two years that Plaintiff Mikayla G. has been in the custody

of ACS, Defendants repeatedly have violated her constitutional, statutory and contractual rights

by failing to protect her from psychological and emotional harm; by failing to provide services to

ensure her physical, psychological and emotional well-being; by failing to ensure the provision

of appropriate foster care placements consistent with professional standards or of a meaningful,

timely and appropriate plan to enable her to be safely returned to her biological mother or, if that

were not possible within a reasonable period of time, to place her in a permanent home. ACS

has further failed to exercise adequate and meaningful oversight over the Contract Agencies to

which ACS has delegated the day-to-day care of, and case planning responsibility for, this child.

As a direct result of Defendants’ actions and inactions, Mikayla G. has suffered and continues to




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suffer irreparable harm and continues to be subjected to the lasting emotional damage that is a

consequence of a child being harmed while in foster care, of not knowing where she will grow

up and of believing that there is no family she can call her own. Because of Defendants’ actions

and inactions, Plaintiff Mikayla G. is being deprived of the opportunity for a childhood that is

reasonably free from harm and that provides the opportunity for stability and healthy

development.


        Myls J. and Malik M.

        143.      Plaintiff Myls J. is a five year old boy in kindergarten, and Plaintiff Malik M. is a

three year old boy in pre-kindergarten. Myls J. and Malik M. are brothers. Myls J. was removed

from his biological mother on March 14, 2011. Malik M. was removed from his biological

mother on April 4, 2012, just two days after he was born. The permanency goal for both

children currently is adoption. Myls J. has been in ACS custody for more than four years and

Malik M. has been in custody for over three and a half years—nearly his entire life.

        144.      Plaintiffs Myls J. and Malik M. appear through their next friend, Elizabeth

Hendrix. Ms. Hendrix worked as a special education teacher in public schools for several years

before specializing in how to teach children with dyslexia or other reading disabilities, both in

public schools and private tutoring. Ms. Hendrix is truly dedicated to Myls J. and Malik M.’s

best interests.

        145.      Upon information and belief, shortly after Plaintiff Myls J. was born, his

biological mother, then a 15 year old girl who had formerly been in the custody of ACS, left him

with her grandmother. Upon information and belief, Myls J.’s biological great-grandmother

reported to the Statewide Central Register of Child Abuse and Maltreatment that Myls J.’s

biological mother had abandoned him.



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       146.    The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, Plaintiff Myls J. initially placed him in a non-kinship emergency

foster placement. Myls J. was then placed in a non-kinship foster placement—the third place he

had lived in one month.

       147.    When Plaintiff Malik M. was born, the Contract Agency to which ACS delegated

the day-to-day care of, and case planning responsibility for, Malik M. placed him in the same

non-kinship foster placement as Myls J. Malik M. reportedly was removed from his biological

mother because of her problems with drug and alcohol use.

       148.    In the past four years, Plaintiffs Myls J. and Malik M. have had approximately

twelve caseworkers at the Contract Agency to which ACS has delegated their day-to-day care.

       149.    Plaintiffs Myls J. and Malik M. had sporadic supervised visits with their

biological mother at the Contract Agency until approximately August 2012 when their biological

mother stopped attending visits. Upon information and belief, Myls J. did not visit his biological

mother at all in 2013, and Malik M. visited with his biological mother only once in 2013. In

2014, neither Myls J. nor Malik M. visited their biological mother. On July 31, 2015, Myls J.

and Malik M. saw their biological mother for the first time since 2013. In November 2015, the

Family Court judge handling Myls J. and Malik M.’s case suspended visits with their biological

mother.

       150.    Plaintiff Myls J. has languished in the custody of ACS for over four years and his

brother Plaintiff Malik M. has languished in the custody of ACS for nearly his entire life—a

direct result of ACS’s failure to develop and implement an appropriate case plan and provide

appropriate services consistent with professional standards to enable these young boys to be




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safely returned to their biological mother or, if that were not possible within a reasonable period

of time, to ensure that they can grow up in a permanent family.

       151.    As a result of their continued placement in ACS custody, Plaintiffs Myls J. and

Malik M. have suffered great physical and emotional harm. Although a doctor has prescribed

Myls J. medication for Attention Deficit Hyperactivity Disorder and to address his problems

sleeping, he was unable to start this medication until a year after it was prescribed because the

Contract Agency was unable to locate his biological mother so that she could give consent.

Additionally, Myls J. and Malik M.’s visits with their biological mother caused them severe

anxiety. Soon after visits began in 2015, Myls J. began screaming and crying at school. Malik

M. had previously seen his biological mother only twice before, when he was approximately two

months old, and was confused about who she was.

       152.    As a result of the emotional harm they have suffered while in ACS custody for the

past four years, Plaintiffs Myls J. and Malik M. have suffered and continue to suffer from a

variety of mental health problems. Myls J.’s diagnoses include Attention Deficit Hyperactivity

Disorder, Autistic Disorder and Pervasive Developmental Disorder. He is in a special education

setting at school. Malik M. also is in a special education early education program.

       153.    In addition to failing to keep Plaintiffs Myls J. and Malik M. free from emotional

harm while in its custody, ACS has also failed to take reasonable and appropriate steps consistent

with reasonable professional standards to place Myls J. and Malik M. in a permanent home.

       154.    On October 10, 2012, the Contract Agency determined that Plaintiffs Myls J. and

Malik M.’s permanency goal should be changed from return to parent to adoption. Their current

foster parent has indicated a willingness to adopt them.




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       155.    A petition for TPR was filed on or about June 12, 2013. Upon information and

belief, the TPR proceedings have been adjourned repeatedly due to ACS’s failure to ensure that

all parties were prepared for court on scheduled hearing dates to resolve the permanency issues

in this case. The TPR proceedings are currently scheduled to begin on March 1, 2016.

       156.    After languishing in foster care for over three years, Plaintiffs Myls J. and Malik

M.’s permanency goal remains to be adopted.

       157.    During the more than three years that Plaintiffs Myls J. and Malik M. have been

in the custody of ACS, Defendants repeatedly have violated their constitutional, statutory and

contractual rights by failing to protect them from psychological and emotional harm; by failing

to provide services to ensure their physical, psychological and emotional well-being; by failing

to ensure the provision of appropriate foster care placements consistent with professional

standards or of a meaningful, timely and appropriate plan to enable them to be safely returned to

their biological mother or, if that were not possible within a reasonable period of time, to place

them in a permanent home. ACS has further failed to exercise adequate and meaningful

oversight over the Contract Agencies to which ACS has delegated the day-to-day care of, and

case planning responsibility for, these children. As a direct result of Defendants’ actions and

inactions, Myls J. and Malik M. have suffered and continue to suffer irreparable harm and

continue to be subjected to the lasting emotional damage that is a consequence of children being

harmed while in foster care, of not knowing where they will grow up and of believing that there

is no family they can call their own. Because of Defendants’ actions and inactions, Plaintiffs

Myls J. and Malik M. are being deprived of the opportunity for a childhood that is reasonably

free from harm and that provides the opportunity for stability and healthy development.




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        Emmanuel S. and Matthew V.

        158.    Plaintiff Emmanuel S. is a 14 year old boy in the ninth grade, and Plaintiff

Matthew V. is a 13 year old boy in the eighth grade. Emmanuel S. and Matthew V. are brothers.

The permanency goal for both children currently is adoption. They have been in ACS custody

for more than four years.

        159.    Plaintiffs Emmanuel S. and Matthew V. appear by their next friend, Samuel

Perry. Mr. Perry is a high school history and government teacher. Mr. Perry started his career

teaching students in special education classes and currently mentors a student who was

previously in the custody of ACS. Mr. Perry is truly dedicated to Emmanuel S. and Matthew

V.’s best interests.

        160.    Upon information and belief, this is Plaintiffs Emmanuel S. and Matthew V.’s

second time in ACS custody. Upon information and belief, ACS removed the children from

their biological parents and then returned them home. On September 19, 2011, when Emmanuel

S. was ten years old and Matthew V. was nine years old, ACS removed Emmanuel S. and

Matthew V. and placed them in ACS custody again, reportedly because of their biological

mother’s mental health issues and drug use. Emmanuel S. and Matthew V.’s biological father

suffers from Alzheimer’s disease and is unable to care for the children. When the children were

placed in ACS custody, the Family Court entered a temporary order of protection prohibiting

Emmanuel S. and Matthew V.’s biological mother from contacting them because of her mental

health issues and drug use.

        161.    The Contract Agency to which ACS delegated the day-to-day care of, and case

planning responsibility for, these children placed Plaintiffs Emmanuel S. and Matthew V. in a




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kinship foster placement with their cousin. At that time, their permanency goal was to be

returned to their parent. They remain in that kinship foster placement with their cousin.

       162.    Upon information and belief, from October 2011 to March 2013, Plaintiffs

Emmanuel S. and Matthew V. had occasional visitation with their biological mother. During at

least one such visit, Emmanuel S. and Matthew V.’s biological mother brought with her to a visit

a man who is prohibited by court order from being around the children. Upon information and

belief, Emmanuel S. and Matthew V.’s visitation with their biological mother has become

sporadic because of their reluctance to visit with her or have other contact with her.

       163.     Plaintiffs Emmanuel S. and Matthew V. have languished in the custody of ACS

for the past four years—a direct result of ACS’s failure to develop and implement an appropriate

case plan and provide appropriate services consistent with professional standards to enable these

young boys to be safely returned to their biological mother or, if that were not possible within a

reasonable period of time, to ensure that they can grow up in a permanent family.

       164.    As a result of their continued placement in ACS custody, Plaintiffs Emmanuel S.

and Matthew V. have suffered severe emotional trauma.

       165.    In June 2012, Plaintiff Emmanuel S. was diagnosed with adjustment disorder with

depressed mood with moderate psychosocial stressors caused by conflicts between his biological

mother and foster parent. In October 2013, the Contract Agency reported that Emmanuel S.

experienced “emotional turmoil” over the course of the previous year and was disturbed by his

inability to effectively communicate with his biological mother to express his feelings in a way

she would consider. During this time, Emmanuel S.’s biological mother would also contact him

at inappropriate times and in inappropriate places, such as when he was at school. Because of

these events, Emmanuel S. began attending mental health counseling sessions once a week as




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opposed to twice a month. In March 2015, Emmanuel S. was diagnosed with adjustment

disorder with a mood psychosocial stressor, the “need for permanency”. Upon information and

belief, Emmanuel S. has developed an eating disorder because of the anxiety he suffers as a

result of his continued placement in foster care.

       166.    Plaintiff Matthew V. has also suffered emotional harm because of his continued

placement in ACS custody. In March 2012, a counselor at the school he attended reported that

Matthew V. presented concerning behavior impacting his ability to cooperate with his teacher

and complete his work, including being readily persuaded to engage in inappropriate behavior by

his peers, such as going through his teacher’s belongings and engaging in physical fights. The

same counselor reported that he shared that “he is both angry and sad about the current

relationship situation with his mother”. In May 2014, Matthew V. was diagnosed with anxiety

with “lack of permanency” as a stressor. In March 2015, Matthew V. was diagnosed with

adjustment disorder with depressed mood with a mood psychosocial stressor, the “need for

permanency”.

       167.    ACS has failed to ensure that Plaintiffs Emmanuel S. and Matthew V. are

provided with the necessary and appropriate services to ensure their physical, psychological and

emotional well-being. Upon information and belief, Emmanuel S. and Matthew V. have had at

least five caseworkers since they were placed in ACS custody four years ago, one of whom was

their caseworker for only two weeks. Although Emmanuel S. and Matthew V. struggle in school

and their foster mother requested additional education support for them, the Contract Agency did

not approve an IEP evaluation, attend any of the IEP meetings or provide them with other

educational support until an advocate intervened on their behalf.




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       168.    In addition to keeping Plaintiffs Emmanuel S. and Matthew V. free from

emotional harm while in its custody, ACS has also failed to take reasonable and appropriate steps

consistent with reasonable professional standards to place Emmanuel S. and Matthew V. in a

permanent home.

       169.    On April 16, 2013, the Contract Agency informed Emmanuel S. and Matthew

V.’s therapists and their biological mother’s therapist that it planned to request Emmanuel S. and

Matthew V.’s goal be changed to adoption. On April 17, 2013, the Contract Agency conducted a

“goal change conference” and decided to postpone changing the children’s goal to adoption until

the Contract Agency provided services to Emmanuel S. and Matthew V.’s biological mother that

it had failed to provide. On August 21, 2013, the Contract Agency conducted a “goal change

conference” and filed a TPR petition in Family Court. On August 27, 2013, nearly two years

after entering care, the Contract Agency spoke to Emmanuel S. and Matthew V. about being

adopted by their current foster parent. Upon information and belief, Emmanuel S. and Matthew

V. have not yet been freed for adoption. Upon information and belief, the trial in Family Court

regarding the TPR petition is scheduled to begin in March 2016.

       170.    During the four years that Plaintiffs Emmanuel S. and Matthew V. have been in

the custody of ACS, Defendants repeatedly have violated their constitutional, statutory and

contractual rights by failing to protect them from psychological and emotional harm; by failing

to provide services to ensure them physical, psychological and emotional well-being; by failing

to ensure the provision of appropriate foster care placements consistent with professional

standards or of a meaningful, timely and appropriate plan to enable them to be safely returned to

their biological mother or, if that were not possible within a reasonable period of time, to place

them in a permanent home. ACS has further failed to exercise adequate and meaningful




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oversight over the Contract Agencies to which ACS has delegated the day-to-day care of, and

case planning responsibility for, these children. As a direct result of Defendants’ actions and

inactions, Emmanuel S. and Matthew V. have suffered and continue to suffer irreparable harm

and continue to be subjected to the lasting emotional damage that is a consequence of children

being harmed while in foster care, of not knowing where they will grow up and of believing that

there is no family they can call their own. Because of Defendants’ actions and inactions,

Plaintiffs Emmanuel S. and Matthew V. are being deprived of the opportunity for a childhood

that is reasonably free from harm and that provides the opportunity for stability and healthy

development.


                                                ***

         171.   All of Defendants’ actions and inactions as described herein substantially depart

from accepted professional judgment and constitute deliberate indifference to the harms, risk of

harms and violations of legal rights suffered by the Named Plaintiff Children.


 II.     The Public Advocate for the City of New York

         172.   Plaintiff Letitia James is the Public Advocate for the City of New York (the

“Public Advocate”). In this capacity, the Public Advocate ensures that the city government

serves its citizens by exercising oversight of city agencies, investigating citizen complaints

regarding city services, and making proposals or seeking relief to address perceived

shortcomings or failures.

         173.   Just two months into her tenure, the Public Advocate introduced a law, Int. 0104-

2014, that would require ACS to report information related to youth in the foster care system on

an annual basis. This law ensures that the City monitors which supports and resources these

young adults use and identifies ongoing educational barriers they experience and problems they


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might encounter with homelessness or law enforcement. In September 2014, the Office of the

Public Advocate issued a policy report concerning youth “aging out” of the foster care system.

The report provided recommendations to improve data collection, access to housing, and

coordination of services for young people aging out of the system. On September 30, 2014, Int.

0104-2014 was signed into law.

       174.    On an ongoing basis, the Office of the Public Advocate Constituent Affairs

Department (“the Constituent Affairs Department”) receives complaints from constituents in all

five boroughs alleging deficiencies and lapses in responsibilities by both ACS and Contract

Agencies. Constituent complaints alleged, for instance, failure to investigate allegations of abuse

of children in ACS custody, failure to initiate timely TPR proceedings, failure to follow proper

procedures when removing children from their family home or foster home, failure to provide

required services for both biological parents and foster children, failure to honor ACS vouchers

and potentially retaliatory practices against those who complained directly to ACS or Contract

Agencies. In total, the Constituent Affairs Department has received 559 complaints regarding

ACS since January 1, 2014.

       175.    As a result of ongoing complaints, the Public Advocate identified ACS as an

agency whose practices warrant investigation.

       176.    Upon learning that New York City keeps children in foster care longer than

almost every jurisdiction in the country, the Office of the Public Advocate began to examine

obstacles to permanency and established a hotline to hear directly from foster children and their

advocates about their experiences.

       177.    In November 2014, the Office of the Public Advocate requested a copy of all

contracts ACS holds with individual Contract Agencies; on November 17, 2014, ACS responded




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with electronic copies of all the contracts it has with the 29 Contract Agencies. On or about

February 6, 2015, the Office requested all data collected by ACS used to produce “Scorecard”

evaluations (see infra ¶¶ 272–75) of the Contract Agencies from 2012 to 2014, in addition to the

Scorecard evaluations themselves and any related documentation. After receiving no response,

the Office of the Public Advocate repeated the request on February 27, 2015. A meeting was

held on March 11, 2015, at which the document request was made for a third time and denied by

ACS.

       178.    On or about April 1, 2015, the Office of the Public Advocate sent a letter to ACS

threatening legal action if they did not comply with the data request and also requested access to

ACS’s Legal Tracking System in order to investigate constituent complaints concerning

significant delays and inefficiencies occurring in Family Court proceedings in which ACS is

involved. Following this correspondence, ACS provided Scorecard evaluations, but did not

provide the underlying data used to produce them, or the other requested information.

       179.    Also in April 2015, the Office of the Public Advocate launched a multilingual

hotline to learn first-hand from children and their advocates about the current barriers to

receiving better services while in foster care and obtaining a safe and permanent home.

Participants in the hotline were asked to complete a survey. The survey’s questions varied based

on the type of respondent—typically a child, birth parent or foster parent—and asked about the

child’s trajectory in foster care, permanency planning, services provided and cases of

maltreatment in care.

       180.    Combining anecdotal reports from the hotline and publicly available data, the

Office of the Public Advocate identified several deficiencies including, but not limited to, ACS

removal of children without proper court process, failure to identify and provide adequate




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services for parents of children in care and subsequent delays in reunification, failure to place

children appropriately and thus creating instability, failure of ACS and the Contract Agencies to

be prepared for court dates, failure of ACS to recruit, train and support adoptive placements,

failure to engage in concurrent planning, failure to protect children from maltreatment and failure

to provide adequate health and mental health services to children in care. Those deficiencies and

recommendations for addressing them were cited in a report that was issued on July 2, 2015.


III.     Defendants

         181.   Defendant City of New York (“City”) was, and is, a municipal entity created and

authorized under the laws of the State of New York. It is authorized by law to maintain and

ultimately is responsible for the New York City Administration for Children’s Services, which

acts as its agent in the area of protecting the safety and welfare of children in the City. The City

assumes the risks incidental to the maintenance of the New York City Administration for

Children’s Services and its employment of attorneys, caseworkers and others.

         182.   Defendant New York City Administration for Children’s Services (“ACS”) was,

and is, a municipal agency of the City responsible for protecting the safety and welfare of all

children in New York City. At all times relevant hereto, the officials, agents and employees of

ACS were acting under the color of state law in the course and scope of their duties and

functions as agents, servants, employees and officials of ACS and otherwise performed and

engaged in conduct incidental to the performance of their lawful duties. The officials, agents and

employees were acting for, and on behalf of, ACS at all times relevant herein with the power and

authority vested in them as agents and employees of ACS and the City and incidental to their

lawful pursuit of their duties as officials, employees and agents of ACS.




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        183.   Defendant Gladys Carrión is Commissioner of ACS and is sued solely in her

official capacity. She is responsible for ACS’s policies, practices and operations, and for

ensuring that ACS and the private agencies with which it contracts comply with all applicable

federal and state laws, pursuant to the Charter of the City of New York, Chapter 24-B §§ 615 and

617. All children in foster care in New York City are in the custody of Defendant Carrión, and

she is responsible for ensuring their health, safety and well-being, including, but not limited to,

their freedom from maltreatment while in state custody and their placement in a permanent home

within a reasonable period of time.

        184.   Defendant State of New York (“State”) was, and is, a governmental entity. It is

authorized by law to maintain and is ultimately responsible for the New York State Office of

Children and Family Services, which acts as its agent in the area of foster care, adoption and

adoption assistance for children in New York State. The State assumes the risks incidental to the

maintenance of the New York State Office of Children and Family Services.

        185.   Defendant New York State Office of Children and Family Services (“OCFS”)

was, and is, an agency of the State responsible for programs involving foster care, adoption and

adoption assistance for children in New York State. At all times relevant hereto, the officials,

agents and employees of OCFS were acting under the color of state law in the course and scope

of their duties and functions as agents, servants, employees and officials of OCFS and otherwise

performed and engaged in conduct incidental to the performance of their lawful duties. The

officials, agents and employees were acting for, and on behalf of, OCFS at all times relevant

herein with the power and authority vested in them as agents and employees of OCFS and the

State and incidental to their lawful pursuit of their duties as officials, employees and agents of

OCFS.




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        186.     Defendant Sheila J. Poole is Acting Commissioner of OCFS and is sued solely in

her official capacity. She is responsible for the policies, practices and operation of OCFS, for

ensuring OCFS’s compliance with all applicable federal and state law, pursuant to New York

State Social Services Law §§ 11 and 17, and for providing oversight to all social services

districts in the state.


                                  JURISDICTION AND VENUE

        187.     This action arises under the Constitution and laws of the United States, including

42 U.S.C. § 1983. The Court has jurisdiction over the federal claims pursuant to 28 U.S.C.

§§ 1331 and 1343(a). The Court may exercise supplemental jurisdiction over the claims based

on New York law pursuant to 28 U.S.C. § 1367(a).

        188.     This Court has jurisdiction to issue declaratory and injunctive relief pursuant to

28 U.S.C. §§ 2201 and 2002 and Rule 57 of the Federal Rules of Civil Procedure.

        189.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) because the claims

arise in this district. Although OCFS and ACS are responsible for children from all five

boroughs of New York City, including those in the Eastern District of New York, the

Commissioner of ACS has custody of all Plaintiff Children, and ACS’s administrative and

managerial functions are operated out of its headquarters, which is located in the Southern

District of New York.


                                CLASS ACTION ALLEGATIONS

        190.     This action is properly maintained as a class action pursuant to Rules 23(a) and

23(b)(2) of the Federal Rules of Civil Procedure.




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       191.    The general class is defined as all children who are now or will be in the foster

care custody of the Commissioner of New York City’s Administration for Children’s Services

(“Plaintiff Children” or the “Class”).

       192.    The Class is sufficiently numerous to make joinder impracticable. As of

September 2015, there were approximately 10,313 children in the foster care custody of the

Commissioner of ACS.

       193.    The questions of fact and law raised by Named Plaintiff Children’s claims are

common to and typical of those of each putative member of the Class whom they seek to

represent. The Named Plaintiff Children and Plaintiff Children rely on Defendants for foster

care services in New York City and wholly depend on the State and City Defendants for

provision of those services. Defendants’ long-standing and well-documented actions and

inactions substantially depart from accepted professional judgment and constitute deliberate

indifference to the harm, risk of harm and violations of legal rights suffered by the Named

Plaintiff Children and Plaintiff Children.

       194.    Questions of fact common to the Class include:


               a.      whether State and City Defendants fail to protect Plaintiff Children from

                       physical, psychological and emotional harm;

               b.      whether State and City Defendants fail to ensure meaningful case plans to

                       enable Plaintiff Children to be safely returned to their parents or, if that

                       were not possible within a reasonable period of time, to place them in

                       permanent homes;

               c.      whether State and City Defendants fail to provide foster care placements

                       and services that ensure Plaintiff Children’s well-being; and



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         d.     whether ACS fails to exercise adequate and meaningful oversight over the

                Contract Agencies to which ACS has delegated the day-to-day care of, and

                case planning responsibility for, Plaintiff Children.


  195.   Questions of law common to the Class include:


         a.     whether Defendants’ long-standing and well-documented actions and

                inactions violate Plaintiff Children’s substantive rights under the due

                process clause of the Fourteenth Amendment to the United States

                Constitution;

         b.     whether Defendants’ long-standing and well-documented actions and

                inactions violate Plaintiff Children’s right to a permanent home and family

                under the First, Ninth and Fourteenth Amendments to the United States

                Constitution;

         c.     whether Defendants’ long-standing and well-documented actions and

                inactions violate Plaintiff Children’s rights under the Adoption Assistance

                and Child Welfare Act of 1980, as amended by the Adoption and Safe

                Families Act of 1997;

         d.     whether City Defendants’ long-standing and well-documented actions and

                inactions violate Plaintiff Children’s rights under New York State Social

                Services Law and regulations adopted pursuant thereto; and

         e.     whether City Defendants’ actions and inactions violate Plaintiff Children’s

                rights as third party beneficiaries to the contracts between the City

                Defendants and the Contract Agencies to which ACS has delegated the

                day-to-day care of, and case planning responsibility for, Plaintiff Children.


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         196.   The violations of law and resulting harms averred by Named Plaintiffs are typical

of the legal violations and harms and/or risk of harms experienced by all Plaintiff Children in the

Class.

         197.   Named Plaintiffs will fairly and adequately protect the interests of the Class that

they seek to represent. Defendants have acted or failed to act on grounds generally applicable to

all members of the Class, necessitating class-wide declaratory and injunctive relief. Counsel for

Plaintiff Children know of no conflict among the Class members.

         198.   Named Plaintiffs and Plaintiff Children are represented by the following attorneys

who are competent and experienced in class action litigation, child welfare litigation and

complex civil litigation:


                a.      Marcia Robinson Lowry, an attorney with A Better Childhood, Inc., a

                        non-profit legal advocacy organization, who has substantial experience

                        and expertise in federal child welfare class actions nationally; and

                b.      Attorneys from Cravath, Swaine & Moore LLP, including Julie A. North

                        and J. Wesley Earnhardt, Members of the Firm, who have significant

                        experience in complex litigation in state and federal courts throughout the

                        United States.


Plaintiff Children’s attorneys have identified and thoroughly investigated all claims in this action

and have committed sufficient resources to represent the Class through trial and any appeals.

Each Named Plaintiff appears by a next friend pursuant to Federal Rule of Civil Procedure 17(c),

and each next friend is sufficiently familiar with the facts of the child’s situation and dedicated to

the child’s best interests to fairly and adequately represent the child’s best interests in this

litigation.


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          STRUCTURE OF THE NEW YORK CITY CHILD WELFARE SYSTEM

         199.   Children in foster care in New York City are in the legal custody of the

Commissioner of ACS (currently, Defendant Carrión) (“ACS custody”). At all times, ACS

maintains legal custody and legal responsibility for all children in foster care in New York City.

         200.   Pursuant to its Charter, the City of New York and Defendant Carrión, as

Commissioner of ACS, are responsible for ensuring that ACS complies with federal and state

law.

         201.   New York State provides funding to New York City that is spent on child welfare

services, and, through OCFS, is responsible for overseeing ACS and ensuring that ACS complies

with all applicable federal and state laws. OCFS is also responsible for ensuring that ACS

complies with all elements of the state plans (which OCFS signs as a condition of receiving child

welfare funds from the United States Department of Health and Human Services) that document

how the state will comply with certain core policies and procedures intended to, among other

things, either enable children in foster care to be reunited with their families and/or ensure timely

efforts to find a permanent home for children who cannot be reunited with their families.

         202.   Pursuant to the Constitution and federal and state statutory law, ACS, as the

custodian of children in foster care in New York City, is required to:


                a.     Protect each child in foster care from physical, psychological and

                       emotional harm, U.S. Const. amend. XIV;

                b.     Provide to each child in foster care the services necessary to ensure his or

                       her physical, psychological and emotional well-being, U.S. Const. amend.

                       XIV;




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        c.    Provide to each child in foster care conditions, treatment and care

              consistent with the purpose and assumptions of custody, U.S. Const.

              amend. XIV;

        d.    Ensure that each child in foster care is not maintained in custody longer

              than is necessary to accomplish the purpose of custody, U.S. Const.

              amend. XIV;

        e.    Provide each child in foster care with a permanent home and family within

              a reasonable period of time, U.S. Const. amends. I, IX, XIV;

        f.    Place each child in foster care in a foster placement that conforms to

              nationally recommended professional standards, 42 U.S.C. § 671(a)(10);

        g.    Provide for each child in foster care a written case plan that includes a

              plan to provide safe, appropriate and stable foster care placements and

              implement that plan, 42 U.S.C. §§ 671(a)(16), 675(1)(A);

        h.    Provide for each child in foster care a written case plan that ensures that

              the child receives safe and proper care while in foster care and implement

              that plan, 42 U.S.C. §§ 671(a)(16), 675(1)(B);

        i.    Provide for each child in foster care a written case plan that ensures the

              provision of services to facilitate reunification or, where that is not

              possible, a permanent home for the child and implement that plan,

              42 U.S.C. §§ 671(a)(16), 675(1)(B);

        j.    Provide for each child in foster care, where reunification is not possible or

              appropriate, a written case plan that ensures the location of an adoptive or




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              other permanent home for the child and implement that plan, 42 U.S.C.

              §§ 671(a)(16), 675(1)(E);

        k.    Provide for each child in foster care a written case plan that ensures the

              educational stability of the child while in foster care and implement that

              plan, 42 U.S.C. §§ 671(a)(16), 675(1)(G);

        l.    Maintain a case review system in which each child in foster care has a

              case plan designed to achieve safe, appropriate and stable foster care

              placements, 42 U.S.C. §§ 671(a)(16), 675(5)(A);

        m.    Maintain a case review system in which the status of each child in foster

              care is reviewed every six months by a court, or person responsible for

              case management, for purposes of determining the safety of the child, the

              continuing necessity and appropriateness of the foster placement, the

              extent of compliance with the permanency plan and the projected date of

              permanency, 42 U.S.C. §§ 671(a)(16), 675(5)(B), 675(5)(C);

        n.    Maintain a case review system that ensures that for each child that has

              been in foster care for 15 of the most recent 22 months, ACS files a

              petition to terminate the parental rights of the child’s parents and

              concurrently identifies, recruits, processes and approves a qualified family

              for an adoption, or documents compelling reasons for determining that

              filing such a petition would not be in the best interest of the child, 42

              U.S.C. §§ 671(a)(16), 675(5)(B), 675(5)(E);

        o.    Provide to each child in foster care quality services to protect his or her

              safety and health, 42 U.S.C. § 671(a)(22);




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              p.     Timely create meaningful and appropriate Family Assessment and Service

                     Plans, New York State Social Services Law § 409-e;

              q.     Timely plan and complete meaningful and appropriate Family Assessment

                     and Service Plan reviews, New York State Social Services Law § 409-e

                     and N.Y. Comp. Codes R. & Regs. tit. 18, § 430.12;

              r.     Place each child in a foster placement that meets standards for continuity

                     and appropriate level of placement, N.Y. Comp. Codes R. & Regs. tit. 18,

                     § 430.11;

              s.     File a petition to terminate parental rights for each child who has been in

                     foster care for 15 out of the most recent 22 months or, where applicable,

                     appropriately document an exception, New York State Social Services

                     Law § 384-b, N.Y. Comp. Codes R. & Regs. tit. 18, §§ 430.12 and 431.9;

                     and

              t.     Provide each child in foster care who has been freed for adoption with

                     meaningful and appropriate adoption services, including evaluation of the

                     child’s placement and pre-placement needs, recruitment of and a home

                     study for prospective adoptive parents, placement planning, supervision

                     and post-adoption services, New York State Social Services Law §§ 372-b,

                     372-e and N.Y. Comp. Codes R. & Regs. tit. 18, § 421.8.


       203.   By contract, ACS has delegated the care of the City’s children in foster care to

agencies (“Contract Agencies”). ACS currently has entered into valid and enforceable contracts

with 29 Contract Agencies. The contracts into which ACS has entered with each of the Contract

Agencies (referred to herein as the “Agreements”) require the Contract Agencies to comply with



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all applicable ACS policies, as well as state and federal law. The Agreements also require the

Contract Agencies to provide comprehensive foster care services as defined in the Agreements.1

         204.     Regardless of the terms of the Agreements, by law, ACS at all times maintains

legal custody of and legal responsibility for all children in foster care in New York City.

However, ACS has failed and continues to fail to ensure the protection of Plaintiff Children’s

rights under federal and state constitutional and statutory law.

         205.     Children in New York City enter foster care in one of two ways—they can be

voluntarily placed into foster care by their parents,2 or they can be removed from their parents by

ACS. Most children in foster care in New York City have been removed from their parents.

When children are removed from their parents, the removal is either (a) pursuant to a Family

Court finding that the child is in danger of abuse or neglect if left with his or her parents or

(b) on an emergency basis, subject to a later finding by the Family Court that the child would

have been in danger of abuse or neglect if he or she had been left with his or her legal parents. In

both cases, the Family Court must hold a fact-finding hearing to determine whether the child was

in danger of being abused or neglected if left with his or her parents. After the fact-finding

hearing, the Family Court holds a disposition hearing to determine whether the child can safely

be returned home or should remain in foster care pending the completion of certain actions (e.g.,

treatment for drug or alcohol addiction, anger management classes, etc.).




     1
      Each Agreement between the Contract Agency and ACS is for a particular set of foster placement services.
Therefore, one Contract Agency may have multiple Agreements with ACS, each for a different type of placement.
Appendix A lists, to the best of our information and belief, the Agreements which were current as of November
2014 (see ¶ 177) and that are still in force today.
     2
       Unless otherwise specified, the term “parents” as used herein refers to the person(s) who have legal custody
or legal responsibility for the child prior to his or her entry into foster care, and may include biological parents,
grandparents, adoptive parents or other legal guardians.



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         206.     Once a child enters foster care, ACS “places” the child with a Contract Agency, to

which ACS delegates the day-to-day care of, and case planning responsibility for, the child.

Upon information and belief, placement with a Contract Agency is determined largely by which

Contract Agency has availability when placement is sought, not by a determination of the child’s

health, safety or permanency needs, or of the ability of a potential available placement to meet

those needs.

         207.     The Contract Agency with which the child has been placed then assigns the child

a foster placement, which can be either a traditional home-like setting or residential facility.3

Upon information and belief, foster placements are determined largely by availability at the time

the placement is sought, not by a determination of the child’s health, safety or permanency

needs, or of the ability of a potential available placement to meet those needs.

         208.     Once a child is placed with a Contract Agency, caseworkers employed by that

Contract Agency are responsible for generating and recommending a case plan for the child.

         209.     Pursuant to federal and state law, ACS is required to ensure that a case plan

meeting statutory criteria and professional standards is prepared for each child in foster care. In

New York, these case plans are referred to as Family Assessment and Service Plans (“FASP”).

Each child’s FASP must describe, among other things, the child’s physical and mental health

needs, the child’s permanency goal, the services necessary to meet the child’s physical and

mental needs as identified in the case plan and the services necessary to help the child achieve

his or her permanency goal as identified in the case plan.




     3
       Residential facilities include boarding homes, group homes, group residences, and institutions or residential
treatment facilities. Residential facilities are the most restrictive settings, usually intended for the placement of
older children with severe clinical, medical, mental and/or behavioral problems.



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        210.   Pursuant to state and federal law, ACS also is responsible for ensuring that each

child’s case plan is implemented, and for providing each child in its custody with the services

necessary to meet the child’s physical and mental needs as identified in the case plan and the

services necessary to help the child achieve his or her permanency goal as identified in the case

plan.

        211.   ACS delegates the preparation of such case plans and the provision of such

services to the Contract Agency with which the child has been placed. However, ACS fails to

ensure that the Contract Agencies prepare meaningful and appropriate FASPs for each child in

ACS custody, as required by state law. ACS also fails to ensure that the Contract Agencies

provide the services necessary to meet both the child’s physical and mental needs and to help the

child achieve his or her permanency goal (as identified in the case plan), as required by law.

        212.   Foster care is intended to be temporary—a short-term placement until a child can

be safely reunified with his or her parents or, where that is not possible, placed into another

stable, permanent home.

        213.   Accordingly, federal and state law require ACS to ensure that each child in foster

care has a “permanency goal” and that reasonable efforts are made to reach each child’s

established permanency goal within a reasonable period of time. There are five possible

permanency goals: (1) return to parent; (2) adoption; (3) legal guardianship or kinship

guardianship; (4) placement with a relative; and (5) another planned permanent living

arrangement (“APPLA”), the permanency goal given to children who will “age out” of the foster

care system.

        214.   ACS delegates case planning responsibility, including assigning permanency

goals and making reasonable efforts toward permanency goals, to the Contract Agency with




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which each child in ACS custody has been placed. However, ACS fails to ensure that the

Contract Agencies engage in meaningful and appropriate permanency planning, as required by

federal and state law.

       215.    Federal law requires ACS to ensure that caseworkers engage in concurrent

planning, so that each child in ACS custody has a primary permanency goal and a secondary

permanency goal, both of which the caseworker must work toward simultaneously. For

example, if a child’s primary permanency goal is “return to parent” and the secondary

permanency goal is “adoption”, concurrent planning requires simultaneous provision of

necessary services so that the child can be returned home safely and recruitment of potential

adoptive parents in the event the child is unable to be returned home safely. The purpose of

concurrent planning is to limit the harm caused to the child by a lengthy stay in foster care by

ensuring that the child is placed into a permanent home within a reasonable period of time.

       216.    ACS delegates case planning responsibility, including engaging in concurrent

planning, to the Contract Agency with which each child in ACS custody has been placed.

However, ACS fails to ensure that the Contract Agencies engage in meaningful and appropriate

concurrent planning, as required by federal law.

       217.    Federal and state law require ACS to ensure that a child’s case plan is periodically

reviewed to ensure that the child’s permanency goal is appropriate and that progress is being

made toward safely returning the child to his or her parent or, if that were not possible within a

reasonable period of time, placing the child in a permanent home. By state statute, an initial

FASP review must be held between 60 and 90 days after the child is placed in foster care, and

subsequent FASP reviews must be held no less than every six months thereafter. ACS must

ensure that the caseworker and all relevant persons, including, but not limited to, the parents of




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the child, relatives, the foster parent and the child, if old enough, participate in the FASP

reviews. However, ACS fails to ensure that meaningful and appropriate FASP reviews occur as

required by state law.

        218.    By state statute, a permanency hearing must be held in the Family Court within

eight months of a child’s removal from his or her parents and every six months thereafter, and

that permanency hearing must be completed within 30 days. The purpose of permanency

hearings is to provide each child in ACS custody with timely judicial review of the child’s

permanency goal and whether progress has been made toward achieving that goal.

        219.    Because ACS fails to ensure that all parties are prepared for court and that

Contract Agencies submit necessary paperwork in a timely fashion, such permanency hearings

often are not completed within the time period required by state law. In many if not most

instances, the permanency hearings are held before the Family Court has even made a

determination about whether the parent from whom the child was removed has in fact neglected

or abused the child.

        220.    Federal and state law provide that ACS must, after a child is removed from his or

her parents, make a reasonable effort to preserve family relationships, which includes providing

services to the child’s parents. Federal law and policy dictate that the preferred course of action

is to reunify the child with his or her parents.

        221.    ACS has delegated its responsibility to make reasonable efforts to reunify each

child in its custody with his or her parents to the Contract Agency with which the child has been

placed. However, ACS fails to ensure that reasonable efforts are being made or that necessary

services are being provided to enable children in ACS custody to be returned home within a

reasonable period of time, as required by federal and state law.




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        222.    Even while efforts are being made to reunify a child with his or her parents,

federal law and professional standards also require ACS to ensure that concurrent planning—i.e.,

to pursue another permanency option for the child in the event that the child cannot safely be

returned to his or her parents (see supra ¶ 215)—occurs. That means that ACS should not wait

months or years until reunification efforts have failed to begin alternative permanency planning,

including identifying other potential permanent homes for the child.

        223.    Federal and state law require ACS to determine within a reasonable period of time

whether or not a child in foster care can be safely and appropriately returned to his or her

parents, and if not, to initiate a petition to terminate parental rights so that the child is legally

available to be adopted. ACS has delegated the responsibility for making that determination to

the Contract Agency with which each child in ACS custody has been placed. However, ACS

fails to ensure that the Contract Agency makes that determination within a reasonable time, as

required by federal and state law.

        224.     Under federal and state law, ACS must file a petition to terminate parental rights

(“TPR”) when a child has been in foster care for 15 of the previous 22 months, subject to certain

exceptions that must be documented. Under state law, ACS must file a TPR petition (a) within

30 days of establishing a primary permanency goal of “adoption”; (b) within 60 days of

completing a FASP that documents abandonment or permanent neglect of a child; and (c) within

60 days of a judicial determination that a child was abandoned. ACS has delegated its

responsibility to file TPR petitions to the Contract Agency with which each child in its custody

has been placed. However, ACS fails to ensure that TPR petitions are filed within the time

periods required by federal and state law.




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        225.    Once parental rights have been terminated and a child in ACS custody is

considered “freed” for adoption, state statutory law and regulations require ACS to take a

number of additional steps to place that child into a permanent home, including (a) timely acting

on applications by persons looking to adopt children; (b) initiating and completing adoption

studies (evaluations of an applicant’s ability to be an adoptive parent) within certain time

periods; (c) placing children in adoptive homes within certain time periods; and (d) finalizing

adoptions within certain time periods. However, as the concept of concurrent planning (see

supra ¶ 215) makes clear, ACS should have been identifying other potential permanent homes

for the child well before the child is freed for adoption. ACS has delegated these responsibilities

to the Contract Agency with which each child in its custody has been placed; however, ACS fails

to ensure that the necessary and appropriate steps are taken to develop an appropriate pool of

adoptive families and to place children who have been freed for adoption into adoptive homes, as

required by state law.

        226.    Although ACS has delegated the provision of comprehensive foster care services

in New York City to 29 Contract Agencies, that delegation does not and cannot supplant ACS’s

responsibilities to Plaintiff Children under federal and state law. ACS has legal custody of all

children in foster care in New York City. ACS accordingly has legal responsibility for ensuring

that the rights of all children in foster care in New York City are protected—which ACS has

failed, and continues to fail, to do.




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         FACTUAL ALLEGATIONS REGARDING SYSTEMIC DEFICIENCIES
           PLAGUING NEW YORK CITY’S FOSTER CARE SYSTEM AND
                RESULTING HARM TO PLAINTIFF CHILDREN

       227.    The experiences and current situations of the Named Plaintiff Children as

described above are neither unusual nor aberrational. Rather, they are merely examples that are

far too typical of the irreparable harm being suffered by all children in ACS custody.

       228.    Defendants are harming Plaintiff Children by:


               a.     failing to protect Plaintiff Children from physical, psychological and

                      emotional harm;

               b.     failing to ensure the development and implementation of meaningful case

                      plans to enable Plaintiff Children to be safely returned to their parents or,

                      if that were not possible within a reasonable period of time, to place them

                      in permanent homes; and

               c.     failing to provide foster care placements and services to ensure Plaintiff

                      Children’s well-being.


       229.    These harms are a direct result of Defendants’ long-standing and well

documented actions and inactions and Defendants’ failure to remedy structural and systemic

deficiencies that have plagued New York City’s foster care system for years:


               a.     ACS fails to exercise adequate and meaningful oversight over the Contract

                      Agencies to which ACS has delegated the day-to-day care of, and case

                      planning responsibility for, Plaintiff Children.




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               b.      ACS fails to ensure that Contract Agency caseworkers are assigned

                       caseloads and receive appropriate training consistent with professional

                       standards.

               c.      ACS fails to provide a system for making foster placements consistent

                       with federal and state law and minimum professional standards.

               d.      ACS fails to ensure case and service plans are developed and implemented

                       consistent with federal and state law and minimum professional standards.

               e.      ACS fails to take all necessary and available action to ensure timely

                       adjudication of family court proceedings involving children in ACS

                       custody consistent with federal and state law and minimum professional

                       standards.


All of Defendants’ actions and inactions as described herein substantially depart from accepted

professional judgment and constitute deliberate indifference to the harm, risk of harm and

violations of legal rights suffered by Plaintiff Children.


       230.    Put simply, as a result of Defendants’ failures, caseworkers employed by the

Contract Agencies to which ACS has delegated the care of Plaintiff Children often are

inexperienced, undertrained, under-supervised, overworked and underpaid; case planning often is

sloppy and ineffective; there are not enough suitable and appropriate foster and pre-adoptive

placements to meet Plaintiff Children’s needs; and a lack of urgency and accountability pervades

New York City’s foster care system.

       231.    Defendants have long been aware of these systemic failures and the resulting

harm to the vulnerable children in ACS custody. Since 2000, OCFS has undergone two federal

performance audits of the New York State child welfare system, known as Child and Family


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Services Reviews (“CFSR”). These reviews are conducted by the United States Department of

Health and Human Services to assess the performance of child welfare systems across the

country, including the outcomes achieved for children, to identify areas in which systemic

improvement is required to assure appropriate outcomes for children, and to implement

corrective actions where outcomes for children are found to be deficient. States are evaluated on

seven outcome indicators of safety, permanency and well-being—the unequivocal goals of all

foster care systems pursuant to federal statutory law—and on seven systemic factors that affect

the state’s capacity to deliver foster care services effectively.

        232.    The two federal audits completed to date revealed myriad areas in which the New

York State foster care system was causing harm to the children in its care, and that New York

State’s foster care system was getting worse. The first CFSR audit, which was published in

2002, found that New York State failed to conform to federal expectations in five of the seven

safety, permanency and well-being indicators, and in three of the seven systemic factors. Seven

years later, New York State performed worse. During the second CFSR audit, which was

published in 2009, the federal government determined that New York State failed to conform to

federal expectations in all seven safety, permanency and well-being indicators, and in five of the

seven systemic factors. New York State’s CFSR results are heavily influenced by New York

City’s child welfare system, which accounted for well over 60% of children in foster care in New

York State in both 2002 and 2009.

        233.    Notwithstanding having had 13 years to improve performance since the first

CFSR audit of New York State, Defendants continue to place New York City children in ACS

custody at significant risk of harm. The most recent federal data available shows that children in




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     New York State spend longer in foster care and are more likely to be maltreated while in foster

     care than children in virtually all other states.

             234.    Defendants are not acting with sufficient urgency to address these known failures

     or to meet their legal obligations to protect the children in New York City’s foster care system.


I.           DEFENDANTS ARE CAUSING IRREPARABLE HARM TO CHILDREN IN ACS
             CUSTODY.

             A.      Defendants Fail To Protect Children in ACS Custody from Maltreatment.

             235.    Maltreatment of children in foster care is a significant problem in New York City.

             236.    New York City currently accounts for almost 60% of children in foster care in

     New York State, which lags far behind the nation with respect to the protection of children in

     foster care.

             237.    Based on the most recent federal data available, New York State ranks 46th out of

     48 states and territories for instances of substantiated or indicated maltreatment of children while

     in foster care. Put simply, children in New York are more likely to be harmed while under the

     state’s protection than children in virtually every other state.

             238.    New York State has had a high rate of maltreatment in foster care for years. In

     both the 2002 and 2009 CFSRs, the federal government found that New York State did not meet

     the national standard for the rate of maltreatment in foster care. Based on the most recent federal

     data available, New York State did not meet the national standard for 2013.

             239.    Upon information and belief, the high rate of maltreatment in care in New York

     State is largely driven by maltreatment of children in ACS custody in New York City, which

     accounts for the majority of children in foster care in New York State.

             240.    All investigations of maltreatment, including those pertaining to children in foster

     care custody, begin with a call to the Statewide Central Register of Child Abuse and


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Maltreatment (“SCR”). According to ACS, in 2014, SCR received 1,987 reports of maltreatment

of children in ACS custody (i.e., children in foster care in New York City). ACS’s Office of

Special Investigation investigates reports of maltreatment made to the SCR, including those for

children already in foster care; a report of maltreatment is “substantiated” when sufficient

evidence is found to support a determination that a child was in fact maltreated. Of the 1,987

reports of maltreatment in foster care received by SCR in 2014, 28% were substantiated. The

Children’s Bureau of the federal government does not publish comparable data.

          241.   The high rate of maltreatment of children in ACS custody is a direct result of

Defendants’ long-standing and well-documented actions and inactions and Defendants’ failure to

remedy structural and systemic deficiencies that have plagued New York City’s foster care

system for years. ACS’s failure to ensure that Plaintiff Children are protected from maltreatment

substantially departs from accepted professional judgment and demonstrates a deliberate

indifference to the risk of harm to Plaintiff Children.


          B.     Defendants Fail To Provide Children in ACS Custody with Permanent Homes and
                 Families Within a Reasonable Time.

          242.   Foster care is intended to be temporary. Children who do not grow up in stable

family environments are less likely to complete their education, to form healthy relationships or

to be otherwise prepared to live healthy, satisfying adult lives. Accordingly, federal and state

law and professional standards dictate that foster children should be placed in permanent homes

as quickly as is safely possible, whether with their parents, another relative or an adoptive

family.

          243.   But ACS allows Plaintiff Children to languish for years in foster care without

permanent homes or families to call their own. Indeed, the most recent federal data available

shows that New York City lags far behind the rest of New York State and the nation as a whole


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